   DECLARATION OF DOUGLAS R. KERTSCHER IN SUPPORT OF
  DEFENDANT VEHICLE AGENCY, LLC’S MOTION FOR SUMMARY
                      JUDGMENT

Exhibit                           Description                          Page
 No.                                                                    No.
  A.    Excerpts of the transcript of the June 13, 2019 Deposition of  1-23
        Vehicle Agency, LLC (Jeff Gough)
  B.    Excerpts of the transcript of the May 1, 2019 Deposition of    24-33
        AT&T Services, Inc. (Shannon Grizzell)
  C.    Excerpts of the transcript of the June 14, 2019 Deposition of  34-60
        Plaintiff John Stone
  D.    Exhibit 2 to the Deposition of Vehicle Agency, LLC             61-62
  E.    Exhibit 3 to the Deposition of Vehicle Agency, LLC             63-64
  F.    Plaintiff’s March 5, 2019 Responses to Defendant Vehicle       65-72
        Agency’s Special Interrogatories
  G.    Cell phone records for the telephone number 858-610-6881 for 73-178
        the period from April 8, 2017 to December 31, 2019
  H.    Excerpts of the transcript of the June 19, 2019 Deposition of 179-183
        non-Party T-Mobile US, Inc.
EXHIBIT A




   [Exhibit A - 1]
               UNITED STATES DISTRICT COURT
             SOUTHERN DISTRICT OF CALIFORNIA
_____________________________
JOHN STONE,                          )
                                     )   Case No.
              Plaintiff,             )   3:18-cv-02028-GPC-MSB
      vs.                            )
                                     )
AT&T SERVICES, INC., a               )
corporation; VEHICLE                 )
AGENCY, LLC,   a limited             )
liability company; and               )
DOES 1 through 10,                   )
inclusive,                           )
                                     )
              Defendants.            )
_____________________________)


      30(b)(6) DEPOSITION UPON ORAL EXAMINATION OF
                  VEHICLE AGENCY, LLC
                                by
                     JEFFREY GOUGH


                     June 13, 2019
                2225 North 56th Street
               Seattle, Washington 98103



Reported stenographically by:
Mayleen Ahmed, RMR, CRR, CRC
Washington CCR No. 3402




                            [Exhibit A - 2]
 1       Q.   How long have you been at Vehicle?
 2       A.   Since its founding in 2010.
 3       Q.   Have you had any other position at Vehicle?
 4       A.   No.    Other than nominal title differences
 5   over the years.   But I'm a co-founder of the company
 6   and have largely fulfilled these similar duties to
 7   what I just said.
 8       Q.   And what location do you work in?
 9       A.   Seattle, Washington.
10       Q.   Do you also live in Seattle, Washington?
11       A.   Just outside of it, yes.           The general area.
12       Q.   Are there any other locations that Vehicle
13   Agency has offices in?
14       A.   No.    We have some employees remote around
15   the country, but not official offices.
16       Q.   And how many employees work at Vehicle?
17       A.   I believe 20.
18       Q.   And what would you say Vehicle Agency does?
19       A.   We provide mobile marketing technology
20   solutions to brands who want to communicate with
21   their customers on their customers' mobile phones, in
22   addition to creative and strategy consulting and
23   production.
24       Q.   And you should have a pack of exhibits in
25   front of you.



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                               [Exhibit A - 3]
 1   tracks any transactions related to sending or
 2   receiving messages to phones.
 3       Q.    Do you have a term for this document or
 4   just output from the database?          Would you refer to it
 5   as an account note as I'm referring to it?            What
 6   would make the most sense to you?
 7       A.    I would call it a list, a complete list of
 8   database entries related to the plaintiff's phone
 9   number.
10       Q.    That's kind of a mouthful.
11             How about if I refer to it as the database
12   list?   Does that make sense?
13       A.    Yes.
14       Q.    This document, looking at column A, can you
15   tell me what information is captured in that column?
16       A.    Yeah.   Every record in our database would
17   have an I.D. associated with it for logging and
18   tracking purposes.     And so these are just
19   identification numbers to differentiate that row in
20   the database from a different row.
21       Q.    And it looks like, actually, there may be
22   three sections in this database list.            It looks like
23   there is a "Transaction-Related Events," and then
24   "Conversation-Related Attributes," and then "9/11
25   Carrier Lookup-Related Events."



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                                [Exhibit A - 4]
 1            Do you see that?
 2       A.   Yes.
 3       Q.   What information is in the "Transaction-
 4   Related Events"?
 5       A.   So that information includes, for example,
 6   in row 3, the request that came to us via API from
 7   AT&T's U.Verse platform to send a message to a
 8   particular phone number.     And in this case, the phone
 9   number that we're talking about.
10            Then it goes on to show the types of things
11   that we do when parsing or processing that request
12   where we are looking up what carrier that phone
13   number might belong to and looking up what type of --
14   what campaign the request is associated with so we
15   know what message to send, and those types of issues.
16       Q.   And what is API?
17       A.   That is an acronym that stands for
18   application programming interface.         And an API is
19   simply a connection point using an agreed-upon syntax
20   or protocol between one digital platform or system
21   and another digital platform or system.             And they're
22   typically utilized for things like this where one
23   system is making a request to another system, and it
24   needs to have a secured connection and an agreed-upon
25   syntax for making that request and for receiving any



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                              [Exhibit A - 5]
 1   responses to that request.
 2       Q.   But in looking at this database list, in
 3   row No. 3, are you able to determine what occurred
 4   there?
 5       A.   Yes.   This means that we received
 6   successfully, via an API, the request to send a
 7   message to a phone number from the U.Verse
 8   Appointment Reminder platform that has an API
 9   connection into our platform.
10       Q.   And then what occurred at row No. 4?
11       A.   Let's see.     I know there was another
12   version of this exhibit where there was a column K
13   where it provided some better descriptions on that.
14   I'm going from memory a little bit.         But the --
15            MR. KERTSCHER:      If you don't know, you
16   don't know.   Don't speculate.
17       A.   Yeah, I can't say for certain right now
18   what exactly that row accomplished.
19       Q.   Do you know what row 4 indicates occurred?
20       A.   That was row 4 we were talking about.
21       Q.   I'm sorry.     Row 5.
22       A.   Yes.   Row 5 was where we took the request
23   and did a lookup of what wireless carrier the phone
24   number belonged to as part of processing the request.
25       Q.   And is that done manually or automatically,



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                              [Exhibit A - 6]
 1   the lookup of the carrier?
 2       A.   Everything here is done automatically.
 3       Q.   And then row 6, can you tell me what that
 4   row reflects?
 5       A.   Yes.   I believe row 6 is referring to which
 6   campaign the request is referring to and setting this
 7   phone number up to be associated with that campaign.
 8       Q.   When you say "campaign," what are you
 9   referring to?
10       A.   "Campaign" I mean -- well, in this instance
11   I'm referring to the AT&T Appointment Reminder also
12   known as the AT&T Digital Business Card campaign,
13   which could be different from other campaigns we may
14   be operating in our platform.          There are many
15   campaigns that we run.
16       Q.   Row 7, what is reflected in that row?
17       A.   I don't recall.
18       Q.   Do you know what's reflected in row 8?
19       A.   Yes.   Row 8 is the actual delivery from our
20   platform after the prior rows of parsing and
21   processing the request from AT&T upstream of us.
22   Row 8 is Vehicle's platform, then, submitting the
23   payload, or the MMS, to the downstream partner of
24   ours, Open Market.
25       Q.   And what about row 12, do you know what's



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                                [Exhibit A - 7]
 1   reflected there?
 2       A.   Yes.   So what row 11 through 19 -- rows 11
 3   through 19, then, are a different set of records from
 4   our database that relate to compiling the message
 5   that was to be sent to the phone number.
 6       Q.   And so compiling the message, would that be
 7   another way of saying creating the MMS that was
 8   ultimately delivered?    Is that sort of what's
 9   occurring in rows 11 through 19?
10       A.   That is correct.
11       Q.   And in rows 11 through 19, is there any
12   indication as to the message being sent, or is it
13   just related to the creation?
14       A.   Yes.   This would be related to the message
15   being prepared to be sent as this particular campaign
16   has dynamic variables associated with it.           For
17   example, the name of the technician that is coming or
18   how long until the technician arrives.          And so that
19   could be different for each message we send out
20   related this campaign.
21            So we package up a tailored message and
22   tailored picture of who the technician is.          And once
23   that is complete, that allows us to then back up onto
24   row 8, send the completed tailored message out to the
25   phone number.



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                              [Exhibit A - 8]
 1   tailoring it, for the intended recipient with the
 2   respective variables.    And that's rows 11 through 19.
 3   And then there was just looking up and researching
 4   what this phone number was and what carrier it
 5   belonged to, rows 22 through 25.
 6       Q.    Is there any other information from the
 7   database list that is not reflected here other than
 8   column K that you're aware of?
 9       A.    No.   But I will say that column K, again,
10   is not part of the database.       It was just notes that
11   I put in at one point in time.        And it's also worth
12   mentioning that there are many records that are not
13   here because they don't exist.        For example, there is
14   no record of if we had ever received a response from
15   that phone number where they had texted a message to
16   us, replied to the shortcode 73303, That would show
17   up in the spreadsheet.
18             But this is a complete list of all
19   transactions in our platform related to that phone
20   number.   There's nothing else that has occurred in
21   our platform either to the phone or from the phone.
22       Q.    So looking at this one, it looks like the
23   text message was sent March 2, 2017 at 4:27 p.m.; is
24   that correct?
25       A.    That is correct.      That's when it was sent



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                              [Exhibit A - 9]
 1   to OpenMarket.
 2       Q.    And is that Pacific Standard Time?
 3       A.    I believe so.
 4       Q.    And what was the purpose of the text message?
 5       A.    The purpose of the MMS message was to
 6   provide a courtesy notification to the -- to AT&T's
 7   U.Verse customer that there was a technician on the
 8   way to their house, and provide that customer with
 9   the first name and last initial of the technician and
10   a photograph of the technician, and an estimated time
11   of arrival of the technician so that they were
12   informed about when the person would arrive and
13   comfortable with having a person they may have never
14   seen before show up at their house.
15       Q.    And can you describe the process as to how
16   an MMS message is sent?
17       A.    Yeah.   Well, in addition to the records we
18   just over here, the primary flow is that AT&T's
19   platform is triggered, I believe, from their actual
20   technicians, using an app to say, "I'm on my way to
21   Customer X's house, and it will take me Y number of
22   minutes to arrive there."
23             They send that message to AT&T's platform.
24   I'm not certain of all the details of how they track
25   that.   But it eventuates into AT&T automatically,



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                              [Exhibit A - 10]
 1   using that information to send a request via the API
 2   to our platform, where we then process the request
 3   and develop the asset or the MMS, package it up, and
 4   then send it to OpenMarket.
 5              OpenMarket then has connections into most
 6   all of the U.S. wireless carriers, and routes the
 7   message to the appropriate carrier that the phone
 8   number is associated with.       And at that point, the
 9   carrier is responsible for sending the message to the
10   phone.
11       Q.     And that all occurs automatically; is that
12   correct?
13       A.     That is correct.
14       Q.     Now, there was a shortcode associated with
15   the text message of 73303; is that correct?
16       A.     Yes.   With the original MMS message sent on
17   March 2, 2017.
18       Q.     And what is a shortcode?
19       A.     All carrier communications with mobile
20   phones over any type of -- whether it's a phone call
21   or a message, have to have some sort of address or
22   number associated with it, a unique number.          And most
23   people are used to 10-digit, or what are also
24   sometimes called "long codes."         That would be your
25   typical ten-digit phone number.



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                               [Exhibit A - 11]
 1            Shortcodes are designated for -- typically,
 2   but not always -- sending text messages or other
 3   types of messages or notifications to a phone.          And,
 4   generally, five- or six-digit shortcodes are ones
 5   that are used across carriers, meaning 73303 is a
 6   code that we have provisioned with Verizon and AT&T
 7   and T-Mobile and Sprint and other carriers as well.
 8   And so it's a way of indicating who the sender of the
 9   message is.
10            But there are other codes that are used by
11   carriers -- usually, you know, three- or four-digit
12   codes for their own internal purposes -- that are not
13   used at other carriers.
14       Q.   And did Vehicle obtain the shortcode of
15   73303?
16       A.   Yes.
17       Q.   Who did they obtain that from?
18       A.   You lease the shortcode from the -- I
19   believe it's called U.S. shortcodes.        It's also
20   called the Common shortcode Alliance, the CSCA.         And
21   they are an industry body that manages shortcodes so
22   that there's no people using duplicate codes at
23   different carriers.
24       Q.   And how many text messages did Vehicle send
25   to Mr. Stone, that you're aware of?



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                             [Exhibit A - 12]
 1       A.   Vehicle sent one MMS message to Mr. Stone.
 2       Q.   What date is that?
 3       A.   The date of that message was March 2, 2017.
 4       Q.   If you turn to Exhibit 3.
 5            (Gough Exhibit 3 marked for
 6      identification.)
 7       A.   Yes, I have it.
 8       Q.   This has a different date on the MMS
 9   message from March 2, 2017.       Do you see that?
10       A.   Yes.
11       Q.   Do you know why Mr. Stone received MMS
12   messages after March 2, 2017?
13       A.   I don't believe that he did receive MMS
14   messages after March 2, 2017.        And I do not
15   believe -- or I'm nearly certain, or rather, I am
16   certain that this is not an MMS message in the
17   screenshot.
18       Q.   And what do you think it is?
19       A.   This is clearly a notification that there
20   is a message waited to be downloaded on T-Mobile's
21   messaging gateways.
22       Q.   And how do you know that?
23       A.   Well, for one, this is not the format of an
24   MMS message.   The MMS message that we send would have
25   text; it has a picture; it does not display this way;



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                              [Exhibit A - 13]
 1   and it does not have a "download" button in the lower
 2   right-hand corner.
 3             So this is a notification that is sent to
 4   alert someone that there is a message waiting for
 5   them.   In fact, these messages are called "message
 6   waiting indicators," and it's akin to, you know,
 7   having an email app on your phone that says that you
 8   have four emails waiting for you.             But those, that
 9   number 4 or the fact that there's a notification or
10   an alert on your phone that there is an email waiting
11   is not the email itself.        And that's what this is.
12       Q.    Have you ever had discussions with T-Mobile
13   regarding this case?
14       A.    Yes.
15       Q.    And when was that?
16       A.    I believe it's in one of the exhibits.            I
17   don't have the date in front of me.
18       Q.    Are you referring to emails?
19       A.    Yes.
20       Q.    Okay.   Did you ever have any telephone
21   conversations with someone from T-Mobile?
22       A.    About what specifically?            About this
23   particular message or --
24       Q.    Yes.
25       A.    -- generally about --



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                                [Exhibit A - 14]
 1          Q.   Did you have any other discussions with
 2   anyone else at T-Mobile?
 3          A.   Yes.   I had a conversation with Abraham
 4   Kim.
 5          Q.   Was that on the phone or email?
 6          A.   Email.
 7          Q.   Anyone else?     Did you have any other
 8   discussions with anyone from T-Mobile?
 9          A.   No.
10          Q.   How did Vehicle Agency obtain Mr. Stone's
11   phone number?
12          A.   It was sent to us in a request from AT&T,
13   the initial request on March 2, 2017.
14          Q.   Do you know what an ANI code is?
15          A.   No.
16          Q.   The MMS message that was sent to Mr. Stone
17   communicated you indicated, did that have a picture
18   of the AT&T representative?
19          A.   Yes.
20          Q.   Did it have any video?
21          A.   No.
22          Q.   What other content would have been in the
23   MMS message?
24          A.   It would have included the name of the
25   technician, first name and last name initial; it



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                                [Exhibit A - 15]
 1   would have included the estimated time of arrival; it
 2   would have included a photograph of the technician;
 3   and it would have included some text at the end of
 4   the message including language saying "Reply STOP to
 5   stop receiving these messages," or something along
 6   those lines.   It's in a different exhibit what the
 7   actual language says.
 8       Q.   And who created this message?
 9       A.   Well, we designed and created the program
10   in conjunction with AT&T's team, and then we actually
11   create the message and set it up on our platform so
12   when a request comes in we can respond to it with the
13   appropriate template.
14       Q.   Are you aware of what would occur if that
15   message was sent to a Motorola RAZR phone?
16       A.   Not entirely.      Nor were we aware of what
17   type of phone it was being sent to.         We don't know
18   what phone it's being sent to.
19       Q.   Did you ever test that message being sent
20   to a Motorola RAZR phone?
21       A.   No.   When we set up the campaign, it was
22   not tested on that phone.
23       Q.   Do you know what occurs if the message is
24   not downloaded upon receipt by a customer?
25       A.   Not in all cases, no.



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                              [Exhibit A - 16]
 1       Q.     Did any other company other than AT&T,
 2   Vehicle, and OpenMarket attribute in the process of
 3   the sending of the message?
 4       A.     T-Mobile USA.
 5       Q.     Any other company besides those four
 6   companies, that you're aware of, contribute in the
 7   process?
 8       A.     Not that I'm aware of.
 9       Q.     Do you know, upon sending the message on
10   March 2, 2017, if there was any indication that the
11   message was not delivered that came back?
12       A.     Yes.   We know that the -- no.            Well, I have
13   no indication that the message was not delivered.
14   But I also have no indication that the message was
15   successfully delivered, which is not uncommon.
16       Q.     Why is it not uncommon?
17       A.     For a number of reasons.          Either not all
18   carriers or not all phones send what's called a
19   delivery receipt, which means that after the message
20   has been sent into the carrier's network from the
21   likes of OpenMarket and then the carrier sends it to
22   the phone, there is not always a feedback response or
23   receipt that indicates whether or not it was
24   successfully received by the phone.
25       Q.     Have you seen the T-Mobile records for



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                               [Exhibit A - 17]
 1   Mr. Stone's phone?
 2       A.    I have.
 3       Q.    And have you seen or are you able to -- do
 4   you know which --
 5             Do you see any messages sent by Vehicle
 6   Agency in those records?
 7       A.    No.   There are zero messages in those
 8   records from 73303.
 9       Q.    And it's your understanding that that would
10   be the number that would show up as the call-in
11   number?
12       A.    That is correct.
13       Q.    So if the call-in number said "129," what
14   is your understanding of that?
15       A.    129 is publicly known to be another
16   shortcode.   Notice it's a three-digit shortcode,
17   which means it's used internally by a carrier on its
18   own private network.      And 129 is a code that T-Mobile
19   uses to send "Message Waiting" indicators, the likes
20   of which we see in the exhibit we're looking at here,
21   Exhibit 3.   And it can be used for voicemails.       In
22   this case, it's being used for reminders that there's
23   a message waiting to be downloaded.
24             So in Exhibit 3, you see it says "from
25   73303."   This message is from 129 when -- when



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                                [Exhibit A - 18]
 1   you say that to determine whether or not our platform
 2   could be considered such a thing.              But, as I
 3   understand it, I'm would say, no, we're not using
 4   that.
 5       Q.     Did an individual manually send the text
 6   message to Mr. Stone?
 7       A.     No.
 8       Q.     There was no human intervention in sending
 9   the text message to Mr. Stone, correct?
10       A.     Correct.
11       Q.     What system, what name for the system do
12   you have that sent the text message to Mr. Stone?
13       A.     We call it Fiddleback.
14       Q.     And what is Fiddleback?
15       A.     Fiddleback is Vehicle's message-delivery
16   platform that can process requests and send messages
17   and queue messages to be sent.           And by "messages," I
18   mean MMS and SMS messages.
19       Q.     And is there anything on the Fiddleback
20   program that deals with sending an MMS message to a
21   phone that is not capable of receiving the content?
22       A.     Well, that's not -- it's not designed to
23   send messages to phones that can't receive the
24   content; it's designed to send messages to phone
25   numbers.   And there is an assumed level of



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                                 [Exhibit A - 19]
 1   speculation.    Witness, you can answer if you know.
 2       A.   You're asking whether or not OpenMarket
 3   receives feedback on the message?            Can you restate
 4   the question?
 5       Q.   Yes.    If an MMS message is sent to a user
 6   who doesn't download the message, is there any
 7   indication that is sent back to OpenMarket that the
 8   message was not downloaded?
 9       A.   There are error messages -- I don't know
10   what all of them are -- when OpenMarket submits
11   messages into the wireless carriers, and those
12   messages are passed back upstream to us via the API
13   we have with OpenMarket.       So that does happen, but
14   did not happen in this case.
15       Q.   Who is OpenMarket?
16       A.   OpenMarket is a messaging aggregator in the
17   mobile industry that has connections into the
18   different carriers' messaging gateway, and then
19   resells that connectivity out to application service
20   providers such as ourselves so that we can have one
21   pipe to send our messages into.          And then they route
22   it to, and have the connectivity into, the respective
23   downstream wireless carriers.
24       Q.   So how did they assist in sending the
25   message to Mr. Stone?



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                               [Exhibit A - 20]
 1       Q.   Did Mr. Stone ever contact Vehicle Agency?
 2       A.   No.
 3       Q.   Prior to the lawsuit, did AT&T ever contact
 4   Vehicle Agency regarding Mr. Stone's account?
 5       A.   No.
 6       Q.   After Vehicle Agency became aware of the
 7   lawsuit, did Vehicle Agency take any measures to stop
 8   the messages Mr. Stone was receiving on his phone?
 9       A.   We took measures to investigate what could
10   be happening with the little bit of information we
11   had at the time.   But I would say that we -- there
12   was no need to stop sending messages to Mr. Stone's
13   phone because there were no messages being sent to
14   his phone other than the original single message on
15   March 2, 2017.   And that --
16       Q.   And what was the investigation?
17       A.   The investigation was looking at all of our
18   log files which related to this campaign.           We do not
19   purge or delete any of those files.         And those are --
20   a hundred percent of them are contained in the
21   previous exhibit we looked at.        And also reaching out
22   to OpenMarket and using OpenMarket's reporting tool
23   to look for any records whatsoever that there could
24   have been a message sent to, or received from,
25   Mr. Stone's phone -- of which there was zero evidence.



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                              [Exhibit A - 21]
 1   over the years on an as-requested basis.
 2       Q.   And does AT&T have the ability to review
 3   Vehicle's records if it wants?
 4       A.   Yes.
 5       Q.   Was Vehicle acting as the agent of AT&T
 6   when it was sending the MMS at issue in this case?
 7            MR. KERTSCHER:        Object to form.       Calls for
 8   a legal question.    He can answer in the kind of lay
 9   terms if he understands the question.
10       A.   Yeah.   I'm not sure the legal ramifications
11   of the term "agent" there.       But we are a supplier of
12   AT&T's, sending messages on their behalf.
13       Q.   Does Vehicle have any policies in place to
14   get messages to stop when a consumer complains about
15   receiving messages?
16       A.   Yes.
17       Q.   And what is that policy?
18       A.   There's a couple of ways that we can learn
19   about that: either a partner who has received an
20   opt-out -- someone who said that they do not want to
21   receive messages related to that campaign any
22   longer -- either upstream of us, that's something
23   that's independent of us, and they manage their own
24   lists, which is the case with probably most of our
25   partners; but there's also, if a customer responds



                                                                      Page 52
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                               [Exhibit A - 22]
 1   BY MS. OKCU:
 2       Q.   I believe you testified about this earlier,
 3   but just to confirm.
 4            The records that Vehicle Agency has
 5   reflects only a single request from AT&T to send an
 6   MMS message to the cell phone number at issue; is
 7   that correct?
 8       A.   Correct.
 9       Q.   And if there had been additional requests
10   from AT&T to send an MMS message to Mr. Stone, the
11   records that you have produced would have reflected
12   that?
13       A.   Yes.   It's not possible in any conceivable
14   way that there could have been many messages coming
15   from AT&T or many messages coming from Vehicle to
16   OpenMarket, or even in OpenMarket's reporting, many
17   messages sent from OpenMarket to T-Mobile, without
18   there being records of -- multiple records as
19   database entries for all of those.
20            MS. OKCU:     I have nothing further.
21            MR. KERTSCHER:        No questions for us.
22            CERTIFIED STENOGRAPHER:             If I can get
23   instructions from counsel on the telephone as to who
24   is placing an order for the transcript.
25            MR. GOLDEN:      Yes.     Why don't we have the



                                                                 Page 55
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                               [Exhibit A - 23]
EXHIBIT B




   [Exhibit B - 24]
              UNITED STATES DISTRICT COURT
             SOUTHERN DISTRICT OF CALIFORNIA
_____________________________
JOHN STONE,                  )
                             )
         Plaintiff,          )
                             )
VS.                          )
                             ) CASE NO:
AT&T SERVICES, et al         ) 3:18-cv-02028-GPC-MSB
                             )
                             )
         Defendants.         )
                             )
_____________________________)

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                  ORAL DEPOSITION OF

                   SHANNON GRIZZELL

                      MAY 1, 2019

           -----------------------------------
     ORAL DEPOSITION OF SHANNON GRIZZELL, produced as a
witness at the instance of the PLAINTIFF, and duly
sworn, was taken in the above-styled and numbered cause
on May 1, 2019, from 11:03 a.m. to 12:59 p.m., before
Deborah Forbeck, CCR in and for the State of Texas,
reported by machine shorthand, at the Holiday Inn
Riverwalk offices of 217 N. St. Mary's Street, San
Antonio, Texas 78205 pursuant to the Texas Rules of
Civil Procedure and the provisions stated on the record
or attached hereto.




                      [Exhibit B - 25]
 1   Kuang?
 2       A.    Yes.
 3                    THE REPORTER:      Could you spell that,
 4   please?
 5                    MR. GOLDEN:     Yes.     Li, L-I.    Middle or
 6   second name, Ting, T-I-N-G and the last name, Kuang,
 7   K-U-A-N-G.
 8                    THE REPORTER:      Thank you.
 9       Q.    MR. GOLDEN:     And is Ms. Kuang an AT&T customer?
10       A.    Yes.
11       Q.    And do you know what services she is a customer
12   for with AT&T?
13       A.    Based on the documents that I've been provided
14   she is a DSL subscriber.
15       Q.    Any other services that she's a customer for
16   with AT&T.
17                    MS. OKCU:    Jeremy, can you hold on a
18   second, we have a knock on the door.           Is it okay if I go
19   open the door?    It might be our Exhibits.
20                    MR. GOLDEN:     Yeah, that's fine.      We'll go
21   off the record.    Maybe it's our exhibits.
22                    (Thereupon, there was a brief recess had
23   from 11:11 a.m. and testimony was resumed at 11:14 a.m.)
24                    MR. GOLDEN:     Let's go back on the record.
25       Q.    MR. GOLDEN:     And Mr. Grizzell, are you aware of



                                                                       Page 9
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                                [Exhibit B - 26]
 1                     MS. OKCU:    Objection, vague and ambiguous.
 2                     THE WITNESS:     We have the record that one
 3   text message was requested through Vehicle Agency to the
 4   number provided on that date.
 5       Q.     MR. GOLDENT:     That date is March 2, 2017?
 6       A.     That's right.
 7       Q.     And that text message, do you know the number
 8   that text message was sent to?
 9       A.     It is in the record.         I don't know it off the
10   top of my head.
11       Q.     If I said that the text message was sent to
12   (858) 610-6881, would that refresh your memory?
13       A.     Yes, I believe that was the number that it was
14   sent to.
15       Q.     Where did AT&T obtain that phone number?
16       A.     At the time a customer calls in and requests
17   service or repair, they're asked to provide a telephone
18   number where they can be reached or someone who
19   represents them can be reached on the day of the service
20   appointment.
21       Q.     And in this case, is it your belief someone
22   called in and provided that phone number to AT&T?
23       A.     Yes.
24       Q.     When did that occur?
25       A.     I don't have the date of the service order



                                                                  Page 12
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                                 [Exhibit B - 27]
 1   request, but it would have been on whatever date that
 2   Ms. Kuang or whoever called in and requested the service
 3   upgrade.
 4       Q.     Do you have an estimate as to approximately
 5   when the call came in to request service upgrade?
 6       A.     No, I don't.
 7       Q.     Do you know if the service upgrade was
 8   requested by phone or over the internet?
 9       A.     I don't have any indication of the source.
10       Q.     Do you know who did the intake for the service
11   request?
12       A.     No.
13       Q.     Do you have an estimate of approximately how
14   long a service request comes in between the time then
15   that a service technician is sent out?
16       A.     It depends on the workload at the time so it
17   can vary widely.
18       Q.     But there's no like, general estimate of how
19   long it usually occurs?
20       A.     No.
21       Q.     And then you indicated that a text message --
22   so if we can just define it, if I'm referring to the
23   phone number or Mr. Stone's cellphone number, I'm gonna
24   be referencing that number (858) 610-6881, is that
25   understood?



                                                              Page 13
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                               [Exhibit B - 28]
 1       A.     Yes, I understand.
 2       Q.     And you indicated that the Vehicle Agency then
 3   sent a text message to that number?
 4       A.     Yes.
 5       Q.     Were there any other companies besides Vehicle
 6   Agency who would have sent a text message to that
 7   number?
 8       A.     We make the requests through Vehicle Agency.
 9   Beyond that, I don't know how the process works.
10       Q.     Would there have been any requests made by AT&T
11   to any other company besides Vehicle Agency?
12                     MS. OKCU:    Objection, vague.
13                     THE WITNESS:     For the program that I
14   understand we're discussing here, no it would not be
15   anyone else.
16       Q.     MR. GOLDEN:     And what is the program that would
17   have been used to send that service reminder?
18       A.     Internally we call it the digital business card
19   program.
20       Q.     And when was that program instituted by AT&T?
21       A.     In early 2015.
22       Q.     And is it still in use today?
23       A.     Yes, it is.
24       Q.     Did you personally work on that program?
25       A.     Yes, I did.



                                                                 Page 14
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                                 [Exhibit B - 29]
 1       Q.   And so can you explain to me what it does?
 2       A.   Sure.   The digital business card program allows
 3   our technicians to send a digital business card with
 4   their first name, last initial, a photo of themselves
 5   and the approximate ETA in minutes when they will arrive
 6   at the customer's premise.      And the goal of it is just
 7   to give the customers a little bit of peace of mind
 8   about who is going to be arriving at their door.
 9       Q.   And that is sent via text message; is that
10   right?
11       A.   Technically speaking, it is called an MMS which
12   is a multimedia message, but it's very similar.
13       Q.   And is it sent from the technician's phone?
14       A.   No, not directly.
15       Q.   And then who is it sent from?
16       A.   I don't understand the question.
17       Q.   How would the text message be initiated, is it
18   the technician who begins the process by which the
19   message gets sent or is it initiated elsewhere?
20       A.   Okay.   Yes, it is the technician.         The
21   technician uses a mobile app to put in the information
22   and then initiates the request.
23       Q.   And that request, is that -- how is it routed
24   then to the customer?
25       A.   The request goes from the mobile app to a sever



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                              [Exhibit B - 30]
 1   that's internal to AT&T and from there it goes to
 2   Vehicle server through their API.
 3       Q.     And what is API?
 4       A.     It stands for application programming
 5   interface.
 6       Q.     And what is that?
 7       A.     It's basically a way to provide a service or a
 8   function from one computer system to another.
 9       Q.     And after it goes to Vehicle Agency then, if
10   you could still walk me through the rest of the process.
11       A.     Well, I really have no details on the rest of
12   the process other than that when we make the request to
13   the API, the Vehicle accepts it.             If the request is
14   accepted correctly, we get a status message back saying
15   that it was successfully received by Vehicle and then
16   they do whatever they do to actually send the text
17   message.
18       Q.     And in this case, did AT&T receive notice that
19   it was from Vehicle Agency that it was received by
20   Vehicle Agency?
21       A.     Yes, we did get a successful status back.
22       Q.     And is there any notice that's provided to AT&T
23   from Vehicle Agency that the message is delivered to the
24   customer?
25       A.     No.



                                                                      Page 16
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                               [Exhibit B - 31]
 1       Q.     Do you know how many customers receive the
 2   communications from Vehicle Agency through the digital
 3   business card program?
 4       A.     I know that we send on average about 40,000
 5   messages a month.
 6       Q.     And when Vehicle Agency is sending the messages
 7   out, they are acting on behalf of AT&T, correct?
 8                  MS. OKCU:        Objection, calls for legal
 9   conclusion.
10                  THE WITNESS:         I would say they are sending
11   them at our request.
12       Q.     MR. GOLDEN:      And AT&T provides Vehicle Agency
13   the information about the customer's name and phone
14   number, correct?
15       A.     We do not provide them customer name, we do
16   provide the phone number that the customer provided to
17   us for contact on the day of service.
18       Q.     And when Vehicle Agency is sending out the
19   communications they're acting as the agent of AT&T,
20   correct?
21                  MS. OKCU:        Objection, calls for a legal
22   conclusion.   I don't think the witness can answer that.
23       Q.     MR. GOLDEN:      Are you gonna answer?
24       A.     Um, okay.     The contract that was provided in
25   discovery calls them a service provider, so that's the



                                                                  Page 24
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                                  [Exhibit B - 32]
 1   conflict the record and I want to make sure the witness
 2   is answering the question that you're asking and it's
 3   not clear to me if you're asking, you know, whether
 4   you're asking about multiple messages that Vehicle
 5   Agency may have sent or you're talking about March 2nd
 6   one and I'm not trying to make speaking objections, I
 7   just want to make sure that we answer the question that
 8   you're asking.
 9       Q.     MR. GOLDEN:   Well, Vehicle Agency sent a
10   message to Mr. Stone, correct?
11       A.     The record we have indicates that on March
12   the 2nd of 2017, we requested that Vehicle Agency send a
13   text message to the number provided which I understand
14   is Mr. Stone's mobile phone number.
15       Q.     And what was the purpose of that message?
16       A.     It would have been part of the technician's
17   initial contact in this service appointment.
18       Q.     And was it part of a digital business card
19   program?
20       A.     Yes.
21       Q.     And so the message would have or was intended
22   to include a picture of the technician; is that
23   accurate?
24       A.     Yes.
25       Q.     Was it supposed to have a video?



                                                              Page 38
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                               [Exhibit B - 33]
EXHIBIT C




   [Exhibit C - 34]
    In The Matter Of:
         Stone v.
   AT&T Services, et al.




        John Stone
       June 14, 2019




 Regency-Brentano, Inc.
  13 Corporate Square
        Suite 140
 Atlanta, Georgia 30329
      404.321.3333




Min-U-Script® with Word Index




     [Exhibit C - 35]
                                                                 1


                 UNITED STATES DISTRICT COURT

               SOUTHERN DISTRICT OF CALIFORNIA




 JOHN STONE,                     )
                                 )
            PLAINTIFF,           )
                                 )
 V.                              )          CASE NO.
                                 )          3:18-CV-02028-GPC-
 AT&T SERVICES, INC., A          )          MSB
 CORPORATION; VEHICLE AGENCY,    )
 LLC, A LIMITED LIABILITY        )
 COMPANY; AND DOES 1 THROUGH     )
 10, INCLUSIVE,                  )
                                 )
            DEFENDANTS.          )
 ________________________________)




                   DEPOSITION OF JOHN STONE

                   FRIDAY, JUNE 14, 2019



                   REGENCY-BRENTANO, INC.

                  CERTIFIED COURT REPORTERS

                     13 CORPORATE SQUARE

                         SUITE 140

                   ATLANTA, GEORGIA 30329

                       (404) 321 - 3333

JOB NO. 614201

REPORTED BY SOPHIA BENEDICT, CSR NO. 13981

                    Regency-Brentano, Inc.




                         [Exhibit C - 36]
                             John Stone - June 14, 2019                 7


 1       A      (No audible response.)

 2       Q      Do you have any children?

 3       A      No.

 4       Q      Does she have any children?

 5       A      No.

 6       Q      How long have you lived in the San Diego area?

 7       A      2006.

 8       Q      Where did you move here from?

 9       A      South Florida.      Hollywood, Florida.

10       Q      And does Ms. Kuang, does she have any income?

11       A      Yes.    She works full-time.

12       Q      What does she do?

13       A      She works in the hospitality field.

14       Q      All right.    Who does she work for?

15       A      She works for a restaurant that's called China

16   Max.    It's also in San Diego.

17       Q      And what does she do for China Max?

18       A      She's hostess.

19       Q      You said she works full-time, 40 hours a week;

20   is that right?

21       A      Yeah, approximately.          It varies week to week,

22   but she's considered full-time.

23       Q      All right.    And what was your phone number in

24   2017?

25       A      (858) 610-6881.

                          Regency-Brentano, Inc.




                               [Exhibit C - 37]
                              John Stone - June 14, 2019           8


 1       Q      Do you have that same phone number now?

 2       A      Yes.

 3       Q      All right.    And were you living with Ms. Kuang

 4   in 2017?

 5       A      Yes.

 6       Q      And was she working full-time in 2017?

 7       A      Yes.

 8       Q      All right.    And were you living at the address

 9   on Dabney Drive?

10       A      Yes.

11       Q      Unit 174 in 2017?

12       A      Yes.

13       Q      Okay.   And did you all have service with AT&T

14   U-verse at that time, whether it's -- let's start with

15   cable service.

16              Did you have cable or Internet with AT&T

17   U-verse in 2017?

18       A      We had DSL with AT&T, and just Internet

19   service.

20       Q      Okay.   No cable?

21       A      Correct.

22       Q      So you all just -- when you watched TV, you

23   streamed Hulu or Netflix or something like that?

24       A      We don't --

25       Q      Just don't watch TV?

                           Regency-Brentano, Inc.




                                [Exhibit C - 38]
                             John Stone - June 14, 2019                9


 1       A     No, I don't.      The TV is an old unit with rabbit

 2   ears, as a matter of fact.        That's it.

 3       Q     Is it operable?

 4       A     Yes.

 5       Q     Okay.    But it has no cable?

 6       A     Right.

 7       Q     Just picks up signal --

 8       A     Whatever --

 9       Q     Whatever signal you can pick up with the rabbit

10   ears?

11       A     Right.   Mostly Fox News with football season.

12       Q     Definitely old school.

13       A     Yes.

14       Q     When did you first get DSL Internet from AT&T?

15       A     When we first moved here in April.         It will be

16   April or May of 2016.

17       Q     And did you upgrade that at some point?

18       A     No.

19       Q     Okay.    Did you seek -- so did you seek a DSL

20   connection with AT&T, or did you have problems with your

21   DSL connection in your first quarter of 2017?

22       A     Technical problems?

23       Q     Yes, sir.

24       A     No.

25       Q     Was there any reason for AT&T to send a

                         Regency-Brentano, Inc.




                               [Exhibit C - 39]
                            John Stone - June 14, 2019                        10


 1   technician to your house on Dabney Drive in March of

 2   2017?

 3       A     Well, they were going to upgrade to the -- I

 4   guess I call it the new and improved service.

 5       Q     What's the new and improved service?

 6       A     Well, it's supposed to be faster.               I think it

 7   was -- I don't know.   Maybe satellite.              I really don't --

 8   really didn't understand what they were selling at the

 9   time, but they said that my service, the service I

10   currently had at that point in time, would only be

11   supported for a brief period of time.               So I had to go to

12   this other service.

13       Q     The DSL service?

14       A     I had DSL.   I still do have DSL.              Whatever

15   service they were wanting me to upgrade to.

16       Q     Okay.   And how did you learn about this; that

17   they were going to stop supporting the DSL service that

18   you currently had in early 2017?

19       A     From AT&T personnel.          A phone conversation.

20       Q     All right.   Did they call you, or did you call

21   them?

22       A     No.   What happened was I was on the Internet,

23   and AT&T cut my service off.        There was a white block in

24   the middle of the screen, and it said, "There's a problem

25   with your service," and there was an 800 number.               It said

                        Regency-Brentano, Inc.




                              [Exhibit C - 40]
                             John Stone - June 14, 2019                 11


 1   to call that number.    I called that number.        Then they

 2   told me about my current service would only be supported

 3   for a brief period of time, and I had to go to this other

 4   service.

 5       Q      And when about was that?

 6       A      That was approximately -- I would say the end

 7   of February 2017.

 8       Q      All right.   So you called the 800 number?

 9       A      Yes.

10       Q      All right.   Do you remember who you spoke with?

11       A      I spoke with a female employee of AT&T, but I

12   do not know her name.

13       Q      Okay.

14       A      I don't remember it.          I'm sure she identified

15   herself, but I didn't --

16       Q      And she told you that there was going to be --

17   they were no longer going to support this service and

18   offered you the upgraded service?

19       A      Yes, sir.

20       Q      And I bet there was a price increase with that?

21       A      Initially, no.      I think for the first year it

22   would be lower, and then it would go to whatever it was.

23   But yeah, I think that was just, you know, an incentive.

24       Q      Fair enough.     How much were you paying a month

25   for this AT&T DSL Internet service?

                         Regency-Brentano, Inc.




                               [Exhibit C - 41]
                               John Stone - June 14, 2019                      13


 1   number.

 2       Q       All right.    Well, if somehow in their records

 3   AT&T had your number at (858) 610-6881, you wouldn't

 4   dispute that somehow or somewhere you or your partner

 5   gave them that number; is that fair?

 6               MR. GOLDEN:     Objection.          Assumes facts not in

 7   evidence.    Argumentative.

 8               You can answer.

 9               THE WITNESS:      Oh, okay.         They got it somehow,

10   and I can't honestly say whether I remember giving it to

11   them directly, or they just got it off the phone when I

12   called their 800 number to get the service reinstated.

13   BY MR. KERTSCHER:

14       Q       Were you the person that set up the service

15   originally in 2006?

16       A       Yes.

17       Q       And were you using the phone number

18   (858) 610-6881 at that time in 2006?

19       A       At that time was shortly thereafter.              That's

20   when Li, Mrs. Kuang, purchased the Motorola Razr.                She

21   had one, and she bought one for me.                So it would be

22   approximately that period of time.

23       Q       Okay.   Did you have any phone before that?             Any

24   cell phone?

25       A       No.

                          Regency-Brentano, Inc.




                                 [Exhibit C - 42]
                              John Stone - June 14, 2019                   14


 1       Q      All right.    So do you think, then, that it's

 2   possible that you gave AT&T that number when you set up

 3   the account with them in 2006?

 4       A      I may have directly given them the number.             I

 5   really don't remember.

 6       Q      And that's part of their standard protocol,

 7   right, is to ask for your phone number, your address, you

 8   would have no reason not to give them that phone number;

 9   correct?

10       A      That's correct.

11              MR. GOLDEN:     Objection.          Lack of foundation.

12              THE WITNESS:      Okay.

13   BY MR. KERTSCHER:

14       Q      And did you speak -- between 2006 and 2017, did

15   you speak to AT&T officials at any other time on the

16   phone for any reason?

17       A      Yes.

18       Q      All right.    Tell me about that, what you

19   remember about that.

20       A      Well, I would call in if there was a problem

21   with the service.   Say it went down, it got dropped.

22   Then I would call up and report that there was something

23   wrong the service, and they would send somebody out to

24   correct it.

25       Q      And how many times do you think that happened?

                         Regency-Brentano, Inc.




                                [Exhibit C - 43]
                              John Stone - June 14, 2019                    19


 1       A       Even though I'm technologically challenged, I

 2   know how to plug a modem in.

 3       Q       Right.

 4       A       So I figured --

 5       Q       But whether they give it to you, or whether

 6   they set it up, they somehow have to knock on your door

 7   and interact with you?

 8       A       Yes.    They did knock on the door.            And after

 9   the technician did something with the hardware, AT&T's

10   equipment, outside the residence, and then I informed him

11   that Li, who was not feeling well, was still in bed.

12   And, "Just give me the modem, and I will be more than

13   happy to plug it in."      They said, "No.            I have to do

14   something with the computer."           I said, "Well, then you're

15   going to have to come back because she's sleeping."

16       Q       Okay.

17       A       He said, "Okay," and he left.              He said there

18   was nothing -- nothing --

19       Q       Did you know what day he was coming?

20       A       They probably sent a message.              I'm sure they

21   did.    I'm not really sure what day it was.              I mean,

22   according to their records, it's March 2nd.

23       Q       All right.

24       A       But I don't remember if they said what day he

25   was coming, or, "They're going to send" -- "They'll let

                           Regency-Brentano, Inc.




                                [Exhibit C - 44]
                              John Stone - June 14, 2019           20


 1   you know via text message."

 2       Q      All right.    And who told you that?

 3       A      It would have to be the woman I spoke to at

 4   AT&T.

 5       Q      Okay.   So she told you that they would be

 6   identifying via text message when you -- when the

 7   technician would be coming out?

 8       A      Yes, I believe so.

 9       Q      Okay.

10       A      It's quite a while ago, though.            So...

11       Q      Understood.     And did you -- had you been

12   previously texting on your -- you had this phone, the

13   Razr V3, I think it's called, since 2006, and you're

14   having this conversation 11 years later in 2017 with an

15   AT&T representative.

16              Had you been previously texting on your phone

17   in the past 11 years?

18       A      I never texted.

19       Q      All right.    Did you tell that to the AT&T rep

20   when she told you you were going to be getting a text?

21       A      No.

22       Q      Did you tell her what phone number to send the

23   text to?

24       A      No.

25       Q      Okay.   Did you wonder how she knew what number

                         Regency-Brentano, Inc.




                                [Exhibit C - 45]
                            John Stone - June 14, 2019                          21


 1   the text would come from?

 2       A      Honestly, I don't think so.              I just -- I didn't

 3   even know -- I wasn't even thinking about it.               I can't

 4   recall that.

 5       Q      Okay.

 6       A      It was a conversation -- it was a lengthy

 7   conversation.   And because I -- initially, I was

 8   resisting.   I said, "Well, I'm happy with what I have."

 9   Okay.   Then she said it wasn't being supported anymore.

10   So in a short while, it wasn't going to be supported.                 So

11   that's why I agreed to change over.             Okay.    As far as the

12   exact conversation with her -- no.            As far as if I

13   actually gave her my phone number, in all honesty, I

14   don't remember.

15       Q      Okay.   Did you tell her that you were not used

16   to texting on your Razr V3 phone when she told you you

17   were going to be receiving a text with the technician's

18   information?

19       A      No, I did not.

20       Q      Did you tell her that you had a Motorola Razr

21   V3 that was -- that you had for 11 years --

22       A      No, I did not.

23       Q      -- when she told you you were going to be

24   receiving a text?

25       A      No, I did not.

                         Regency-Brentano, Inc.




                              [Exhibit C - 46]
                            John Stone - June 14, 2019             22


 1       Q     How did she describe the text that you would be

 2   receiving?

 3       A     I don't remember her describing it.

 4       Q     Okay.   Do you recall -- and this is still a

 5   conversation with AT&T in late February 2017; is that

 6   right?

 7       A     Yes.    That was the only conversation I had with

 8   them.

 9       Q     Okay.   And so then do you recall, then,

10   receiving something on your phone that you may have

11   interpreted as a text at some point in the week or two

12   thereafter?

13       A     I believe they did send something over the

14   phone, yes.

15       Q     Okay.   What do you remember that being?

16       A     I think it was -- it had something to do with

17   the installation of the new upgraded service.

18       Q     Did it have -- was it an appointment reminder?

19       A     I believe it was.

20       Q     Did you have any problem or complaint with them

21   sending that to you?

22       A     At the time, no.

23       Q     And was that text that you received with that

24   appointment reminder in early March of 2017, is that the

25   basis of anything in your lawsuit here today?

                         Regency-Brentano, Inc.




                              [Exhibit C - 47]
                             John Stone - June 14, 2019                  23


 1             MR. GOLDEN:     Objection.          Lack of foundation.

 2   Calls for a legal conclusion.

 3   BY MR. KERTSCHER:

 4       Q     You can answer, sir.

 5             Are you suing because of that first text that

 6   you got for an appointment reminder in March of 2017?

 7             MR. GOLDEN:     Objection.          Lack of foundation.

 8   Calls for a legal conclusion.

 9   BY MR. KERTSCHER:

10       Q     Go ahead.

11       A     Okay.   Absolutely not.

12       Q     Thank you, sir.       And was the reminder that you

13   received via text, was that helpful to you in reminding

14   you that there would be a technician coming to visit you

15   at a certain time?

16       A     I imagine it would, sir.

17       Q     Okay.   Very good.        And so then when that guy

18   showed up and knocked on your door, and your partner was

19   sick, you weren't surprised?         You knew somebody was going

20   to be coming there, and you had already prepared to say,

21   "You got to come back later on"; is that fair?

22       A     That night, she told me she wasn't feel very

23   well.   And she was up most of the night.            So when he

24   came, she was still asleep, and I just didn't want to

25   bother her.

                          Regency-Brentano, Inc.




                               [Exhibit C - 48]
                             John Stone - June 14, 2019                        25


 1       A      It just gave -- it said it was good for,

 2   approximately, a two-day period.             It gave a date and a

 3   time on the service reminder.          And that was it.         I tried

 4   to open them, but I couldn't open them.               Okay.    It said,

 5   I think -- I'm not going to say "insufficient data," but

 6   it was, like, insufficient capacity, space, or whatever

 7   with the Razr.     And so that was it.           I never followed up

 8   on it with AT&T, because I was happy with the service I

 9   had.    And to date, I have the same service.

10       Q      Okay.

11       A      It's still supported.

12       Q      It's still supported.          Okay.      All right.    I

13   understand.

14              You said something a minute ago.              You said it

15   said "insufficient service" when you tried to download

16   it, and then you said "with the Razr."

17       A      Yeah.

18       Q      What do you mean by that?

19       A      Well, the phone.       The phone itself.           When I

20   would try to download or open the message, it wouldn't

21   open.

22       Q      Okay.

23       A      Okay.   So I think it said --

24       Q      And do you think that was due to -- because it

25   was an old phone, or why did you think that was?

                          Regency-Brentano, Inc.




                               [Exhibit C - 49]
                             John Stone - June 14, 2019           26


 1       A      I imagine it was, yeah, because at that time,

 2   the phone was probably, approximately, 10 to 11 years

 3   old.

 4       Q      All right.    And let me ask you some questions

 5   about that phone for a second.

 6              You said Ms. Kuang gave it to you as a present;

 7   is that right?

 8       A      Yes.

 9       Q      Do you know where she purchased it from?

10       A      They picked it up at one of the local -- I

11   imagine it was T-Mobile stores.

12       Q      You say, "I imagine."

13              Does that mean you're not really sure?

14       A      Yeah.    I mean, I know she didn't get in the

15   mail.   I know that.

16       Q      Okay.

17       A      So, yeah.    It had to be somebody local,

18   T-Mobile store.

19       Q      She bought it somewhere?

20       A      Yeah, in the San Diego area.

21       Q      Right.    But you weren't with her when she

22   bought it?

23       A      That's correct.

24       Q      All right.    So you're not sure if it was a

25   T-Mobile store or where she would've bought it from?

                          Regency-Brentano, Inc.




                               [Exhibit C - 50]
                              John Stone - June 14, 2019                  34


 1       Q      Right.    But not certainly not with you and

 2   Ms. Kuang?   So the bill goes to a different address;

 3   correct?

 4       A      Separate residence, yes.

 5       Q      Right.    And so if T-Mobile -- have you ever

 6   given T-Mobile your address?

 7       A      For billing purposes on the Internet.

 8       Q      Okay.    Did you set up Internet with service

 9   with T-Mobile?

10       A      Excuse me.    Only AT&T.           No, T-Mobile doesn't

11   have our home address, to my knowledge, no.

12       Q      Okay.    Fair enough.        That's what I was trying

13   to get at.

14       A      Oh, okay.

15       Q      Thank you.    So it stands to reason that if

16   T-Mobile had sent some sort of notice about MMS not

17   working with your phone, it would not have gone to your

18   address, it would have gone to your brother-in-law's

19   address -- or your sister-in-law's address?

20              MR. GOLDEN:     Objection.          Lack of foundation.

21   Calls for speculation.

22              THE WITNESS:      Honestly, I don't know, sir.

23   BY MR. KERTSCHER:

24       Q      Okay.    I assume you've never been able to

25   download any other type of MMS message?

                          Regency-Brentano, Inc.




                                [Exhibit C - 51]
                             John Stone - June 14, 2019               35


 1       A      In all honesty, if you asked me to define MMS,

 2   I couldn't define it for you.          I simply don't know

 3   anything about it.

 4       Q      All right.    It's a message -- it's a text

 5   message that you get that has attached with it something

 6   more than words.     Something like a video or a picture.

 7       A      I never had that come over.

 8       Q      Okay.    Very good.      The first message that you

 9   got about the first DSL installation that you testified

10   about earlier, did you have any problem with that first

11   message?

12       A      After I talked to the people at AT&T?

13       Q      Well, there's a first message that you got, and

14   that reminded you about the first time the AT&T

15   technician was coming out; right?

16       A      Right.

17       Q      And then that person did come out?

18       A      Right.

19       Q      And you had to turn him away because your

20   partner was sick that morning?

21       A      Yes.

22       Q      Were you ever able to delete that message off

23   your phone?

24       A      I was probably able to.

25       Q      Okay.    So -- and then the next message that you

                          Regency-Brentano, Inc.




                               [Exhibit C - 52]
                              John Stone - June 14, 2019                  38


 1   "Expires on" and "Received"?

 2       A      Yes.

 3       Q      Okay.    And you interpreted that as saying a

 4   three-day window from when the technician might come out?

 5   Is that what you interpreted that?

 6       A      No.

 7       Q      What did you interpret that as being?

 8       A      As just a message.

 9       Q      All right.    Did you understand the message

10   would expire on a certain day?            Is that what you

11   interpreted that to mean?

12       A      Yes.    And the date it's dated on the screen.

13       Q      All right.    And you understood this is not the

14   actual message, but this is a reminder to download the

15   message?

16              MR. GOLDEN:     Objection.          Lack of foundation.

17   Calls for a legal conclusion.

18              THE WITNESS:      Yes.     I interpreted it as a

19   reminder, continuous reminder.

20   BY MR. KERTSCHER:

21       Q      Right.

22       A      24/7.

23       Q      But then it says -- when it says "download," it

24   doesn't really -- you tried to download.              Obviously it

25   didn't work.     You were never able -- let me ask you this:

                          Regency-Brentano, Inc.




                                [Exhibit C - 53]
                            John Stone - June 14, 2019                    41


 1   derogatory sense -- the rank and file.               Basically the

 2   number off the bill here, the Internet bill, and I told

 3   them the problem.   And I was told by whoever I talked to

 4   that the problem -- it would take 30 days for -- to stop

 5   all messages, advertising, this and that.               It takes

 6   30 days for it to go into the system.               I said, "Okay,

 7   fine," took the information.        And after 30 days, the

 8   messages still continued.      And -- okay.           Go ahead.

 9       Q     Yeah.   So let me ask -- we'll come back to that

10   in a moment.    I want to ask:      Before filing this lawsuit,

11   did you check Xue Peng's phone records to see if they

12   showed an incoming message from 73303?

13       A     I did not.

14       Q     Okay.   Have you since looked at the phone

15   records to see -- since this litigation to see if there

16   were any incoming messages from 73303?

17       A     No.   I got all the records from T-Mobile, and I

18   didn't see anything like that.

19       Q     And did you go, at any point -- how many

20   T-Mobile stores do you think there are in the greater

21   San Diego area?

22       A     I have no idea.

23       Q     You've seen them before as you drive around,

24   those little sort of boxy T-Mobile stores?

25       A     (No audible response.)

                         Regency-Brentano, Inc.




                              [Exhibit C - 54]
                            John Stone - June 14, 2019                42


 1       Q     Is that a yes?

 2       A     Yes.

 3       Q     Thank you.    So we looked it up online.     There's

 4   actually, depending on how far -- how many miles out you

 5   go from the city center, there's as many as 30 in the

 6   greater metro area.    In town, there's more -- like less,

 7   17 or 18, if you stay in town.

 8             Did you ever go to any of those T-Mobile stores

 9   and hand them your phone and ask them what the problem

10   was?

11       A     No, I did not.

12       Q     You're aware that AT&T also has those little

13   boxy stores like that?     There's fewer of those in

14   San Diego, but are you aware of AT&T stores in the

15   San Diego area?

16       A     I've seen them, yes.

17       Q     Did you ever go to an AT&T store and hand them

18   your phone and ask them to help you fix it?

19       A     No, I did not.

20       Q     Okay.   And looking at Exhibit 2 in front of

21   you -- I think from your discovery responses -- I think

22   this is true, but I want to make sure when I ask you here

23   today.

24             Is the only evidence you have that my client,

25   Vehicle, that they sent that reminder -- that they sent

                        Regency-Brentano, Inc.




                              [Exhibit C - 55]
                             John Stone - June 14, 2019                  43


 1   those 115 reminder messages to you, is the only evidence

 2   you have is the notation 73303 on there?

 3             MR. GOLDEN:     Objection.          Lack of foundation.

 4   Calls for a legal conclusion.

 5   BY MR. KERTSCHER:

 6       Q     Go ahead, sir.

 7       A     Okay.   Yes, this is the only evidence I have.

 8       Q     Okay.   Let's go back to what you were

 9   testifying about earlier.

10             So you said you talked to some rank and file

11   folks I think was your word, your term --

12       A     Yes.

13       Q     -- beginning in about May of 2017, and they

14   told you it would take about 30 days; is that right?

15       A     Yes, for it to go into the system.

16       Q     All right.    And then how -- did they stop

17   coming less frequently, then, or how -- what happened

18   then?

19       A     The messages?

20       Q     Yes, sir.

21       A     No.

22       Q     All right.    How often were they coming at that

23   point?

24       A     They were coming every day randomly, at random

25   times during the day.     And also -- well, later on, they

                         Regency-Brentano, Inc.




                               [Exhibit C - 56]
                              John Stone - June 14, 2019                    57


 1   him -- or remember a female employee at AT&T telling me

 2   to hit "STOP" or "CANCEL."

 3       Q       Okay.   The last sentence of that paragraph

 4   says, "Advised should he continue to have further issues,

 5   he would need to reach out to his service provider."

 6               Do you see that?

 7       A       (No audible response.)

 8       Q       Do you remember having any discussions with

 9   anyone at AT&T about the fact that you would need to

10   reach out to your service provider?

11       A       Yes.    They said that they weren't the service

12   provider; T-Mobile was the service provider, and et

13   cetera, yes.

14       Q       When were you first told that you should reach

15   out to T-Mobile as your service provider?

16       A       I can't give you a date on that.            I don't

17   remember.

18       Q       Was it before or after September 2017?

19       A       I would say that would be after.

20       Q       Was it before or after December of 2017?

21       A       Difficult to say.        I really don't -- I believe

22   that was after I started dealing with the executive

23   offices, which was in September of 2017.              As far as when

24   it was, the exact date on it, I can't tell you.

25       Q       But it's fair to say that it was sometime in

                           Regency-Brentano, Inc.




                                [Exhibit C - 57]
                             John Stone - June 14, 2019                      71


 1   downloaded and never shown to you; is that right?

 2       A     As far as I can remember.              That's correct, sir.

 3       Q     Okay.    And I want to ask how you were harmed in

 4   this -- we've talked about that you bought a new phone

 5   for 19.95, and we've talked about you've deleted a number

 6   of these things, and you had to turn your phone off at

 7   night.

 8       A     Correct.

 9       Q     Can you describe any other injuries that you've

10   suffered as a result of this -- these texts?

11       A     Certainly no physical injuries.              If anything,

12   it was just aggravation.       It was frustrating when dealing

13   with AT&T, and denial that they had anything to do with

14   it, and my constant insistence was it says AT&T on it,

15   and that's the only AT&T I know of.

16       Q     Let me stop you.        I'm sorry to interrupt you,

17   but I just want to keep us focused here for purposes of

18   moving this along today.       And maybe AT&T's counsel will

19   ask you about that, but I'm just focused right now on how

20   you were harmed by the text messages that you received

21   into your phone.

22             Is there anything -- you said it was

23   aggravating to receive those -- anything else?              Any other

24   way in which you would describe how you were harmed by

25   receiving the text messages into your phone?

                          Regency-Brentano, Inc.




                               [Exhibit C - 58]
                             John Stone - June 14, 2019                  72


 1       A     No.    It was aggravating.           It was annoying.

 2   And --

 3       Q     And then -- I'm sorry.

 4       A     Again, as I said before, just the dead ends I

 5   was hitting with AT&T.

 6       Q     Okay.    And, in fact, the dead ends you hit with

 7   AT&T, is that part of why you brought this lawsuit; is

 8   that right?

 9       A     Yes.

10       Q     And then I understand the text messages stopped

11   coming -- or the reminders stopped coming in 2018,

12   September 2018?    That's what you said in your

13   interrogatory responses.

14       A     Yes.    I believe the last one was in the middle

15   of September 2018.

16       Q     Now, this is something that I'm not sure

17   anybody in the room knows the answer to that, but do you

18   know why they stopped coming?

19       A     I can give my hypothesis of it if you want.

20       Q     No, no.    I mean, do you have any facts?           Did

21   you do anything or your lawyer do anything that you're

22   aware of to bring about those stopping in September of

23   2018?

24       A     The only thing I was aware of that my attorney

25   did was he filed the action.

                          Regency-Brentano, Inc.




                               [Exhibit C - 59]
                              John Stone - June 14, 2019                 77


 1   is -- it says AT&T.     And, you know, that's who the

 2   Internet service is with, and that's who I contacted

 3   after they cut the Internet service off.              So that was

 4   just my understanding that this was coming from AT&T.

 5         Q    But you knew your cell phone provider was not

 6   AT&T; correct?

 7         A    Correct.

 8         Q    And you knew that you were not receiving the

 9   messages on your cell phone; is that correct?

10         A    That's correct.

11         Q    You testified earlier that you use the Internet

12   to do some searches; is that correct?

13         A    Yes, as a DSL, yes.

14         Q    Did you ever look up the short code 73303?

15         A    Specifically, I do not think I did, no.

16         Q    During the entire time that you owned your

17   phone, did you ever take your phone to be looked at or

18   repaired at any time?

19         A    No, I did not.

20              MS. OKCU:    I don't think I have anything

21   further.

22              THE WITNESS:      Thank you.

23              MR. KERTSCHER:       Yeah, I don't -- let me ask

24   this.

25   ///

                           Regency-Brentano, Inc.




                                [Exhibit C - 60]
EXHIBIT D




   [Exhibit D - 61]
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EXHIBIT E




   [Exhibit E - 63]
[Exhibit E - 64]
EXHIBIT F




   [Exhibit F - 65]
     Jeremy S. Golden (SBN 228007)
     Golden & Cardona-Loya, LLP
 2   3130 Bonita Road, Suite 200B
 3   Chula Vista, CA 9191 0
     Phone: 619-476-0030 Fax: 775-898-5471
 4
     jeremy@goldencardona.com
 5   Attorney for Plaintiff John Stone
 6

 7
                         UNITED STATES DISTRICT COURT
 8
                       SOUTHERN DISTRICT OF CALIFORNIA
 9

w    JOHN STONE,                                        )   Case No.: 18CV2028 GPC-MSB
II                                                      )
                   Plaintiff,                           )
12
                                                        )   Plaintiff's Responses to Defendant
13   v.                                                 )   Vehicle Agency's Special Interrogatories
                                                        )
14
     AT&T SERVICES, INC. eta!.,                         )
15                                                      )   SET NO. ONE
16
                   Defendants.                          )
     ____________________)
17

18

19
     PROPOUNDING PARTY:                     Defendant VEHICLE AGENCY,
20
     RESPONDINGPARTY:                       Plaintiff JOHN STONE
21
     SET NUMBER:                            One
22
           Defendant responds to Plaintiff's Special IntetTogatories, set no. 1 as
23
     follows:
24
           It should be noted that responding party has not fully completed
25
     investigation of the facts relating to this case, has not fully completed discovery in
26
     this action, and has not completed preparation for trial. All of the responses
27
     contained herein are based only upon such information and documents which are
28
     presently available to and specifically known to this responding party. This


                      Plaintiffs Responses To Defendant Vehicle Agency's Special Interrogatories

                                                [Exhibit F - 66]
     responding party discloses only those contentions which presently occurred to such
 2   responding party. It is anticipated that further discovery, independent investigation,
 3   legal research and analysis will supply additional facts, and meaning to known
 4   facts as well as establishing entire new factual conclusions and legal contentions,
 5   all of which may lead to substantial additions, charges and variations to the
 6   contentions herein set forth.
 7         The following responses are given without prejudice to responding party's
 8   right to produce evidence and any subsequent discovery fact or facts which this
 9   responding party may later recall. Responding party accordingly reserves the right
10   to change any and all responses herein as additional facts are ascertained, analysis
11   are made, legal search is completed and contentions are made. The answers
12   contained herein are made in a good faith effort to supply as much factual
13   information and as much specific legal contentions as is presently known, but
14   should in no way be to the prejudice of this responding party in relation to further
15   discovery, research or further analysis. Responding party specifically reserves and
16   does not waive any and all privileges including, but not limited to, attorney-client,
17   work product, and trade secret.
18   SPECIAL INTERROGATORY NO.1
19   Identify the make, model and software/firmware version of the cell phone which is
20   alleged to have received the "automated text messages" at issue in this action, the
21   telephone number associated with such cell phone, and the time frame in which
22   you have used such cell phone, including the estimated purchase date.
23   RESPONSE TO SPECIAL INTERROGATORY NO. 1
24   Objection: compound and overbroad. Without waiting said objections, Motorola
25   Razor Flip Phone, 858-610-6881, Plaintiff used the phone from approximately
26   2007 to January 2019.
27   //

28   //



                                                          2
                      Plaintiffs Responses To Defendant Vehicle Agency's Special Interrogatories


                                                [Exhibit F - 67]
     SPECIAL INTERROGATORY NO.2
 2   Identify all "automated text messages" you claim to have received from AT&T
 3   and/or Vehicle, including: the date/time of such message; the substance of such
 4   measures; and identifying what action you took in response to each such message
 5   to notify AT&T, Vehicle or any third party of the messages to request that stop
 6   being sent.
 1   RESPONSE TO SPECIAL INTERROGATORY NO.2
 8   Objection: compound and overbroad. Without waiting said objections, Plaintiff
 9   received continuous text messages from approximately March 2016 through
10   September 2018. Plaintiff estimates he received approximately 2,000 test message.
11   The messages would come during the day and night. The messages were sent
12   multiple times per day. Plaintiff turned his phone off at night to avoid the barrage
13   of messages. Plaintiff contacted AT&T multiple times to request the text message
14   to stop. Plaintiff spoke with multiple representatives. Plaintiff sent a Christmas
15   card to the CEO of AT&T, Randall L. Stephenson to his address at 5404 Walnut
16   Hill Lane, Dallas, TX 75229 with a note to investigate and stop the constant
17   messages. Pursuant to FRCP 33(d) please also see the documents produced
18   concurrently.
19   SPECIAL INTERROGATORY NO.3
20   Identify each communication you have had with AT&T (including but not limited
21   to "Colleen, Brenda, Kelli, Teresa an [sic J Cheri", as identified in your Initial
22   Disclosures) regarding the allegations of the Complaint, including: (1) the date of
23   such communication: (2) who the communication was with; (3) the means of such
24   communication (e.g. whether the communication was written, oral or via text
25   message); and (4) the substance ofthe communication.
26   RESPONSE TO SPECIAL INTERROGATORY NO.3
21   Objection: compound and overbroad. Plaintiff requested that the text messages
28   stop. The communications were over a long period of time from at approximately

                                                          3
                      Plaintiff's Responses To Defendant Vehicle Agency's Special Interrogatories


                                                [Exhibit F - 68]
     2016 to 2018. The communications were via the telephone. Pursuant to FRCP
 2   33(d) please also see the documents produced concurrently.
 3   SPECIAL INTERROGATORY NO. 4
 4   Identify each communication in which you conveyed to Vehicle Agency a request
 5   "that the automated messages stop", as alleged in Para. 9 ofthe Complaint,
 6   including: (1) the date of such communication: (2) who the communication was
 7   with; (3) the means of such communication (e.g. whether the communication was
 8   written, oral or via text message); and (4) the substance of the communication.
 9   RESPONSE TO SPECIAL INTERROGATORY NO.4
10   Plaintiff did not make a contact directly to Vehicle Agency. Please see responses
tt   to interrogatories numbers 3 and 4 regarding the requests made to AT&T.
12   SPECIAL INTERROGATORY NO.5
13   Identify each communication you have had with any third-party regarding the
14   allegations ofthe Complaint, including: (1) the date of such communication: (2)
15   who the communication was with; (3) the means of such communication (e.g.
16   whether the communication was written, oral or via text message); and (4) the
17   substance of the communication.
18   RESPONSE TO SPECIAL INTERROGATORY NO.5
19   Objection: overbroad, vague, harassing, invasion of privacy, attorney-client
20   privilege and attorney work product. Without waiving said objections, see
21   responses to interrogatories numbers 2 and 3 regarding the requests made to
22   AT&T.
23   SPECIAL INTERROGATORY NO.6
24   Describe in detail all measures you have taken to make the alleged automated text
25   messages stop, including the date of any such measures, the substance of any such
26   measures, the identity of any other individual or party involved in such measures,
27   and any documents related to such measures.
28   //



                                                        4
                     Plaintiffs Responses To Defendant Vehicle Agency's Special Interrogatories


                                               [Exhibit F - 69]
     RESPONSE TO SPECIAL INTERROGATORY NO.6
 2   Objection: overbroad and compound. Without waiving said objections, see
 3   responses to interrogatories numbers 2 and 3. Plaintiff further looked into how to
 4   black incoming messages.
 5   SPECIAL INTERROGATORY NO.7
 6   State the factual basis for your entitlement to emotional distress and/or pain and
 7   suffering damages in this case.
 s RESPONSE TO SPECIAL INTERROGATORY NO.7
 9   See response to interrogatory numbers 2 and 3. Plaintiff is entitled to emotional
10   distress and/or pain and suffering pursuant to the invasion of privacy cause of
11   action. Plaintiff suffered emotional distress from the constant messages including
12   stress, frustration, loss of sleep, annoyance and aggravation.
13   SPECIAL INTERROGATORY NO.8
14   State the factual basis for your entitlement to punitive damages in this case.
15   RESPONSE TO SPECIAL INTERROGATORY NO.8
16   See response to interrogatory numbers 2 and 3. Plaintiff is entitled to punitive
17   damages pursuant to the invasion of privacy cause of action. He is entitled to
18   treble damages pursuant to 47 U.S. C. §227(b)(3).
19   SPECIAL INTERROGATORY NO.9
20   Identify the contents of each text message at issue in the Complaint, including any
21   content related to a Uverse appointment reminder message (e.g. photograph of
22   service technician, the technician's anticipated time of arrival for the appointment,
23   a link to download the self-service mobile app, etc.).
24   RESPONSE TO SPECIAL INTERROGATORY NO.9
25   See response to interrogatory numbers 2 and 3. Pursuant to FRCP 33(d) please
26   also see the documents produced concurrently.
27   //

28   //



                                                          5
                      Plaintiffs Responses To Defendant Vehicle Agency's Special Interrogatories


                                                [Exhibit F - 70]
     SPECIAL INTERROGATORY NO. 10
 2   With respect to each text message you claim to have received, did the message
 3   consist of: (1) message details with an option to "Download" the message
 4   (including a "Download" button on the lower right comer of the message); or (2) a
 5   substantive message itself (e.g. photograph of service technician, the technician's
 6   anticipated time of arrival for the appointment, a link to download the self-service
 7   mobile app, etc.).
 8   RESPONSE TO SPECIAL INTERROGATORY NO. 10
 9   See response to interrogatory numbers 2 and 3. Pursuant to FRCP 33(d) please
10   also see the documents produced concurrently. Additionally, there is a download
11   section at the lower right of Plaintiff's screen. He attempted to download the
12   message and it would read insufficient memory.
13   SPECIAL INTERROGATORY NO. 11
14   For each message identified in response to Interrogatory No. 10 with an option to
15   "Download", indicate whether you attempted to select the "Download" button and
16   identify in detail the results of each such selection.
11   RESPONSE TO SPECIAL INTERROGATORY NO. 11
18   Plaintiff did attempt to download the message and when he would try it would read
19   insufficient memory.
20   TO SPECIAL INTERROGATORY NO. 12
21   Other than the service appointment reminder messages at issue in this action,
22   identify any other messages you claim to have received from AT&T, Vehicle, or
23   third parties consisting of additional/duplicate messages beyond the original
24   message, and whether those messages were: (I) notifications that the message
25   could be downloaded; or (2) actual messages with specific content.
26   II
21   II
28   II

                                                          6
                      Plaintiff's Responses To Defendant Vehicle Agency's Special Interrogatories


                                                [Exhibit F - 71]
..


         RESPONSE TO SPECIAL INTERROGATORY NO. 12
     2   Objection: overbroad, argumentative, compound and vague. Without waiving said
     3   objections, see responses to interrogatories numbers 2 and 3. Pursuant to FRCP
     4   33(d) please also see the documents produced concurrently.
     5   SPECIAL INTERROGATORY NO. 13
     6   Identify any additional expenses your T-Mobile service plan has incurred as a
     7   result of receiving the alleged messages.
     8   RESPONSE TO SPECIAL INTERROGATORY NO. 13
     9   Objection: vague and ambiguous and not calculated to lead to admissible evidence.
 IO      Without waiving said objection, Plaintiff is not aware of any additional expenses.
 II

 I2

 I3      Dated:   ~ / ) /11
 14
                                                 J     y S. Golden
                                                 Attorney for Plaintiff
 15

 16

 I7

 I8

 I9

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                          Pl aintiffs Responses To Defendant Vehicle Agency's Special In terrogatories


                                                     [Exhibit F - 72]
EXHIBIT G




   [Exhibit G - 73]
   Information Provided To:

   Agency:                             Attorney/Other
   Requestor:                          JEREMY GOLDEN
   Agent Address:                      3130 BONITA ROAD
   Billing City, State, Zip:           CHULA VISTA, CA 91910‐0000                                                                                                  Request Submission Response
   Provided On:                        April 09, 2019

   This is in response to the Subpoena, 3:18‐cv‐02028‐GPC‐MSB, dated March 13, 2019, which was served upon T‐Mobile US, Inc. You have requested information for the
   subscriber associated with MSISDN: 8586106881. All times below are reflected in Coordinated Universal Time (UTC).

      Date        Time      Duration     Call Type      Direction   Calling Number   Dialed Number     Called Number      Destination           IMSI              IMEI         Completion     Service Switch Name
                                                                                                                           Number                                                Code          Code
    04/08/2017   11:29:16      60      mSTerminatingS   Incoming         129                            18586106881                        310260253792880   352509010940640   Completed               ORMSS349
                                         MSinMSC                                                                                                                               Successfully
    04/09/2017   04:35:14      16      mSTerminating    Incoming      8586106882                        18586106881                        310260253792880   352509010940640   Completed        11     CRMSS345
                                                                                                                                                                               Successfully
    04/10/2017   04:17:29      13      mSTerminating    Incoming      8586106882                        18586106881                        310260253792880   352509010940640   Completed        11     CRMSS345
                                                                                                                                                                               Successfully
    04/10/2017   16:29:29               mSOriginating   Outgoing      8586106881         73303             73303              51           310260253792880   352509010940640   Completed               CRMSS345
                                                                                                                                                                               Successfully
    04/10/2017   16:29:44      49       mSOriginating   Outgoing      8586106881      18586106882       18586106882       18586106882      310260253792880   352509010940640   Completed               CRMSS345
                                                                                                                                                                               Successfully
    04/10/2017   17:41:19      26      mSTerminating    Incoming      8586106882                        18586106881                        310260253792880   352509010940640   Completed        11     CRMSS345
                                                                                                                                                                               Successfully
    04/10/2017   18:00:47               mSOriginating   Outgoing      8586106881      18586106882       18586106882       18586106882      310260253792880   352509010940640   Completed               CRMSS345
                                                                                                                                                                               Successfully
    04/10/2017   18:51:01      60      mSTerminatingS   Incoming     16193691471                        18586106881                        310260253792880   352509010940640   Completed               CRMSS345
                                         MSinMSC                                                                                                                               Successfully
    04/10/2017   21:24:58              mSTerminating    Incoming      5102284735                        18586106881                        310260253792880   352509010940640    Abnormal        11     CRMSS345
                                                                                                                                                                               Completion
    04/11/2017   05:11:09      49      mSTerminating    Incoming      8586106882                        18586106881                        310260253792880   352509010940640   Completed        11     CRMSS345
                                                                                                                                                                               Successfully
    04/11/2017   05:12:09      3       callForwarding   Outgoing      8586106882      18056377249       18056377249       18056377249      310260253792880                     Completed      011;29   CRMSS345
                                                                                                                                                                               Successfully
    04/11/2017   05:12:16      24       mSOriginating   Outgoing      8586106881      18586106882       18586106882       18586106882      310260253792880   352509010940640   Completed               CRMSS345
                                                                                                                                                                               Successfully
    04/11/2017   11:58:04      60      mSTerminatingS   Incoming         129                            18586106881                        310260253792880   352509010940640   Completed               CRMSS345
                                         MSinMSC                                                                                                                               Successfully
    04/11/2017   14:08:02      118      mSOriginating   Outgoing      8586106881      18004374148       18004374148    11818633180043741   310260253792880   352509010940640   Completed               CRMSS345
                                                                                                                              48                                               Successfully
    04/11/2017   17:39:42      61      mSTerminating    Incoming      8586106882                        18586106881                        310260253792880   352509010940640   Completed        11     CRMSS345
                                                                                                                                                                               Successfully
    04/12/2017   00:06:47      41       mSOriginating   Outgoing      8586106881      18056377243       18056377243       13235409999      310260253792880   352509010940640   Completed               CRMSS345
                                                                                                                                                                               Successfully
    04/12/2017   00:07:36      60      mSTerminatingS   Incoming         129                            18586106881                        310260253792880   352509010940640   Completed               CRMSS345
                                         MSinMSC                                                                                                                               Successfully
    04/12/2017   04:53:21      10      mSTerminating    Incoming      8586106882                        18586106881                        310260253792880   352509010940640   Completed        11     CRMSS345
                                                                                                                                                                               Successfully
    04/12/2017   11:16:37      60      mSTerminatingS   Incoming         129                            18586106881                        310260253792880   352509010940640   Completed               CRMSS345
                                         MSinMSC                                                                                                                               Successfully


Information Provided By:
T‐Mobile US, Inc.                                                                        4 Sylvan Way, Parsippany, New Jersey 07054                                                                      Page: 1 of 42
Law Enforcement Relations                                                                   Tel: 866‐537‐0911; Fax: 973‐292‐8697


                                                                                                    [Exhibit G - 74]
    04/13/2017   04:22:11   250    mSOriginating    Outgoing   8586106881    18056377243       18056377243       13235409999      310260253792880   352509010940640   Completed           CRMSS345
                                                                                                                                                                      Successfully
    04/13/2017   04:27:42    60    mSTerminatingS   Incoming      129                          18586106881                        310260253792880   352509010940640   Completed           CRMSS345
                                     MSinMSC                                                                                                                          Successfully
    04/13/2017   04:59:44   12     mSTerminating    Incoming   8586106882                      18586106881                        310260253792880   352509010940640   Completed      11   CRMSS345
                                                                                                                                                                      Successfully
    04/13/2017   11:21:41    60    mSTerminatingS   Incoming      129                          18586106881                        310260253792880   352509010940640   Completed           CRMSS345
                                     MSinMSC                                                                                                                          Successfully
    04/13/2017   23:49:59   513     mSOriginating   Outgoing   8586106881    18008677183       18008677183    11818633180086771   310260253792880   352509010940640   Completed           CRMSS345
                                                                                                                     83                                               Successfully
    04/14/2017   04:46:01   12     mSTerminating    Incoming   8586106882                      18586106881                        310260253792880   352509010940640   Completed      11   SFMSS347
                                                                                                                                                                      Successfully
    04/14/2017   11:24:03    60    mSTerminatingS   Incoming      129                          18586106881                        310260253792880   352509010940640   Completed           SFMSS347
                                     MSinMSC                                                                                                                          Successfully
    04/15/2017   11:32:46    60    mSTerminatingS   Incoming      129                          18586106881                        310260253792880   352509010940640   Completed           CRMSS345
                                     MSinMSC                                                                                                                          Successfully
    04/15/2017   19:12:14   1114    mSOriginating   Outgoing   8586106881    18008677183       18008677183    11818633180086771   310260253792880   352509010940640   Completed           CRMSS345
                                                                                                                     83                                               Successfully
    04/16/2017   04:57:29   15     mSTerminating    Incoming   8586106882                      18586106881                        310260253792880   352509010940640   Completed      11   CRMSS345
                                                                                                                                                                      Successfully
    04/16/2017   11:21:30    60    mSTerminatingS   Incoming      129                          18586106881                        310260253792880   352509010940640   Completed           CRMSS345
                                     MSinMSC                                                                                                                          Successfully
    04/17/2017   04:51:55   18     mSTerminating    Incoming   8586106882                      18586106881                        310260253792880   352509010940640   Completed      11   CRMSS345
                                                                                                                                                                      Successfully
    04/17/2017   11:25:27    60    mSTerminatingS   Incoming      129                          18586106881                        310260253792880   352509010940640   Completed           CRMSS345
                                     MSinMSC                                                                                                                          Successfully
    04/17/2017   15:02:41   20     mSTerminating    Incoming   8586106882                      18586106881                        310260253792880   352509010940640   Completed      11   CRMSS345
                                                                                                                                                                      Successfully
    04/17/2017   17:41:04   20     mSOriginating    Outgoing   8586106881    18586106882       18586106882       18586106882      310260253792880   352509010940640   Completed           CRMSS345
                                                                                                                                                                      Successfully
    04/17/2017   20:05:31          mSOriginating    Outgoing   8586106881      73303              73303              51           310260253792880   352509010940640    Abnormal           CRMSS345
                                                                                                                                                                      Completion
    04/17/2017   23:26:31   504    mSOriginating    Outgoing   8586106881    18009840989       18009840989    11818633180098409   310260253792880   352509010940640   Completed           DAMSS343
                                                                                                                     89                                               Successfully
    04/18/2017   01:15:12   12     mSTerminating    Incoming   8586107726                      18586106881                        310260253792880   352509010940640   Completed      11   DAMSS343
                                                                                                                                                                      Successfully
    04/18/2017   05:31:25   18     mSTerminating    Incoming   8586106882                      18586106881                        310260253792880   352509010940640   Completed      11   DAMSS343
                                                                                                                                                                      Successfully
    04/18/2017   11:18:54    60    mSTerminatingS   Incoming      129                          18586106881                        310260253792880   352509010940640   Completed           SFMSS347
                                     MSinMSC                                                                                                                          Successfully
    04/18/2017   15:25:47   89      mSOriginating   Outgoing   8586106881    18008244491       18008244491    11818633180082444   310260253792880   352509010940640   Completed           SFMSS347
                                                                                                                     91                                               Successfully
    04/18/2017   21:24:27    60    mSTerminatingS   Incoming   16193040820                     18586106881                        310260253792880   352509010940640   Completed           DAMSS343
                                     MSinMSC                                                                                                                          Successfully
    04/19/2017   11:14:47    60    mSTerminatingS   Incoming      129                          18586106881                        310260253792880   352509010940640   Completed           DAMSS343
                                     MSinMSC                                                                                                                          Successfully
    04/19/2017   22:23:04   27      mSOriginating   Outgoing   8586106881    18586106882       18586106882       18586106882      310260253792880   352509010940640   Completed           DAMSS343
                                                                                                                                                                      Successfully
    04/20/2017   00:58:02   18     mSOriginating    Outgoing   8586106881    18586106882       18586106882       18586106882      310260253792880   352509010940640   Completed           DAMSS343
                                                                                                                                                                      Successfully
    04/20/2017   02:43:17   160    mSTerminating    Incoming   8586106882                      18586106881                        310260253792880   352509010940640   Completed      11   DAMSS343
                                                                                                                                                                      Successfully
    04/20/2017   04:10:16   11     mSTerminating    Incoming   8586106882                      18586106881                        310260253792880   352509010940640   Completed      11   DAMSS343
                                                                                                                                                                      Successfully



Information Provided By:
T‐Mobile US, Inc.                                                               4 Sylvan Way, Parsippany, New Jersey 07054                                                                 Page: 2 of 42
Law Enforcement Relations                                                          Tel: 866‐537‐0911; Fax: 973‐292‐8697


                                                                                           [Exhibit G - 75]
    04/20/2017   11:26:03   60    mSTerminatingS   Incoming      129                          18586106881                     310260253792880   352509010940640   Completed           DAMSS343
                                    MSinMSC                                                                                                                       Successfully
    04/20/2017   17:52:47   122   mSTerminating    Incoming   8772360333                      18586106881                     310260253792880   352509010940640   Completed      11   DAMSS343
                                                                                                                                                                  Successfully
    04/20/2017   18:08:58         mSOriginating    Outgoing   8586106881    18586106882       18586106882       18586106882   310260253792880   352509010940640   Completed           DAMSS343
                                                                                                                                                                  Successfully
    04/20/2017   21:35:03   60    mSTerminatingS   Incoming   16193691473                     18586106881                     310260253792880   352509010940640   Completed           DAMSS343
                                    MSinMSC                                                                                                                       Successfully
    04/20/2017   22:09:31   16     mSOriginating   Outgoing   8586106881    18586106882       18586106882       18586106882   310260253792880   352509010940640   Completed           DAMSS343
                                                                                                                                                                  Successfully
    04/20/2017   22:25:56   79    mSTerminating    Incoming   8586106882                      18586106881                     310260253792880   352509010940640   Completed      11   DAMSS343
                                                                                                                                                                  Successfully
    04/21/2017   04:08:23   10    mSTerminating    Incoming   8586106882                      18586106881                     310260253792880   352509010940640   Completed      11   DAMSS343
                                                                                                                                                                  Successfully
    04/21/2017   11:22:13   60    mSTerminatingS   Incoming      129                          18586106881                     310260253792880   352509010940640   Completed           DAMSS343
                                    MSinMSC                                                                                                                       Successfully
    04/22/2017   00:35:19   25     mSOriginating   Outgoing   8586106881    18586106882       18586106882       18586106882   310260253792880   352509010940640   Completed           ATMSS344
                                                                                                                                                                  Successfully
    04/22/2017   11:25:17   60    mSTerminatingS   Incoming      129                          18586106881                     310260253792880   352509010940640   Completed           ATMSS344
                                    MSinMSC                                                                                                                       Successfully
    04/22/2017   18:56:15   60    mSTerminatingS   Incoming   16193691471                     18586106881                     310260253792880   352509010940640   Completed           ATMSS344
                                    MSinMSC                                                                                                                       Successfully
    04/23/2017   04:32:47   11    mSTerminating    Incoming   8586106882                      18586106881                     310260253792880   352509010940640   Completed      11   ATMSS344
                                                                                                                                                                  Successfully
    04/23/2017   11:28:26   60    mSTerminatingS   Incoming      129                          18586106881                     310260253792880   352509010940640   Completed           ORMSS349
                                    MSinMSC                                                                                                                       Successfully
    04/24/2017   04:35:57   25    mSTerminating    Incoming   8586106882                      18586106881                     310260253792880   352509010940640   Completed      11   VGMSS342
                                                                                                                                                                  Successfully
    04/24/2017   11:25:55   60    mSTerminatingS   Incoming      129                          18586106881                     310260253792880   352509010940640   Completed           ORMSS349
                                    MSinMSC                                                                                                                       Successfully
    04/24/2017   23:35:49   119   mSTerminating    Incoming   8586106882                      18586106881                     310260253792880   352509010940640   Completed      11   ORMSS349
                                                                                                                                                                  Successfully
    04/25/2017   05:12:34   14    mSTerminating    Incoming   8586106882                      18586106881                     310260253792880   352509010940640   Completed      11   VGMSS342
                                                                                                                                                                  Successfully
    04/25/2017   05:20:03   32    mSTerminating    Incoming   8586106882                      18586106881                     310260253792880   352509010940640   Completed      11   VGMSS342
                                                                                                                                                                  Successfully
    04/25/2017   11:27:07   60    mSTerminatingS   Incoming      129                          18586106881                     310260253792880   352509010940640   Completed           SPMSS346
                                    MSinMSC                                                                                                                       Successfully
    04/25/2017   19:10:27   17     mSOriginating   Outgoing   8586106881    18586106882       18586106882       18586106882   310260253792880   352509010940640   Completed           SPMSS346
                                                                                                                                                                  Successfully
    04/25/2017   22:25:13   60    mSTerminating    Incoming   8586106882                      18586106881                     310260253792880   352509010940640   Completed      11   SPMSS346
                                                                                                                                                                  Successfully
    04/26/2017   03:26:40   201   mSOriginating    Outgoing   8586106881    18056377243       18056377243       13235409999   310260253792880   352509010940640   Completed           ORMSS349
                                                                                                                                                                  Successfully
    04/26/2017   03:30:14   60    mSTerminatingS   Incoming      129                          18586106881                     310260253792880   352509010940640   Completed           ORMSS349
                                    MSinMSC                                                                                                                       Successfully
    04/26/2017   11:29:17   60    mSTerminatingS   Incoming      129                          18586106881                     310260253792880   352509010940640   Completed           VGMSS342
                                    MSinMSC                                                                                                                       Successfully
    04/26/2017   21:40:55   60    mSTerminatingS   Incoming   16193691469                     18586106881                     310260253792880   352509010940640   Completed           IEMSS341
                                    MSinMSC                                                                                                                       Successfully
    04/26/2017   23:38:52   25     mSOriginating   Outgoing   8586106881    17188944888       17188944888       17188944888   310260253792880   352509010940640   Completed           IEMSS341
                                                                                                                                                                  Successfully
    04/27/2017   00:16:32   82    mSTerminating    Incoming   8586106882                      18586106881                     310260253792880   352509010940640   Completed      11   IEMSS341
                                                                                                                                                                  Successfully



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                                                                                          [Exhibit G - 76]
    04/27/2017   04:19:50   21    mSTerminating    Incoming   8586106882                      18586106881                        310260253792880   352509010940640   Completed      11    VGMSS342
                                                                                                                                                                     Successfully
    04/27/2017   11:11:28   60    mSTerminatingS   Incoming      129                          18586106881                        310260253792880   352509010940640   Completed            IEMSS341
                                    MSinMSC                                                                                                                          Successfully
    04/27/2017   15:23:04   81     mSOriginating   Outgoing   8586106881    18586106882       18586106882       18586106882      310260253792880   352509010940640   Completed            IEMSS341
                                                                                                                                                                     Successfully
    04/27/2017   15:57:32   143   mSTerminating    Incoming   8586106882                      18586106881                        310260253792880   352509010940640   Completed      11    IEMSS341
                                                                                                                                                                     Successfully
    04/27/2017   23:29:10   27    mSOriginating    Outgoing   8586106881    18586106882       18586106882       18586106882      310260253792880   352509010940640   Completed            IEMSS341
                                                                                                                                                                     Successfully
    04/28/2017   04:06:43   34    mSTerminating    Incoming   8586106882                      18586106881                        310260253792880   352509010940640   Completed      11    IEMSS341
                                                                                                                                                                     Successfully
    04/28/2017   11:10:50   60    mSTerminatingS   Incoming      129                          18586106881                        310260253792880   352509010940640   Completed            IEMSS341
                                    MSinMSC                                                                                                                          Successfully
    04/28/2017   16:49:15   252    mSOriginating   Outgoing   8586106881    18886947857       18886947857    11818633188869478   310260253792880   352509010940640   Completed            IEMSS341
                                                                                                                    57                                               Successfully
    04/28/2017   18:11:33   231   mSOriginating    Outgoing   8586106881    18552669289       18552669289    11818633185526692   310260253792880   352509010940640   Completed            IEMSS341
                                                                                                                    89                                               Successfully
    04/28/2017   20:15:23   15    mSOriginating    Outgoing   8586106881    18586106882       18586106882       18586106882      310260253792880   352509010940640   Completed            IEMSS341
                                                                                                                                                                     Successfully
    04/28/2017   21:57:28   106   mSTerminating    Incoming   8586106882                      18586106881                        310260253792880   352509010940640   Completed      11    IEMSS341
                                                                                                                                                                     Successfully
    04/28/2017   22:23:59   131   mSOriginating    Outgoing   8586106881    18584040700       18584040700       18584040700      310260253792880   352509010940640   Completed            IEMSS341
                                                                                                                                                                     Successfully
    04/29/2017   05:34:27   11    mSTerminating    Incoming   8586106882                      18586106881                        310260253792880   352509010940640   Completed      11    IEMSS341
                                                                                                                                                                     Successfully
    04/29/2017   11:14:50   60    mSTerminatingS   Incoming      129                          18586106881                        310260253792880   352509010940640   Completed            ORMSS349
                                    MSinMSC                                                                                                                          Successfully
    04/29/2017   23:05:01   3          moc         Outgoing   18586106882   18056377249       18056377249       13235409999      310260253792880                     Completed      02A   NVTAS009
                                                                                                                                                                     Successfully
    04/29/2017   23:05:01         mSTerminating    Incoming   8586106882                      18586106881                        310260253792880   352509010940640    Abnormal      11    ORMSS349
                                                                                                                                                                     Completion
    04/29/2017   23:07:18   26    mSOriginating    Outgoing   8586106881    18586106882       18586106882       18586106882      310260253792880   352509010940640   Completed            ORMSS349
                                                                                                                                                                     Successfully
    04/30/2017   04:44:08   14    mSTerminating    Incoming   8586106882                      18586106881                        310260253792880   352509010940640   Completed      11    SPMSS346
                                                                                                                                                                     Successfully
    04/30/2017   04:50:56   60    mSTerminatingS   Incoming   16195476471                     18586106881                        310260253792880   352509010940640   Completed            SPMSS346
                                    MSinMSC                                                                                                                          Successfully
    04/30/2017   04:50:59   60    mSTerminatingS   Incoming   16195476471                     18586106881                        310260253792880   352509010940640   Completed            SPMSS346
                                    MSinMSC                                                                                                                          Successfully
    04/30/2017   11:21:18   60    mSTerminatingS   Incoming      129                          18586106881                        310260253792880   352509010940640   Completed            ORMSS349
                                    MSinMSC                                                                                                                          Successfully
    05/01/2017   04:32:23   10    mSTerminating    Incoming   8586106882                      18586106881                        310260253792880   352509010940640   Completed      11    CRMSS345
                                                                                                                                                                     Successfully
    05/01/2017   11:11:34   60    mSTerminatingS   Incoming      129                          18586106881                        310260253792880   352509010940640   Completed            CRMSS345
                                    MSinMSC                                                                                                                          Successfully
    05/01/2017   21:03:36   5      mSOriginating   Outgoing   8586106881    18553261714       18553261714    11818633185532617   310260253792880   352509010940640   Completed            CRMSS345
                                                                                                                     14                                              Successfully
    05/01/2017   21:04:22         mSOriginating    Outgoing   8586106881    18008351714       18008351714    11818633180083517   310260253792880   352509010940640    Abnormal            CRMSS345
                                                                                                                     14                                              Completion
    05/01/2017   21:04:54   855   mSOriginating    Outgoing   8586106881    18008357602       18008357602    11818633180083576   310260253792880   352509010940640   Completed            CRMSS345
                                                                                                                     02                                              Successfully
    05/02/2017   05:05:11   12    mSTerminating    Incoming   8586106882                      18586106881                        310260253792880   352509010940640   Completed      11    CRMSS345
                                                                                                                                                                     Successfully



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                                                                                          [Exhibit G - 77]
    05/02/2017   11:16:49   60    mSTerminatingS   Incoming      129                          18586106881                        310260253792880   352509010940640   Completed               CRMSS345
                                    MSinMSC                                                                                                                          Successfully
    05/03/2017   01:45:42   36    mSTerminating    Incoming   8586106882                      18586106881                        310260253792880   352509010940640   Completed       11      IEMSS341
                                                                                                                                                                     Successfully
    05/03/2017   11:17:10   60    mSTerminatingS   Incoming      129                          18586106881                        310260253792880   352509010940640   Completed               IEMSS341
                                    MSinMSC                                                                                                                          Successfully
    05/04/2017   04:24:28   16    mSTerminating    Incoming   8586106882                      18586106881                        310260253792880   352509010940640   Completed       11      IEMSS341
                                                                                                                                                                     Successfully
    05/04/2017   11:27:00   60    mSTerminatingS   Incoming      129                          18586106881                        310260253792880   352509010940640   Completed               IEMSS341
                                    MSinMSC                                                                                                                          Successfully
    05/04/2017   14:00:16          mSOriginating   Outgoing   8586106881    18008357602       18008357602    11818633180083576   310260253792880   352509010940640   Completed               IEMSS341
                                                                                                                     02                                              Successfully
    05/04/2017   14:00:57   7     mSOriginating    Outgoing   8586106881    18586106882       18586106882       18586106882      310260253792880   352509010940640   Completed               IEMSS341
                                                                                                                                                                     Successfully
    05/04/2017   14:03:41   27    mSTerminating    Incoming   8586106882                      18586106881                        310260253792880   352509010940640   Completed       11      IEMSS341
                                                                                                                                                                     Successfully
    05/05/2017   04:20:11   12    mSTerminating    Incoming   8586106882                      18586106881                        310260253792880   352509010940640   Completed       11      IEMSS341
                                                                                                                                                                     Successfully
    05/05/2017   11:29:03   60    mSTerminatingS   Incoming      129                          18586106881                        310260253792880   352509010940640   Completed               IEMSS341
                                    MSinMSC                                                                                                                          Successfully
    05/07/2017   05:14:13   10         moc         Outgoing   18586106882   18056377249       18056377249       13235409999      310260253792880                     Completed       02B     NVTAS009
                                                                                                                                                                     Successfully
    05/07/2017   05:14:13   10         mtc         Incoming   18586106882   18586106881       18586106881       18586106881      310260253792880                     Completed      021;11   NVTAS009
                                                                                                                                                                     Successfully
    05/07/2017   05:14:29   7          mtc         Incoming   18586106882   18586106881       18586106881       18586106881      310260253792880                     Completed      021;11   IETAS001
                                                                                                                                                                     Successfully
    05/07/2017   05:14:30   7          moc         Outgoing   18586106882   18056377249       18056377249       13235409999      310260253792880                     Completed       02B     IETAS001
                                                                                                                                                                     Successfully
    05/07/2017   05:38:31   60    mSTerminatingS   Incoming      129                          18586106881                        310260253792880   352509010940640   Completed               IEMSS341
                                    MSinMSC                                                                                                                          Successfully
    05/07/2017   05:38:32   60    mSTerminatingS   Incoming      129                          18586106881                        310260253792880   352509010940640   Completed               IEMSS341
                                    MSinMSC                                                                                                                          Successfully
    05/07/2017   05:38:42   49     mSOriginating   Outgoing   8586106881    18056377243       18056377243       13235409999      310260253792880   352509010940640   Completed               IEMSS341
                                                                                                                                                                     Successfully
    05/08/2017   03:58:08   16    mSTerminating    Incoming   8586106882                      18586106881                        310260253792880   352509010940640   Completed       11      SFMSS347
                                                                                                                                                                     Successfully
    05/08/2017   15:29:44   5     mSOriginating    Outgoing   8586106881    18586106882       18586106882       18586106882      310260253792880   352509010940640   Completed               SFMSS347
                                                                                                                                                                     Successfully
    05/09/2017   15:38:22   60    mSTerminatingS   Incoming   16193691466                     18586106881                        310260253792880   352509010940640   Completed               SFMSS347
                                    MSinMSC                                                                                                                          Successfully
    05/10/2017   16:25:52   108    mSOriginating   Outgoing   8586106881    18586106882       18586106882       18586106882      310260253792880   352509010940640   Completed               SFMSS347
                                                                                                                                                                     Successfully
    05/10/2017   16:37:24   19    mSTerminating    Incoming   3237471435                      18586106881                        310260253792880   352509010940640   Completed       11      SFMSS347
                                                                                                                                                                     Successfully
    05/10/2017   21:35:12   207   mSOriginating    Outgoing   8586106881    18008357602       18008357602    11818633180083576   310260253792880   352509010940640   Completed               SFMSS347
                                                                                                                    02                                               Successfully
    05/11/2017   04:25:32   9     mSTerminating    Incoming   8586106882                      18586106881                        310260253792880   352509010940640   Completed       11      SFMSS347
                                                                                                                                                                     Successfully
    05/11/2017   17:12:22   60    mSOriginating    Outgoing   8586106881    18586106882       18586106882       18586106882      310260253792880   352509010940640   Completed               SFMSS347
                                                                                                                                                                     Successfully
    05/11/2017   20:25:02   2     mSTerminating    Incoming   8772360333                      18586106881                        310260253792880   352509010940640   Completed       11      SFMSS347
                                                                                                                                                                     Successfully
    05/11/2017   20:25:28   16    mSTerminating    Incoming   8772360333                      18586106881                        310260253792880   352509010940640   Completed       11      SFMSS347
                                                                                                                                                                     Successfully



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                                                                                          [Exhibit G - 78]
    05/12/2017   01:25:51   278   mSOriginating    Outgoing   8586106881    18056377243       18056377243       13235409999      310260253792880   352509010940640   Completed               SFMSS347
                                                                                                                                                                     Successfully
    05/12/2017   01:30:41   60    mSTerminatingS   Incoming      129                          18586106881                        310260253792880   352509010940640   Completed               SFMSS347
                                    MSinMSC                                                                                                                          Successfully
    05/12/2017   04:37:46   47    mSTerminating    Incoming   8586106882                      18586106881                        310260253792880   352509010940640   Completed       11      ATMSS344
                                                                                                                                                                     Successfully
    05/12/2017   11:30:14   60    mSTerminatingS   Incoming      129                          18586106881                        310260253792880   352509010940640   Completed               CRMSS345
                                     MSinMSC                                                                                                                         Successfully
    05/12/2017   16:35:52   14    callForwarding   Outgoing   9259434902    18056377249       18056377249       18056377249      310260253792880                     Completed      011;29   VGMSS342
                                                                                                                                                                     Successfully
    05/12/2017   16:36:21    7         moc         Outgoing   18586106882   18056377249       18056377249       13235409999      310260253792880                     Completed       02A     IETAS002
                                                                                                                                                                     Successfully
    05/12/2017   16:36:21         mSTerminating    Incoming   8586106882                      18586106881                        310260253792880   352509010940640    Abnormal       11      CRMSS345
                                                                                                                                                                     Completion
    05/12/2017   16:37:33         mSTerminating    Incoming   8586106882                      18586106881                        310260253792880   352509010940640    Abnormal       11      CRMSS345
                                                                                                                                                                     Completion
    05/12/2017   16:38:59   62    mSOriginating    Outgoing   8586106881    18586106882       18586106882       18586106882      310260253792880   352509010940640   Completed               CRMSS345
                                                                                                                                                                     Successfully
    05/12/2017   16:40:44   60    mSTerminating    Incoming   8586106882                      18586106881                        310260253792880   352509010940640   Completed       11      CRMSS345
                                                                                                                                                                     Successfully
    05/12/2017   16:44:19   205   mSOriginating    Outgoing   8586106881    19259434902       19259434902       19259434902      310260253792880   352509010940640   Completed               CRMSS345
                                                                                                                                                                     Successfully
    05/12/2017   17:20:19   4          moc         Outgoing   18586106882   18056377249       18056377249       13235409999      310260253792880                     Completed       02B     SFTAS003
                                                                                                                                                                     Successfully
    05/12/2017   17:21:02   49    mSTerminating    Incoming   8586106882                      18586106881                        310260253792880   352509010940640   Completed       11      CRMSS345
                                                                                                                                                                     Successfully
    05/12/2017   19:35:30   414   mSOriginating    Outgoing   8586106881    18886947857       18886947857    11818633188869478   310260253792880   352509010940640   Completed               CRMSS345
                                                                                                                    57                                               Successfully
    05/12/2017   19:48:38   63    mSOriginating    Outgoing   8586106881    19259434902       19259434902       19259434902      310260253792880   352509010940640   Completed               CRMSS345
                                                                                                                                                                     Successfully
    05/12/2017   21:33:33   116   mSOriginating    Outgoing   8586106881    19259434902       19259434902       19259434902      310260253792880   352509010940640   Completed               CRMSS345
                                                                                                                                                                     Successfully
    05/12/2017   21:38:09   338   mSOriginating    Outgoing   8586106881    18886947857       18886947857    11818633188869478   310260253792880   352509010940640   Completed               CRMSS345
                                                                                                                    57                                               Successfully
    05/12/2017   23:04:42   49    mSTerminating    Incoming   8886947857                      18586106881                        310260253792880   352509010940640   Completed       11      CRMSS345
                                                                                                                                                                     Successfully
    05/14/2017   04:31:31   4          mtc         Incoming   18586106882   18586106881       18586106881       18586106881      310260253792880                     Completed      021;11   DATAS009
                                                                                                                                                                     Successfully
    05/14/2017   04:31:32   4          moc         Outgoing   18586106882   18056377249       18056377249       13235409999      310260253792880                     Completed       02B     DATAS009
                                                                                                                                                                     Successfully
    05/14/2017   04:31:41   10         mtc         Incoming   18586106882   18586106881       18586106881       18586106881      310260253792880                     Completed      021;11   SCTAS005
                                                                                                                                                                     Successfully
    05/14/2017   04:31:42   10         moc         Outgoing   18586106882   18056377249       18056377249       13235409999      310260253792880                     Completed       02B     SCTAS005
                                                                                                                                                                     Successfully
    05/14/2017   05:46:29   51    mSOriginating    Outgoing   8586106881    18586106882       18586106882       18586106882      310260253792880   352509010940640   Completed               CRMSS345
                                                                                                                                                                     Successfully
    05/14/2017   05:46:30   60    mSTerminatingS   Incoming      129                          18586106881                        310260253792880   352509010940640   Completed               CRMSS345
                                    MSinMSC                                                                                                                          Successfully
    05/14/2017   06:12:06   15    mSTerminating    Incoming   8586106882                      18586106881                        310260253792880   352509010940640   Completed       11      CRMSS345
                                                                                                                                                                     Successfully
    05/14/2017   11:28:51   60    mSTerminatingS   Incoming      129                          18586106881                        310260253792880   352509010940640   Completed               CRMSS345
                                    MSinMSC                                                                                                                          Successfully
    05/14/2017   18:07:54   60    mSTerminatingS   Incoming   16193691463                     18586106881                        310260253792880   352509010940640   Completed               SFMSS347
                                    MSinMSC                                                                                                                          Successfully



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                                                                                          [Exhibit G - 79]
    05/15/2017   05:05:19   19    mSTerminating    Incoming   8586106882                      18586106881                     310260253792880   352509010940640   Completed      11   SFMSS347
                                                                                                                                                                  Successfully
    05/15/2017   06:21:40   12    mSTerminating    Incoming   8586106882                      18586106881                     310260253792880   352509010940640   Completed      11   SFMSS347
                                                                                                                                                                  Successfully
    05/15/2017   11:24:22   60    mSTerminatingS   Incoming      129                          18586106881                     310260253792880   352509010940640   Completed           ATMSS344
                                    MSinMSC                                                                                                                       Successfully
    05/15/2017   17:28:52   92     mSOriginating   Outgoing   8586106881    18586106882       18586106882       18586106882   310260253792880   352509010940640   Completed           ATMSS344
                                                                                                                                                                  Successfully
    05/16/2017   02:13:16         mSOriginating    Outgoing   8586106881    8586108870        8586108870        18586108870   310260253792880   352509010940640   Completed           ATMSS344
                                                                                                                                                                  Successfully
    05/16/2017   05:11:54   14    mSTerminating    Incoming   8586106882                      18586106881                     310260253792880   352509010940640   Completed      11   ATMSS344
                                                                                                                                                                  Successfully
    05/16/2017   11:22:54   60    mSTerminatingS   Incoming      129                          18586106881                     310260253792880   352509010940640   Completed           ATMSS344
                                    MSinMSC                                                                                                                       Successfully
    05/16/2017   16:29:32   19    mSTerminating    Incoming   8584670503                      18586106881                     310260253792880   352509010940640   Completed      11   ATMSS344
                                                                                                                                                                  Successfully
    05/16/2017   17:14:54   36    mSTerminating    Incoming   8586106882                      18586106881                     310260253792880   352509010940640   Completed      11   ATMSS344
                                                                                                                                                                  Successfully
    05/16/2017   19:04:38   63    mSOriginating    Outgoing   8586106881    8584670503        8584670503        18584670503   310260253792880   352509010940640   Completed           ATMSS344
                                                                                                                                                                  Successfully
    05/16/2017   21:44:41   43    mSTerminating    Incoming   8584670503                      18586106881                     310260253792880   352509010940640   Completed      11   ATMSS344
                                                                                                                                                                  Successfully
    05/17/2017   00:32:31   60    mSTerminatingS   Incoming   16193691459                     18586106881                     310260253792880   352509010940640   Completed           ATMSS344
                                    MSinMSC                                                                                                                       Successfully
    05/17/2017   11:22:01   60    mSTerminatingS   Incoming      129                          18586106881                     310260253792880   352509010940640   Completed           ATMSS344
                                    MSinMSC                                                                                                                       Successfully
    05/18/2017   20:29:14   60    mSTerminatingS   Incoming      129                          18586106881                     310260253792880   352509010940640   Completed           ATMSS344
                                    MSinMSC                                                                                                                       Successfully
    05/19/2017   21:20:11   60    mSTerminatingS   Incoming      129                          18586106881                     310260253792880   352509010940640   Completed           ATMSS344
                                    MSinMSC                                                                                                                       Successfully
    05/19/2017   21:20:17   23     mSOriginating   Outgoing   8586106881    18586106882       18586106882       18586106882   310260253792880   352509010940640   Completed           ATMSS344
                                                                                                                                                                  Successfully
    05/20/2017   11:34:30   60    mSTerminatingS   Incoming      129                          18586106881                     310260253792880   352509010940640   Completed           ATMSS344
                                    MSinMSC                                                                                                                       Successfully
    05/20/2017   16:37:18   63     mSOriginating   Outgoing   8586106881    18586106882       18586106882       18586106882   310260253792880   352509010940640   Completed           ATMSS344
                                                                                                                                                                  Successfully
    05/21/2017   05:11:53   11    mSTerminating    Incoming   8586106882                      18586106881                     310260253792880   352509010940640   Completed      11   SFMSS347
                                                                                                                                                                  Successfully
    05/21/2017   11:27:24   60    mSTerminatingS   Incoming      129                          18586106881                     310260253792880   352509010940640   Completed           SFMSS347
                                    MSinMSC                                                                                                                       Successfully
    05/22/2017   04:26:16   7     mSTerminating    Incoming   8586106882                      18586106881                     310260253792880   352509010940640   Completed      11   SFMSS347
                                                                                                                                                                  Successfully
    05/22/2017   17:30:29   60    mSTerminatingS   Incoming      129                          18586106881                     310260253792880   352509010940640   Completed           SFMSS347
                                    MSinMSC                                                                                                                       Successfully
    05/22/2017   17:30:29   40     mSOriginating   Outgoing   8586106881    18056377243       18056377243       13235409999   310260253792880   352509010940640   Completed           SFMSS347
                                                                                                                                                                  Successfully
    05/22/2017   17:31:14   60    mSTerminatingS   Incoming      129                          18586106881                     310260253792880   352509010940640   Completed           SFMSS347
                                    MSinMSC                                                                                                                       Successfully
    05/23/2017   04:46:26   11    mSTerminating    Incoming   8586106882                      18586106881                     310260253792880   352509010940640   Completed      11   SFMSS347
                                                                                                                                                                  Successfully
    05/23/2017   11:24:29   60    mSTerminatingS   Incoming      129                          18586106881                     310260253792880   352509010940640   Completed           SFMSS347
                                    MSinMSC                                                                                                                       Successfully
    05/23/2017   13:03:41   202    mSOriginating   Outgoing   8586106881    18056377243       18056377243       13235409999   310260253792880   352509010940640   Completed           SFMSS347
                                                                                                                                                                  Successfully



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                                                                                          [Exhibit G - 80]
    05/23/2017   13:07:15   60    mSTerminatingS   Incoming      129                         18586106881                        310260253792880   352509010940640   Completed           SFMSS347
                                    MSinMSC                                                                                                                         Successfully
    05/24/2017   11:21:14   60    mSTerminatingS   Incoming      129                         18586106881                        310260253792880   352509010940640   Completed           SFMSS347
                                    MSinMSC                                                                                                                         Successfully
    05/25/2017   04:33:26   41    mSTerminating    Incoming   8586106882                     18586106881                        310260253792880   352509010940640   Completed      11   SFMSS347
                                                                                                                                                                    Successfully
    05/25/2017   11:30:21   60    mSTerminatingS   Incoming      129                         18586106881                        310260253792880   352509010940640   Completed           SFMSS347
                                    MSinMSC                                                                                                                         Successfully
    05/25/2017   21:25:08          mSOriginating   Outgoing   8586106881    1800381            1800381             51           310260253792880   352509010940640   Completed           CRMSS345
                                                                                                                                                                    Successfully
    05/25/2017   21:26:16   478   mSOriginating    Outgoing   8586106881   18003810759       18003810759    11818633180038107   310260253792880   352509010940640   Completed           CRMSS345
                                                                                                                   59                                               Successfully
    05/25/2017   21:34:59   174   mSOriginating    Outgoing   8586106881   18008244491       18008244491    11818633180082444   310260253792880   352509010940640   Completed           CRMSS345
                                                                                                                   91                                               Successfully
    05/25/2017   22:41:51   71    mSTerminating    Incoming   8586106882                     18586106881                        310260253792880   352509010940640   Completed      11   CRMSS345
                                                                                                                                                                    Successfully
    05/26/2017   04:28:19   10    mSTerminating    Incoming   8586106882                     18586106881                        310260253792880   352509010940640   Completed      11   CRMSS345
                                                                                                                                                                    Successfully
    05/26/2017   11:46:41   60    mSTerminatingS   Incoming      129                         18586106881                        310260253792880   352509010940640   Completed           CRMSS345
                                    MSinMSC                                                                                                                         Successfully
    05/27/2017   01:33:58   36     mSOriginating   Outgoing   8586106881   18586106882       18586106882       18586106882      310260253792880   352509010940640   Completed           ORMSS349
                                                                                                                                                                    Successfully
    05/27/2017   17:11:59   24    mSOriginating    Outgoing   8586106881   18586106882       18586106882       18586106882      310260253792880   352509010940640   Completed           ORMSS349
                                                                                                                                                                    Successfully
    05/27/2017   17:12:04   60    mSTerminatingS   Incoming      129                         18586106881                        310260253792880   352509010940640   Completed           ORMSS349
                                    MSinMSC                                                                                                                         Successfully
    05/27/2017   17:29:47   15     mSOriginating   Outgoing   8586106881   8586108870        8586108870        18586108870      310260253792880   352509010940640   Completed           ORMSS349
                                                                                                                                                                    Successfully
    05/27/2017   18:52:32   330   mSOriginating    Outgoing   8586106881   18003810759       18003810759    11818633180038107   310260253792880   352509010940640   Completed           ORMSS349
                                                                                                                   59                                               Successfully
    05/27/2017   19:42:00   48    mSTerminating    Incoming   8586108870                     18586106881                        310260253792880   352509010940640   Completed      11   ORMSS349
                                                                                                                                                                    Successfully
    05/28/2017   01:23:05   869   mSTerminating    Incoming   8586108870                     18586106881                        310260253792880   352509010940640   Completed      11   ORMSS349
                                                                                                                                                                    Successfully
    05/28/2017   04:35:29   11    mSTerminating    Incoming   8586106882                     18586106881                        310260253792880   352509010940640   Completed      11   SFMSS347
                                                                                                                                                                    Successfully
    05/28/2017   11:34:16   60    mSTerminatingS   Incoming      129                         18586106881                        310260253792880   352509010940640   Completed           SFMSS347
                                    MSinMSC                                                                                                                         Successfully
    05/29/2017   04:16:24   10    mSTerminating    Incoming   8586106882                     18586106881                        310260253792880   352509010940640   Completed      11   SPMSS346
                                                                                                                                                                    Successfully
    05/29/2017   11:27:18   60    mSTerminatingS   Incoming      129                         18586106881                        310260253792880   352509010940640   Completed           SPMSS346
                                    MSinMSC                                                                                                                         Successfully
    05/30/2017   05:58:28   9     mSTerminating    Incoming   8586106882                     18586106881                        310260253792880   352509010940640   Completed      11   HNMSS348
                                                                                                                                                                    Successfully
    05/30/2017   11:20:12   60    mSTerminatingS   Incoming      129                         18586106881                        310260253792880   352509010940640   Completed           HNMSS348
                                    MSinMSC                                                                                                                         Successfully
    05/31/2017   11:15:24   60    mSTerminatingS   Incoming      129                         18586106881                        310260253792880   352509010940640   Completed           SFMSS347
                                    MSinMSC                                                                                                                         Successfully
    06/01/2017   05:28:39   10    mSTerminating    Incoming   8586106882                     18586106881                        310260253792880   352509010940640   Completed      11   SFMSS347
                                                                                                                                                                    Successfully
    06/01/2017   11:31:10   60    mSTerminatingS   Incoming      129                         18586106881                        310260253792880   352509010940640   Completed           ATMSS344
                                    MSinMSC                                                                                                                         Successfully
    06/02/2017   04:19:46   10    mSTerminating    Incoming   8586106882                     18586106881                        310260253792880   352509010940640   Completed      11   ATMSS344
                                                                                                                                                                    Successfully



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                                                                                         [Exhibit G - 81]
    06/02/2017   11:25:22   60    mSTerminatingS   Incoming      129                          18586106881                     310260253792880   352509010940640   Completed               ATMSS344
                                    MSinMSC                                                                                                                       Successfully
    06/02/2017   17:59:58   109   mSTerminating    Incoming   8586106882                      18586106881                     310260253792880   352509010940640   Completed       11      ATMSS344
                                                                                                                                                                  Successfully
    06/02/2017   18:13:42   99    mSOriginating    Outgoing   8586106881    18586106882       18586106882       18586106882   310260253792880   352509010940640   Completed               ATMSS344
                                                                                                                                                                  Successfully
    06/03/2017   05:22:15   29    mSTerminating    Incoming   8586106882                      18586106881                     310260253792880   352509010940640   Completed       11      ATMSS344
                                                                                                                                                                  Successfully
    06/03/2017   11:32:27   60    mSTerminatingS   Incoming      129                          18586106881                     310260253792880   352509010940640   Completed               ATMSS344
                                    MSinMSC                                                                                                                       Successfully
    06/04/2017   04:27:00   11    mSTerminating    Incoming   8586106882                      18586106881                     310260253792880   352509010940640   Completed       11      CRMSS345
                                                                                                                                                                  Successfully
    06/04/2017   06:05:02   236   mSOriginating    Outgoing   8586106881    18056377243       18056377243       13235409999   310260253792880   352509010940640   Completed               CRMSS345
                                                                                                                                                                  Successfully
    06/04/2017   06:09:03   60    mSTerminatingS   Incoming      129                          18586106881                     310260253792880   352509010940640   Completed               CRMSS345
                                    MSinMSC                                                                                                                       Successfully
    06/04/2017   11:27:24   60    mSTerminatingS   Incoming      129                          18586106881                     310260253792880   352509010940640   Completed               CRMSS345
                                    MSinMSC                                                                                                                       Successfully
    06/05/2017   04:45:56   11    mSTerminating    Incoming   8586106882                      18586106881                     310260253792880   352509010940640   Completed       11      VGMSS342
                                                                                                                                                                  Successfully
    06/05/2017   11:28:44   60    mSTerminatingS   Incoming      129                          18586106881                     310260253792880   352509010940640   Completed               VGMSS342
                                    MSinMSC                                                                                                                       Successfully
    06/06/2017   05:22:25   40     mSOriginating   Outgoing   8586106881    18586106882       18586106882       18586106882   310260253792880   352509010940640   Completed               DAMSS343
                                                                                                                                                                  Successfully
    06/06/2017   05:45:56   13    mSTerminating    Incoming   8586106882                      18586106881                     310260253792880   352509010940640   Completed       11      DAMSS343
                                                                                                                                                                  Successfully
    06/06/2017   11:08:29   60    mSTerminatingS   Incoming      129                          18586106881                     310260253792880   352509010940640   Completed               DAMSS343
                                    MSinMSC                                                                                                                       Successfully
    06/06/2017   17:11:42   216    mSOriginating   Outgoing   8586106881    17022606505       17022606505       17022606505   310260253792880   352509010940640   Completed               DAMSS343
                                                                                                                                                                  Successfully
    06/07/2017   04:36:08   9          mtc         Incoming   18586106882   18586106881       18586106881       18586106881   310260253792880                     Completed      021;11   TTTAS006
                                                                                                                                                                  Successfully
    06/07/2017   04:36:09   9          moc         Outgoing   18586106882   18056377249       18056377249       13235409999   310260253792880                     Completed       02B     TTTAS006
                                                                                                                                                                  Successfully
    06/07/2017   04:36:25   3          moc         Outgoing   18586106882   18056377249       18056377249       13235409999   310260253792880                     Completed       02B     NVTAS009
                                                                                                                                                                  Successfully
    06/07/2017   04:36:25   3          mtc         Incoming   18586106882   18586106881       18586106881       18586106881   310260253792880                     Completed      021;11   NVTAS009
                                                                                                                                                                  Successfully
    06/07/2017   05:18:43   9          moc         Outgoing   18586106882   18056377249       18056377249       13235409999   310260253792880                     Completed       02B     CHTAS004
                                                                                                                                                                  Successfully
    06/07/2017   05:18:43   9          mtc         Incoming   18586106882   18586106881       18586106881       18586106881   310260253792880                     Completed      021;11   CHTAS004
                                                                                                                                                                  Successfully
    06/07/2017   05:18:59   10         mtc         Incoming   18586106882   18586106881       18586106881       18586106881   310260253792880                     Completed      021;11   SCTAS006
                                                                                                                                                                  Successfully
    06/07/2017   05:19:00   10         moc         Outgoing   18586106882   18056377249       18056377249       13235409999   310260253792880                     Completed       02B     SCTAS006
                                                                                                                                                                  Successfully
    06/07/2017   05:19:25   4          moc         Outgoing   18586106882   18056377249       18056377249       13235409999   310260253792880                     Completed       02B     TTTAS005
                                                                                                                                                                  Successfully
    06/07/2017   05:19:25   4          mtc         Incoming   18586106882   18586106881       18586106881       18586106881   310260253792880                     Completed      021;11   TTTAS005
                                                                                                                                                                  Successfully
    06/07/2017   05:19:44         mSTerminating    Incoming   8586106882                      18586106881                     310260253792880   352509010940640    Abnormal       11      DAMSS343
                                                                                                                                                                  Completion
    06/07/2017   16:40:25   60    mSTerminatingS   Incoming      129                          18586106881                     310260253792880   352509010940640   Completed               DAMSS343
                                    MSinMSC                                                                                                                       Successfully



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                                                                                          [Exhibit G - 82]
    06/08/2017   04:49:11   15    mSTerminating    Incoming   8586106882                      18586106881                        310260253792880   352509010940640   Completed      11    SPMSS346
                                                                                                                                                                     Successfully
    06/08/2017   11:25:31   60    mSTerminatingS   Incoming      129                          18586106881                        310260253792880   352509010940640   Completed            SPMSS346
                                    MSinMSC                                                                                                                          Successfully
    06/08/2017   15:27:13   4      mSOriginating   Outgoing   8586106881    18586899913       18586899913       18586899913      310260253792880   352509010940640   Completed            SPMSS346
                                                                                                                                                                     Successfully
    06/08/2017   15:27:49   2     mSOriginating    Outgoing   8586106881    18586899913       18586899913       18586899913      310260253792880   352509010940640   Completed            SPMSS346
                                                                                                                                                                     Successfully
    06/08/2017   15:28:19         mSOriginating    Outgoing   8586106881    18666281950       18666281950    11818633186662819   310260253792880   352509010940640   Completed            SPMSS346
                                                                                                                    50                                               Successfully
    06/08/2017   15:28:39   84    mSOriginating    Outgoing   8586106881    18666282006       18666282006    11818633186662820   310260253792880   352509010940640   Completed            SPMSS346
                                                                                                                    06                                               Successfully
    06/08/2017   15:30:42   687   mSOriginating    Outgoing   8586106881    18886947857       18886947857    11818633188869478   310260253792880   352509010940640   Completed            SPMSS346
                                                                                                                    57                                               Successfully
    06/08/2017   15:58:59   12    mSTerminating    Incoming   3072004080                      18586106881                        310260253792880   352509010940640   Completed      11    SPMSS346
                                                                                                                                                                     Successfully
    06/08/2017   16:02:20   30    mSTerminating    Incoming   8586106882                      18586106881                        310260253792880   352509010940640   Completed      11    SPMSS346
                                                                                                                                                                     Successfully
    06/09/2017   01:11:27   9     mSTerminating    Incoming   8152424882                      18586106881                        310260253792880   352509010940640   Completed      11    SPMSS346
                                                                                                                                                                     Successfully
    06/09/2017   04:38:28   12    mSTerminating    Incoming   8586106882                      18586106881                        310260253792880   352509010940640   Completed      11    SPMSS346
                                                                                                                                                                     Successfully
    06/09/2017   11:27:21   60    mSTerminatingS   Incoming      129                          18586106881                        310260253792880   352509010940640   Completed            DAMSS343
                                    MSinMSC                                                                                                                          Successfully
    06/09/2017   17:30:36   24    mSTerminating    Incoming   8586106882                      18586106881                        310260253792880   352509010940640   Completed      11    DAMSS343
                                                                                                                                                                     Successfully
    06/09/2017   17:31:16   98    mSOriginating    Outgoing   8586106881    18886947857       18886947857    11818633188869478   310260253792880   352509010940640   Completed            DAMSS343
                                                                                                                    57                                               Successfully
    06/09/2017   17:33:12   75    mSOriginating    Outgoing   8586106881    18586106882       18586106882       18586106882      310260253792880   352509010940640   Completed            DAMSS343
                                                                                                                                                                     Successfully
    06/09/2017   20:25:19   228   mSOriginating    Outgoing   8586106881    18009452000       18009452000    11818633180094520   310260253792880   352509010940640   Completed            SPMSS346
                                                                                                                    00                                               Successfully
    06/10/2017   05:28:23   18    mSTerminating    Incoming   8586106882                      18586106881                        310260253792880   352509010940640   Completed      11    SPMSS346
                                                                                                                                                                     Successfully
    06/10/2017   11:35:57   60    mSTerminatingS   Incoming      129                          18586106881                        310260253792880   352509010940640   Completed            SPMSS346
                                    MSinMSC                                                                                                                          Successfully
    06/11/2017   05:30:39   21     mSOriginating   Outgoing   8586106881    18586106882       18586106882       18586106882      310260253792880   352509010940640   Completed            SPMSS346
                                                                                                                                                                     Successfully
    06/11/2017   05:50:08   5          moc         Outgoing   18586106882   18056377249       18056377249       13235409999      310260253792880                     Completed      02B   DATAS003
                                                                                                                                                                     Successfully
    06/11/2017   05:50:35   13         moc         Outgoing   18586106882   18056377249       18056377249       13235409999      310260253792880                     Completed      02B   DATAS004
                                                                                                                                                                     Successfully
    06/11/2017   06:15:28         mSTerminating    Incoming   8586106882                      18586106881                        310260253792880   352509010940640   Completed      11    SPMSS346
                                                                                                                                                                     Successfully
    06/11/2017   11:29:36   60    mSTerminatingS   Incoming      129                          18586106881                        310260253792880   352509010940640   Completed            CRMSS345
                                    MSinMSC                                                                                                                          Successfully
    06/12/2017   04:24:40   21    mSTerminating    Incoming   8586106882                      18586106881                        310260253792880   352509010940640   Completed      11    CRMSS345
                                                                                                                                                                     Successfully
    06/12/2017   11:22:27   60    mSTerminatingS   Incoming      129                          18586106881                        310260253792880   352509010940640   Completed            CRMSS345
                                    MSinMSC                                                                                                                          Successfully
    06/12/2017   16:17:31   105   mSTerminating    Incoming   8586106882                      18586106881                        310260253792880   352509010940640   Completed      11    CRMSS345
                                                                                                                                                                     Successfully
    06/13/2017   05:06:12   34    mSTerminating    Incoming   8586106882                      18586106881                        310260253792880   352509010940640   Completed      11    IEMSS341
                                                                                                                                                                     Successfully



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                                                                                          [Exhibit G - 83]
    06/13/2017   11:22:06   60    mSTerminatingS   Incoming      129                         18586106881                     310260253792880   352509010940640   Completed           IEMSS341
                                    MSinMSC                                                                                                                      Successfully
    06/13/2017   16:34:10   24     mSOriginating   Outgoing   8586106881   18586106882       18586106882       18586106882   310260253792880   352509010940640   Completed           IEMSS341
                                                                                                                                                                 Successfully
    06/13/2017   16:35:40   14    mSTerminating    Incoming   8586106882                     18586106881                     310260253792880   352509010940640   Completed      11   IEMSS341
                                                                                                                                                                 Successfully
    06/14/2017   02:27:11   85    mSOriginating    Outgoing   8586106881   18586106882       18586106882       18586106882   310260253792880   352509010940640   Completed           HNMSS348
                                                                                                                                                                 Successfully
    06/14/2017   11:21:27   60    mSTerminatingS   Incoming      129                         18586106881                     310260253792880   352509010940640   Completed           HNMSS348
                                    MSinMSC                                                                                                                      Successfully
    06/14/2017   23:11:19   71    mSTerminating    Incoming   8586106882                     18586106881                     310260253792880   352509010940640   Completed      11   HNMSS348
                                                                                                                                                                 Successfully
    06/14/2017   23:18:41   58    mSTerminating    Incoming   8586106882                     18586106881                     310260253792880   352509010940640   Completed      11   HNMSS348
                                                                                                                                                                 Successfully
    06/15/2017   05:41:22   13    mSOriginating    Outgoing   8586106881   18586106882       18586106882       18586106882   310260253792880   352509010940640   Completed           HNMSS348
                                                                                                                                                                 Successfully
    06/15/2017   05:53:45   12    mSTerminating    Incoming   8586106882                     18586106881                     310260253792880   352509010940640   Completed      11   HNMSS348
                                                                                                                                                                 Successfully
    06/15/2017   11:27:36   60    mSTerminatingS   Incoming      129                         18586106881                     310260253792880   352509010940640   Completed           HNMSS348
                                    MSinMSC                                                                                                                      Successfully
    06/15/2017   16:44:13   3      mSOriginating   Outgoing   8586106881   18586106882       18586106882       18586106882   310260253792880   352509010940640   Completed           HNMSS348
                                                                                                                                                                 Successfully
    06/15/2017   16:46:18   3     mSOriginating    Outgoing   8586106881   18586503333       18586503333       18586503333   310260253792880   352509010940640   Completed           HNMSS348
                                                                                                                                                                 Successfully
    06/15/2017   16:47:10   26    mSOriginating    Outgoing   8586106881   18586503333       18586503333       18586503333   310260253792880   352509010940640   Completed           HNMSS348
                                                                                                                                                                 Successfully
    06/15/2017   21:03:55   263   mSOriginating    Outgoing   8586106881   18056377243       18056377243       13235409999   310260253792880   352509010940640   Completed           CRMSS345
                                                                                                                                                                 Successfully
    06/15/2017   21:08:30   60    mSTerminatingS   Incoming      129                         18586106881                     310260253792880   352509010940640   Completed           CRMSS345
                                    MSinMSC                                                                                                                      Successfully
    06/15/2017   21:22:15   20     mSOriginating   Outgoing   8586106881   18586106882       18586106882       18586106882   310260253792880   352509010940640   Completed           CRMSS345
                                                                                                                                                                 Successfully
    06/15/2017   22:29:30   12    mSTerminating    Incoming   8586106882                     18586106881                     310260253792880   352509010940640   Completed      11   CRMSS345
                                                                                                                                                                 Successfully
    06/15/2017   22:34:42   21    mSOriginating    Outgoing   8586106881   18586106882       18586106882       18586106882   310260253792880   352509010940640   Completed           CRMSS345
                                                                                                                                                                 Successfully
    06/16/2017   05:17:06   22    mSOriginating    Outgoing   8586106881   18586106882       18586106882       18586106882   310260253792880   352509010940640   Completed           CRMSS345
                                                                                                                                                                 Successfully
    06/16/2017   11:34:23   60    mSTerminatingS   Incoming      129                         18586106881                     310260253792880   352509010940640   Completed           CRMSS345
                                    MSinMSC                                                                                                                      Successfully
    06/17/2017   05:31:55   21    mSTerminating    Incoming   8586106882                     18586106881                     310260253792880   352509010940640   Completed      11   CRMSS345
                                                                                                                                                                 Successfully
    06/17/2017   06:38:05   13    mSOriginating    Outgoing   8586106881   18586106882       18586106882       18586106882   310260253792880   352509010940640   Completed           CRMSS345
                                                                                                                                                                 Successfully
    06/17/2017   07:06:16   18    mSTerminating    Incoming   8586106882                     18586106881                     310260253792880   352509010940640   Completed      11   CRMSS345
                                                                                                                                                                 Successfully
    06/17/2017   11:33:08   60    mSTerminatingS   Incoming      129                         18586106881                     310260253792880   352509010940640   Completed           CRMSS345
                                    MSinMSC                                                                                                                      Successfully
    06/18/2017   07:04:20   3      mSOriginating   Outgoing   8586106881   18586106882       18586106882       18586106882   310260253792880   352509010940640   Completed           CRMSS345
                                                                                                                                                                 Successfully
    06/18/2017   07:10:01   20    mSTerminating    Incoming   8586106882                     18586106881                     310260253792880   352509010940640   Completed      11   CRMSS345
                                                                                                                                                                 Successfully
    06/18/2017   11:35:17   60    mSTerminatingS   Incoming      129                         18586106881                     310260253792880   352509010940640   Completed           CRMSS345
                                    MSinMSC                                                                                                                      Successfully



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                                                                                         [Exhibit G - 84]
    06/19/2017   06:31:31   13    mSTerminating    Incoming   8586106882                      18586106881                        310260253792880   352509010940640   Completed      11   CRMSS345
                                                                                                                                                                     Successfully
    06/19/2017   11:32:56   60    mSTerminatingS   Incoming      129                          18586106881                        310260253792880   352509010940640   Completed           CRMSS345
                                    MSinMSC                                                                                                                          Successfully
    06/19/2017   16:41:09   66     mSOriginating   Outgoing   8586106881    18002220238       18002220238    11818633180022202   310260253792880   352509010940640   Completed           CRMSS345
                                                                                                                    38                                               Successfully
    06/19/2017   16:45:20   485   mSOriginating    Outgoing   8586106881    18662348271       18662348271    11818633186623482   310260253792880   352509010940640   Completed           CRMSS345
                                                                                                                    71                                               Successfully
    06/20/2017   05:40:08   11    mSOriginating    Outgoing   8586106881    18586106882       18586106882       18586106882      310260253792880   352509010940640   Completed           CRMSS345
                                                                                                                                                                     Successfully
    06/20/2017   06:08:00   9     mSTerminating    Incoming   8586106882                      18586106881                        310260253792880   352509010940640   Completed      11   CRMSS345
                                                                                                                                                                     Successfully
    06/20/2017   11:26:23   60    mSTerminatingS   Incoming      129                          18586106881                        310260253792880   352509010940640   Completed           CRMSS345
                                    MSinMSC                                                                                                                          Successfully
    06/20/2017   18:03:15              mtc         Incoming   18586106882   18586106881       18586106881       18586106881      310260253792880                      Abnormal      11   ORTAS001
                                                                                                                                                                     Completion
    06/20/2017   18:36:36   15    mSTerminating    Incoming   8586106882                      18586106881                        310260253792880   352509010940640   Completed      11   CRMSS345
                                                                                                                                                                     Successfully
    06/20/2017   23:03:10   37    mSTerminating    Incoming   8586106882                      18586106881                        310260253792880   352509010940640   Completed      11   CRMSS345
                                                                                                                                                                     Successfully
    06/21/2017   11:26:05   60    mSTerminatingS   Incoming      129                          18586106881                        310260253792880   352509010940640   Completed           CRMSS345
                                    MSinMSC                                                                                                                          Successfully
    06/21/2017   14:04:14   24     mSOriginating   Outgoing   8586106881    18586106882       18586106882       18586106882      310260253792880   352509010940640   Completed           CRMSS345
                                                                                                                                                                     Successfully
    06/22/2017   05:45:57   4     mSOriginating    Outgoing   8586106881    18586106882       18586106882       18586106882      310260253792880   352509010940640   Completed           CRMSS345
                                                                                                                                                                     Successfully
    06/22/2017   23:13:31   60    mSTerminatingS   Incoming      129                          18586106881                        310260253792880   352509010940640   Completed           CRMSS345
                                    MSinMSC                                                                                                                          Successfully
    06/22/2017   23:13:34   60    mSTerminatingS   Incoming   16193691454                     18586106881                        310260253792880   352509010940640   Completed           CRMSS345
                                    MSinMSC                                                                                                                          Successfully
    06/23/2017   18:34:58   15     mSOriginating   Outgoing   8586106881    18586106882       18586106882       18586106882      310260253792880   352509010940640   Completed           CRMSS345
                                                                                                                                                                     Successfully
    06/23/2017   18:35:02   60    mSTerminatingS   Incoming      129                          18586106881                        310260253792880   352509010940640   Completed           CRMSS345
                                    MSinMSC                                                                                                                          Successfully
    06/24/2017   11:35:25   60    mSTerminatingS   Incoming      129                          18586106881                        310260253792880   352509010940640   Completed           ATMSS344
                                    MSinMSC                                                                                                                          Successfully
    06/24/2017   17:48:16   15     mSOriginating   Outgoing   8586106881    18586106882       18586106882       18586106882      310260253792880   352509010940640   Completed           ATMSS344
                                                                                                                                                                     Successfully
    06/25/2017   19:24:22   60    mSTerminatingS   Incoming      129                          18586106881                        310260253792880   352509010940640   Completed           VGMSS342
                                    MSinMSC                                                                                                                          Successfully
    06/25/2017   19:25:11   29     mSOriginating   Outgoing   8586106881    15703427701       15703427701       15703427701      310260253792880   352509010940640   Completed           VGMSS342
                                                                                                                                                                     Successfully
    06/25/2017   19:27:33   71    mSOriginating    Outgoing   8586106881    15703427701       15703427701       15703427701      310260253792880   352509010940640   Completed           VGMSS342
                                                                                                                                                                     Successfully
    06/26/2017   01:12:07         mSOriginating    Outgoing   8586106881    13055459255       13055459255       13055459255      310260253792880   352509010940640   Completed           ORMSS349
                                                                                                                                                                     Successfully
    06/26/2017   01:13:02         mSOriginating    Outgoing   8586106881    13055459255       13055459255       13055459255      310260253792880   352509010940640   Completed           ORMSS349
                                                                                                                                                                     Successfully
    06/26/2017   05:36:54   396   mSOriginating    Outgoing   8586106881    18056377243       18056377243       13235409999      310260253792880   352509010940640   Completed           ORMSS349
                                                                                                                                                                     Successfully
    06/26/2017   05:43:43   60    mSTerminatingS   Incoming      129                          18586106881                        310260253792880   352509010940640   Completed           ORMSS349
                                    MSinMSC                                                                                                                          Successfully
    06/26/2017   16:18:49          mSOriginating   Outgoing   8586106881    15703427707       15703427707       15703427707      310260253792880   352509010940640   Completed           ORMSS349
                                                                                                                                                                     Successfully



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                                                                                          [Exhibit G - 85]
    06/26/2017   16:19:11          mSOriginating    Outgoing   8586106881    15703427707       15703427707       15703427707      310260253792880   352509010940640   Completed           ORMSS349
                                                                                                                                                                      Successfully
    06/26/2017   16:19:40   1738   mSOriginating    Outgoing   8586106881    15703427701       15703427701       15703427701      310260253792880   352509010940640   Completed           ORMSS349
                                                                                                                                                                      Successfully
    06/26/2017   22:11:03   14     mSOriginating    Outgoing   8586106881    18586106882       18586106882       18586106882      310260253792880   352509010940640   Completed           ORMSS349
                                                                                                                                                                      Successfully
    06/26/2017   23:10:59   155    mSOriginating    Outgoing   8586106881    18778544481       18778544481    11818633187785444   310260253792880   352509010940640   Completed           ORMSS349
                                                                                                                     81                                               Successfully
    06/27/2017   02:22:26    60    mSTerminatingS   Incoming   16193691452                     18586106881                        310260253792880   352509010940640   Completed           ORMSS349
                                     MSinMSC                                                                                                                          Successfully
    06/27/2017   02:28:06   234     mSOriginating   Outgoing   8586106881    18056377243       18056377243       13235409999      310260253792880   352509010940640   Completed           ORMSS349
                                                                                                                                                                      Successfully
    06/27/2017   02:32:04    60    mSTerminatingS   Incoming      129                          18586106881                        310260253792880   352509010940640   Completed           ORMSS349
                                     MSinMSC                                                                                                                          Successfully
    06/27/2017   18:33:53   636     mSOriginating   Outgoing   8586106881    17188944888       17188944888       17188944888      310260253792880   352509010940640   Completed           DAMSS343
                                                                                                                                                                      Successfully
    06/27/2017   19:10:32   14     mSOriginating    Outgoing   8586106881    12126399675       12126399675       12126399675      310260253792880   352509010940640   Completed           DAMSS343
                                                                                                                                                                      Successfully
    06/27/2017   19:11:14   328    mSOriginating    Outgoing   8586106881    12126399675       12126399675       12126399675      310260253792880   352509010940640   Completed           DAMSS343
                                                                                                                                                                      Successfully
    06/28/2017   15:21:45    60    mSTerminatingS   Incoming      129                          18586106881                        310260253792880   352509010940640   Completed           DAMSS343
                                     MSinMSC                                                                                                                          Successfully
    06/28/2017   17:33:31   192     mSOriginating   Outgoing   8586106881    18002882020       18002882020    11818633180028820   310260253792880   352509010940640   Completed           DAMSS343
                                                                                                                     20                                               Successfully
    06/28/2017   17:37:22   289    mSOriginating    Outgoing   8586106881    18002882020       18002882020    11818633180028820   310260253792880   352509010940640   Completed           DAMSS343
                                                                                                                     20                                               Successfully
    06/28/2017   20:52:48   233    mSOriginating    Outgoing   8586106881    12126399675       12126399675       12126399675      310260253792880   352509010940640   Completed           SFMSS347
                                                                                                                                                                      Successfully
    06/28/2017   21:17:35          mSOriginating    Outgoing   8586106881    8586108870        8586108870        18586108870      310260253792880   352509010940640   Completed           SFMSS347
                                                                                                                                                                      Successfully
    06/28/2017   21:52:45    8     mSTerminating    Incoming   3235405132                      18586106881                        310260253792880   352509010940640   Completed      11   SFMSS347
                                                                                                                                                                      Successfully
    06/29/2017   14:47:32    60    mSTerminatingS   Incoming      129                          18586106881                        310260253792880   352509010940640   Completed           ORMSS349
                                     MSinMSC                                                                                                                          Successfully
    06/30/2017   11:51:44    60    mSTerminatingS   Incoming      129                          18586106881                        310260253792880   352509010940640   Completed           ATMSS344
                                     MSinMSC                                                                                                                          Successfully
    06/30/2017   22:21:55    60    mSTerminatingS   Incoming   16193691452                     18586106881                        310260253792880   352509010940640   Completed           IEMSS341
                                     MSinMSC                                                                                                                          Successfully
    07/01/2017   14:49:49    60    mSTerminatingS   Incoming      129                          18586106881                        310260253792880   352509010940640   Completed           IEMSS341
                                     MSinMSC                                                                                                                          Successfully
    07/02/2017   14:32:33    60    mSTerminatingS   Incoming      129                          18586106881                        310260253792880   352509010940640   Completed           VGMSS342
                                     MSinMSC                                                                                                                          Successfully
    07/03/2017   11:53:39    60    mSTerminatingS   Incoming      129                          18586106881                        310260253792880   352509010940640   Completed           ORMSS349
                                     MSinMSC                                                                                                                          Successfully
    07/04/2017   11:40:48    60    mSTerminatingS   Incoming      129                          18586106881                        310260253792880   352509010940640   Completed           DAMSS343
                                     MSinMSC                                                                                                                          Successfully
    07/04/2017   18:00:54    60    mSTerminatingS   Incoming   16193691448                     18586106881                        310260253792880   352509010940640   Completed           DAMSS343
                                     MSinMSC                                                                                                                          Successfully
    07/05/2017   11:51:36    60    mSTerminatingS   Incoming      129                          18586106881                        310260253792880   352509010940640   Completed           DAMSS343
                                     MSinMSC                                                                                                                          Successfully
    07/06/2017   22:12:39   79      mSOriginating   Outgoing   8586106881    18003810759       18003810759    11818633180038107   310260253792880   352509010940640   Completed           DAMSS343
                                                                                                                     59                                               Successfully
    07/06/2017   22:12:55    60    mSTerminatingS   Incoming      129                          18586106881                        310260253792880   352509010940640   Completed           DAMSS343
                                     MSinMSC                                                                                                                          Successfully



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                                                                                           [Exhibit G - 86]
    07/06/2017   22:14:25   477   mSOriginating    Outgoing   8586106881    18003810759       18003810759    11818633180038107   310260253792880   352509010940640   Completed               DAMSS343
                                                                                                                    59                                               Successfully
    07/06/2017   22:36:35   24    mSOriginating    Outgoing   8586106881    18003810759       18003810759    11818633180038107   310260253792880   352509010940640   Completed               DAMSS343
                                                                                                                    59                                               Successfully
    07/06/2017   22:39:44   137   mSOriginating    Outgoing   8586106881    18003810759       18003810759    11818633180038107   310260253792880   352509010940640   Completed               DAMSS343
                                                                                                                    59                                               Successfully
    07/06/2017   22:42:22   413   mSOriginating    Outgoing   8586106881    18003810759       18003810759    11818633180038107   310260253792880   352509010940640   Completed               DAMSS343
                                                                                                                    59                                               Successfully
    07/06/2017   23:10:07   306   mSOriginating    Outgoing   8586106881    18003810759       18003810759    11818633180038107   310260253792880   352509010940640   Completed               DAMSS343
                                                                                                                    59                                               Successfully
    07/06/2017   23:15:41   904   mSOriginating    Outgoing   8586106881    18003810759       18003810759    11818633180038107   310260253792880   352509010940640   Completed               DAMSS343
                                                                                                                    59                                               Successfully
    07/07/2017   11:52:57   60    mSTerminatingS   Incoming      129                          18586106881                        310260253792880   352509010940640   Completed               DAMSS343
                                     MSinMSC                                                                                                                         Successfully
    07/07/2017   16:54:32   258   callForwarding   Outgoing   8004304263    18056377249       18056377249       18056377249      310260253792880                     Completed      011;2B   DAMSS343
                                                                                                                                                                     Successfully
    07/07/2017   17:00:46   60    mSTerminatingS   Incoming      129                          18586106881                        310260253792880   352509010940640   Completed               DAMSS343
                                    MSinMSC                                                                                                                          Successfully
    07/08/2017   05:31:47   38     mSOriginating   Outgoing   8586106881    18056377243       18056377243       13235409999      310260253792880   352509010940640   Completed               SPMSS346
                                                                                                                                                                     Successfully
    07/08/2017   05:32:31   60    mSTerminatingS   Incoming      129                          18586106881                        310260253792880   352509010940640   Completed               SPMSS346
                                    MSinMSC                                                                                                                          Successfully
    07/08/2017   06:30:51   11     mSOriginating   Outgoing   8586106881    18586106882       18586106882       18586106882      310260253792880   352509010940640   Completed               SPMSS346
                                                                                                                                                                     Successfully
    07/08/2017   20:46:45   8     callForwarding   Outgoing   3237471626    18056377249       18056377249       18056377249      310260253792880                     Completed      011;2B   SPMSS346
                                                                                                                                                                     Successfully
    07/09/2017   17:14:24   27         mtc         Incoming   18586106882   18586106881       18586106881       18586106881      310260253792880                     Completed      021;11   TTTAS006
                                                                                                                                                                     Successfully
    07/09/2017   17:14:25   27         moc         Outgoing   18586106882   18056377249       18056377249       13235409999      310260253792880                     Completed       02B     TTTAS006
                                                                                                                                                                     Successfully
    07/09/2017   17:15:40   10         mtc         Incoming   18586106882   18586106881       18586106881       18586106881      310260253792880                     Completed      021;11   SFTAS003
                                                                                                                                                                     Successfully
    07/09/2017   17:15:41   10         moc         Outgoing   18586106882   18056377249       18056377249       13235409999      310260253792880                     Completed       02B     SFTAS003
                                                                                                                                                                     Successfully
    07/09/2017   17:16:19   23         mtc         Incoming   18586106882   18586106881       18586106881       18586106881      310260253792880                     Completed      021;11   TTTAS005
                                                                                                                                                                     Successfully
    07/09/2017   17:16:20   23         moc         Outgoing   18586106882   18056377249       18056377249       13235409999      310260253792880                     Completed       02B     TTTAS005
                                                                                                                                                                     Successfully
    07/10/2017   01:03:11   11         moc         Outgoing   18586106882   18056377249       18056377249       13235409999      310260253792880                     Completed       02B     TTTAS006
                                                                                                                                                                     Successfully
    07/10/2017   01:03:11   11         mtc         Incoming   18586106882   18586106881       18586106881       18586106881      310260253792880                     Completed      021;11   TTTAS006
                                                                                                                                                                     Successfully
    07/10/2017   01:03:29   13         mtc         Incoming   18586106882   18586106881       18586106881       18586106881      310260253792880                     Completed      021;11   DATAS009
                                                                                                                                                                     Successfully
    07/10/2017   01:03:30   13         moc         Outgoing   18586106882   18056377249       18056377249       13235409999      310260253792880                     Completed       02B     DATAS009
                                                                                                                                                                     Successfully
    07/10/2017   01:03:50   9          mtc         Incoming   18586106882   18586106881       18586106881       18586106881      310260253792880                     Completed      021;11   CHTAS003
                                                                                                                                                                     Successfully
    07/10/2017   01:03:51   9          moc         Outgoing   18586106882   18056377249       18056377249       13235409999      310260253792880                     Completed       02B     CHTAS003
                                                                                                                                                                     Successfully
    07/10/2017   01:04:07   5          mtc         Incoming   18586106882   18586106881       18586106881       18586106881      310260253792880                     Completed      021;11   ORTAS001
                                                                                                                                                                     Successfully
    07/10/2017   01:04:08   5          moc         Outgoing   18586106882   18056377249       18056377249       13235409999      310260253792880                     Completed       02B     ORTAS001
                                                                                                                                                                     Successfully



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                                                                                          [Exhibit G - 87]
    07/10/2017   05:05:17   60    mSTerminatingS   Incoming      129                          18586106881                     310260253792880   352509010940640   Completed               SPMSS346
                                    MSinMSC                                                                                                                       Successfully
    07/10/2017   16:54:20   14     mSOriginating   Outgoing   8586106881    18586106882       18586106882       18586106882   310260253792880   352509010940640   Completed               DAMSS343
                                                                                                                                                                  Successfully
    07/10/2017   17:06:52         mSOriginating    Outgoing   8586106881    18586106882       18586106882       18586106882   310260253792880   352509010940640   Completed               DAMSS343
                                                                                                                                                                  Successfully
    07/10/2017   17:36:09   83    mSTerminating    Incoming   8004304263                      18586106881                     310260253792880   352509010940640   Completed       11      DAMSS343
                                                                                                                                                                  Successfully
    07/10/2017   19:47:51   6          mtc         Incoming   18586106882   18586106881       18586106881       18586106881   310260253792880                     Completed      021;11   PXTAS001
                                                                                                                                                                  Successfully
    07/10/2017   19:47:52   6          moc         Outgoing   18586106882   18056377249       18056377249       13235409999   310260253792880                     Completed       02B     PXTAS001
                                                                                                                                                                  Successfully
    07/10/2017   20:04:37   13         moc         Outgoing   18586106882   18056377249       18056377249       13235409999   310260253792880                     Completed       02B     POTAS001
                                                                                                                                                                  Successfully
    07/10/2017   20:04:37   13         mtc         Incoming   18586106882   18586106881       18586106881       18586106881   310260253792880                     Completed      021;11   POTAS001
                                                                                                                                                                  Successfully
    07/10/2017   22:43:23   49    mSOriginating    Outgoing   8586106881    18056377243       18056377243       13235409999   310260253792880   352509010940640   Completed               DAMSS343
                                                                                                                                                                  Successfully
    07/10/2017   22:44:18   60    mSTerminatingS   Incoming      129                          18586106881                     310260253792880   352509010940640   Completed               DAMSS343
                                    MSinMSC                                                                                                                       Successfully
    07/10/2017   23:19:27   116   mSTerminating    Incoming   8586106882                      18586106881                     310260253792880   352509010940640   Completed       11      DAMSS343
                                                                                                                                                                  Successfully
    07/11/2017   04:13:12   53    mSOriginating    Outgoing   8586106881    18586106882       18586106882       18586106882   310260253792880   352509010940640   Completed               DAMSS343
                                                                                                                                                                  Successfully
    07/11/2017   04:53:41   93    mSTerminating    Incoming   8586106882                      18586106881                     310260253792880   352509010940640   Completed       11      DAMSS343
                                                                                                                                                                  Successfully
    07/11/2017   14:50:43   60    mSTerminatingS   Incoming      129                          18586106881                     310260253792880   352509010940640   Completed               DAMSS343
                                    MSinMSC                                                                                                                       Successfully
    07/11/2017   16:17:55   41    mSTerminating    Incoming   8004304263                      18586106881                     310260253792880   352509010940640   Completed       11      DAMSS343
                                                                                                                                                                  Successfully
    07/11/2017   18:16:33   1     mSOriginating    Outgoing   8586106881    18586106882       18586106882       18586106882   310260253792880   352509010940640   Completed               VGMSS342
                                                                                                                                                                  Successfully
    07/11/2017   18:33:20   365   mSOriginating    Outgoing   8586106881    6195312000        6195312000        16195312000   310260253792880   352509010940640   Completed               VGMSS342
                                                                                                                                                                  Successfully
    07/11/2017   19:07:05   30    mSOriginating    Outgoing   8586106881    18586106882       18586106882       18586106882   310260253792880   352509010940640   Completed               VGMSS342
                                                                                                                                                                  Successfully
    07/11/2017   19:41:28   6          moc         Outgoing   18586106882   18056377249       18056377249       13235409999   310260253792880                     Completed       02A     IETAS001
                                                                                                                                                                  Successfully
    07/11/2017   19:41:28         mSTerminating    Incoming   8586106882                      18586106881                     310260253792880   352509010940640    Abnormal       11      VGMSS342
                                                                                                                                                                  Completion
    07/11/2017   19:53:58   15    mSOriginating    Outgoing   8586106881    18586106882       18586106882       18586106882   310260253792880   352509010940640   Completed               VGMSS342
                                                                                                                                                                  Successfully
    07/11/2017   21:40:28   66    mSTerminating    Incoming   8586106882                      18586106881                     310260253792880   352509010940640   Completed       11      VGMSS342
                                                                                                                                                                  Successfully
    07/12/2017   00:58:32   60    mSTerminatingS   Incoming   16193691446                     18586106881                     310260253792880   352509010940640   Completed               VGMSS342
                                    MSinMSC                                                                                                                       Successfully
    07/12/2017   02:03:53   27     mSOriginating   Outgoing   8586106881    18586106882       18586106882       18586106882   310260253792880   352509010940640   Completed               VGMSS342
                                                                                                                                                                  Successfully
    07/12/2017   02:45:04   24    mSTerminating    Incoming   8586106882                      18586106881                     310260253792880   352509010940640   Completed       11      VGMSS342
                                                                                                                                                                  Successfully
    07/12/2017   03:45:51   16    mSTerminating    Incoming   8586106882                      18586106881                     310260253792880   352509010940640   Completed       11      VGMSS342
                                                                                                                                                                  Successfully
    07/12/2017   05:18:43   3     mSOriginating    Outgoing   8586106881    18586106882       18586106882       18586106882   310260253792880   352509010940640   Completed               VGMSS342
                                                                                                                                                                  Successfully



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                                                                                          [Exhibit G - 88]
    07/12/2017   05:21:06   8     mSOriginating    Outgoing   8586106881    18586106882       18586106882       18586106882      310260253792880   352509010940640   Completed               VGMSS342
                                                                                                                                                                     Successfully
    07/12/2017   05:21:36   22    mSTerminating    Incoming   8586106882                      18586106881                        310260253792880   352509010940640   Completed       11      VGMSS342
                                                                                                                                                                     Successfully
    07/12/2017   16:54:08   33    callForwarding   Outgoing   8004304263    18056377249       18056377249       18056377249      310260253792880                     Completed      011;2B   VGMSS342
                                                                                                                                                                     Successfully
    07/12/2017   21:57:29   7     callForwarding   Outgoing   6198406754    18056377249       18056377249       18056377249      310260253792880                     Completed      011;2B   VGMSS342
                                                                                                                                                                     Successfully
    07/13/2017   01:14:54   60    mSTerminatingS   Incoming      129                          18586106881                        310260253792880   352509010940640   Completed               VGMSS342
                                    MSinMSC                                                                                                                          Successfully
    07/13/2017   04:05:47   22     mSOriginating   Outgoing   8586106881    18586106882       18586106882       18586106882      310260253792880   352509010940640   Completed               VGMSS342
                                                                                                                                                                     Successfully
    07/13/2017   11:50:36   60    mSTerminatingS   Incoming      129                          18586106881                        310260253792880   352509010940640   Completed               VGMSS342
                                    MSinMSC                                                                                                                          Successfully
    07/13/2017   18:10:15   323   mSTerminating    Incoming   8004304263                      18586106881                        310260253792880   352509010940640   Completed       11      VGMSS342
                                                                                                                                                                     Successfully
    07/13/2017   23:44:53   25    mSOriginating    Outgoing   8586106881    18586106882       18586106882       18586106882      310260253792880   352509010940640   Completed               VGMSS342
                                                                                                                                                                     Successfully
    07/14/2017   04:40:38   13    mSTerminating    Incoming   8586106882                      18586106881                        310260253792880   352509010940640   Completed       11      VGMSS342
                                                                                                                                                                     Successfully
    07/14/2017   11:56:06   60    mSTerminatingS   Incoming      129                          18586106881                        310260253792880   352509010940640   Completed               SFMSS347
                                    MSinMSC                                                                                                                          Successfully
    07/14/2017   18:27:15   250    mSOriginating   Outgoing   8586106881    18056377243       18056377243       13235409999      310260253792880   352509010940640   Completed               SFMSS347
                                                                                                                                                                     Successfully
    07/14/2017   18:31:37   60    mSTerminatingS   Incoming      129                          18586106881                        310260253792880   352509010940640   Completed               SFMSS347
                                    MSinMSC                                                                                                                          Successfully
    07/15/2017   04:38:24   4          mtc         Incoming   18586106882   18586106881       18586106881       18586106881      310260253792880                     Completed      021;11   CHTAS004
                                                                                                                                                                     Successfully
    07/15/2017   04:38:25   4          moc         Outgoing   18586106882   18056377249       18056377249       13235409999      310260253792880                     Completed       02B     CHTAS004
                                                                                                                                                                     Successfully
    07/15/2017   15:54:49   60    mSTerminatingS   Incoming      129                          18586106881                        310260253792880   352509010940640   Completed               SFMSS347
                                    MSinMSC                                                                                                                          Successfully
    07/15/2017   16:34:02   3      mSOriginating   Outgoing   8586106881    18586106882       18586106882       18586106882      310260253792880   352509010940640   Completed               SFMSS347
                                                                                                                                                                     Successfully
    07/15/2017   16:42:06   24    mSOriginating    Outgoing   8586106881    18586106882       18586106882       18586106882      310260253792880   352509010940640   Completed               SFMSS347
                                                                                                                                                                     Successfully
    07/15/2017   20:33:01   3     mSOriginating    Outgoing   8586106881    18586106882       18586106882       18586106882      310260253792880   352509010940640   Completed               SFMSS347
                                                                                                                                                                     Successfully
    07/15/2017   22:04:36   14    mSOriginating    Outgoing   8586106881    18586106882       18586106882       18586106882      310260253792880   352509010940640   Completed               SFMSS347
                                                                                                                                                                     Successfully
    07/15/2017   23:01:24   3     mSOriginating    Outgoing   8586106881    18586106882       18586106882       18586106882      310260253792880   352509010940640   Completed               SFMSS347
                                                                                                                                                                     Successfully
    07/15/2017   23:06:44   88    mSTerminating    Incoming   8586106882                      18586106881                        310260253792880   352509010940640   Completed       11      SFMSS347
                                                                                                                                                                     Successfully
    07/16/2017   04:43:45   28    mSTerminating    Incoming   8586106882                      18586106881                        310260253792880   352509010940640   Completed       11      SFMSS347
                                                                                                                                                                     Successfully
    07/16/2017   14:47:20   60    mSTerminatingS   Incoming      129                          18586106881                        310260253792880   352509010940640   Completed               SFMSS347
                                    MSinMSC                                                                                                                          Successfully
    07/17/2017   04:25:37   8     mSTerminating    Incoming   8586106882                      18586106881                        310260253792880   352509010940640   Completed       11      HNMSS348
                                                                                                                                                                     Successfully
    07/17/2017   14:50:20   60    mSTerminatingS   Incoming      129                          18586106881                        310260253792880   352509010940640   Completed               HNMSS348
                                    MSinMSC                                                                                                                          Successfully
    07/17/2017   16:47:37   86     mSOriginating   Outgoing   8586106881    18005959135       18005959135    11818633180059591   310260253792880   352509010940640   Completed               HNMSS348
                                                                                                                    35                                               Successfully



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                                                                                          [Exhibit G - 89]
    07/17/2017   16:49:46   2     mSOriginating    Outgoing   8586106881    18005959135       18005959135    11818633180059591   310260253792880   352509010940640   Completed           HNMSS348
                                                                                                                     35                                              Successfully
    07/17/2017   16:50:08   256   mSOriginating    Outgoing   8586106881    18005959138       18005959138    11818633180059591   310260253792880   352509010940640   Completed           HNMSS348
                                                                                                                     38                                              Successfully
    07/18/2017   05:49:53   11    mSTerminating    Incoming   8586106882                      18586106881                        310260253792880   352509010940640   Completed      11   SPMSS346
                                                                                                                                                                     Successfully
    07/18/2017   14:26:39   60    mSTerminatingS   Incoming      129                          18586106881                        310260253792880   352509010940640   Completed           SPMSS346
                                    MSinMSC                                                                                                                          Successfully
    07/19/2017   05:29:26   18    mSTerminating    Incoming   8586106882                      18586106881                        310260253792880   352509010940640   Completed      11   DAMSS343
                                                                                                                                                                     Successfully
    07/19/2017   14:33:20   60    mSTerminatingS   Incoming      129                          18586106881                        310260253792880   352509010940640   Completed           DAMSS343
                                    MSinMSC                                                                                                                          Successfully
    07/20/2017   05:11:57   21     mSOriginating   Outgoing   8586106881    18586106882       18586106882       18586106882      310260253792880   352509010940640   Completed           ATMSS344
                                                                                                                                                                     Successfully
    07/20/2017   11:55:13   60    mSTerminatingS   Incoming      129                          18586106881                        310260253792880   352509010940640   Completed           ATMSS344
                                    MSinMSC                                                                                                                          Successfully
    07/20/2017   22:50:38   24     mSOriginating   Outgoing   8586106881    18003810759       18003810759    11818633180038107   310260253792880   352509010940640   Completed           CRMSS345
                                                                                                                    59                                               Successfully
    07/20/2017   22:51:23   878   mSOriginating    Outgoing   8586106881    18003810759       18003810759    11818633180038107   310260253792880   352509010940640   Completed           CRMSS345
                                                                                                                    59                                               Successfully
    07/21/2017   05:01:50   13    mSTerminating    Incoming   8586106882                      18586106881                        310260253792880   352509010940640   Completed      11   VGMSS342
                                                                                                                                                                     Successfully
    07/21/2017   14:32:40   229   mSOriginating    Outgoing   8586106881    18003810759       18003810759    11818633180038107   310260253792880   352509010940640   Completed           VGMSS342
                                                                                                                    59                                               Successfully
    07/21/2017   14:42:10   60    mSTerminatingS   Incoming      129                          18586106881                        310260253792880   352509010940640   Completed           VGMSS342
                                    MSinMSC                                                                                                                          Successfully
    07/22/2017   04:47:39   9     mSTerminating    Incoming   8586106882                      18586106881                        310260253792880   352509010940640   Completed      11   SPMSS346
                                                                                                                                                                     Successfully
    07/22/2017   05:02:19         mSOriginating    Outgoing   8586106881    18005959138       18005959138    11818633180059591   310260253792880   352509010940640   Completed           SPMSS346
                                                                                                                    38                                               Successfully
    07/22/2017   05:02:29         mSOriginating    Outgoing   8586106881    18005959135       18005959135    11818633180059591   310260253792880   352509010940640   Completed           SPMSS346
                                                                                                                    35                                               Successfully
    07/22/2017   12:02:05   60    mSTerminatingS   Incoming      129                          18586106881                        310260253792880   352509010940640   Completed           SPMSS346
                                    MSinMSC                                                                                                                          Successfully
    07/22/2017   17:35:32   60    mSTerminatingS   Incoming   16193691443                     18586106881                        310260253792880   352509010940640   Completed           SPMSS346
                                    MSinMSC                                                                                                                          Successfully
    07/22/2017   19:05:12   19     mSOriginating   Outgoing   8586106881    18586106882       18586106882       18586106882      310260253792880   352509010940640   Completed           SPMSS346
                                                                                                                                                                     Successfully
    07/23/2017   04:43:28   12    mSTerminating    Incoming   8586106882                      18586106881                        310260253792880   352509010940640   Completed      11   SPMSS346
                                                                                                                                                                     Successfully
    07/23/2017   14:40:36   60    mSTerminatingS   Incoming      129                          18586106881                        310260253792880   352509010940640   Completed           SPMSS346
                                    MSinMSC                                                                                                                          Successfully
    07/24/2017   04:26:02   17    mSTerminating    Incoming   8586106882                      18586106881                        310260253792880   352509010940640   Completed      11   SPMSS346
                                                                                                                                                                     Successfully
    07/24/2017   12:52:20   60    mSTerminatingS   Incoming      129                          18586106881                        310260253792880   352509010940640   Completed           SPMSS346
                                    MSinMSC                                                                                                                          Successfully
    07/24/2017   23:07:43   1     mSTerminating    Incoming   8586165049                      18586106881                        310260253792880   352509010940640   Completed      11   SPMSS346
                                                                                                                                                                     Successfully
    07/25/2017   00:03:20   220   mSOriginating    Outgoing   8586106881    18056377243       18056377243       13235409999      310260253792880   352509010940640   Completed           SPMSS346
                                                                                                                                                                     Successfully
    07/25/2017   00:07:11   60    mSTerminatingS   Incoming      129                          18586106881                        310260253792880   352509010940640   Completed           SPMSS346
                                    MSinMSC                                                                                                                          Successfully
    07/25/2017   05:23:54   15    mSTerminating    Incoming   8586106882                      18586106881                        310260253792880   352509010940640   Completed      11   SPMSS346
                                                                                                                                                                     Successfully



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                                                                                          [Exhibit G - 90]
    07/25/2017   14:44:36   60    mSTerminatingS   Incoming      129                          18586106881                        310260253792880   352509010940640   Completed               SPMSS346
                                    MSinMSC                                                                                                                          Successfully
    07/26/2017   03:18:28   39    mSTerminating    Incoming   8586899913                      18586106881                        310260253792880   352509010940640   Completed       11      SPMSS346
                                                                                                                                                                     Successfully
    07/26/2017   14:42:57   60    mSTerminatingS   Incoming      129                          18586106881                        310260253792880   352509010940640   Completed               VGMSS342
                                    MSinMSC                                                                                                                          Successfully
    07/26/2017   17:21:12   29     mSOriginating   Outgoing   8586106881    18586106882       18586106882       18586106882      310260253792880   352509010940640   Completed               VGMSS342
                                                                                                                                                                     Successfully
    07/26/2017   17:32:29   32    mSOriginating    Outgoing   8586106881    18586106882       18586106882       18586106882      310260253792880   352509010940640   Completed               VGMSS342
                                                                                                                                                                     Successfully
    07/26/2017   17:39:29   261   mSTerminating    Incoming   8004304263                      18586106881                        310260253792880   352509010940640   Completed       11      VGMSS342
                                                                                                                                                                     Successfully
    07/26/2017   18:13:27         mSOriginating    Outgoing   8586106881    18586106882       18586106882       18586106882      310260253792880   352509010940640   Completed               VGMSS342
                                                                                                                                                                     Successfully
    07/26/2017   18:21:15   106   mSOriginating    Outgoing   8586106881    18586106882       18586106882       18586106882      310260253792880   352509010940640   Completed               VGMSS342
                                                                                                                                                                     Successfully
    07/27/2017   06:05:38   13    mSOriginating    Outgoing   8586106881    18586106882       18586106882       18586106882      310260253792880   352509010940640   Completed               CRMSS345
                                                                                                                                                                     Successfully
    07/27/2017   06:19:15   26         moc         Outgoing   18586106882   18056377249       18056377249       13235409999      310260253792880                     Completed       02B     DATAS003
                                                                                                                                                                     Successfully
    07/27/2017   06:21:00   7     mSTerminating    Incoming   8586106882                      18586106881                        310260253792880   352509010940640   Completed       11      CRMSS345
                                                                                                                                                                     Successfully
    07/27/2017   14:53:45   60    mSTerminatingS   Incoming      129                          18586106881                        310260253792880   352509010940640   Completed               VGMSS342
                                    MSinMSC                                                                                                                          Successfully
    07/27/2017   16:14:08   93    mSTerminating    Incoming   8004304263                      18586106881                        310260253792880   352509010940640   Completed       11      VGMSS342
                                                                                                                                                                     Successfully
    07/27/2017   16:18:29         mSOriginating    Outgoing   8586106881    18586106882       18586106882       18586106882      310260253792880   352509010940640   Completed               VGMSS342
                                                                                                                                                                     Successfully
    07/27/2017   16:18:46   149   mSOriginating    Outgoing   8586106881    18004304263       18004304263    11818633180043042                     352509010940640   Completed       41      VGMSS342
                                                                                                                     63                                              Successfully
    07/27/2017   16:19:41   32    callForwarding   Outgoing   8586106882    18056377249       18056377249       18056377249      310260253792880                     Completed      011;2A   SFMSS347
                                                                                                                                                                     Successfully
    07/27/2017   16:19:41         mSTerminating    Incoming   8586106882                      18586106881                        310260253792880   352509010940640   Completed       11      VGMSS342
                                                                                                                                                                     Successfully
    07/28/2017   04:15:53   9     mSTerminating    Incoming   8586106882                      18586106881                        310260253792880   352509010940640   Completed       11      VGMSS342
                                                                                                                                                                     Successfully
    07/28/2017   11:50:25   60    mSTerminatingS   Incoming      129                          18586106881                        310260253792880   352509010940640   Completed               ATMSS344
                                    MSinMSC                                                                                                                          Successfully
    07/28/2017   16:31:31          mSOriginating   Outgoing   8586106881    18586106882       18586106882       18586106882      310260253792880   352509010940640   Completed               IEMSS341
                                                                                                                                                                     Successfully
    07/28/2017   16:42:02   35    mSTerminating    Incoming   8586106882                      18586106881                        310260253792880   352509010940640   Completed       11      IEMSS341
                                                                                                                                                                     Successfully
    07/28/2017   16:43:57   33    mSTerminating    Incoming   8586106882                      18586106881                        310260253792880   352509010940640   Completed       11      IEMSS341
                                                                                                                                                                     Successfully
    07/28/2017   16:45:45   24    mSTerminating    Incoming   8586106882                      18586106881                        310260253792880   352509010940640   Completed       11      IEMSS341
                                                                                                                                                                     Successfully
    07/28/2017   17:30:05   17    mSTerminating    Incoming   8004304263                      18586106881                        310260253792880   352509010940640   Completed       11      IEMSS341
                                                                                                                                                                     Successfully
    07/28/2017   17:39:33   37    mSOriginating    Outgoing   8586106881    18586106882       18586106882       18586106882      310260253792880   352509010940640   Completed               IEMSS341
                                                                                                                                                                     Successfully
    07/28/2017   18:57:46   46    mSOriginating    Outgoing   8586106881    18002882020       18002882020    11818633180028820   310260253792880   352509010940640   Completed               IEMSS341
                                                                                                                    20                                               Successfully
    07/28/2017   18:58:50   503   mSOriginating    Outgoing   8586106881    18002882020       18002882020    11818633180028820   310260253792880   352509010940640   Completed               IEMSS341
                                                                                                                    20                                               Successfully



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                                                                                          [Exhibit G - 91]
    07/29/2017   04:38:37   15    mSTerminating    Incoming   8586106882                      18586106881                        310260253792880   352509010940640   Completed       11      SFMSS347
                                                                                                                                                                     Successfully
    07/29/2017   05:37:12   110   mSOriginating    Outgoing   8586106881    18002882020       18002882020    11818633180028820   310260253792880   352509010940640   Completed               SFMSS347
                                                                                                                    20                                               Successfully
    07/29/2017   05:55:03         mSOriginating    Outgoing   8586106881    18582686936       18582686936       18582686936      310260253792880   352509010940640    Abnormal               SFMSS347
                                                                                                                                                                     Completion
    07/29/2017   15:06:23   60    mSTerminatingS   Incoming      129                          18586106881                        310260253792880   352509010940640   Completed               SFMSS347
                                    MSinMSC                                                                                                                          Successfully
    07/30/2017   04:53:17   12    mSTerminating    Incoming   8586106882                      18586106881                        310260253792880   352509010940640   Completed       11      CRMSS345
                                                                                                                                                                     Successfully
    07/30/2017   14:47:12   60    mSTerminatingS   Incoming      129                          18586106881                        310260253792880   352509010940640   Completed               CRMSS345
                                    MSinMSC                                                                                                                          Successfully
    07/31/2017   05:12:16    5         moc         Outgoing   18586106882   18056377249       18056377249       13235409999      310260253792880                     Completed       02B     PXTAS001
                                                                                                                                                                     Successfully
    07/31/2017   05:12:16    5         mtc         Incoming   18586106882   18586106881       18586106881       18586106881      310260253792880                     Completed      021;11   PXTAS001
                                                                                                                                                                     Successfully
    07/31/2017   05:12:28    2         moc         Outgoing   18586106882   18056377249       18056377249       13235409999      310260253792880                     Completed       02B     TTTAS101
                                                                                                                                                                     Successfully
    07/31/2017   05:12:28    2         mtc         Incoming   18586106882   18586106881       18586106881       18586106881      310260253792880                     Completed      021;11   TTTAS101
                                                                                                                                                                     Successfully
    07/31/2017   05:23:37   4     mSOriginating    Outgoing   8586106881    18586106882       18586106882       18586106882      310260253792880   352509010940640   Completed               SPMSS346
                                                                                                                                                                     Successfully
    07/31/2017   05:37:32         mSTerminating    Incoming   8586106882                      18586106881                        310260253792880   352509010940640    Abnormal       11      SPMSS346
                                                                                                                                                                     Completion
    07/31/2017   14:58:17   60    mSTerminatingS   Incoming      129                          18586106881                        310260253792880   352509010940640   Completed               SPMSS346
                                    MSinMSC                                                                                                                          Successfully
    07/31/2017   21:52:22   5     mSTerminating    Incoming   8004304263                      18586106881                        310260253792880   352509010940640   Completed       11      SPMSS346
                                                                                                                                                                     Successfully
    08/01/2017   05:07:50   13    mSTerminating    Incoming   8586106882                      18586106881                        310260253792880   352509010940640   Completed       11      SFMSS347
                                                                                                                                                                     Successfully
    08/01/2017   16:09:42   326   mSTerminating    Incoming   8004304263                      18586106881                        310260253792880   352509010940640   Completed       11      SFMSS347
                                                                                                                                                                     Successfully
    08/01/2017   16:18:51   73    mSOriginating    Outgoing   8586106881    18004304263       18004304263    11818633180043042   310260253792880   352509010940640   Completed               SFMSS347
                                                                                                                    63                                               Successfully
    08/01/2017   16:20:22   180   mSOriginating    Outgoing   8586106881    18004304263       18004304263    11818633180043042   310260253792880   352509010940640   Completed               SFMSS347
                                                                                                                    63                                               Successfully
    08/01/2017   16:53:59   8     mSTerminating    Incoming   8587042036                      18586106881                        310260253792880   352509010940640   Completed       11      SFMSS347
                                                                                                                                                                     Successfully
    08/02/2017   01:12:11              moc         Outgoing   18586106882   18056377249       18056377249       13235409999      310260253792880                     Completed       02A     SFTAS003
                                                                                                                                                                     Successfully
    08/02/2017   01:12:11         mSTerminating    Incoming   8586106882                      18586106881                        310260253792880   352509010940640    Abnormal       11      VGMSS342
                                                                                                                                                                     Completion
    08/02/2017   11:32:43   60    mSTerminatingS   Incoming      129                          18586106881                        310260253792880   352509010940640   Completed               SPMSS346
                                    MSinMSC                                                                                                                          Successfully
    08/02/2017   13:29:06   167    mSOriginating   Outgoing   8586106881    18002882020       18002882020    11818633180028820   310260253792880   352509010940640   Completed               SPMSS346
                                                                                                                    20                                               Successfully
    08/02/2017   14:50:39   14    mSOriginating    Outgoing   8586106881    18002882020       18002882020    11818633180028820   310260253792880   352509010940640   Completed               SPMSS346
                                                                                                                     20                                              Successfully
    08/02/2017   15:04:01   48    mSOriginating    Outgoing   8586106881    18002882020       18002882020    11818633180028820   310260253792880   352509010940640   Completed               SPMSS346
                                                                                                                     20                                              Successfully
    08/02/2017   15:04:59   859   mSOriginating    Outgoing   8586106881    18002882020       18002882020    11818633180028820   310260253792880   352509010940640   Completed               SPMSS346
                                                                                                                     20                                              Successfully
    08/03/2017   05:50:43   17    mSOriginating    Outgoing   8586106881    18586106882       18586106882       18586106882      310260253792880   352509010940640   Completed               SFMSS347
                                                                                                                                                                     Successfully



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                                                                                          [Exhibit G - 92]
    08/03/2017   06:01:45   11     mSTerminating    Incoming   8586106882                      18586106881                        310260253792880   352509010940640   Completed      11   SFMSS347
                                                                                                                                                                      Successfully
    08/03/2017   14:37:52    60    mSTerminatingS   Incoming      129                          18586106881                        310260253792880   352509010940640   Completed           SFMSS347
                                     MSinMSC                                                                                                                          Successfully
    08/03/2017   16:02:26   71      mSOriginating   Outgoing   8586106881    18585507900       18585507900       18585507900      310260253792880   352509010940640   Completed           SFMSS347
                                                                                                                                                                      Successfully
    08/03/2017   16:03:47   51     mSOriginating    Outgoing   8586106881    18585507900       18585507900       18585507900      310260253792880   352509010940640   Completed           SFMSS347
                                                                                                                                                                      Successfully
    08/03/2017   16:05:09   128    mSOriginating    Outgoing   8586106881    18585507900       18585507900       18585507900      310260253792880   352509010940640   Completed           SFMSS347
                                                                                                                                                                      Successfully
    08/03/2017   17:28:50   32     mSOriginating    Outgoing   8586106881    18586106882       18586106882       18586106882      310260253792880   352509010940640   Completed           SFMSS347
                                                                                                                                                                      Successfully
    08/03/2017   19:40:18   13     mSOriginating    Outgoing   8586106881    16192094600       16192094600       16192094600      310260253792880   352509010940640   Completed           SFMSS347
                                                                                                                                                                      Successfully
    08/03/2017   19:42:18   116    mSOriginating    Outgoing   8586106881    16192094600       16192094600       16192094600      310260253792880   352509010940640   Completed           SFMSS347
                                                                                                                                                                      Successfully
    08/03/2017   19:45:12   489    mSOriginating    Outgoing   8586106881    18002882020       18002882020    11818633180028820   310260253792880   352509010940640   Completed           SFMSS347
                                                                                                                     20                                               Successfully
    08/03/2017   21:43:46    60    mSTerminatingS   Incoming   16193690886                     18586106881                        310260253792880   352509010940640   Completed           SFMSS347
                                     MSinMSC                                                                                                                          Successfully
    08/04/2017   04:48:26   21     mSTerminating    Incoming   8586106882                      18586106881                        310260253792880   352509010940640   Completed      11   SFMSS347
                                                                                                                                                                      Successfully
    08/04/2017   15:19:09    60    mSTerminatingS   Incoming      129                          18586106881                        310260253792880   352509010940640   Completed           SFMSS347
                                     MSinMSC                                                                                                                          Successfully
    08/04/2017   15:19:18   202     mSOriginating   Outgoing   8586106881    18056377243       18056377243       13235409999      310260253792880   352509010940640   Completed           SFMSS347
                                                                                                                                                                      Successfully
    08/04/2017   15:22:45    60    mSTerminatingS   Incoming      129                          18586106881                        310260253792880   352509010940640   Completed           SFMSS347
                                     MSinMSC                                                                                                                          Successfully
    08/05/2017   05:09:27   12     mSTerminating    Incoming   8586106882                      18586106881                        310260253792880   352509010940640   Completed      11   IEMSS341
                                                                                                                                                                      Successfully
    08/05/2017   14:12:10    60    mSTerminatingS   Incoming      129                          18586106881                        310260253792880   352509010940640   Completed           IEMSS341
                                     MSinMSC                                                                                                                          Successfully
    08/06/2017   04:46:53   14     mSTerminating    Incoming   8586106882                      18586106881                        310260253792880   352509010940640   Completed      11   IEMSS341
                                                                                                                                                                      Successfully
    08/06/2017   20:40:42    60    mSTerminatingS   Incoming      129                          18586106881                        310260253792880   352509010940640   Completed           IEMSS341
                                     MSinMSC                                                                                                                          Successfully
    08/07/2017   01:16:48           mSOriginating   Outgoing   8586106881      73303              73303              51           310260253792880   352509010940640    Abnormal           VGMSS342
                                                                                                                                                                      Completion
    08/07/2017   01:16:56          mSOriginating    Outgoing   8586106881      73303              73303              51           310260253792880   352509010940640   Completed           VGMSS342
                                                                                                                                                                      Successfully
    08/07/2017   04:42:46   11     mSTerminating    Incoming   8586106882                      18586106881                        310260253792880   352509010940640   Completed      11   DAMSS343
                                                                                                                                                                      Successfully
    08/07/2017   11:22:52    60    mSTerminatingS   Incoming      129                          18586106881                        310260253792880   352509010940640   Completed           DAMSS343
                                     MSinMSC                                                                                                                          Successfully
    08/07/2017   17:02:49   1294    mSOriginating   Outgoing   8586106881    18774282277       18774282277    11818633187742822   310260253792880   352509010940640   Completed           DAMSS343
                                                                                                                     77                                               Successfully
    08/08/2017   01:39:12    4     mSTerminating    Incoming   3232742573                      18586106881                        310260253792880   352509010940640   Completed      11   DAMSS343
                                                                                                                                                                      Successfully
    08/08/2017   05:31:38    9     mSTerminating    Incoming   8586106882                      18586106881                        310260253792880   352509010940640   Completed      11   DAMSS343
                                                                                                                                                                      Successfully
    08/08/2017   18:55:16    60    mSTerminatingS   Incoming      129                          18586106881                        310260253792880   352509010940640   Completed           DAMSS343
                                     MSinMSC                                                                                                                          Successfully
    08/09/2017   02:52:54   24     mSTerminating    Incoming   8586106882                      18586106881                        310260253792880   352509010940640   Completed      11   DAMSS343
                                                                                                                                                                      Successfully



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                                                                                           [Exhibit G - 93]
    08/09/2017   04:55:20    6          moc         Outgoing   18586106882   18056377249       18056377249       13235409999      310260253792880                     Completed       02B     TTTAS006
                                                                                                                                                                      Successfully
    08/10/2017   05:27:38    60    mSTerminatingS   Incoming      129                          18586106881                        310260253792880   352509010940640   Completed               DAMSS343
                                     MSinMSC                                                                                                                          Successfully
    08/10/2017   05:27:43    60    mSTerminatingS   Incoming   16193690881                     18586106881                        310260253792880   352509010940640   Completed               DAMSS343
                                     MSinMSC                                                                                                                          Successfully
    08/10/2017   05:27:50   26      mSOriginating   Outgoing   8586106881    18586106882       18586106882       18586106882      310260253792880   352509010940640   Completed               DAMSS343
                                                                                                                                                                      Successfully
    08/10/2017   06:03:43    9     mSTerminating    Incoming   8586106882                      18586106881                        310260253792880   352509010940640   Completed       11      DAMSS343
                                                                                                                                                                      Successfully
    08/10/2017   14:02:04    60    mSTerminatingS   Incoming      129                          18586106881                        310260253792880   352509010940640   Completed               DAMSS343
                                     MSinMSC                                                                                                                          Successfully
    08/10/2017   22:23:43   121    mSTerminating    Incoming   8586106882                      18586106881                        310260253792880   352509010940640   Completed       11      ATMSS344
                                                                                                                                                                      Successfully
    08/10/2017   22:28:30   328    mSOriginating    Outgoing   8586106881    18002882020       18002882020    11818633180028820   310260253792880   352509010940640   Completed               ATMSS344
                                                                                                                     20                                               Successfully
    08/10/2017   22:37:38   656    mSOriginating    Outgoing   8586106881    18002882020       18002882020    11818633180028820   310260253792880   352509010940640   Completed               ATMSS344
                                                                                                                     20                                               Successfully
    08/10/2017   22:49:12   1766   mSOriginating    Outgoing   8586106881    18002882020       18002882020    11818633180028820   310260253792880   352509010940640   Completed               ATMSS344
                                                                                                                     20                                               Successfully
    08/11/2017   05:17:10   17     mSOriginating    Outgoing   8586106881    18586106882       18586106882       18586106882      310260253792880   352509010940640   Completed               ATMSS344
                                                                                                                                                                      Successfully
    08/11/2017   05:26:31   27     mSTerminating    Incoming   8586106882                      18586106881                        310260253792880   352509010940640   Completed       11      ATMSS344
                                                                                                                                                                      Successfully
    08/11/2017   13:35:25    60    mSTerminatingS   Incoming      129                          18586106881                        310260253792880   352509010940640   Completed               ATMSS344
                                     MSinMSC                                                                                                                          Successfully
    08/12/2017   04:18:29    8     mSTerminating    Incoming   8586106882                      18586106881                        310260253792880   352509010940640   Completed       11      ATMSS344
                                                                                                                                                                      Successfully
    08/12/2017   17:30:33    60    mSTerminatingS   Incoming      129                          18586106881                        310260253792880   352509010940640   Completed               ATMSS344
                                     MSinMSC                                                                                                                          Successfully
    08/12/2017   17:30:50   374     mSOriginating   Outgoing   8586106881    18056377243       18056377243       13235409999      310260253792880   352509010940640   Completed               ATMSS344
                                                                                                                                                                      Successfully
    08/12/2017   17:37:09    60    mSTerminatingS   Incoming      129                          18586106881                        310260253792880   352509010940640   Completed               ATMSS344
                                     MSinMSC                                                                                                                          Successfully
    08/12/2017   20:33:48    8     mSTerminating    Incoming   3232742573                      18586106881                        310260253792880   352509010940640   Completed       11      ATMSS344
                                                                                                                                                                      Successfully
    08/12/2017   20:58:38    60    mSTerminatingS   Incoming   16192028018                     18586106881                        310260253792880   352509010940640   Completed               ATMSS344
                                     MSinMSC                                                                                                                          Successfully
    08/13/2017   05:12:36    8     mSTerminating    Incoming   8586106882                      18586106881                        310260253792880   352509010940640   Completed       11      CRMSS345
                                                                                                                                                                      Successfully
    08/14/2017   04:52:44    5          mtc         Incoming   18586106882   18586106881       18586106881       18586106881      310260253792880                     Completed      021;11   ORTAS002
                                                                                                                                                                      Successfully
    08/14/2017   04:52:45    5          moc         Outgoing   18586106882   18056377249       18056377249       13235409999      310260253792880                     Completed       02B     ORTAS002
                                                                                                                                                                      Successfully
    08/14/2017   04:55:52    60    mSTerminatingS   Incoming      129                          18586106881                        310260253792880   352509010940640   Completed               CRMSS345
                                     MSinMSC                                                                                                                          Successfully
    08/14/2017   17:35:03    60    mSTerminatingS   Incoming      129                          18586106881                        310260253792880   352509010940640   Completed               CRMSS345
                                     MSinMSC                                                                                                                          Successfully
    08/14/2017   21:35:07   175     mSOriginating   Outgoing   8586106881    18004374148       18004374148    11818633180043741   310260253792880   352509010940640   Completed               CRMSS345
                                                                                                                     48                                               Successfully
    08/15/2017   05:56:33    8     mSTerminating    Incoming   8586106882                      18586106881                        310260253792880   352509010940640   Completed       11      VGMSS342
                                                                                                                                                                      Successfully
    08/16/2017   15:36:50    60    mSTerminatingS   Incoming      129                          18586106881                        310260253792880   352509010940640   Completed               VGMSS342
                                     MSinMSC                                                                                                                          Successfully



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                                                                                           [Exhibit G - 94]
    08/16/2017   15:36:52    60    mSTerminatingS   Incoming      129                          18586106881                        310260253792880   352509010940640   Completed               VGMSS342
                                     MSinMSC                                                                                                                          Successfully
    08/16/2017   17:15:03   22      mSOriginating   Outgoing   8586106881    18586106882       18586106882       18586106882      310260253792880   352509010940640   Completed               VGMSS342
                                                                                                                                                                      Successfully
    08/16/2017   18:02:55    60    mSTerminatingS   Incoming   16192028017                     18586106881                        310260253792880   352509010940640   Completed               VGMSS342
                                     MSinMSC                                                                                                                          Successfully
    08/17/2017   05:50:54   10     mSTerminating    Incoming   8586106882                      18586106881                        310260253792880   352509010940640   Completed       11      VGMSS342
                                                                                                                                                                      Successfully
    08/17/2017   05:57:49   20     mSTerminating    Incoming   8586106882                      18586106881                        310260253792880   352509010940640   Completed       11      VGMSS342
                                                                                                                                                                      Successfully
    08/17/2017   18:28:58    60    mSTerminatingS   Incoming      129                          18586106881                        310260253792880   352509010940640   Completed               IEMSS341
                                     MSinMSC                                                                                                                          Successfully
    08/18/2017   00:52:16    60    mSTerminatingS   Incoming   16192028016                     18586106881                        310260253792880   352509010940640   Completed               IEMSS341
                                     MSinMSC                                                                                                                          Successfully
    08/18/2017   05:00:16   24     mSTerminating    Incoming   8586106882                      18586106881                        310260253792880   352509010940640   Completed       11      IEMSS341
                                                                                                                                                                      Successfully
    08/18/2017   15:49:45    60    mSTerminatingS   Incoming      129                          18586106881                        310260253792880   352509010940640   Completed               IEMSS341
                                     MSinMSC                                                                                                                          Successfully
    08/18/2017   22:26:09    8     mSTerminating    Incoming   8586165049                      18586106881                        310260253792880   352509010940640   Completed       11      DAMSS343
                                                                                                                                                                      Successfully
    08/18/2017   22:26:24    8     callForwarding   Outgoing   8586165049    18056377249       18056377249       18056377249      310260253792880                     Completed      011;29   DAMSS343
                                                                                                                                                                      Successfully
    08/18/2017   22:26:54   10     callForwarding   Outgoing   8586165049    18056377249       18056377249       18056377249      310260253792880                     Completed      011;2B   DAMSS343
                                                                                                                                                                      Successfully
    08/18/2017   22:31:04    60    mSTerminatingS   Incoming      129                          18586106881                        310260253792880   352509010940640   Completed               DAMSS343
                                     MSinMSC                                                                                                                          Successfully
    08/18/2017   22:31:36   32      mSOriginating   Outgoing   8586106881    18056377243       18056377243       13235409999      310260253792880   352509010940640   Completed               DAMSS343
                                                                                                                                                                      Successfully
    08/18/2017   22:32:19    60    mSTerminatingS   Incoming      129                          18586106881                        310260253792880   352509010940640   Completed               DAMSS343
                                     MSinMSC                                                                                                                          Successfully
    08/19/2017   04:31:42   22      mSOriginating   Outgoing   8586106881    18586106882       18586106882       18586106882      310260253792880   352509010940640   Completed               DAMSS343
                                                                                                                                                                      Successfully
    08/19/2017   04:53:31   22     mSTerminating    Incoming   8586106882                      18586106881                        310260253792880   352509010940640   Completed       11      DAMSS343
                                                                                                                                                                      Successfully
    08/20/2017   03:35:16    60    mSTerminatingS   Incoming      129                          18586106881                        310260253792880   352509010940640   Completed               DAMSS343
                                     MSinMSC                                                                                                                          Successfully
    08/20/2017   03:37:00   69      mSOriginating   Outgoing   8586106881    18587957040       18587957040       18587957040      310260253792880   352509010940640   Completed               DAMSS343
                                                                                                                                                                      Successfully
    08/20/2017   04:48:16   19     mSTerminating    Incoming   8586106882                      18586106881                        310260253792880   352509010940640   Completed       11      DAMSS343
                                                                                                                                                                      Successfully
    08/20/2017   16:19:00    60    mSTerminatingS   Incoming      129                          18586106881                        310260253792880   352509010940640   Completed               DAMSS343
                                     MSinMSC                                                                                                                          Successfully
    08/20/2017   17:35:21   63     mSTerminating    Incoming   8586106882                      18586106881                        310260253792880   352509010940640   Completed       11      DAMSS343
                                                                                                                                                                      Successfully
    08/21/2017   11:31:33    60    mSTerminatingS   Incoming      129                          18586106881                        310260253792880   352509010940640   Completed               DAMSS343
                                     MSinMSC                                                                                                                          Successfully
    08/22/2017   01:27:29    8     mSTerminating    Incoming   8152424882                      18586106881                        310260253792880   352509010940640   Completed       11      DAMSS343
                                                                                                                                                                      Successfully
    08/22/2017   04:46:31   17     mSOriginating    Outgoing   8586106881    18586106882       18586106882       18586106882      310260253792880   352509010940640   Completed               DAMSS343
                                                                                                                                                                      Successfully
    08/22/2017   05:20:21    9     mSTerminating    Incoming   8586106882                      18586106881                        310260253792880   352509010940640   Completed       11      DAMSS343
                                                                                                                                                                      Successfully
    08/22/2017   23:08:51   1050   mSOriginating    Outgoing   8586106881    18003810759       18003810759    11818633180038107                     352509010940640   Completed       41      DAMSS343
                                                                                                                     59                                               Successfully



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                                                                                           [Exhibit G - 95]
    08/22/2017   23:20:00    6         moc         Outgoing   18586106882   18056377249       18056377249       13235409999      310260253792880                     Completed       02A     ORTAS002
                                                                                                                                                                     Successfully
    08/22/2017   23:20:00         mSTerminating    Incoming   8586106882                      18586106881                        310260253792880   352509010940640    Abnormal       11      DAMSS343
                                                                                                                                                                     Completion
    08/22/2017   23:53:27   15    mSOriginating    Outgoing   8586106881    18586106882       18586106882       18586106882      310260253792880   352509010940640   Completed               DAMSS343
                                                                                                                                                                     Successfully
    08/22/2017   23:53:57   31    mSOriginating    Outgoing   8586106881    18586106882       18586106882       18586106882      310260253792880   352509010940640   Completed               DAMSS343
                                                                                                                                                                     Successfully
    08/23/2017   03:02:05   23    mSOriginating    Outgoing   8586106881    18586106882       18586106882       18586106882      310260253792880   352509010940640   Completed               DAMSS343
                                                                                                                                                                     Successfully
    08/23/2017   11:41:30   60    mSTerminatingS   Incoming      129                          18586106881                        310260253792880   352509010940640   Completed               CRMSS345
                                    MSinMSC                                                                                                                          Successfully
    08/23/2017   16:25:42   187    mSOriginating   Outgoing   8586106881    18003810759       18003810759    11818633180038107   310260253792880   352509010940640   Completed               CRMSS345
                                                                                                                    59                                               Successfully
    08/24/2017   05:39:20   43    mSTerminating    Incoming   8586106882                      18586106881                        310260253792880   352509010940640   Completed       11      ATMSS344
                                                                                                                                                                     Successfully
    08/24/2017   13:11:23   60    mSTerminatingS   Incoming      129                          18586106881                        310260253792880   352509010940640   Completed               ATMSS344
                                    MSinMSC                                                                                                                          Successfully
    08/24/2017   16:34:31   55    mSTerminating    Incoming   8586106882                      18586106881                        310260253792880   352509010940640   Completed       11      ATMSS344
                                                                                                                                                                     Successfully
    08/25/2017   05:09:47   24    mSOriginating    Outgoing   8586106881    18586106882       18586106882       18586106882      310260253792880   352509010940640   Completed               ATMSS344
                                                                                                                                                                     Successfully
    08/25/2017   05:28:45   10    mSTerminating    Incoming   8586106882                      18586106881                        310260253792880   352509010940640   Completed       11      ATMSS344
                                                                                                                                                                     Successfully
    08/26/2017   00:26:58   60    mSTerminatingS   Incoming      129                          18586106881                        310260253792880   352509010940640   Completed               ATMSS344
                                    MSinMSC                                                                                                                          Successfully
    08/26/2017   00:27:27          mSOriginating   Outgoing   8586106881       73303             73303              51           310260253792880   352509010940640    Abnormal               ATMSS344
                                                                                                                                                                     Completion
    08/26/2017   04:35:08   11         mtc         Incoming   18586106882   18586106881       18586106881       18586106881      310260253792880                     Completed      021;11   TTTAS101
                                                                                                                                                                     Successfully
    08/26/2017   04:35:09   11         moc         Outgoing   18586106882   18056377249       18056377249       13235409999      310260253792880                     Completed       02B     TTTAS101
                                                                                                                                                                     Successfully
    08/26/2017   04:59:15   60    mSTerminatingS   Incoming      129                          18586106881                        310260253792880   352509010940640   Completed               ATMSS344
                                    MSinMSC                                                                                                                          Successfully
    08/26/2017   17:32:41   3          mtc         Incoming   18586106882   18586106881       18586106881       18586106881      310260253792880                     Completed      021;11   POTAS001
                                                                                                                                                                     Successfully
    08/26/2017   17:32:42   3          moc         Outgoing   18586106882   18056377249       18056377249       13235409999      310260253792880                     Completed       02B     POTAS001
                                                                                                                                                                     Successfully
    08/26/2017   22:33:12   287   mSOriginating    Outgoing   8586106881    18056377243       18056377243       13235409999      310260253792880   352509010940640   Completed               ATMSS344
                                                                                                                                                                     Successfully
    08/26/2017   22:38:04   60    mSTerminatingS   Incoming      129                          18586106881                        310260253792880   352509010940640   Completed               ATMSS344
                                    MSinMSC                                                                                                                          Successfully
    08/27/2017   04:27:34   13    mSTerminating    Incoming   8586106882                      18586106881                        310260253792880   352509010940640   Completed       11      ATMSS344
                                                                                                                                                                     Successfully
    08/27/2017   16:09:33   60    mSTerminatingS   Incoming      129                          18586106881                        310260253792880   352509010940640   Completed               ATMSS344
                                    MSinMSC                                                                                                                          Successfully
    08/27/2017   17:34:40   15     mSOriginating   Outgoing   8586106881    18586106882       18586106882       18586106882      310260253792880   352509010940640   Completed               ATMSS344
                                                                                                                                                                     Successfully
    08/28/2017   04:52:50   19    mSTerminating    Incoming   8586106882                      18586106881                        310260253792880   352509010940640   Completed       11      ATMSS344
                                                                                                                                                                     Successfully
    08/28/2017   16:30:30   60    mSTerminatingS   Incoming      129                          18586106881                        310260253792880   352509010940640   Completed               ATMSS344
                                    MSinMSC                                                                                                                          Successfully
    08/28/2017   16:33:10   3      mSOriginating   Outgoing   8586106881    18586106882       18586106882       18586106882      310260253792880   352509010940640   Completed               ATMSS344
                                                                                                                                                                     Successfully



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                                                                                          [Exhibit G - 96]
    08/28/2017   16:42:58   356    mSOriginating    Outgoing   8586106881    18005959138       18005959138    11818633180059591   310260253792880   352509010940640   Completed               ATMSS344
                                                                                                                     38                                               Successfully
    08/28/2017   16:49:15   92     mSTerminating    Incoming   8005959138                      18586106881                        310260253792880   352509010940640   Completed       11      ATMSS344
                                                                                                                                                                      Successfully
    08/28/2017   16:51:10    9     callForwarding   Outgoing   8005959138    18056377249       18056377249       18056377249      310260253792880                     Completed      011;2B   ATMSS344
                                                                                                                                                                      Successfully
    08/28/2017   16:51:48   80     mSTerminating    Incoming   8005959138                      18586106881                        310260253792880   352509010940640   Completed       11      ATMSS344
                                                                                                                                                                      Successfully
    08/28/2017   16:54:32   35     mSOriginating    Outgoing   8586106881    18586106882       18586106882       18586106882      310260253792880   352509010940640   Completed               ATMSS344
                                                                                                                                                                      Successfully
    08/28/2017   19:23:14   869    mSOriginating    Outgoing   8586106881    12108214105       12108214105       12108214105      310260253792880   352509010940640   Completed               SFMSS347
                                                                                                                                                                      Successfully
    08/28/2017   19:38:01   274    mSOriginating    Outgoing   8586106881    12108214105       12108214105       12108214105      310260253792880   352509010940640   Completed               SFMSS347
                                                                                                                                                                      Successfully
    08/28/2017   19:43:08   856    mSOriginating    Outgoing   8586106881    12108214105       12108214105       12108214105      310260253792880   352509010940640   Completed               SFMSS347
                                                                                                                                                                      Successfully
    08/30/2017   02:38:17    60    mSTerminatingS   Incoming      129                          18586106881                        310260253792880   352509010940640   Completed               SFMSS347
                                     MSinMSC                                                                                                                          Successfully
    08/30/2017   17:17:06    60    mSTerminatingS   Incoming      129                          18586106881                        310260253792880   352509010940640   Completed               SFMSS347
                                     MSinMSC                                                                                                                          Successfully
    08/30/2017   22:25:48   1027    mSOriginating   Outgoing   8586106881    18002905000       18002905000    11818633180029050   310260253792880   352509010940640   Completed               SFMSS347
                                                                                                                      00                                              Successfully
    08/30/2017   22:51:23    5     mSOriginating    Outgoing   8586106881    18005285000       18005285000    11818633180052850   310260253792880   352509010940640   Completed               SFMSS347
                                                                                                                      00                                              Successfully
    08/30/2017   22:51:44   18     mSOriginating    Outgoing   8586106881    18005285000       18005285000    11818633180052850   310260253792880   352509010940640   Completed               SFMSS347
                                                                                                                      00                                              Successfully
    08/30/2017   22:52:21   913    mSOriginating    Outgoing   8586106881    16195285000       16195285000       16195285000      310260253792880   352509010940640   Completed               SFMSS347
                                                                                                                                                                      Successfully
    08/31/2017   05:14:44    9     mSTerminating    Incoming   8586106882                      18586106881                        310260253792880   352509010940640   Completed       11      SFMSS347
                                                                                                                                                                      Successfully
    08/31/2017   17:30:27   34     mSOriginating    Outgoing   8586106881    18586106882       18586106882       18586106882      310260253792880   352509010940640   Completed               SFMSS347
                                                                                                                                                                      Successfully
    08/31/2017   17:31:22    60    mSTerminatingS   Incoming      129                          18586106881                        310260253792880   352509010940640   Completed               SFMSS347
                                     MSinMSC                                                                                                                          Successfully
    09/01/2017   05:14:43   17     mSTerminating    Incoming   8586106882                      18586106881                        310260253792880   352509010940640   Completed       11      SFMSS347
                                                                                                                                                                      Successfully
    09/01/2017   18:02:26   34     mSOriginating    Outgoing   8586106881    18586106882       18586106882       18586106882      310260253792880   352509010940640   Completed               ORMSS349
                                                                                                                                                                      Successfully
    09/01/2017   19:52:39    60    mSTerminatingS   Incoming      129                          18586106881                        310260253792880   352509010940640   Completed               ORMSS349
                                     MSinMSC                                                                                                                          Successfully
    09/01/2017   22:04:31    60    mSTerminatingS   Incoming   16193040825                     18586106881                        310260253792880   352509010940640   Completed               ORMSS349
                                     MSinMSC                                                                                                                          Successfully
    09/02/2017   04:42:21   12     mSTerminating    Incoming   8586106882                      18586106881                        310260253792880   352509010940640   Completed       11      ORMSS349
                                                                                                                                                                      Successfully
    09/03/2017   04:06:00    60    mSTerminatingS   Incoming      129                          18586106881                        310260253792880   352509010940640   Completed               ORMSS349
                                     MSinMSC                                                                                                                          Successfully
    09/03/2017   04:38:15   20     mSTerminating    Incoming   8586106882                      18586106881                        310260253792880   352509010940640   Completed       11      ORMSS349
                                                                                                                                                                      Successfully
    09/03/2017   22:43:30    60    mSTerminatingS   Incoming      129                          18586106881                        310260253792880   352509010940640   Completed               ORMSS349
                                     MSinMSC                                                                                                                          Successfully
    09/04/2017   04:51:25   12     mSTerminating    Incoming   8586106882                      18586106881                        310260253792880   352509010940640   Completed       11      ATMSS344
                                                                                                                                                                      Successfully
    09/04/2017   22:18:12   10     mSOriginating    Outgoing   8586106881    18005959138       18005959138    11818633180059591   310260253792880   352509010940640   Completed               ATMSS344
                                                                                                                     38                                               Successfully



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                                                                                           [Exhibit G - 97]
    09/04/2017   22:19:13   60    mSTerminatingS    Incoming      129                           18586106881                         310260253792880   352509010940640   Completed               ATMSS344
                                    MSinMSC                                                                                                                             Successfully
    09/05/2017   05:22:27   10    mSTerminating     Incoming   8586106882                       18586106881                         310260253792880   352509010940640   Completed       11      IEMSS341
                                                                                                                                                                        Successfully
    09/05/2017   15:26:32   60    mSTerminatingS    Incoming      129                           18586106881                         310260253792880   352509010940640   Completed               IEMSS341
                                    MSinMSC                                                                                                                             Successfully
    09/05/2017   19:09:04   152    mSOriginating    Outgoing   8586106881     18005959138       18005959138     11818633180059591   310260253792880   352509010940640   Completed               IEMSS341
                                                                                                                       38                                               Successfully
    09/05/2017   19:13:57   165    mSOriginating    Outgoing   8586106881     18005959138       18005959138     11818633180059591   310260253792880   352509010940640   Completed               IEMSS341
                                                                                                                       38                                               Successfully
    09/05/2017   20:42:48   60    mSTerminatingS    Incoming   16193040824                      18586106881                         310260253792880   352509010940640   Completed               SPMSS346
                                    MSinMSC                                                                                                                             Successfully
    09/05/2017   21:18:45   60    mSOriginatingSM   Outgoing   18586106881                      16193040824                         310260253792880   352509010940640   Completed               SPMSS346
                                     SinMSC                                                                                                                             Successfully
    09/05/2017   21:21:36   182    mSOriginating    Outgoing   8586106881     18002882020       18002882020     11818633180028820   310260253792880   352509010940640   Completed               SPMSS346
                                                                                                                       20                                               Successfully
    09/05/2017   21:26:18   543    mSOriginating    Outgoing   8586106881     18002882747       18002882747     11818633180028827   310260253792880   352509010940640   Completed               SPMSS346
                                                                                                                       47                                               Successfully
    09/05/2017   21:36:27   340    mSOriginating    Outgoing   8586106881     12108214105       12108214105        12108214105      310260253792880   352509010940640   Completed               SPMSS346
                                                                                                                                                                        Successfully
    09/05/2017   21:42:31   278    mSOriginating    Outgoing   8586106881     18005959138       18005959138     11818633180059591   310260253792880   352509010940640   Completed               SPMSS346
                                                                                                                       38                                               Successfully
    09/06/2017   00:51:36   13    mSTerminating     Incoming   8586106882                       18586106881                         310260253792880   352509010940640   Completed       11      SPMSS346
                                                                                                                                                                        Successfully
    09/06/2017   02:35:55   38     mSOriginating    Outgoing   8586106881     18586106882       18586106882       18586106882       310260253792880   352509010940640   Completed               SPMSS346
                                                                                                                                                                        Successfully
    09/06/2017   04:25:40   22     mSOriginating    Outgoing   8586106881     18586106882       18586106882       18586106882       310260253792880   352509010940640   Completed               SPMSS346
                                                                                                                                                                        Successfully
    09/06/2017   14:59:31   60    mSTerminatingS    Incoming      129                           18586106881                         310260253792880   352509010940640   Completed               SPMSS346
                                    MSinMSC                                                                                                                             Successfully
    09/07/2017   14:56:00   60    mSTerminatingS    Incoming      129                           18586106881                         310260253792880   352509010940640   Completed               SPMSS346
                                    MSinMSC                                                                                                                             Successfully
    09/07/2017   18:35:13   121    mSOriginating    Outgoing   8586106881     18002882020       18002882020     11818633180028820   310260253792880   352509010940640   Completed               SPMSS346
                                                                                                                       20                                               Successfully
    09/07/2017   19:26:08   35    mSTerminating     Incoming   8009198244                       18586106881                         310260253792880   352509010940640   Completed       11      SPMSS346
                                                                                                                                                                        Successfully
    09/07/2017   22:55:21          mSOriginating    Outgoing   8586106881    6*716262860899    6*716262860899          51           310260253792880   352509010940640   Completed               SPMSS346
                                                                                                                                                                        Successfully
    09/07/2017   22:55:42   18     mSOriginating    Outgoing   8586106881     16262860899       16262860899       16262860899       310260253792880   352509010940640   Completed               SPMSS346
                                                                                                                                                                        Successfully
    09/08/2017   05:23:17   18     mSOriginating    Outgoing   8586106881     18586106882       18586106882       18586106882       310260253792880   352509010940640   Completed               ORMSS349
                                                                                                                                                                        Successfully
    09/08/2017   18:33:58   86     mSOriginating    Outgoing   8586106881     18586106882       18586106882       18586106882       310260253792880   352509010940640   Completed               ORMSS349
                                                                                                                                                                        Successfully
    09/08/2017   18:34:11   60    mSTerminatingS    Incoming      129                           18586106881                         310260253792880   352509010940640   Completed               ORMSS349
                                    MSinMSC                                                                                                                             Successfully
    09/08/2017   18:55:28         mSTerminating     Incoming   8667066358                       18586106881                         310260253792880   352509010940640    Abnormal       11      ORMSS349
                                                                                                                                                                        Completion
    09/08/2017   18:55:32   33     callForwarding   Outgoing   8667066358     18056377249       18056377249       18056377249       310260253792880                     Completed      011;2A   ORMSS349
                                                                                                                                                                        Successfully
    09/09/2017   04:35:57   20    mSTerminating     Incoming   8586106882                       18586106881                         310260253792880   352509010940640   Completed       11      ATMSS344
                                                                                                                                                                        Successfully
    09/09/2017   17:36:01   60    mSTerminatingS    Incoming      129                           18586106881                         310260253792880   352509010940640   Completed               ATMSS344
                                    MSinMSC                                                                                                                             Successfully



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                                                                                            [Exhibit G - 98]
    09/09/2017   17:36:14   13    mSOriginating    Outgoing   8586106881   18056377243       18056377243       13235409999      310260253792880   352509010940640   Completed           ATMSS344
                                                                                                                                                                    Successfully
    09/09/2017   17:36:30   60    mSTerminatingS   Incoming      129                         18586106881                        310260253792880   352509010940640   Completed           ATMSS344
                                    MSinMSC                                                                                                                         Successfully
    09/09/2017   17:36:48   210    mSOriginating   Outgoing   8586106881   18056377243       18056377243       13235409999      310260253792880   352509010940640   Completed           ATMSS344
                                                                                                                                                                    Successfully
    09/09/2017   17:40:23   60    mSTerminatingS   Incoming      129                         18586106881                        310260253792880   352509010940640   Completed           ATMSS344
                                    MSinMSC                                                                                                                         Successfully
    09/10/2017   04:57:14   16    mSTerminating    Incoming   8586106882                     18586106881                        310260253792880   352509010940640   Completed      11   ATMSS344
                                                                                                                                                                    Successfully
    09/10/2017   22:28:15   60    mSTerminatingS   Incoming      129                         18586106881                        310260253792880   352509010940640   Completed           ATMSS344
                                    MSinMSC                                                                                                                         Successfully
    09/11/2017   04:57:14   9     mSTerminating    Incoming   8586106882                     18586106881                        310260253792880   352509010940640   Completed      11   ATMSS344
                                                                                                                                                                    Successfully
    09/11/2017   11:31:13   60    mSTerminatingS   Incoming      129                         18586106881                        310260253792880   352509010940640   Completed           ATMSS344
                                    MSinMSC                                                                                                                         Successfully
    09/11/2017   15:13:51   20    mSTerminating    Incoming   8586106882                     18586106881                        310260253792880   352509010940640   Completed      11   ATMSS344
                                                                                                                                                                    Successfully
    09/12/2017   04:47:42   13    mSTerminating    Incoming   8586106882                     18586106881                        310260253792880   352509010940640   Completed      11   HNMSS348
                                                                                                                                                                    Successfully
    09/12/2017   23:31:59   60    mSTerminatingS   Incoming      129                         18586106881                        310260253792880   352509010940640   Completed           HNMSS348
                                    MSinMSC                                                                                                                         Successfully
    09/12/2017   23:32:29   43     mSOriginating   Outgoing   8586106881   18586106882       18586106882       18586106882      310260253792880   352509010940640   Completed           HNMSS348
                                                                                                                                                                    Successfully
    09/13/2017   18:39:36   60    mSTerminatingS   Incoming      129                         18586106881                        310260253792880   352509010940640   Completed           CRMSS345
                                    MSinMSC                                                                                                                         Successfully
    09/13/2017   20:06:22   239    mSOriginating   Outgoing   8586106881   18004644000       18004644000    11818633180046440   310260253792880   352509010940640   Completed           CRMSS345
                                                                                                                   00                                               Successfully
    09/14/2017   16:51:14   60    mSTerminatingS   Incoming      129                         18586106881                        310260253792880   352509010940640   Completed           CRMSS345
                                    MSinMSC                                                                                                                         Successfully
    09/14/2017   16:52:00   37     mSOriginating   Outgoing   8586106881   18586106882       18586106882       18586106882      310260253792880   352509010940640   Completed           CRMSS345
                                                                                                                                                                    Successfully
    09/14/2017   20:19:32   30    mSOriginating    Outgoing   8586106881   12108214105       12108214105       12108214105      310260253792880   352509010940640   Completed           CRMSS345
                                                                                                                                                                    Successfully
    09/14/2017   20:21:27   589   mSOriginating    Outgoing   8586106881   12108214105       12108214105       12108214105      310260253792880   352509010940640   Completed           CRMSS345
                                                                                                                                                                    Successfully
    09/14/2017   20:35:21   18    mSOriginating    Outgoing   8586106881   16262860899       16262860899       16262860899      310260253792880   352509010940640   Completed           CRMSS345
                                                                                                                                                                    Successfully
    09/15/2017   05:30:43   8     mSTerminating    Incoming   8586106882                     18586106881                        310260253792880   352509010940640   Completed      11   DAMSS343
                                                                                                                                                                    Successfully
    09/15/2017   06:52:32         mSOriginating    Outgoing   8586106881   16262860899       16262860899       16262860899      310260253792880   352509010940640   Completed           DAMSS343
                                                                                                                                                                    Successfully
    09/15/2017   06:52:48   60    mSOriginating    Outgoing   8586106881   12108214105       12108214105       12108214105      310260253792880   352509010940640   Completed           DAMSS343
                                                                                                                                                                    Successfully
    09/15/2017   13:59:11   60    mSTerminatingS   Incoming      129                         18586106881                        310260253792880   352509010940640   Completed           DAMSS343
                                    MSinMSC                                                                                                                         Successfully
    09/15/2017   14:00:51   204    mSOriginating   Outgoing   8586106881   18056377243       18056377243       13235409999      310260253792880   352509010940640   Completed           DAMSS343
                                                                                                                                                                    Successfully
    09/15/2017   14:04:23   60    mSTerminatingS   Incoming      129                         18586106881                        310260253792880   352509010940640   Completed           DAMSS343
                                    MSinMSC                                                                                                                         Successfully
    09/15/2017   16:40:25   18    mSTerminating    Incoming   3234735406                     18586106881                        310260253792880   352509010940640   Completed      11   DAMSS343
                                                                                                                                                                    Successfully
    09/15/2017   18:25:53   362   mSOriginating    Outgoing   8586106881   12108214105       12108214105       12108214105      310260253792880   352509010940640   Completed           DAMSS343
                                                                                                                                                                    Successfully



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                                                                                         [Exhibit G - 99]
    09/16/2017   05:03:08   16    mSOriginating    Outgoing   8586106881   18586106882      18586106882        18586106882      310260253792880   352509010940640   Completed           SFMSS347
                                                                                                                                                                    Successfully
    09/16/2017   15:40:36   60    mSTerminatingS   Incoming      129                        18586106881                         310260253792880   352509010940640   Completed           SFMSS347
                                    MSinMSC                                                                                                                         Successfully
    09/16/2017   16:26:41          mSOriginating   Outgoing   8586106881     73303             73303               51           310260253792880   352509010940640   Completed           SFMSS347
                                                                                                                                                                    Successfully
    09/16/2017   16:39:43   129   mSOriginating    Outgoing   8586106881   12108214105      12108214105        12108214105      310260253792880   352509010940640   Completed           SFMSS347
                                                                                                                                                                    Successfully
    09/17/2017   13:10:12   60    mSTerminatingS   Incoming      129                        18586106881                         310260253792880   352509010940640   Completed           IEMSS341
                                    MSinMSC                                                                                                                         Successfully
    09/18/2017   14:43:14   60    mSTerminatingS   Incoming      129                        18586106881                         310260253792880   352509010940640   Completed           IEMSS341
                                    MSinMSC                                                                                                                         Successfully
    09/18/2017   15:13:05   10    mSTerminating    Incoming   8586106882                    18586106881                         310260253792880   352509010940640   Completed      11   IEMSS341
                                                                                                                                                                    Successfully
    09/18/2017   15:40:23   65    mSOriginating    Outgoing   8586106881   18003810759      18003810759     11818633180038107   310260253792880   352509010940640   Completed           IEMSS341
                                                                                                                   59                                               Successfully
    09/18/2017   15:41:53   755   mSOriginating    Outgoing   8586106881   18003810759      18003810759     11818633180038107   310260253792880   352509010940640   Completed           IEMSS341
                                                                                                                   59                                               Successfully
    09/19/2017   04:16:10   22    mSOriginating    Outgoing   8586106881   18586106882      18586106882        18586106882      310260253792880   352509010940640   Completed           IEMSS341
                                                                                                                                                                    Successfully
    09/19/2017   05:10:53   13    mSTerminating    Incoming   8586106882                    18586106881                         310260253792880   352509010940640   Completed      11   IEMSS341
                                                                                                                                                                    Successfully
    09/19/2017   05:54:39   2     mSOriginating    Outgoing   8586106881   18586106882      18586106882        18586106882      310260253792880   352509010940640   Completed           IEMSS341
                                                                                                                                                                    Successfully
    09/20/2017   19:22:29   60    mSTerminatingS   Incoming      129                        18586106881                         310260253792880   352509010940640   Completed           IEMSS341
                                    MSinMSC                                                                                                                         Successfully
    09/21/2017   16:35:31   60    mSTerminatingS   Incoming      129                        18586106881                         310260253792880   352509010940640   Completed           IEMSS341
                                    MSinMSC                                                                                                                         Successfully
    09/21/2017   16:45:48   218    mSOriginating   Outgoing   8586106881   12108214105      12108214105        12108214105      310260253792880   352509010940640   Completed           IEMSS341
                                                                                                                                                                    Successfully
    09/21/2017   16:49:41   142   mSOriginating    Outgoing   8586106881   12108214105      12108214105        12108214105      310260253792880   352509010940640   Completed           IEMSS341
                                                                                                                                                                    Successfully
    09/21/2017   17:16:13   116   mSOriginating    Outgoing   8586106881   12108214105      12108214105        12108214105      310260253792880   352509010940640   Completed           IEMSS341
                                                                                                                                                                    Successfully
    09/21/2017   20:34:06   13    mSOriginating    Outgoing   8586106881   12108214105      12108214105        12108214105      310260253792880   352509010940640   Completed           SFMSS347
                                                                                                                                                                    Successfully
    09/21/2017   20:34:32   40    mSOriginating    Outgoing   8586106881   12108214105      12108214105        12108214105      310260253792880   352509010940640   Completed           SFMSS347
                                                                                                                                                                    Successfully
    09/21/2017   20:36:34   29    mSOriginating    Outgoing   8586106881   16262860899      16262860899        16262860899      310260253792880   352509010940640   Completed           SFMSS347
                                                                                                                                                                    Successfully
    09/21/2017   21:08:28   27    mSOriginating    Outgoing   8586106881   18586106882      18586106882        18586106882      310260253792880   352509010940640   Completed           SFMSS347
                                                                                                                                                                    Successfully
    09/21/2017   22:48:40         mSOriginating    Outgoing   8586106881   16262860899      16262860899        16262860899      310260253792880   352509010940640   Completed           SFMSS347
                                                                                                                                                                    Successfully
    09/21/2017   22:49:07         mSOriginating    Outgoing   8586106881   16262860899      16262860899        16262860899      310260253792880   352509010940640   Completed           SFMSS347
                                                                                                                                                                    Successfully
    09/21/2017   22:49:18   10    mSOriginating    Outgoing   8586106881   16262860899      16262860899        16262860899      310260253792880   352509010940640   Completed           SFMSS347
                                                                                                                                                                    Successfully
    09/21/2017   22:50:01   41    mSOriginating    Outgoing   8586106881   16262860899      16262860899        16262860899      310260253792880   352509010940640   Completed           SFMSS347
                                                                                                                                                                    Successfully
    09/22/2017   05:12:17   15    mSTerminating    Incoming   8586106882                    18586106881                         310260253792880   352509010940640   Completed      11   SFMSS347
                                                                                                                                                                    Successfully
    09/22/2017   14:59:49   60    mSTerminatingS   Incoming      129                        18586106881                         310260253792880   352509010940640   Completed           SFMSS347
                                    MSinMSC                                                                                                                         Successfully



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                                                                                     [Exhibit G - 100]
    09/22/2017   15:00:40   53    mSOriginating    Outgoing   8586106881    18587957040      18587957040        18587957040      310260253792880   352509010940640   Completed               SFMSS347
                                                                                                                                                                     Successfully
    09/22/2017   17:42:26   21    mSOriginating    Outgoing   8586106881    18586106882      18586106882        18586106882      310260253792880   352509010940640   Completed               SFMSS347
                                                                                                                                                                     Successfully
    09/22/2017   23:04:53   18    mSOriginating    Outgoing   8586106881    16262860899      16262860899        16262860899      310260253792880   352509010940640   Completed               SFMSS347
                                                                                                                                                                     Successfully
    09/23/2017   06:23:40   22    mSOriginating    Outgoing   8586106881    18586106882      18586106882        18586106882      310260253792880   352509010940640   Completed               SFMSS347
                                                                                                                                                                     Successfully
    09/23/2017   06:36:51   10    mSTerminating    Incoming   8586106882                     18586106881                         310260253792880   352509010940640   Completed       11      SFMSS347
                                                                                                                                                                     Successfully
    09/23/2017   23:41:48   60    mSTerminatingS   Incoming      129                         18586106881                         310260253792880   352509010940640   Completed               SFMSS347
                                    MSinMSC                                                                                                                          Successfully
    09/23/2017   23:43:09   18     mSOriginating   Outgoing   8586106881    18586106882      18586106882        18586106882      310260253792880   352509010940640   Completed               SFMSS347
                                                                                                                                                                     Successfully
    09/24/2017   05:20:16   12    mSTerminating    Incoming   8586106882                     18586106881                         310260253792880   352509010940640   Completed       11      SFMSS347
                                                                                                                                                                     Successfully
    09/24/2017   17:03:33   60    mSTerminatingS   Incoming      129                         18586106881                         310260253792880   352509010940640   Completed               SFMSS347
                                    MSinMSC                                                                                                                          Successfully
    09/25/2017   16:35:25   60    mSTerminatingS   Incoming      129                         18586106881                         310260253792880   352509010940640   Completed               SFMSS347
                                    MSinMSC                                                                                                                          Successfully
    09/25/2017   18:20:51   48     mSOriginating   Outgoing   8586106881    18586106882      18586106882        18586106882      310260253792880   352509010940640   Completed               SFMSS347
                                                                                                                                                                     Successfully
    09/26/2017   02:07:42   8     mSTerminating    Incoming   3236421434                     18586106881                         310260253792880   352509010940640   Completed       11      SFMSS347
                                                                                                                                                                     Successfully
    09/26/2017   05:24:15   10    mSTerminating    Incoming   8586106882                     18586106881                         310260253792880   352509010940640   Completed       11      SFMSS347
                                                                                                                                                                     Successfully
    09/27/2017   00:11:24   60    mSTerminatingS   Incoming      129                         18586106881                         310260253792880   352509010940640   Completed               SFMSS347
                                    MSinMSC                                                                                                                          Successfully
    09/27/2017   01:45:09   20     mSOriginating   Outgoing   8586106881    18778078132      18778078132     11818633187780781   310260253792880   352509010940640   Completed               SFMSS347
                                                                                                                    32                                               Successfully
    09/27/2017   14:02:37   312   mSOriginating    Outgoing   8586106881    18778078132      18778078132     11818633187780781   310260253792880   352509010940640   Completed               SFMSS347
                                                                                                                    32                                               Successfully
    09/27/2017   14:03:04   60    mSTerminatingS   Incoming      129                         18586106881                         310260253792880   352509010940640   Completed               SFMSS347
                                    MSinMSC                                                                                                                          Successfully
    09/27/2017   15:02:47   25    mSTerminating    Incoming   8586106882                     18586106881                         310260253792880   352509010940640   Completed       11      SFMSS347
                                                                                                                                                                     Successfully
    09/27/2017   17:44:05   182   mSOriginating    Outgoing   8586106881    18773334581      18773334581     11818633187733345   310260253792880   352509010940640   Completed               SFMSS347
                                                                                                                     81                                              Successfully
    09/27/2017   21:40:30   10    mSOriginating    Outgoing   8586106881    18003810759      18003810759     11818633180038107   310260253792880   352509010940640   Completed               SFMSS347
                                                                                                                     59                                              Successfully
    09/27/2017   21:41:04   7     mSOriginating    Outgoing   8586106881    18003810759      18003810759     11818633180038107   310260253792880   352509010940640   Completed               SFMSS347
                                                                                                                     59                                              Successfully
    09/27/2017   21:41:27   691   mSOriginating    Outgoing   8586106881    18003810759      18003810759     11818633180038107   310260253792880   352509010940640   Completed               SFMSS347
                                                                                                                     59                                              Successfully
    09/28/2017   03:34:18   56    mSOriginating    Outgoing   8586106881    18002820959      18002820959     11818633180028209   310260253792880   352509010940640   Completed               SFMSS347
                                                                                                                     59                                              Successfully
    09/28/2017   05:05:27   9     mSTerminating    Incoming   8586106882                     18586106881                         310260253792880   352509010940640   Completed       11      SFMSS347
                                                                                                                                                                     Successfully
    09/28/2017   16:23:35   5          mtc         Incoming   18586106882   18586106881      18586106881        18586106881      310260253792880                     Completed      021;11   CHTAS004
                                                                                                                                                                     Successfully
    09/28/2017   16:23:36   5          moc         Outgoing   18586106882   18056377249      18056377249        13235409999      310260253792880                     Completed       02B     CHTAS004
                                                                                                                                                                     Successfully
    09/28/2017   16:23:58   3          moc         Outgoing   18586106882   18056377249      18056377249        13235409999      310260253792880                     Completed       02B     IETAS001
                                                                                                                                                                     Successfully



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                                                                                      [Exhibit G - 101]
    09/28/2017   16:23:58   3          mtc         Incoming   18586106882   18586106881      18586106881        18586106881      310260253792880                     Completed      021;11   IETAS001
                                                                                                                                                                     Successfully
    09/28/2017   17:50:06   29    callForwarding   Outgoing   8882442040    18056377249      18056377249        18056377249      310260253792880                     Completed      011;2B   SFMSS347
                                                                                                                                                                     Successfully
    09/28/2017   22:44:51   60    mSTerminatingS   Incoming      129                         18586106881                         310260253792880   352509010940640   Completed               SFMSS347
                                    MSinMSC                                                                                                                          Successfully
    09/28/2017   22:44:53   60    mSTerminatingS   Incoming      123                         18586106881                         310260253792880   352509010940640   Completed               SFMSS347
                                    MSinMSC                                                                                                                          Successfully
    09/28/2017   22:48:27   159    mSOriginating   Outgoing   8586106881    18587957040      18587957040        18587957040      310260253792880   352509010940640   Completed               SFMSS347
                                                                                                                                                                     Successfully
    09/29/2017   05:08:29   11    mSTerminating    Incoming   8586106882                     18586106881                         310260253792880   352509010940640   Completed       11      SFMSS347
                                                                                                                                                                     Successfully
    09/29/2017   16:33:58   60    mSTerminatingS   Incoming      129                         18586106881                         310260253792880   352509010940640   Completed               SFMSS347
                                    MSinMSC                                                                                                                          Successfully
    09/29/2017   16:41:17   18    mSTerminating    Incoming   8586101618                     18586106881                         310260253792880   352509010940640   Completed       11      SFMSS347
                                                                                                                                                                     Successfully
    09/29/2017   19:36:56   541   mSOriginating    Outgoing   8586106881    18003810759      18003810759     11818633180038107   310260253792880   352509010940640   Completed               VGMSS342
                                                                                                                    59                                               Successfully
    09/30/2017   04:53:40   12    mSTerminating    Incoming   8586106882                     18586106881                         310260253792880   352509010940640   Completed       11      SPMSS346
                                                                                                                                                                     Successfully
    09/30/2017   19:15:14   60    mSTerminatingS   Incoming      129                         18586106881                         310260253792880   352509010940640   Completed               SPMSS346
                                    MSinMSC                                                                                                                          Successfully
    10/01/2017   04:06:29   10    mSTerminating    Incoming   8586106882                     18586106881                         310260253792880   352509010940640   Completed       11      ATMSS344
                                                                                                                                                                     Successfully
    10/01/2017   13:51:22   60    mSTerminatingS   Incoming      129                         18586106881                         310260253792880   352509010940640   Completed               ATMSS344
                                    MSinMSC                                                                                                                          Successfully
    10/01/2017   13:52:41   228    mSOriginating   Outgoing   8586106881    18056377243      18056377243        13235409999      310260253792880   352509010940640   Completed               ATMSS344
                                                                                                                                                                     Successfully
    10/01/2017   13:56:41   60    mSTerminatingS   Incoming      129                         18586106881                         310260253792880   352509010940640   Completed               ATMSS344
                                    MSinMSC                                                                                                                          Successfully
    10/02/2017   17:07:37   60    mSTerminatingS   Incoming      129                         18586106881                         310260253792880   352509010940640   Completed               ATMSS344
                                    MSinMSC                                                                                                                          Successfully
    10/03/2017   04:56:34   9     mSTerminating    Incoming   8586106882                     18586106881                         310260253792880   352509010940640   Completed       11      VGMSS342
                                                                                                                                                                     Successfully
    10/03/2017   14:42:01   60    mSTerminatingS   Incoming      129                         18586106881                         310260253792880   352509010940640   Completed               IEMSS341
                                    MSinMSC                                                                                                                          Successfully
    10/03/2017   14:43:38   233    mSOriginating   Outgoing   8586106881    18009452000      18009452000     11818633180094520   310260253792880   352509010940640   Completed               IEMSS341
                                                                                                                     00                                              Successfully
    10/03/2017   17:26:36   2     mSOriginating    Outgoing   8586106881    18587957040      18587957040        18587957040      310260253792880   352509010940640   Completed               IEMSS341
                                                                                                                                                                     Successfully
    10/03/2017   18:05:56         mSOriginating    Outgoing   8586106881    18587957040      18587957040        18587957040      310260253792880   352509010940640   Completed               IEMSS341
                                                                                                                                                                     Successfully
    10/03/2017   19:06:14   66    mSOriginating    Outgoing   8586106881    18587957040      18587957040        18587957040      310260253792880   352509010940640   Completed               SPMSS346
                                                                                                                                                                     Successfully
    10/04/2017   11:21:53   60    mSTerminatingS   Incoming      129                         18586106881                         310260253792880   352509010940640   Completed               SFMSS347
                                    MSinMSC                                                                                                                          Successfully
    10/05/2017   04:57:13   9     mSTerminating    Incoming   8586106882                     18586106881                         310260253792880   352509010940640   Completed       11      SPMSS346
                                                                                                                                                                     Successfully
    10/05/2017   18:30:17   60    mSTerminatingS   Incoming      129                         18586106881                         310260253792880   352509010940640   Completed               SPMSS346
                                    MSinMSC                                                                                                                          Successfully
    10/05/2017   19:47:23         mSTerminating    Incoming   8009198244                     18586106881                         310260253792880   352509010940640    Abnormal       11      SPMSS346
                                                                                                                                                                     Completion
    10/05/2017   19:47:24         callForwarding   Outgoing   8009198244    18056377249      18056377249        18056377249      310260253792880                     Completed      011;2A   SPMSS346
                                                                                                                                                                     Successfully



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                                                                                      [Exhibit G - 102]
    10/05/2017   19:56:25   11    mSOriginating    Outgoing   8586106881   18009198244      18009198244     11818633180091982   310260253792880   352509010940640   Completed               SPMSS346
                                                                                                                   44                                               Successfully
    10/05/2017   20:04:06         mSTerminating    Incoming   8009198244                    18586106881                         310260253792880   352509010940640    Abnormal       11      SPMSS346
                                                                                                                                                                    Completion
    10/05/2017   20:04:07   33    callForwarding   Outgoing   8009198244   18056377249      18056377249        18056377249      310260253792880                     Completed      011;2A   SPMSS346
                                                                                                                                                                    Successfully
    10/05/2017   22:32:46   46    mSOriginating    Outgoing   8586106881   16262860899      16262860899        16262860899      310260253792880   352509010940640   Completed               SPMSS346
                                                                                                                                                                    Successfully
    10/06/2017   06:00:37   33    mSOriginating    Outgoing   8586106881   18586106882      18586106882        18586106882      310260253792880   352509010940640   Completed               SPMSS346
                                                                                                                                                                    Successfully
    10/06/2017   18:47:06   60    mSTerminatingS   Incoming      129                        18586106881                         310260253792880   352509010940640   Completed               SPMSS346
                                    MSinMSC                                                                                                                         Successfully
    10/07/2017   04:13:19   11    mSTerminating    Incoming   8586106882                    18586106881                         310260253792880   352509010940640   Completed       11      SFMSS347
                                                                                                                                                                    Successfully
    10/07/2017   16:26:29   60    mSTerminatingS   Incoming      129                        18586106881                         310260253792880   352509010940640   Completed               SFMSS347
                                    MSinMSC                                                                                                                         Successfully
    10/08/2017   04:35:04   11    mSTerminating    Incoming   8586106882                    18586106881                         310260253792880   352509010940640   Completed       11      ATMSS344
                                                                                                                                                                    Successfully
    10/08/2017   22:57:00   60    mSTerminatingS   Incoming      129                        18586106881                         310260253792880   352509010940640   Completed               ATMSS344
                                    MSinMSC                                                                                                                         Successfully
    10/08/2017   22:59:01   195    mSOriginating   Outgoing   8586106881   18056377243      18056377243        13235409999      310260253792880   352509010940640   Completed               ATMSS344
                                                                                                                                                                    Successfully
    10/08/2017   23:02:28   60    mSTerminatingS   Incoming      129                        18586106881                         310260253792880   352509010940640   Completed               ATMSS344
                                    MSinMSC                                                                                                                         Successfully
    10/09/2017   04:38:42   10    mSTerminating    Incoming   8586106882                    18586106881                         310260253792880   352509010940640   Completed       11      ATMSS344
                                                                                                                                                                    Successfully
    10/09/2017   18:00:20   60    mSTerminatingS   Incoming      129                        18586106881                         310260253792880   352509010940640   Completed               ATMSS344
                                    MSinMSC                                                                                                                         Successfully
    10/10/2017   04:44:41   9     mSTerminating    Incoming   8586106882                    18586106881                         310260253792880   352509010940640   Completed       11      ATMSS344
                                                                                                                                                                    Successfully
    10/10/2017   17:19:32   60    mSTerminatingS   Incoming      129                        18586106881                         310260253792880   352509010940640   Completed               HNMSS348
                                    MSinMSC                                                                                                                         Successfully
    10/11/2017   05:40:32   11    mSTerminating    Incoming   8586106882                    18586106881                         310260253792880   352509010940640   Completed       11      DAMSS343
                                                                                                                                                                    Successfully
    10/11/2017   14:17:16   60    mSTerminatingS   Incoming      129                        18586106881                         310260253792880   352509010940640   Completed               ATMSS344
                                    MSinMSC                                                                                                                         Successfully
    10/11/2017   21:21:48   32     mSOriginating   Outgoing   8586106881   18586106882      18586106882        18586106882      310260253792880   352509010940640   Completed               CRMSS345
                                                                                                                                                                    Successfully
    10/12/2017   18:35:53   60    mSTerminatingS   Incoming      129                        18586106881                         310260253792880   352509010940640   Completed               VGMSS342
                                    MSinMSC                                                                                                                         Successfully
    10/12/2017   20:37:14   205    mSOriginating   Outgoing   8586106881   18003791732      18003791732     11818633180037917   310260253792880   352509010940640   Completed               IEMSS341
                                                                                                                   32                                               Successfully
    10/12/2017   20:51:45   42    mSOriginating    Outgoing   8586106881   16262860899      16262860899        16262860899      310260253792880   352509010940640   Completed               IEMSS341
                                                                                                                                                                    Successfully
    10/12/2017   22:10:20   170   mSOriginating    Outgoing   8586106881   18003810759      18003810759     11818633180038107   310260253792880   352509010940640   Completed               IEMSS341
                                                                                                                   59                                               Successfully
    10/13/2017   00:20:10   11    mSTerminating    Incoming   9172165959                    18586106881                         310260253792880   352509010940640   Completed       11      CRMSS345
                                                                                                                                                                    Successfully
    10/13/2017   00:20:52         mSTerminating    Incoming   9172165959                    18586106881                         310260253792880   352509010940640    Abnormal       11      CRMSS345
                                                                                                                                                                    Completion
    10/13/2017   04:40:30   30    mSOriginating    Outgoing   8586106881   18056377243      18056377243        13235409999      310260253792880   352509010940640   Completed               ATMSS344
                                                                                                                                                                    Successfully
    10/13/2017   04:41:07   60    mSTerminatingS   Incoming      129                        18586106881                         310260253792880   352509010940640   Completed               ATMSS344
                                    MSinMSC                                                                                                                         Successfully



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                                                                                     [Exhibit G - 103]
    10/13/2017   04:54:55   12        moc         Outgoing   18586106882   18056377249      18056377249        13235409999   310260253792880                     Completed      02B   DCTAS002
                                                                                                                                                                 Successfully
    10/13/2017   14:54:50   60   mSTerminatingS   Incoming      129                         18586106881                      310260253792880   352509010940640   Completed            ATMSS344
                                   MSinMSC                                                                                                                       Successfully
    10/13/2017   14:55:07   58    mSOriginating   Outgoing   8586106881    18587957040      18587957040        18587957040   310260253792880   352509010940640   Completed            ATMSS344
                                                                                                                                                                 Successfully
    10/13/2017   17:02:54   10   mSTerminating    Incoming   6197611574                     18586106881                      310260253792880   352509010940640   Completed      11    ATMSS344
                                                                                                                                                                 Successfully
    10/14/2017   03:10:56        mSOriginating    Outgoing   8586106881    16197611574      16197611574        16197611574   310260253792880   352509010940640   Completed            ATMSS344
                                                                                                                                                                 Successfully
    10/14/2017   04:24:03   8    mSTerminating    Incoming   8586106882                     18586106881                      310260253792880   352509010940640   Completed      11    ATMSS344
                                                                                                                                                                 Successfully
    10/14/2017   04:24:27   9    mSTerminating    Incoming   8586106882                     18586106881                      310260253792880   352509010940640   Completed      11    ATMSS344
                                                                                                                                                                 Successfully
    10/14/2017   16:22:14   60   mSTerminatingS   Incoming      129                         18586106881                      310260253792880   352509010940640   Completed            VGMSS342
                                   MSinMSC                                                                                                                       Successfully
    10/15/2017   04:42:01   12   mSTerminating    Incoming   8586106882                     18586106881                      310260253792880   352509010940640   Completed      11    SPMSS346
                                                                                                                                                                 Successfully
    10/15/2017   17:14:54   60   mSTerminatingS   Incoming      129                         18586106881                      310260253792880   352509010940640   Completed            ATMSS344
                                   MSinMSC                                                                                                                       Successfully
    10/15/2017   20:06:00   54   mSTerminating    Incoming   8586106882                     18586106881                      310260253792880   352509010940640   Completed      11    ATMSS344
                                                                                                                                                                 Successfully
    10/16/2017   04:20:17   11   mSTerminating    Incoming   8586106882                     18586106881                      310260253792880   352509010940640   Completed      11    DAMSS343
                                                                                                                                                                 Successfully
    10/16/2017   17:45:01   60   mSTerminatingS   Incoming      129                         18586106881                      310260253792880   352509010940640   Completed            ORMSS349
                                   MSinMSC                                                                                                                       Successfully
    10/17/2017   04:48:31   31    mSOriginating   Outgoing   8586106881    18586106882      18586106882        18586106882   310260253792880   352509010940640   Completed            SPMSS346
                                                                                                                                                                 Successfully
    10/17/2017   05:04:50   69   mSTerminating    Incoming   8586108863                     18586106881                      310260253792880   352509010940640   Completed      11    SPMSS346
                                                                                                                                                                 Successfully
    10/17/2017   05:16:14   25   mSTerminating    Incoming   8586106882                     18586106881                      310260253792880   352509010940640   Completed      11    SPMSS346
                                                                                                                                                                 Successfully
    10/17/2017   14:37:18   60   mSTerminatingS   Incoming      129                         18586106881                      310260253792880   352509010940640   Completed            SPMSS346
                                   MSinMSC                                                                                                                       Successfully
    10/17/2017   19:04:52   60    mSOriginating   Outgoing   8586106881    18586106882      18586106882        18586106882   310260253792880   352509010940640   Completed            DAMSS343
                                                                                                                                                                 Successfully
    10/18/2017   03:02:14   3    mSOriginating    Outgoing   8586106881    18586106882      18586106882        18586106882   310260253792880   352509010940640   Completed            SPMSS346
                                                                                                                                                                 Successfully
    10/18/2017   03:12:38   48   mSTerminating    Incoming   8586106882                     18586106881                      310260253792880   352509010940640   Completed      11    SPMSS346
                                                                                                                                                                 Successfully
    10/18/2017   18:27:05   60   mSTerminatingS   Incoming      129                         18586106881                      310260253792880   352509010940640   Completed            SPMSS346
                                   MSinMSC                                                                                                                       Successfully
    10/18/2017   18:27:52         mSOriginating   Outgoing   8586106881    16262860899      16262860899        16262860899   310260253792880   352509010940640    Abnormal            SPMSS346
                                                                                                                                                                 Completion
    10/18/2017   18:28:02        mSOriginating    Outgoing   8586106881    16262860899      16262860899        16262860899   310260253792880   352509010940640    Abnormal            SPMSS346
                                                                                                                                                                 Completion
    10/18/2017   18:28:12        mSOriginating    Outgoing   8586106881    16262860899      16262860899        16262860899   310260253792880   352509010940640    Abnormal            SPMSS346
                                                                                                                                                                 Completion
    10/18/2017   18:28:55   7    mSOriginating    Outgoing   8586106881    16262860899      16262860899        16262860899   310260253792880   352509010940640   Completed            SPMSS346
                                                                                                                                                                 Successfully
    10/18/2017   18:31:47   45   mSOriginating    Outgoing   8586106881    16262557788      16262557788        16262557788   310260253792880   352509010940640   Completed            SPMSS346
                                                                                                                                                                 Successfully
    10/19/2017   17:46:40   60   mSTerminatingS   Incoming      129                         18586106881                      310260253792880   352509010940640   Completed            SPMSS346
                                   MSinMSC                                                                                                                       Successfully



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                                                                                     [Exhibit G - 104]
    10/20/2017   05:20:42   15    mSTerminating    Incoming   8586106882                      18586106881                         310260253792880   352509010940640   Completed       11      SFMSS347
                                                                                                                                                                      Successfully
    10/20/2017   17:23:31   60    mSTerminatingS   Incoming      129                          18586106881                         310260253792880   352509010940640   Completed               ATMSS344
                                    MSinMSC                                                                                                                           Successfully
    10/20/2017   17:39:14   54     mSOriginating   Outgoing   8586106881    18586106882       18586106882        18586106882      310260253792880   352509010940640   Completed               ATMSS344
                                                                                                                                                                      Successfully
    10/21/2017   05:06:27   23    mSTerminating    Incoming   8586106882                      18586106881                         310260253792880   352509010940640   Completed       11      HNMSS348
                                                                                                                                                                      Successfully
    10/21/2017   05:41:36    7    mSTerminating    Incoming   8586106882                      18586106881                         310260253792880   352509010940640   Completed       11      HNMSS348
                                                                                                                                                                      Successfully
    10/21/2017   20:31:08   60    mSTerminatingS   Incoming      129                          18586106881                         310260253792880   352509010940640   Completed               HNMSS348
                                    MSinMSC                                                                                                                           Successfully
    10/22/2017   04:21:43    8    mSTerminating    Incoming   8586106882                      18586106881                         310260253792880   352509010940640   Completed       11      HNMSS348
                                                                                                                                                                      Successfully
    10/22/2017   21:09:15   60    mSTerminatingS   Incoming      129                          18586106881                         310260253792880   352509010940640   Completed               SFMSS347
                                    MSinMSC                                                                                                                           Successfully
    10/23/2017   04:05:06   15    mSTerminating    Incoming   8586106882                      18586106881                         310260253792880   352509010940640   Completed       11      SFMSS347
                                                                                                                                                                      Successfully
    10/23/2017   04:59:19              mtc         Incoming   18586106882    18586106881       18586106881       18586106881      310260253792880                      Abnormal      021;11   ORTAS002
                                                                                                                                                                      Completion
    10/23/2017   04:59:20              moc         Outgoing   18586106882    18056377249       18056377249       13235409999      310260253792880                      Abnormal       02B     ORTAS002
                                                                                                                                                                      Completion
    10/23/2017   14:19:32   60    mSTerminatingS   Incoming      129                          18586106881                         310260253792880   352509010940640   Completed               SFMSS347
                                    MSinMSC                                                                                                                           Successfully
    10/23/2017   14:20:12          mSOriginating   Outgoing   8586106881    6716195277500     6716195277500          65           310260253792880   352509010940640    Abnormal               SFMSS347
                                                                                                                                                                      Completion
    10/23/2017   14:20:32         mSOriginating    Outgoing   8586106881    6716195277500     6716195277500          65           310260253792880   352509010940640   Completed               SFMSS347
                                                                                                                                                                      Successfully
    10/23/2017   14:22:03   22    mSOriginating    Outgoing   8586106881     6195334000        6195334000        16195334000      310260253792880   352509010940640   Completed               CRMSS345
                                                                                                                                                                      Successfully
    10/24/2017   04:57:39   21    mSTerminating    Incoming   8586106882                      18586106881                         310260253792880   352509010940640   Completed       11      SPMSS346
                                                                                                                                                                      Successfully
    10/24/2017   18:07:41   60    mSTerminatingS   Incoming      129                          18586106881                         310260253792880   352509010940640   Completed               SPMSS346
                                    MSinMSC                                                                                                                           Successfully
    10/25/2017   02:26:25   53     mSOriginating   Outgoing   8586106881    18586106882       18586106882        18586106882      310260253792880   352509010940640   Completed               ATMSS344
                                                                                                                                                                      Successfully
    10/25/2017   16:41:17   60    mSTerminatingS   Incoming      129                          18586106881                         310260253792880   352509010940640   Completed               ATMSS344
                                    MSinMSC                                                                                                                           Successfully
    10/25/2017   16:41:33   221    mSOriginating   Outgoing   8586106881    18003810759       18003810759     11818633180038107   310260253792880   352509010940640   Completed               ATMSS344
                                                                                                                     59                                               Successfully
    10/26/2017   13:38:09   60    mSTerminatingS   Incoming      129                          18586106881                         310260253792880   352509010940640   Completed               ATMSS344
                                    MSinMSC                                                                                                                           Successfully
    10/26/2017   17:52:13   41     mSOriginating   Outgoing   8586106881    18586106882       18586106882        18586106882      310260253792880   352509010940640   Completed               VGMSS342
                                                                                                                                                                      Successfully
    10/27/2017   05:35:04   8     mSTerminating    Incoming   8586106882                      18586106881                         310260253792880   352509010940640   Completed       11      IEMSS341
                                                                                                                                                                      Successfully
    10/27/2017   14:39:40   60    mSTerminatingS   Incoming      129                          18586106881                         310260253792880   352509010940640   Completed               IEMSS341
                                    MSinMSC                                                                                                                           Successfully
    10/27/2017   14:41:35   61     mSOriginating   Outgoing   8586106881    18587957040       18587957040        18587957040      310260253792880   352509010940640   Completed               IEMSS341
                                                                                                                                                                      Successfully
    10/28/2017   04:28:54   15    mSTerminating    Incoming   8586106882                      18586106881                         310260253792880   352509010940640   Completed       11      VGMSS342
                                                                                                                                                                      Successfully
    10/29/2017   04:43:30   60    mSTerminatingS   Incoming      129                          18586106881                         310260253792880   352509010940640   Completed               VGMSS342
                                    MSinMSC                                                                                                                           Successfully



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                                                                                          [Exhibit G - 105]
    10/29/2017   16:39:59   60    mSTerminatingS   Incoming      129                         18586106881                         310260253792880   352509010940640   Completed               VGMSS342
                                    MSinMSC                                                                                                                          Successfully
    10/30/2017   13:35:56   233    mSOriginating   Outgoing   8586106881    18056377243      18056377243        13235409999      310260253792880   352509010940640   Completed               SFMSS347
                                                                                                                                                                     Successfully
    10/30/2017   13:38:58   60    mSTerminatingS   Incoming      129                         18586106881                         310260253792880   352509010940640   Completed               SFMSS347
                                    MSinMSC                                                                                                                          Successfully
    10/30/2017   13:55:28   60    mSTerminatingS   Incoming      129                         18586106881                         310260253792880   352509010940640   Completed               SFMSS347
                                    MSinMSC                                                                                                                          Successfully
    10/31/2017   04:39:15   13    mSTerminating    Incoming   8586106882                     18586106881                         310260253792880   352509010940640   Completed       11      ATMSS344
                                                                                                                                                                     Successfully
    10/31/2017   18:19:26   60    mSTerminatingS   Incoming      129                         18586106881                         310260253792880   352509010940640   Completed               ATMSS344
                                    MSinMSC                                                                                                                          Successfully
    11/01/2017   03:38:02   46     mSOriginating   Outgoing   8586106881    18586106882      18586106882        18586106882      310260253792880   352509010940640   Completed               SPMSS346
                                                                                                                                                                     Successfully
    11/01/2017   05:11:28   12    mSTerminating    Incoming   8586106882                     18586106881                         310260253792880   352509010940640   Completed       11      HNMSS348
                                                                                                                                                                     Successfully
    11/01/2017   14:21:32   60    mSTerminatingS   Incoming      129                         18586106881                         310260253792880   352509010940640   Completed               HNMSS348
                                    MSinMSC                                                                                                                          Successfully
    11/01/2017   18:31:32   68     mSOriginating   Outgoing   8586106881    18586106882      18586106882        18586106882      310260253792880   352509010940640   Completed               HNMSS348
                                                                                                                                                                     Successfully
    11/01/2017   20:50:04   460   mSOriginating    Outgoing   8586106881    17022606505      17022606505        17022606505      310260253792880   352509010940640   Completed               HNMSS348
                                                                                                                                                                     Successfully
    11/02/2017   11:44:07   60    mSTerminatingS   Incoming      129                         18586106881                         310260253792880   352509010940640   Completed               HNMSS348
                                    MSinMSC                                                                                                                          Successfully
    11/02/2017   16:34:03   444    mSOriginating   Outgoing   8586106881    18663428774      18663428774     11818633186634287   310260253792880   352509010940640   Completed               HNMSS348
                                                                                                                    74                                               Successfully
    11/03/2017   05:51:04   9     mSTerminating    Incoming   8586106882                     18586106881                         310260253792880   352509010940640   Completed       11      ATMSS344
                                                                                                                                                                     Successfully
    11/03/2017   11:42:46   60    mSTerminatingS   Incoming      129                         18586106881                         310260253792880   352509010940640   Completed               ATMSS344
                                    MSinMSC                                                                                                                          Successfully
    11/04/2017   05:26:06         mSTerminating    Incoming   8586106882                     18586106881                         310260253792880   352509010940640    Abnormal       11      ATMSS344
                                                                                                                                                                     Completion
    11/04/2017   05:26:19   25    mSTerminating    Incoming   8586106882                     18586106881                         310260253792880   352509010940640   Completed       11      ATMSS344
                                                                                                                                                                     Successfully
    11/04/2017   05:51:19   7     mSTerminating    Incoming   8586106882                     18586106881                         310260253792880   352509010940640   Completed       11      ATMSS344
                                                                                                                                                                     Successfully
    11/04/2017   16:04:14   60    mSTerminatingS   Incoming      129                         18586106881                         310260253792880   352509010940640   Completed               ATMSS344
                                    MSinMSC                                                                                                                          Successfully
    11/05/2017   04:52:38   10    mSTerminating    Incoming   8586106882                     18586106881                         310260253792880   352509010940640   Completed       11      ATMSS344
                                                                                                                                                                     Successfully
    11/05/2017   22:37:57   4          moc         Outgoing   18586106882   18056377249      18056377249        13235409999      310260253792880                     Completed       02B     IETAS001
                                                                                                                                                                     Successfully
    11/05/2017   22:37:57   4          mtc         Incoming   18586106882   18586106881      18586106881        18586106881      310260253792880                     Completed      021;11   IETAS001
                                                                                                                                                                     Successfully
    11/05/2017   22:38:08   10         mtc         Incoming   18586106882   18586106881      18586106881        18586106881      310260253792880                     Completed      021;11   SCTAS006
                                                                                                                                                                     Successfully
    11/05/2017   22:38:09   10         moc         Outgoing   18586106882   18056377249      18056377249        13235409999      310260253792880                     Completed       02B     SCTAS006
                                                                                                                                                                     Successfully
    11/05/2017   22:38:25   3          mtc         Incoming   18586106882   18586106881      18586106881        18586106881      310260253792880                     Completed      021;11   DATAS003
                                                                                                                                                                     Successfully
    11/05/2017   22:38:26   3          moc         Outgoing   18586106882   18056377249      18056377249        13235409999      310260253792880                     Completed       02B     DATAS003
                                                                                                                                                                     Successfully
    11/06/2017   00:21:18   60    mSTerminatingS   Incoming      129                         18586106881                         310260253792880   352509010940640   Completed               ATMSS344
                                    MSinMSC                                                                                                                          Successfully



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                                                                                      [Exhibit G - 106]
    11/06/2017   05:20:37   9     mSTerminating    Incoming   8586106882                     18586106881                      310260253792880   352509010940640   Completed       11      ATMSS344
                                                                                                                                                                  Successfully
    11/06/2017   18:05:34   60    mSTerminatingS   Incoming      129                         18586106881                      310260253792880   352509010940640   Completed               ATMSS344
                                    MSinMSC                                                                                                                       Successfully
    11/07/2017   06:14:36   11    mSTerminating    Incoming   8586106882                     18586106881                      310260253792880   352509010940640   Completed       11      ATMSS344
                                                                                                                                                                  Successfully
    11/07/2017   12:39:44   60    mSTerminatingS   Incoming      129                         18586106881                      310260253792880   352509010940640   Completed               ATMSS344
                                    MSinMSC                                                                                                                       Successfully
    11/08/2017   08:17:43         mSTerminating    Incoming   8586106882                     18586106881                      310260253792880   352509010940640    Abnormal       11      ATMSS344
                                                                                                                                                                  Completion
    11/08/2017   17:09:55   10    callForwarding   Outgoing   25463276459   18056377249      18056377249        18056377249   310260253792880                     Completed      011;2B   ATMSS344
                                                                                                                                                                  Successfully
    11/08/2017   19:18:12   60    mSTerminatingS   Incoming      129                         18586106881                      310260253792880   352509010940640   Completed               ATMSS344
                                    MSinMSC                                                                                                                       Successfully
    11/08/2017   21:58:20   32    mSTerminating    Incoming   8586106882                     18586106881                      310260253792880   352509010940640   Completed       11      ATMSS344
                                                                                                                                                                  Successfully
    11/09/2017   16:10:03   60    mSTerminatingS   Incoming      129                         18586106881                      310260253792880   352509010940640   Completed               ATMSS344
                                    MSinMSC                                                                                                                       Successfully
    11/09/2017   18:49:42   39     mSOriginating   Outgoing   8586106881    18586106882      18586106882        18586106882   310260253792880   352509010940640   Completed               ATMSS344
                                                                                                                                                                  Successfully
    11/09/2017   20:49:27   2     mSTerminating    Incoming   7146024853                     18586106881                      310260253792880   352509010940640   Completed       11      ATMSS344
                                                                                                                                                                  Successfully
    11/09/2017   23:11:52   73    mSTerminating    Incoming   8586106882                     18586106881                      310260253792880   352509010940640   Completed       11      ATMSS344
                                                                                                                                                                  Successfully
    11/10/2017   03:24:31   279   mSOriginating    Outgoing   8586106881    18056377243      18056377243        13235409999   310260253792880   352509010940640   Completed               ATMSS344
                                                                                                                                                                  Successfully
    11/10/2017   03:29:16   60    mSTerminatingS   Incoming      129                         18586106881                      310260253792880   352509010940640   Completed               ATMSS344
                                    MSinMSC                                                                                                                       Successfully
    11/10/2017   06:18:21   9     mSTerminating    Incoming   8586106882                     18586106881                      310260253792880   352509010940640   Completed       11      ATMSS344
                                                                                                                                                                  Successfully
    11/11/2017   05:02:27   9          moc         Outgoing   18586106882   18056377249      18056377249        13235409999   310260253792880                     Completed       02B     SCTAS005
                                                                                                                                                                  Successfully
    11/11/2017   05:02:27   9          mtc         Incoming   18586106882   18586106881      18586106881        18586106881   310260253792880                     Completed      021;11   SCTAS005
                                                                                                                                                                  Successfully
    11/11/2017   05:29:09   60    mSTerminatingS   Incoming      129                         18586106881                      310260253792880   352509010940640   Completed               ATMSS344
                                    MSinMSC                                                                                                                       Successfully
    11/11/2017   19:17:21   60    mSTerminatingS   Incoming      129                         18586106881                      310260253792880   352509010940640   Completed               ATMSS344
                                    MSinMSC                                                                                                                       Successfully
    11/11/2017   19:26:40   33     mSOriginating   Outgoing   8586106881    18586106882      18586106882        18586106882   310260253792880   352509010940640   Completed               ATMSS344
                                                                                                                                                                  Successfully
    11/12/2017   03:10:10   9     mSOriginating    Outgoing   8586106881    18586108863      18586108863        18586108863   310260253792880   352509010940640   Completed               ATMSS344
                                                                                                                                                                  Successfully
    11/12/2017   05:17:56   12    mSTerminating    Incoming   8586106882                     18586106881                      310260253792880   352509010940640   Completed       11      ATMSS344
                                                                                                                                                                  Successfully
    11/12/2017   21:50:57   60    mSTerminatingS   Incoming      129                         18586106881                      310260253792880   352509010940640   Completed               ATMSS344
                                    MSinMSC                                                                                                                       Successfully
    11/12/2017   21:51:39   8      mSOriginating   Outgoing   8586106881    18586108863      18586108863        18586108863   310260253792880   352509010940640   Completed               ATMSS344
                                                                                                                                                                  Successfully
    11/13/2017   05:02:05   8     mSTerminating    Incoming   8586106882                     18586106881                      310260253792880   352509010940640   Completed       11      IEMSS341
                                                                                                                                                                  Successfully
    11/13/2017   15:32:07   60    mSTerminatingS   Incoming      129                         18586106881                      310260253792880   352509010940640   Completed               IEMSS341
                                    MSinMSC                                                                                                                       Successfully
    11/14/2017   05:55:55   31    mSTerminating    Incoming   8586106882                     18586106881                      310260253792880   352509010940640   Completed       11      IEMSS341
                                                                                                                                                                  Successfully



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                                                                                      [Exhibit G - 107]
    11/14/2017   19:16:50   60   mSTerminatingS   Incoming      129                         18586106881                      310260253792880   352509010940640   Completed               IEMSS341
                                   MSinMSC                                                                                                                       Successfully
    11/14/2017   23:15:06   10   mSTerminating    Incoming   8586101618                     18586106881                      310260253792880   352509010940640   Completed       11      IEMSS341
                                                                                                                                                                 Successfully
    11/15/2017   18:21:48   60   mSTerminatingS   Incoming      129                         18586106881                      310260253792880   352509010940640   Completed               IEMSS341
                                   MSinMSC                                                                                                                       Successfully
    11/15/2017   21:53:28   8     mSOriginating   Outgoing   8586106881    18586106882      18586106882        18586106882   310260253792880   352509010940640   Completed               IEMSS341
                                                                                                                                                                 Successfully
    11/16/2017   23:00:02   60   mSTerminatingS   Incoming      129                         18586106881                      310260253792880   352509010940640   Completed               IEMSS341
                                   MSinMSC                                                                                                                       Successfully
    11/16/2017   23:40:09   52   mSTerminating    Incoming   8586106882                     18586106881                      310260253792880   352509010940640   Completed       11      IEMSS341
                                                                                                                                                                 Successfully
    11/17/2017   01:27:18   53   mSOriginating    Outgoing   8586106881    18586106882      18586106882        18586106882   310260253792880   352509010940640   Completed               IEMSS341
                                                                                                                                                                 Successfully
    11/17/2017   06:21:57   10   mSTerminating    Incoming   8586106882                     18586106881                      310260253792880   352509010940640   Completed       11      IEMSS341
                                                                                                                                                                 Successfully
    11/17/2017   16:16:53   2         moc         Outgoing   18586106882   18056377249      18056377249        13235409999   310260253792880                     Completed       02B     IETAS002
                                                                                                                                                                 Successfully
    11/17/2017   16:16:53   2         mtc         Incoming   18586106882   18586106881      18586106881        18586106881   310260253792880                     Completed      021;11   IETAS002
                                                                                                                                                                 Successfully
    11/17/2017   16:33:30   60   mSTerminatingS   Incoming      129                         18586106881                      310260253792880   352509010940640   Completed               SPMSS346
                                   MSinMSC                                                                                                                       Successfully
    11/18/2017   06:15:38   10   mSTerminating    Incoming   8586106882                     18586106881                      310260253792880   352509010940640   Completed       11      SPMSS346
                                                                                                                                                                 Successfully
    11/18/2017   17:05:58   60   mSTerminatingS   Incoming      129                         18586106881                      310260253792880   352509010940640   Completed               SPMSS346
                                   MSinMSC                                                                                                                       Successfully
    11/18/2017   18:49:27         mSOriginating   Outgoing   8586106881       73303            73303               51        310260253792880   352509010940640   Completed               SPMSS346
                                                                                                                                                                 Successfully
    11/19/2017   05:37:22   10   mSTerminating    Incoming   8586106882                     18586106881                      310260253792880   352509010940640   Completed       11      SPMSS346
                                                                                                                                                                 Successfully
    11/19/2017   05:49:15   1    mSOriginating    Outgoing   8586106881    18587957040      18587957040        18587957040   310260253792880   352509010940640   Completed               SPMSS346
                                                                                                                                                                 Successfully
    11/20/2017   05:00:17   10        mtc         Incoming   18586106882   18586106881      18586106881        18586106881   310260253792880                     Completed      021;11   SFTAS003
                                                                                                                                                                 Successfully
    11/20/2017   05:00:18   10        moc         Outgoing   18586106882   18056377249      18056377249        13235409999   310260253792880                     Completed       02B     SFTAS003
                                                                                                                                                                 Successfully
    11/20/2017   05:32:41   60   mSTerminatingS   Incoming      129                         18586106881                      310260253792880   352509010940640   Completed               SPMSS346
                                   MSinMSC                                                                                                                       Successfully
    11/20/2017   17:31:51   60   mSTerminatingS   Incoming      129                         18586106881                      310260253792880   352509010940640   Completed               SPMSS346
                                   MSinMSC                                                                                                                       Successfully
    11/22/2017   04:45:13   60   mSTerminatingS   Incoming      129                         18586106881                      310260253792880   352509010940640   Completed               SPMSS346
                                   MSinMSC                                                                                                                       Successfully
    11/22/2017   04:45:28   36    mSOriginating   Outgoing   8586106881    18586106882      18586106882        18586106882   310260253792880   352509010940640   Completed               SPMSS346
                                                                                                                                                                 Successfully
    11/22/2017   06:26:59   23   mSOriginating    Outgoing   8586106881    18586106882      18586106882        18586106882   310260253792880   352509010940640   Completed               SPMSS346
                                                                                                                                                                 Successfully
    11/22/2017   06:57:03   7         moc         Outgoing   18586106882   18056377249      18056377249        13235409999   310260253792880                     Completed       02B     PXTAS002
                                                                                                                                                                 Successfully
    11/22/2017   06:57:03   7         mtc         Incoming   18586106882   18586106881      18586106881        18586106881   310260253792880                     Completed      021;11   PXTAS002
                                                                                                                                                                 Successfully
    11/22/2017   07:37:09   5         mtc         Incoming   18586106882   18586106881      18586106881        18586106881   310260253792880                     Completed      021;11   ORTAS001
                                                                                                                                                                 Successfully
    11/22/2017   07:37:10   5         moc         Outgoing   18586106882   18056377249      18056377249        13235409999   310260253792880                     Completed       02B     ORTAS001
                                                                                                                                                                 Successfully



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                                                                                      [Exhibit G - 108]
    11/22/2017   18:25:38   60    mSTerminatingS   Incoming      129                         18586106881                         310260253792880   352509010940640   Completed               SPMSS346
                                    MSinMSC                                                                                                                          Successfully
    11/22/2017   19:54:11   50    mSTerminating    Incoming   8002905000                     18586106881                         310260253792880   352509010940640   Completed       11      SPMSS346
                                                                                                                                                                     Successfully
    11/23/2017   06:43:50   14    mSOriginating    Outgoing   8586106881    18586106882      18586106882        18586106882      310260253792880   352509010940640   Completed               SPMSS346
                                                                                                                                                                     Successfully
    11/23/2017   16:36:15   60    mSTerminatingS   Incoming      129                         18586106881                         310260253792880   352509010940640   Completed               SPMSS346
                                    MSinMSC                                                                                                                          Successfully
    11/23/2017   16:36:29   18     mSOriginating   Outgoing   8586106881    18587957040      18587957040        18587957040      310260253792880   352509010940640   Completed               SPMSS346
                                                                                                                                                                     Successfully
    11/23/2017   17:13:15   7     mSOriginating    Outgoing   8586106881    17027953346      17027953346        17027953346      310260253792880   352509010940640   Completed               SPMSS346
                                                                                                                                                                     Successfully
    11/24/2017   02:09:49   17    mSOriginating    Outgoing   8586106881    18586106882      18586106882        18586106882      310260253792880   352509010940640   Completed               SFMSS347
                                                                                                                                                                     Successfully
    11/24/2017   06:21:57   17    mSTerminating    Incoming   8586106882                     18586106881                         310260253792880   352509010940640   Completed       11      SFMSS347
                                                                                                                                                                     Successfully
    11/24/2017   18:29:23   60    mSTerminatingS   Incoming      129                         18586106881                         310260253792880   352509010940640   Completed               SFMSS347
                                    MSinMSC                                                                                                                          Successfully
    11/24/2017   18:29:42   543    mSOriginating   Outgoing   8586106881    18002905000      18002905000     11818633180029050   310260253792880   352509010940640   Completed               SFMSS347
                                                                                                                     00                                              Successfully
    11/24/2017   19:22:03   3          moc         Outgoing   18586106882   18056377249      18056377249        13235409999      310260253792880                     Completed       02A     DATAS004
                                                                                                                                                                     Successfully
    11/24/2017   19:22:03         mSTerminating    Incoming   8586106882                     18586106881                         310260253792880   352509010940640    Abnormal       11      SFMSS347
                                                                                                                                                                     Completion
    11/24/2017   19:22:47   4          moc         Outgoing   18586106882   18056377249      18056377249        13235409999      310260253792880                     Completed       02A     DATAS009
                                                                                                                                                                     Successfully
    11/24/2017   19:22:47         mSTerminating    Incoming   8586106882                     18586106881                         310260253792880   352509010940640    Abnormal       11      SFMSS347
                                                                                                                                                                     Completion
    11/24/2017   19:23:30   5          moc         Outgoing   18586106882   18056377249      18056377249        13235409999      310260253792880                     Completed       02A     CHTAS004
                                                                                                                                                                     Successfully
    11/24/2017   19:23:30         mSTerminating    Incoming   8586106882                     18586106881                         310260253792880   352509010940640    Abnormal       11      SFMSS347
                                                                                                                                                                     Completion
    11/25/2017   06:21:11   10    mSTerminating    Incoming   8586106882                     18586106881                         310260253792880   352509010940640   Completed       11      SFMSS347
                                                                                                                                                                     Successfully
    11/25/2017   06:44:01   13    mSOriginating    Outgoing   8586106881    18586106882      18586106882        18586106882      310260253792880   352509010940640   Completed               SFMSS347
                                                                                                                                                                     Successfully
    11/25/2017   21:30:03   30    mSOriginating    Outgoing   8586106881    18586106882      18586106882        18586106882      310260253792880   352509010940640   Completed               SFMSS347
                                                                                                                                                                     Successfully
    11/25/2017   21:30:13   60    mSTerminatingS   Incoming      129                         18586106881                         310260253792880   352509010940640   Completed               SFMSS347
                                    MSinMSC                                                                                                                          Successfully
    11/25/2017   22:09:14   20    mSTerminating    Incoming   8586106882                     18586106881                         310260253792880   352509010940640   Completed       11      SFMSS347
                                                                                                                                                                     Successfully
    11/26/2017   06:41:55   14    mSTerminating    Incoming   8586106882                     18586106881                         310260253792880   352509010940640   Completed       11      SFMSS347
                                                                                                                                                                     Successfully
    11/26/2017   18:34:28   5          mtc         Incoming   18586106882   18586106881      18586106881        18586106881      310260253792880                     Completed      021;11   DATAS003
                                                                                                                                                                     Successfully
    11/26/2017   18:34:29   5          moc         Outgoing   18586106882   18056377249      18056377249        13235409999      310260253792880                     Completed       02B     DATAS003
                                                                                                                                                                     Successfully
    11/26/2017   18:57:43   11         mtc         Incoming   18586106882   18586106881      18586106881        18586106881      310260253792880                     Completed      021;11   POTAS001
                                                                                                                                                                     Successfully
    11/26/2017   18:57:44   11         moc         Outgoing   18586106882   18056377249      18056377249        13235409999      310260253792880                     Completed       02B     POTAS001
                                                                                                                                                                     Successfully
    11/26/2017   21:49:33   60    mSTerminatingS   Incoming      129                         18586106881                         310260253792880   352509010940640   Completed               SFMSS347
                                    MSinMSC                                                                                                                          Successfully



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                                                                                      [Exhibit G - 109]
    11/27/2017   04:54:18   14    mSTerminating    Incoming   8586106882                     18586106881                         310260253792880   352509010940640   Completed       11      SFMSS347
                                                                                                                                                                     Successfully
    11/27/2017   13:16:51   60    mSTerminatingS   Incoming      129                         18586106881                         310260253792880   352509010940640   Completed               SFMSS347
                                    MSinMSC                                                                                                                          Successfully
    11/28/2017   05:50:03   6          moc         Outgoing   18586106882   18056377249      18056377249        13235409999      310260253792880                     Completed       02B     IETAS001
                                                                                                                                                                     Successfully
    11/28/2017   05:50:03   6          mtc         Incoming   18586106882   18586106881      18586106881        18586106881      310260253792880                     Completed      021;11   IETAS001
                                                                                                                                                                     Successfully
    11/28/2017   06:23:36   44    mSOriginating    Outgoing   8586106881    18056377243      18056377243        13235409999                        352509010940640   Completed       42      SFMSS347
                                                                                                                                                                     Successfully
    11/28/2017   06:24:18         mSOriginating    Outgoing   8586106881                                            65           310260253792880   352509010940640   Completed               SFMSS347
                                                                                                                                                                     Successfully
    11/28/2017   06:24:25   60    mSTerminatingS   Incoming      129                         18586106881                         310260253792880   352509010940640   Completed               SFMSS347
                                    MSinMSC                                                                                                                          Successfully
    11/28/2017   06:24:36   424    mSOriginating   Outgoing   8586106881    18056377243      18056377243        13235409999      310260253792880   352509010940640   Completed               SFMSS347
                                                                                                                                                                     Successfully
    11/28/2017   06:31:45   60    mSTerminatingS   Incoming      129                         18586106881                         310260253792880   352509010940640   Completed               SFMSS347
                                    MSinMSC                                                                                                                          Successfully
    11/28/2017   16:29:51   60    mSTerminatingS   Incoming      129                         18586106881                         310260253792880   352509010940640   Completed               SFMSS347
                                    MSinMSC                                                                                                                          Successfully
    11/28/2017   21:45:18   51     mSOriginating   Outgoing   8586106881    18586106882      18586106882        18586106882      310260253792880   352509010940640   Completed               SFMSS347
                                                                                                                                                                     Successfully
    11/29/2017   16:28:17   60    mSTerminatingS   Incoming      129                         18586106881                         310260253792880   352509010940640   Completed               SFMSS347
                                    MSinMSC                                                                                                                          Successfully
    11/29/2017   16:30:02   264    mSOriginating   Outgoing   8586106881    18002882020      18002882020     11818633180028820   310260253792880   352509010940640   Completed               SFMSS347
                                                                                                                    20                                               Successfully
    11/30/2017   17:48:15   60    mSTerminatingS   Incoming      129                         18586106881                         310260253792880   352509010940640   Completed               SFMSS347
                                    MSinMSC                                                                                                                          Successfully
    11/30/2017   20:55:12   895    mSOriginating   Outgoing   8586106881    12108214105      12108214105        12108214105      310260253792880   352509010940640   Completed               SFMSS347
                                                                                                                                                                     Successfully
    12/01/2017   06:33:50   10    mSTerminating    Incoming   8586106882                     18586106881                         310260253792880   352509010940640   Completed       11      SFMSS347
                                                                                                                                                                     Successfully
    12/01/2017   18:40:30   60    mSTerminatingS   Incoming      129                         18586106881                         310260253792880   352509010940640   Completed               SFMSS347
                                    MSinMSC                                                                                                                          Successfully
    12/01/2017   19:53:56   29     mSOriginating   Outgoing   8586106881    18586106882      18586106882        18586106882      310260253792880   352509010940640   Completed               SFMSS347
                                                                                                                                                                     Successfully
    12/01/2017   23:34:06         mSTerminating    Incoming   8667066358                     18586106881                         310260253792880   352509010940640    Abnormal       11      SFMSS347
                                                                                                                                                                     Completion
    12/01/2017   23:34:07   33    callForwarding   Outgoing   8667066358    18056377249      18056377249        18056377249      310260253792880                     Completed      011;2A   SFMSS347
                                                                                                                                                                     Successfully
    12/02/2017   00:37:56   9     mSTerminating    Incoming   5127431078                     18586106881                         310260253792880   352509010940640   Completed       11      SFMSS347
                                                                                                                                                                     Successfully
    12/02/2017   01:16:17   45    mSTerminating    Incoming   8586106882                     18586106881                         310260253792880   352509010940640   Completed       11      SFMSS347
                                                                                                                                                                     Successfully
    12/02/2017   06:23:36   20    mSOriginating    Outgoing   8586106881    18586106882      18586106882        18586106882      310260253792880   352509010940640   Completed               SFMSS347
                                                                                                                                                                     Successfully
    12/02/2017   06:55:12   21         moc         Outgoing   18586106882   18056377249      18056377249        13235409999      310260253792880                     Completed       02A     CHTAS003
                                                                                                                                                                     Successfully
    12/02/2017   06:55:12         mSTerminating    Incoming   8586106882                     18586106881                         310260253792880   352509010940640    Abnormal       11      SFMSS347
                                                                                                                                                                     Completion
    12/02/2017   06:56:36   6          moc         Outgoing   18586106882   18056377249      18056377249        13235409999      310260253792880                     Completed       02A     DATAS009
                                                                                                                                                                     Successfully
    12/02/2017   06:56:36         mSTerminating    Incoming   8586106882                     18586106881                         310260253792880   352509010940640    Abnormal       11      SFMSS347
                                                                                                                                                                     Completion



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                                                                                      [Exhibit G - 110]
    12/02/2017   19:00:42   60    mSTerminatingS   Incoming      129                        18586106881                         310260253792880   352509010940640   Completed           SFMSS347
                                    MSinMSC                                                                                                                         Successfully
    12/02/2017   19:01:19          mSOriginating   Outgoing   8586106881   13234483718      13234483718        13234483718      310260253792880   352509010940640    Abnormal           SFMSS347
                                                                                                                                                                    Completion
    12/02/2017   19:01:50         mSOriginating    Outgoing   8586106881   13234483718      13234483718        13234483718      310260253792880   352509010940640    Abnormal           SFMSS347
                                                                                                                                                                    Completion
    12/02/2017   19:01:59         mSOriginating    Outgoing   8586106881   13234483718      13234483718        13234483718      310260253792880   352509010940640    Abnormal           SFMSS347
                                                                                                                                                                    Completion
    12/02/2017   19:03:15         mSOriginating    Outgoing   8586106881   13234483718      13234483718        13234483718      310260253792880   352509010940640    Abnormal           SFMSS347
                                                                                                                                                                    Completion
    12/02/2017   19:03:38   31    mSOriginating    Outgoing   8586106881   18667066358      18667066358     11818633186670663   310260253792880   352509010940640   Completed           SFMSS347
                                                                                                                   58                                               Successfully
    12/02/2017   19:05:08   15    mSOriginating    Outgoing   8586106881   15127431078      15127431078        15127431078      310260253792880   352509010940640   Completed           SFMSS347
                                                                                                                                                                    Successfully
    12/02/2017   19:09:24         mSOriginating    Outgoing   8586106881   13234483718      13234483718        13234483718      310260253792880   352509010940640    Abnormal           SFMSS347
                                                                                                                                                                    Completion
    12/02/2017   19:09:34         mSOriginating    Outgoing   8586106881   13234483718      13234483718        13234483718      310260253792880   352509010940640    Abnormal           SFMSS347
                                                                                                                                                                    Completion
    12/02/2017   19:10:41         mSOriginating    Outgoing   8586106881   13234483718      13234483718        13234483718      310260253792880   352509010940640    Abnormal           SFMSS347
                                                                                                                                                                    Completion
    12/02/2017   19:10:58         mSOriginating    Outgoing   8586106881   13234483718      13234483718        13234483718      310260253792880   352509010940640    Abnormal           SFMSS347
                                                                                                                                                                    Completion
    12/02/2017   19:11:08         mSOriginating    Outgoing   8586106881   13234483718      13234483718        13234483718      310260253792880   352509010940640    Abnormal           SFMSS347
                                                                                                                                                                    Completion
    12/02/2017   19:11:17         mSOriginating    Outgoing   8586106881   13234483718      13234483718        13234483718      310260253792880   352509010940640    Abnormal           SFMSS347
                                                                                                                                                                    Completion
    12/02/2017   19:12:22         mSOriginating    Outgoing   8586106881   13234483718      13234483718        13234483718      310260253792880   352509010940640    Abnormal           SFMSS347
                                                                                                                                                                    Completion
    12/02/2017   19:13:38         mSOriginating    Outgoing   8586106881   13234483718      13234483718        13234483718      310260253792880   352509010940640    Abnormal           SFMSS347
                                                                                                                                                                    Completion
    12/02/2017   19:16:58         mSOriginating    Outgoing   8586106881   13234483718      13234483718        13234483718      310260253792880   352509010940640    Abnormal           SFMSS347
                                                                                                                                                                    Completion
    12/02/2017   21:36:44         mSOriginating    Outgoing   8586106881   13234483718      13234483718        13234483718      310260253792880   352509010940640    Abnormal           SFMSS347
                                                                                                                                                                    Completion
    12/02/2017   21:51:09         mSOriginating    Outgoing   8586106881   13234483718      13234483718        13234483718      310260253792880   352509010940640    Abnormal           SFMSS347
                                                                                                                                                                    Completion
    12/02/2017   22:36:51         mSOriginating    Outgoing   8586106881   13234483718      13234483718        13234483718      310260253792880   352509010940640    Abnormal           SFMSS347
                                                                                                                                                                    Completion
    12/02/2017   22:42:43   43    mSOriginating    Outgoing   8586106881   13234483718      13234483718        13234483718      310260253792880   352509010940640   Completed           SFMSS347
                                                                                                                                                                    Successfully
    12/03/2017   06:08:34   18    mSOriginating    Outgoing   8586106881   18586106882      18586106882        18586106882      310260253792880   352509010940640   Completed           SFMSS347
                                                                                                                                                                    Successfully
    12/03/2017   07:09:50   6     mSTerminating    Incoming   8586106882                    18586106881                         310260253792880   352509010940640   Completed      11   SFMSS347
                                                                                                                                                                    Successfully
    12/03/2017   17:04:56         mSOriginating    Outgoing   8586106881   18586165100      18586165100        18586165100      310260253792880   352509010940640   Completed           SFMSS347
                                                                                                                                                                    Successfully
    12/03/2017   17:05:06   60    mSTerminatingS   Incoming      129                        18586106881                         310260253792880   352509010940640   Completed           SFMSS347
                                    MSinMSC                                                                                                                         Successfully
    12/03/2017   17:05:23   16     mSOriginating   Outgoing   8586106881   18586165100      18586165100        18586165100      310260253792880   352509010940640   Completed           SFMSS347
                                                                                                                                                                    Successfully
    12/03/2017   17:06:39   476   mSOriginating    Outgoing   8586106881   18004644000      18004644000     11818633180046440   310260253792880   352509010940640   Completed           SFMSS347
                                                                                                                   00                                               Successfully
    12/04/2017   05:32:50   9     mSTerminating    Incoming   8586106882                    18586106881                         310260253792880   352509010940640   Completed      11   SFMSS347
                                                                                                                                                                    Successfully



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                                                                                     [Exhibit G - 111]
    12/04/2017   18:58:24   31   callForwarding   Outgoing   8582178852   18056377249      18056377249        18056377249   310260253792880                     Completed      011;2B   SFMSS347
                                                                                                                                                                Successfully
    12/05/2017   00:11:45   60   mSTerminatingS   Incoming      129                        18586106881                      310260253792880   352509010940640   Completed               SFMSS347
                                   MSinMSC                                                                                                                      Successfully
    12/05/2017   06:09:11   10   mSTerminating    Incoming   8586106882                    18586106881                      310260253792880   352509010940640   Completed       11      SFMSS347
                                                                                                                                                                Successfully
    12/05/2017   20:16:43   60   mSTerminatingS   Incoming      129                        18586106881                      310260253792880   352509010940640   Completed               SFMSS347
                                   MSinMSC                                                                                                                      Successfully
    12/06/2017   14:52:42   60   mSTerminatingS   Incoming      129                        18586106881                      310260253792880   352509010940640   Completed               DAMSS343
                                   MSinMSC                                                                                                                      Successfully
    12/06/2017   17:31:23   21    mSOriginating   Outgoing   8586106881   18582730540      18582730540        18582730540   310260253792880   352509010940640   Completed               DAMSS343
                                                                                                                                                                Successfully
    12/06/2017   17:32:32   12   mSOriginating    Outgoing   8586106881   18584835570      18584835570        18584835570   310260253792880   352509010940640   Completed               DAMSS343
                                                                                                                                                                Successfully
    12/06/2017   17:40:04   99   mSOriginating    Outgoing   8586106881   18584670503      18584670503        18584670503   310260253792880   352509010940640   Completed               DAMSS343
                                                                                                                                                                Successfully
    12/06/2017   18:05:31   28   mSTerminating    Incoming   8584670503                    18586106881                      310260253792880   352509010940640   Completed       11      DAMSS343
                                                                                                                                                                Successfully
    12/06/2017   18:36:04   80   mSOriginating    Outgoing   8586106881   18586106882      18586106882        18586106882   310260253792880   352509010940640   Completed               DAMSS343
                                                                                                                                                                Successfully
    12/07/2017   13:18:58   60   mSTerminatingS   Incoming      129                        18586106881                      310260253792880   352509010940640   Completed               VGMSS342
                                   MSinMSC                                                                                                                      Successfully
    12/07/2017   20:04:22   28   mSTerminating    Incoming   5624015940                    18586106881                      310260253792880   352509010940640   Completed       11      IEMSS341
                                                                                                                                                                Successfully
    12/07/2017   21:19:41   50   mSOriginating    Outgoing   8586106881   18586106882      18586106882        18586106882   310260253792880   352509010940640   Completed               IEMSS341
                                                                                                                                                                Successfully
    12/08/2017   06:22:21   18   mSTerminating    Incoming   8586106882                    18586106881                      310260253792880   352509010940640   Completed       11      IEMSS341
                                                                                                                                                                Successfully
    12/08/2017   06:22:53   19   mSOriginating    Outgoing   8586106881   18586106882      18586106882        18586106882   310260253792880   352509010940640   Completed               IEMSS341
                                                                                                                                                                Successfully
    12/08/2017   21:11:52   32   callForwarding   Outgoing   339122506    18056377249      18056377249        18056377249   310260253792880                     Completed      011;2B   IEMSS341
                                                                                                                                                                Successfully
    12/08/2017   22:58:57   60   mSTerminatingS   Incoming      129                        18586106881                      310260253792880   352509010940640   Completed               IEMSS341
                                   MSinMSC                                                                                                                      Successfully
    12/09/2017   06:18:24   9    mSTerminating    Incoming   8586106882                    18586106881                      310260253792880   352509010940640   Completed       11      IEMSS341
                                                                                                                                                                Successfully
    12/09/2017   17:13:34   60   mSTerminatingS   Incoming      129                        18586106881                      310260253792880   352509010940640   Completed               IEMSS341
                                   MSinMSC                                                                                                                      Successfully
    12/09/2017   18:57:24   47    mSOriginating   Outgoing   8586106881   18586106882      18586106882        18586106882   310260253792880   352509010940640   Completed               IEMSS341
                                                                                                                                                                Successfully
    12/10/2017   05:24:08   8    mSTerminating    Incoming   8586106882                    18586106881                      310260253792880   352509010940640   Completed       11      IEMSS341
                                                                                                                                                                Successfully
    12/10/2017   13:17:46   60   mSTerminatingS   Incoming      129                        18586106881                      310260253792880   352509010940640   Completed               IEMSS341
                                   MSinMSC                                                                                                                      Successfully
    12/11/2017   04:59:12   12   mSTerminating    Incoming   8586106882                    18586106881                      310260253792880   352509010940640   Completed       11      IEMSS341
                                                                                                                                                                Successfully
    12/12/2017   00:29:05   60   mSTerminatingS   Incoming      129                        18586106881                      310260253792880   352509010940640   Completed               IEMSS341
                                   MSinMSC                                                                                                                      Successfully
    12/12/2017   06:23:21   25   mSTerminating    Incoming   8586106882                    18586106881                      310260253792880   352509010940640   Completed       11      IEMSS341
                                                                                                                                                                Successfully
    12/12/2017   16:56:39   15   callForwarding   Outgoing   8003310500   18056377249      18056377249        18056377249   310260253792880                     Completed      011;2B   IEMSS341
                                                                                                                                                                Successfully
    12/13/2017   05:55:19   60   mSTerminatingS   Incoming      129                        18586106881                      310260253792880   352509010940640   Completed               IEMSS341
                                   MSinMSC                                                                                                                      Successfully



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                                                                                    [Exhibit G - 112]
    12/13/2017   06:26:22   7     mSTerminating    Incoming   8586106882                     18586106881                         310260253792880   352509010940640   Completed       11      IEMSS341
                                                                                                                                                                     Successfully
    12/13/2017   06:26:35              mtc         Incoming   18586106882   18586106881      18586106881        18586106881      310260253792880                      Abnormal       11      IETAS002
                                                                                                                                                                     Completion
    12/13/2017   06:46:06   14    mSOriginating    Outgoing   8586106881    18586106882      18586106882        18586106882      310260253792880   352509010940640   Completed               IEMSS341
                                                                                                                                                                     Successfully
    12/13/2017   16:44:08   22    callForwarding   Outgoing   8003310500    18056377249      18056377249        18056377249      310260253792880                     Completed      011;2B   IEMSS341
                                                                                                                                                                     Successfully
    12/14/2017   07:06:02   202   mSOriginating    Outgoing   8586106881    18056377243      18056377243        13235409999      310260253792880   352509010940640   Completed               IEMSS341
                                                                                                                                                                     Successfully
    12/14/2017   07:06:21   60    mSTerminatingS   Incoming      129                         18586106881                         310260253792880   352509010940640   Completed               IEMSS341
                                    MSinMSC                                                                                                                          Successfully
    12/14/2017   19:20:59   60    mSTerminatingS   Incoming      129                         18586106881                         310260253792880   352509010940640   Completed               IEMSS341
                                    MSinMSC                                                                                                                          Successfully
    12/14/2017   21:43:49   210    mSOriginating   Outgoing   8586106881    18002882020      18002882020     11818633180028820   310260253792880   352509010940640   Completed               IEMSS341
                                                                                                                    20                                               Successfully
    12/14/2017   21:50:20   12    mSOriginating    Outgoing   8586106881    12108214105      12108214105        12108214105      310260253792880   352509010940640   Completed               HNMSS348
                                                                                                                                                                     Successfully
    12/14/2017   21:50:59   258   mSOriginating    Outgoing   8586106881    18002882020      18002882020     11818633180028820   310260253792880   352509010940640   Completed               CRMSS345
                                                                                                                    20                                               Successfully
    12/14/2017   21:56:56   183   mSOriginating    Outgoing   8586106881    12108214105      12108214105        12108214105      310260253792880   352509010940640   Completed               CRMSS345
                                                                                                                                                                     Successfully
    12/14/2017   22:00:43   27    mSTerminating    Incoming   8002882020                     18586106881                         310260253792880   352509010940640   Completed       11      CRMSS345
                                                                                                                                                                     Successfully
    12/15/2017   18:47:28   60    mSTerminatingS   Incoming      129                         18586106881                         310260253792880   352509010940640   Completed               HNMSS348
                                    MSinMSC                                                                                                                          Successfully
    12/17/2017   03:44:38   60    mSTerminatingS   Incoming      129                         18586106881                         310260253792880   352509010940640   Completed               IEMSS341
                                    MSinMSC                                                                                                                          Successfully
    12/17/2017   03:45:38   22     mSOriginating   Outgoing   8586106881    18586106882      18586106882        18586106882      310260253792880   352509010940640   Completed               IEMSS341
                                                                                                                                                                     Successfully
    12/17/2017   17:33:20   60    mSTerminatingS   Incoming      129                         18586106881                         310260253792880   352509010940640   Completed               IEMSS341
                                    MSinMSC                                                                                                                          Successfully
    12/17/2017   18:04:35   35     mSOriginating   Outgoing   8586106881    18586106882      18586106882        18586106882      310260253792880   352509010940640   Completed               IEMSS341
                                                                                                                                                                     Successfully
    12/18/2017   13:16:16   60    mSTerminatingS   Incoming      129                         18586106881                         310260253792880   352509010940640   Completed               IEMSS341
                                    MSinMSC                                                                                                                          Successfully
    12/18/2017   20:31:46   323    mSOriginating   Outgoing   8586106881    18008244491      18008244491     11818633180082444   310260253792880   352509010940640   Completed               IEMSS341
                                                                                                                    91                                               Successfully
    12/19/2017   13:02:31   60    mSTerminatingS   Incoming      129                         18586106881                         310260253792880   352509010940640   Completed               IEMSS341
                                    MSinMSC                                                                                                                          Successfully
    12/19/2017   17:26:19   6      mSOriginating   Outgoing   8586106881    18056377243      18056377243        13235409999      310260253792880   352509010940640   Completed               IEMSS341
                                                                                                                                                                     Successfully
    12/19/2017   17:26:41   194   mSOriginating    Outgoing   8586106881    18056377243      18056377243        13235409999      310260253792880   352509010940640   Completed               IEMSS341
                                                                                                                                                                     Successfully
    12/19/2017   17:26:47   60    mSTerminatingS   Incoming      129                         18586106881                         310260253792880   352509010940640   Completed               IEMSS341
                                    MSinMSC                                                                                                                          Successfully
    12/19/2017   17:30:07   60    mSTerminatingS   Incoming      129                         18586106881                         310260253792880   352509010940640   Completed               IEMSS341
                                    MSinMSC                                                                                                                          Successfully
    12/19/2017   20:35:52   22     mSOriginating   Outgoing   8586106881    18773289677      18773289677     11818633187732896   310260253792880   352509010940640   Completed               IEMSS341
                                                                                                                    77                                               Successfully
    12/19/2017   20:36:29   49    mSOriginating    Outgoing   8586106881    18773289677      18773289677     11818633187732896   310260253792880   352509010940640   Completed               IEMSS341
                                                                                                                    77                                               Successfully
    12/19/2017   20:41:03         mSOriginating    Outgoing   8586106881    18584670503      18584670503        18584670503      310260253792880   352509010940640   Completed               IEMSS341
                                                                                                                                                                     Successfully



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                                                                                      [Exhibit G - 113]
    12/20/2017   12:16:15   60    mSTerminatingS   Incoming      129                        18586106881                         310260253792880   352509010940640   Completed               IEMSS341
                                    MSinMSC                                                                                                                         Successfully
    12/20/2017   16:49:55   51     mSOriginating   Outgoing   8586106881   18773289677      18773289677     11818633187732896   310260253792880   352509010940640   Completed               IEMSS341
                                                                                                                   77                                               Successfully
    12/20/2017   16:51:21   36    mSOriginating    Outgoing   8586106881   18773289677      18773289677     11818633187732896   310260253792880   352509010940640   Completed               IEMSS341
                                                                                                                   77                                               Successfully
    12/20/2017   18:51:59   26    mSOriginating    Outgoing   8586106881   18586106882      18586106882        18586106882      310260253792880   352509010940640   Completed               IEMSS341
                                                                                                                                                                    Successfully
    12/21/2017   12:22:16   60    mSTerminatingS   Incoming      129                        18586106881                         310260253792880   352509010940640   Completed               IEMSS341
                                    MSinMSC                                                                                                                         Successfully
    12/21/2017   21:30:22   915    mSOriginating   Outgoing   8586106881   19542547888      19542547888        19542547888      310260253792880   352509010940640   Completed               CRMSS345
                                                                                                                                                                    Successfully
    12/22/2017   06:53:17   23    mSTerminating    Incoming   8586106882                    18586106881                         310260253792880   352509010940640   Completed       11      ORMSS349
                                                                                                                                                                    Successfully
    12/22/2017   19:09:01   60    mSTerminatingS   Incoming      129                        18586106881                         310260253792880   352509010940640   Completed               ORMSS349
                                    MSinMSC                                                                                                                         Successfully
    12/22/2017   19:09:25   62     mSOriginating   Outgoing   8586106881   18586106882      18586106882        18586106882      310260253792880   352509010940640   Completed               ORMSS349
                                                                                                                                                                    Successfully
    12/23/2017   06:23:45   19    mSOriginating    Outgoing   8586106881   18586106882      18586106882        18586106882      310260253792880   352509010940640   Completed               ORMSS349
                                                                                                                                                                    Successfully
    12/23/2017   06:54:09   15    mSTerminating    Incoming   8586106882                    18586106881                         310260253792880   352509010940640   Completed       11      ORMSS349
                                                                                                                                                                    Successfully
    12/23/2017   18:32:08   60    mSTerminatingS   Incoming      129                        18586106881                         310260253792880   352509010940640   Completed               ORMSS349
                                    MSinMSC                                                                                                                         Successfully
    12/24/2017   12:20:36   60    mSTerminatingS   Incoming      129                        18586106881                         310260253792880   352509010940640   Completed               ORMSS349
                                    MSinMSC                                                                                                                         Successfully
    12/24/2017   18:57:00   12     mSOriginating   Outgoing   8586106881   19494623000      19494623000        19494623000      310260253792880   352509010940640   Completed               CRMSS345
                                                                                                                                                                    Successfully
    12/24/2017   21:50:34         mSOriginating    Outgoing   8586106881   13866680428      13866680428        13866680428      310260253792880   352509010940640   Completed               HNMSS348
                                                                                                                                                                    Successfully
    12/24/2017   21:51:32         mSOriginating    Outgoing   8586106881   13866680428      13866680428        13866680428      310260253792880   352509010940640   Completed               HNMSS348
                                                                                                                                                                    Successfully
    12/25/2017   01:45:10         mSOriginating    Outgoing   8586106881   19494623000      19494623000        19494623000      310260253792880   352509010940640   Completed               IEMSS341
                                                                                                                                                                    Successfully
    12/25/2017   06:30:54   9     mSTerminating    Incoming   8586106882                    18586106881                         310260253792880   352509010940640   Completed       11      IEMSS341
                                                                                                                                                                    Successfully
    12/25/2017   19:11:40   60    mSTerminatingS   Incoming      129                        18586106881                         310260253792880   352509010940640   Completed               IEMSS341
                                    MSinMSC                                                                                                                         Successfully
    12/26/2017   12:20:04   60    mSTerminatingS   Incoming      129                        18586106881                         310260253792880   352509010940640   Completed               HNMSS348
                                    MSinMSC                                                                                                                         Successfully
    12/27/2017   00:10:01          mSOriginating   Outgoing   8586106881   8586108870        8586108870        18586108870      310260253792880   352509010940640   Completed               SFMSS347
                                                                                                                                                                    Successfully
    12/27/2017   00:10:40   6     mSOriginating    Outgoing   8586106881   8586108870        8586108870        18586108870      310260253792880   352509010940640   Completed               SFMSS347
                                                                                                                                                                    Successfully
    12/27/2017   06:16:44   11    mSOriginating    Outgoing   8586106881   18586106882      18586106882        18586106882      310260253792880   352509010940640   Completed               SFMSS347
                                                                                                                                                                    Successfully
    12/27/2017   18:03:29   32    callForwarding   Outgoing   8586101618   18056377249      18056377249        18056377249      310260253792880                     Completed      011;2B   SFMSS347
                                                                                                                                                                    Successfully
    12/27/2017   19:13:16   37    mSOriginating    Outgoing   8586106881   18586106882      18586106882        18586106882      310260253792880   352509010940640   Completed               SFMSS347
                                                                                                                                                                    Successfully
    12/27/2017   19:13:20   60    mSTerminatingS   Incoming      129                        18586106881                         310260253792880   352509010940640   Completed               SFMSS347
                                    MSinMSC                                                                                                                         Successfully
    12/27/2017   19:18:23   29     mSOriginating   Outgoing   8586106881   18586106882      18586106882        18586106882      310260253792880   352509010940640   Completed               SFMSS347
                                                                                                                                                                    Successfully



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                                                                                        [Exhibit G - 114]
    12/28/2017   05:58:55   35    mSOriginating    Outgoing   8586106881   18586106882      18586106882        18586106882      310260253792880   352509010940640   Completed      SFMSS347
                                                                                                                                                                    Successfully
    12/28/2017   12:30:43   60    mSTerminatingS   Incoming      129                        18586106881                         310260253792880   352509010940640   Completed      SFMSS347
                                    MSinMSC                                                                                                                         Successfully
    12/28/2017   23:16:08   250    mSOriginating   Outgoing   8586106881   18008244491      18008244491     11818633180082444   310260253792880   352509010940640   Completed      SFMSS347
                                                                                                                   91                                               Successfully
    12/29/2017   12:28:51   60    mSTerminatingS   Incoming      129                        18586106881                         310260253792880   352509010940640   Completed      ORMSS349
                                    MSinMSC                                                                                                                         Successfully
    12/30/2017   03:31:10          mSOriginating   Outgoing   8586106881   8586108870        8586108870        18586108870      310260253792880   352509010940640   Completed      SFMSS347
                                                                                                                                                                    Successfully
    12/30/2017   06:06:20   25    mSOriginating    Outgoing   8586106881   18586106882      18586106882        18586106882      310260253792880   352509010940640   Completed      SFMSS347
                                                                                                                                                                    Successfully
    12/30/2017   12:34:04   60    mSTerminatingS   Incoming      129                        18586106881                         310260253792880   352509010940640   Completed      SFMSS347
                                    MSinMSC                                                                                                                         Successfully
    12/30/2017   23:34:17   11     mSOriginating   Outgoing   8586106881   18586108870      18586108870        18586108870      310260253792880   352509010940640   Completed      SPMSS346
                                                                                                                                                                    Successfully
    12/31/2017   17:01:03   60    mSTerminatingS   Incoming      129                        18586106881                         310260253792880   352509010940640   Completed      SPMSS346
                                    MSinMSC                                                                                                                         Successfully




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                                                                                        [Exhibit G - 115]
   Information Provided To:

   Agency:                             Attorney/Other
   Requestor:                          JEREMY GOLDEN
   Agent Address:                      3130 BONITA ROAD
   Billing City, State, Zip:           CHULA VISTA, CA 91910‐0000                                                                                                  Request Submission Response
   Provided On:                        April 09, 2019

   This is in response to the Subpoena, 3:18‐cv‐02028‐GPC‐MSB, dated March 13, 2019, which was served upon T‐Mobile US, Inc. You have requested information for the
   subscriber associated with MSISDN: 8586106881. All times below are reflected in Coordinated Universal Time (UTC).

      Date        Time      Duration     Call Type      Direction   Calling Number   Dialed Number    Called Number       Destination           IMSI              IMEI         Completion     Service Switch Name
                                                                                                                           Number                                                Code          Code
    01/01/2018   04:16:23      32      mSTerminating    Incoming      8586106882                       18586106881                         310260253792880   352509010940640   Completed        11      VGMSS342
                                                                                                                                                                               Successfully
    01/01/2018   05:56:01       9      mSTerminating    Incoming      8586106882                       18586106881                         310260253792880   352509010940640   Completed        11      VGMSS342
                                                                                                                                                                               Successfully
    01/01/2018   12:31:33                  SMSC                          129                           18586106881                                                             Completed               mavsms_pol02
                                                                                                                                                                               Successfully
    01/01/2018   12:31:36      60      mSTerminatingS   Incoming         129                           18586106881                         310260253792880   352509010940640   Completed                VGMSS342
                                         MSinMSC                                                                                                                               Successfully
    01/01/2018   19:08:05      13       mSOriginating   Outgoing      8586106881      18003810759      18003810759     11818633180038107   310260253792880   352509010940640   Completed                CRMSS345
                                                                                                                              59                                               Successfully
    01/01/2018   19:08:30      462      mSOriginating   Outgoing      8586106881      18003810759      18003810759     11818633180038107   310260253792880   352509010940640   Completed                CRMSS345
                                                                                                                              59                                               Successfully
    01/02/2018   06:29:20      8       mSTerminating    Incoming      8586106882                       18586106881                         310260253792880   352509010940640   Completed        11      DAMSS343
                                                                                                                                                                               Successfully
    01/02/2018   12:19:07                  SMSC                          129                           18586106881                                                             Completed               mavsms_pol02
                                                                                                                                                                               Successfully
    01/02/2018   12:19:10      60      mSTerminatingS   Incoming         129                           18586106881                         310260253792880   352509010940640   Completed                CRMSS345
                                         MSinMSC                                                                                                                               Successfully
    01/02/2018   15:33:10      200      mSOriginating   Outgoing      8586106881      18056377243      18056377243        13235409999      310260253792880   352509010940640   Completed                CRMSS345
                                                                                                                                                                               Successfully
    01/02/2018   15:36:31                  SMSC                          129                           18586106881                                                             Completed               mavsms_pol02
                                                                                                                                                                               Successfully
    01/02/2018   15:36:36      60      mSTerminatingS   Incoming         129                           18586106881                         310260253792880   352509010940640   Completed                CRMSS345
                                         MSinMSC                                                                                                                               Successfully
    01/03/2018   12:18:24                  SMSC                          129                           18586106881                                                             Completed               mavsms_pol02
                                                                                                                                                                               Successfully
    01/03/2018   12:18:27      60      mSTerminatingS   Incoming         129                           18586106881                         310260253792880   352509010940640   Completed                DAMSS343
                                         MSinMSC                                                                                                                               Successfully
    01/04/2018   12:13:05                  SMSC                          129                           18586106881                                                             Completed               mavsms_pol02
                                                                                                                                                                               Successfully
    01/04/2018   12:13:08      60      mSTerminatingS   Incoming         129                           18586106881                         310260253792880   352509010940640   Completed                DAMSS343
                                         MSinMSC                                                                                                                               Successfully
    01/04/2018   16:27:42      8       mSTerminating    Incoming      3234190147                       18586106881                         310260253792880   352509010940640   Completed        11      DAMSS343
                                                                                                                                                                               Successfully
    01/05/2018   12:49:51                  SMSC                          129                           18586106881                                                             Completed               mavsms_pol02
                                                                                                                                                                               Successfully
    01/05/2018   19:05:36      33      callForwarding   Outgoing      8443196761      18056377249      18056377249        18056377249      310260253792880                     Completed      011;2B    SFMSS347
                                                                                                                                                                               Successfully


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                                                                                                [Exhibit G - 116]
    01/06/2018   05:37:55   60    mSTerminatingS   Incoming      129                        18586106881                         310260253792880   352509010940640   Completed                SFMSS347
                                    MSinMSC                                                                                                                         Successfully
    01/06/2018   05:38:20   21     mSOriginating   Outgoing   8586106881   18586106882      18586106882        18586106882      310260253792880   352509010940640   Completed                SFMSS347
                                                                                                                                                                    Successfully
    01/06/2018   12:23:26             SMSC                       129                        18586106881                                                             Completed               mavsms_pol02
                                                                                                                                                                    Successfully
    01/06/2018   12:23:30   60    mSTerminatingS   Incoming      129                        18586106881                         310260253792880   352509010940640   Completed                CRMSS345
                                    MSinMSC                                                                                                                         Successfully
    01/07/2018   12:22:03             SMSC                       129                        18586106881                                                             Completed               mavsms_pol02
                                                                                                                                                                    Successfully
    01/07/2018   12:22:07   60    mSTerminatingS   Incoming      129                        18586106881                         310260253792880   352509010940640   Completed                CRMSS345
                                    MSinMSC                                                                                                                         Successfully
    01/08/2018   01:53:49   55    mSTerminating    Incoming   8586106882                    18586106881                         310260253792880   352509010940640   Completed       11       CRMSS345
                                                                                                                                                                    Successfully
    01/08/2018   05:39:51   46    mSTerminating    Incoming   8586106882                    18586106881                         310260253792880   352509010940640   Completed       11       CRMSS345
                                                                                                                                                                    Successfully
    01/08/2018   12:21:17             SMSC                       129                        18586106881                                                             Completed               mavsms_pol02
                                                                                                                                                                    Successfully
    01/08/2018   12:21:20   60    mSTerminatingS   Incoming      129                        18586106881                         310260253792880   352509010940640   Completed                CRMSS345
                                    MSinMSC                                                                                                                         Successfully
    01/09/2018   12:40:18             SMSC                       129                        18586106881                                                             Completed               mavsms_pol02
                                                                                                                                                                    Successfully
    01/09/2018   18:57:12   60    mSTerminatingS   Incoming      129                        18586106881                         310260253792880   352509010940640   Completed                 IEMSS341
                                    MSinMSC                                                                                                                         Successfully
    01/10/2018   05:21:57          mSOriginating   Outgoing   8586106881   18586106882      18586106882        18586106882      310260253792880   352509010940640   Completed                HNMSS348
                                                                                                                                                                    Successfully
    01/10/2018   05:22:21   11    mSTerminating    Incoming   8586106882                    18586106881                         310260253792880   352509010940640   Completed       11       HNMSS348
                                                                                                                                                                    Successfully
    01/10/2018   12:09:22             SMSC                       129                        18586106881                                                             Completed               mavsms_pol02
                                                                                                                                                                    Successfully
    01/10/2018   12:09:24   60    mSTerminatingS   Incoming      129                        18586106881                         310260253792880   352509010940640   Completed                 IEMSS341
                                    MSinMSC                                                                                                                         Successfully
    01/11/2018   12:19:18             SMSC                       129                        18586106881                                                             Completed               mavsms_pol02
                                                                                                                                                                    Successfully
    01/11/2018   12:19:20   60    mSTerminatingS   Incoming      129                        18586106881                         310260253792880   352509010940640   Completed                HNMSS348
                                    MSinMSC                                                                                                                         Successfully
    01/11/2018   16:41:47   504    mSOriginating   Outgoing   8586106881   18002905000      18002905000     11818633180029050   310260253792880   352509010940640   Completed                HNMSS348
                                                                                                                   00                                               Successfully
    01/11/2018   21:07:40   4     mSTerminating    Incoming   8667066358                    18586106881                         310260253792880   352509010940640   Completed       11       VGMSS342
                                                                                                                                                                    Successfully
    01/12/2018   00:25:46   86    mSOriginating    Outgoing   8586106881   18585788008      18585788008        18585788008      310260253792880   352509010940640   Completed                SFMSS347
                                                                                                                                                                    Successfully
    01/12/2018   12:16:39             SMSC                       129                        18586106881                                                             Completed               mavsms_pol02
                                                                                                                                                                    Successfully
    01/12/2018   12:16:42   60    mSTerminatingS   Incoming      129                        18586106881                         310260253792880   352509010940640   Completed                SFMSS347
                                    MSinMSC                                                                                                                         Successfully
    01/12/2018   19:07:58   18     mSOriginating   Outgoing   8586106881   18586106882      18586106882        18586106882      310260253792880   352509010940640   Completed                SFMSS347
                                                                                                                                                                    Successfully
    01/13/2018   05:27:39   32    mSTerminating    Incoming   8586106882                    18586106881                         310260253792880   352509010940640   Completed       11        IEMSS341
                                                                                                                                                                    Successfully
    01/13/2018   12:39:31             SMSC                       129                        18586106881                                                             Completed               mavsms_pol02
                                                                                                                                                                    Successfully
    01/13/2018   21:21:44   3     callForwarding   Outgoing   2065960579   18056377249      18056377249        18056377249      310260253792880                     Completed      011;2B    SPMSS346
                                                                                                                                                                    Successfully



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                                                                                     [Exhibit G - 117]
    01/14/2018   06:26:46   60    mSTerminatingS   Incoming      129                        18586106881                         310260253792880   352509010940640   Completed            SPMSS346
                                    MSinMSC                                                                                                                         Successfully
    01/14/2018   06:31:42   15     mSOriginating   Outgoing   8586106881   18586106882      18586106882        18586106882      310260253792880   352509010940640   Completed            SPMSS346
                                                                                                                                                                    Successfully
    01/14/2018   12:32:16             SMSC                       129                        18586106881                                                             Completed           mavsms_pol02
                                                                                                                                                                    Successfully
    01/15/2018   06:02:07   60    mSTerminatingS   Incoming      129                        18586106881                         310260253792880   352509010940640   Completed            SPMSS346
                                    MSinMSC                                                                                                                         Successfully
    01/15/2018   12:13:49             SMSC                       129                        18586106881                                                             Completed           mavsms_pol02
                                                                                                                                                                    Successfully
    01/16/2018   12:11:00             SMSC                       129                        18586106881                                                             Completed           mavsms_pol02
                                                                                                                                                                    Successfully
    01/16/2018   20:49:20   60    mSTerminatingS   Incoming      129                        18586106881                         310260253792880   352509010940640   Completed            SPMSS346
                                    MSinMSC                                                                                                                         Successfully
    01/16/2018   20:49:22   60    mSTerminatingS   Incoming      129                        18586106881                         310260253792880   352509010940640   Completed            SPMSS346
                                    MSinMSC                                                                                                                         Successfully
    01/17/2018   05:03:36   6     mSTerminating    Incoming   8586106882                    18586106881                         310260253792880   352509010940640   Completed      11    DAMSS343
                                                                                                                                                                    Successfully
    01/17/2018   12:13:42             SMSC                       129                        18586106881                                                             Completed           mavsms_pol02
                                                                                                                                                                    Successfully
    01/17/2018   19:04:47   60    mSTerminatingS   Incoming      129                        18586106881                         310260253792880   352509010940640   Completed            DAMSS343
                                    MSinMSC                                                                                                                         Successfully
    01/19/2018   03:59:42   229    mSOriginating   Outgoing   8586106881   18056377243      18056377243        13235409999      310260253792880   352509010940640   Completed            DAMSS343
                                                                                                                                                                    Successfully
    01/19/2018   04:03:31             SMSC                       129                        18586106881                                                             Completed           mavsms_pol02
                                                                                                                                                                    Successfully
    01/19/2018   04:03:42   60    mSTerminatingS   Incoming      129                        18586106881                         310260253792880   352509010940640   Completed            DAMSS343
                                    MSinMSC                                                                                                                         Successfully
    01/19/2018   13:13:13             SMSC                       129                        18586106881                                                             Completed           mavsms_pol02
                                                                                                                                                                    Successfully
    01/20/2018   00:56:57   60    mSTerminatingS   Incoming      129                        18586106881                         310260253792880   352509010940640   Completed            DAMSS343
                                    MSinMSC                                                                                                                         Successfully
    01/20/2018   12:35:12             SMSC                       129                        18586106881                                                             Completed           mavsms_pol02
                                                                                                                                                                    Successfully
    01/21/2018   17:41:20   60    mSTerminatingS   Incoming      129                        18586106881                         310260253792880   352509010940640   Completed            ORMSS349
                                    MSinMSC                                                                                                                         Successfully
    01/22/2018   12:11:56             SMSC                       129                        18586106881                                                             Completed           mavsms_pol02
                                                                                                                                                                    Successfully
    01/22/2018   12:11:59   60    mSTerminatingS   Incoming      129                        18586106881                         310260253792880   352509010940640   Completed             IEMSS341
                                    MSinMSC                                                                                                                         Successfully
    01/22/2018   16:49:27   216    mSOriginating   Outgoing   8586106881   18002905000      18002905000     11818633180029050   310260253792880   352509010940640   Completed             IEMSS341
                                                                                                                   00                                               Successfully
    01/22/2018   20:36:49   14    mSOriginating    Outgoing   8586106881   18586106882      18586106882        18586106882      310260253792880   352509010940640   Completed            SPMSS346
                                                                                                                                                                    Successfully
    01/23/2018   12:11:37             SMSC                       129                        18586106881                                                             Completed           mavsms_pol02
                                                                                                                                                                    Successfully
    01/23/2018   12:11:40   60    mSTerminatingS   Incoming      129                        18586106881                         310260253792880   352509010940640   Completed            SPMSS346
                                    MSinMSC                                                                                                                         Successfully
    01/24/2018   12:25:08             SMSC                       129                        18586106881                                                             Completed           mavsms_pol02
                                                                                                                                                                    Successfully
    01/24/2018   12:25:12   60    mSTerminatingS   Incoming      129                        18586106881                         310260253792880   352509010940640   Completed            ORMSS349
                                    MSinMSC                                                                                                                         Successfully
    01/25/2018   12:03:30             SMSC                       129                        18586106881                                                             Completed           mavsms_pol02
                                                                                                                                                                    Successfully



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                                                                                     [Exhibit G - 118]
    01/25/2018   17:42:47    60    mSTerminatingS   Incoming      129                         18586106881                         310260253792880   352509010940640   Completed                ATMSS344
                                     MSinMSC                                                                                                                          Successfully
    01/25/2018   20:31:58   168     mSOriginating   Outgoing   8586106881    18582682885      18582682885        18582682885      310260253792880   352509010940640   Completed                HNMSS348
                                                                                                                                                                      Successfully
    01/25/2018   20:43:49    28    mSOriginating    Outgoing   8586106881    18586106882      18586106882        18586106882      310260253792880   352509010940640   Completed                HNMSS348
                                                                                                                                                                      Successfully
    01/25/2018   20:45:10    82    mSTerminating    Incoming   8586106882                     18586106881                         310260253792880   352509010940640   Completed       11       HNMSS348
                                                                                                                                                                      Successfully
    01/26/2018   12:06:24              SMSC                        129                        18586106881                                                             Completed               mavsms_pol02
                                                                                                                                                                      Successfully
    01/26/2018   18:53:17    5          mtc         Incoming   18586106882   18586106881      18586106881        18586106881      310260253792880                     Completed      021;11    NVTAS010
                                                                                                                                                                      Successfully
    01/26/2018   18:53:18    5          moc         Outgoing   18586106882   18056377249      18056377249        13235409999      310260253792880                     Completed       02B      NVTAS010
                                                                                                                                                                      Successfully
    01/26/2018   18:53:29    8          mtc         Incoming   18586106882   18586106881      18586106881        18586106881      310260253792880                     Completed      021;11    NVTAS009
                                                                                                                                                                      Successfully
    01/26/2018   18:53:30    8          moc         Outgoing   18586106882   18056377249      18056377249        13235409999      310260253792880                     Completed       02B      NVTAS009
                                                                                                                                                                      Successfully
    01/26/2018   18:54:30    4          mtc         Incoming   18586106882   18586106881      18586106881        18586106881      310260253792880                     Completed      021;11    DATAS004
                                                                                                                                                                      Successfully
    01/26/2018   18:54:31    4          moc         Outgoing   18586106882   18056377249      18056377249        13235409999      310260253792880                     Completed       02B      DATAS004
                                                                                                                                                                      Successfully
    01/26/2018   19:02:16    33         mtc         Incoming   18586106882   18586106881      18586106881        18586106881      310260253792880                     Completed      021;11    ORTAS002
                                                                                                                                                                      Successfully
    01/26/2018   19:02:18    33         moc         Outgoing   18586106882   18056377249      18056377249        13235409999      310260253792880                     Completed       02B      ORTAS002
                                                                                                                                                                      Successfully
    01/26/2018   19:06:41    60    mSTerminatingS   Incoming      129                         18586106881                         310260253792880   352509010940640   Completed                VGMSS342
                                     MSinMSC                                                                                                                          Successfully
    01/26/2018   19:39:27    24     mSOriginating   Outgoing   8586106881    12108214105      12108214105        12108214105      310260253792880   352509010940640   Completed                VGMSS342
                                                                                                                                                                      Successfully
    01/26/2018   19:41:16   446    mSOriginating    Outgoing   8586106881    12108214105      12108214105        12108214105      310260253792880   352509010940640   Completed                VGMSS342
                                                                                                                                                                      Successfully
    01/26/2018   20:03:32   133    mSTerminating    Incoming   8002882020                     18586106881                         310260253792880   352509010940640   Completed       11       SPMSS346
                                                                                                                                                                      Successfully
    01/27/2018   12:21:50              SMSC                       129                         18586106881                                                             Completed               mavsms_pol02
                                                                                                                                                                      Successfully
    01/27/2018   19:17:52    60    mSTerminatingS   Incoming      129                         18586106881                         310260253792880   352509010940640   Completed                CRMSS345
                                     MSinMSC                                                                                                                          Successfully
    01/27/2018   19:22:23           mSOriginating   Outgoing   8586106881       73303            73303               51           310260253792880   352509010940640   Completed                CRMSS345
                                                                                                                                                                      Successfully
    01/28/2018   12:15:54              SMSC                       129                         18586106881                                                             Completed               mavsms_pol02
                                                                                                                                                                      Successfully
    01/28/2018   21:18:04    60    mSTerminatingS   Incoming      129                         18586106881                         310260253792880   352509010940640   Completed                DAMSS343
                                     MSinMSC                                                                                                                          Successfully
    01/29/2018   12:13:41              SMSC                       129                         18586106881                                                             Completed               mavsms_pol02
                                                                                                                                                                      Successfully
    01/29/2018   17:25:13    60    mSTerminatingS   Incoming      129                         18586106881                         310260253792880   352509010940640   Completed                VGMSS342
                                     MSinMSC                                                                                                                          Successfully
    01/29/2018   17:25:29   1154    mSOriginating   Outgoing   8586106881    18002905000      18002905000     11818633180029050   310260253792880   352509010940640   Completed                VGMSS342
                                                                                                                     00                                               Successfully
    01/29/2018   20:05:51    49    mSOriginating    Outgoing   8586106881    18586106882      18586106882        18586106882      310260253792880   352509010940640   Completed                VGMSS342
                                                                                                                                                                      Successfully
    01/30/2018   12:13:16              SMSC                        129                        18586106881                                                             Completed               mavsms_pol02
                                                                                                                                                                      Successfully



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                                                                                        [Exhibit G - 119]
    01/31/2018   00:46:54   60    mSTerminatingS   Incoming      129                         18586106881                         310260253792880   352509010940640   Completed            SPMSS346
                                    MSinMSC                                                                                                                          Successfully
    01/31/2018   03:16:14   28     mSOriginating   Outgoing   8586106881    18586106882      18586106882        18586106882      310260253792880   352509010940640   Completed             IEMSS341
                                                                                                                                                                     Successfully
    01/31/2018   12:06:42             SMSC                        129                        18586106881                                                             Completed           mavsms_pol02
                                                                                                                                                                     Successfully
    01/31/2018   16:09:12   60    mSTerminatingS   Incoming      129                         18586106881                         310260253792880   352509010940640   Completed             IEMSS341
                                    MSinMSC                                                                                                                          Successfully
    02/01/2018   12:01:18             SMSC                        129                        18586106881                                                             Completed           mavsms_pol02
                                                                                                                                                                     Successfully
    02/01/2018   15:39:11   60    mSTerminatingS   Incoming      129                         18586106881                         310260253792880   352509010940640   Completed            HNMSS348
                                    MSinMSC                                                                                                                          Successfully
    02/02/2018   12:16:46             SMSC                        129                        18586106881                                                             Completed           mavsms_pol02
                                                                                                                                                                     Successfully
    02/02/2018   17:03:11   60    mSTerminatingS   Incoming      129                         18586106881                         310260253792880   352509010940640   Completed            HNMSS348
                                    MSinMSC                                                                                                                          Successfully
    02/02/2018   17:03:36   207    mSOriginating   Outgoing   8586106881    18056377243      18056377243        13235409999      310260253792880   352509010940640   Completed            HNMSS348
                                                                                                                                                                     Successfully
    02/02/2018   17:07:05             SMSC                        129                        18586106881                                                             Completed           mavsms_pol02
                                                                                                                                                                     Successfully
    02/02/2018   17:07:09   60    mSTerminatingS   Incoming      129                         18586106881                         310260253792880   352509010940640   Completed            HNMSS348
                                    MSinMSC                                                                                                                          Successfully
    02/03/2018   03:23:38             SMSC                    16192028481                    18586106881                                                             Completed           mavsms_pol02
                                                                                                                                                                     Successfully
    02/03/2018   03:23:42   60    mSTerminatingS   Incoming   16192028481                    18586106881                         310260253792880   352509010940640   Completed             IEMSS341
                                    MSinMSC                                                                                                                          Successfully
    02/03/2018   12:19:01             SMSC                        129                        18586106881                                                             Completed           mavsms_pol02
                                                                                                                                                                     Successfully
    02/04/2018   12:24:55             SMSC                        129                        18586106881                                                             Completed           mavsms_pol02
                                                                                                                                                                     Successfully
    02/04/2018   18:27:26   60    mSTerminatingS   Incoming      129                         18586106881                         310260253792880   352509010940640   Completed            ORMSS349
                                    MSinMSC                                                                                                                          Successfully
    02/04/2018   18:27:28   60    mSTerminatingS   Incoming      129                         18586106881                         310260253792880   352509010940640   Completed            ORMSS349
                                    MSinMSC                                                                                                                          Successfully
    02/05/2018   12:15:38             SMSC                        129                        18586106881                                                             Completed           mavsms_pol02
                                                                                                                                                                     Successfully
    02/05/2018   17:37:10   60    mSTerminatingS   Incoming      129                         18586106881                         310260253792880   352509010940640   Completed            ATMSS344
                                    MSinMSC                                                                                                                          Successfully
    02/05/2018   21:36:46   30    mSTerminating    Incoming   8586108618                     18586106881                         310260253792880   352509010940640   Completed      11    ATMSS344
                                                                                                                                                                     Successfully
    02/05/2018   21:38:59   213   mSOriginating    Outgoing   8586106881    18009452000      18009452000     11818633180094520   310260253792880   352509010940640   Completed            ATMSS344
                                                                                                                     00                                              Successfully
    02/05/2018   21:42:57         mSOriginating    Outgoing   8586106881    18009452000      18009452000     11818633180094520   310260253792880   352509010940640   Completed            ATMSS344
                                                                                                                     00                                              Successfully
    02/05/2018   22:00:02   8     mSOriginating    Outgoing   8586106881    18662629881      18662629881     11818633186626298   310260253792880   352509010940640   Completed            ATMSS344
                                                                                                                     81                                              Successfully
    02/06/2018   12:11:50             SMSC                        129                        18586106881                                                             Completed           mavsms_pol02
                                                                                                                                                                     Successfully
    02/06/2018   16:44:16   9     mSOriginating    Outgoing   8586106881    18662629881      18662629881     11818633186626298   310260253792880   352509010940640   Completed            HNMSS348
                                                                                                                     81                                              Successfully
    02/06/2018   16:44:44   60    mSTerminatingS   Incoming      129                         18586106881                         310260253792880   352509010940640   Completed            HNMSS348
                                    MSinMSC                                                                                                                          Successfully
    02/06/2018   17:51:49   606    mSOriginating   Outgoing   8586106881    18003810759      18003810759     11818633180038107   310260253792880   352509010940640   Completed            HNMSS348
                                                                                                                    59                                               Successfully



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                                                                                      [Exhibit G - 120]
    02/06/2018   22:46:37         mSTerminating    Incoming   8588765415                     18586106881                         310260253792880   352509010940640    Abnormal       11       DAMSS343
                                                                                                                                                                     Completion
    02/06/2018   22:47:32    8    mSOriginating    Outgoing   8586106881    18588765415      18588765415        18588765415      310260253792880   352509010940640   Completed                DAMSS343
                                                                                                                                                                     Successfully
    02/07/2018   00:15:12   225   mSOriginating    Outgoing   8586106881    18002905000      18002905000     11818633180029050   310260253792880   352509010940640   Completed                DAMSS343
                                                                                                                    00                                               Successfully
    02/07/2018   12:09:30             SMSC                        129                        18586106881                                                             Completed               mavsms_pol02
                                                                                                                                                                     Successfully
    02/07/2018   22:59:52    2         mtc         Incoming   18586106882   18586106881      18586106881        18586106881      310260253792880                     Completed      021;11    DATAS003
                                                                                                                                                                     Successfully
    02/07/2018   22:59:53    2         moc         Outgoing   18586106882   18056377249      18056377249        13235409999      310260253792880                     Completed       02B      DATAS003
                                                                                                                                                                     Successfully
    02/07/2018   23:00:02    6         mtc         Incoming   18586106882   18586106881      18586106881        18586106881      310260253792880                     Completed      021;11     TTTAS101
                                                                                                                                                                     Successfully
    02/07/2018   23:00:03    6         moc         Outgoing   18586106882   18056377249      18056377249        13235409999      310260253792880                     Completed       02B       TTTAS101
                                                                                                                                                                     Successfully
    02/08/2018   12:18:56             SMSC                       129                         18586106881                                                             Completed               mavsms_pol02
                                                                                                                                                                     Successfully
    02/08/2018   15:31:28   60    mSTerminatingS   Incoming      129                         18586106881                         310260253792880   352509010940640   Completed                VGMSS342
                                    MSinMSC                                                                                                                          Successfully
    02/08/2018   15:31:29   60    mSTerminatingS   Incoming      129                         18586106881                         310260253792880   352509010940640   Completed                VGMSS342
                                    MSinMSC                                                                                                                          Successfully
    02/09/2018   01:42:49    9    mSTerminating    Incoming   8588748017                     18586106881                         310260253792880   352509010940640   Completed       11       SPMSS346
                                                                                                                                                                     Successfully
    02/09/2018   12:15:08             SMSC                       129                         18586106881                                                             Completed               mavsms_pol02
                                                                                                                                                                     Successfully
    02/09/2018   16:50:04   60    mSTerminatingS   Incoming      129                         18586106881                         310260253792880   352509010940640   Completed                VGMSS342
                                    MSinMSC                                                                                                                          Successfully
    02/10/2018   02:19:11    3    mSTerminating    Incoming   8588775621                     18586106881                         310260253792880   352509010940640   Completed       11       HNMSS348
                                                                                                                                                                     Successfully
    02/10/2018   12:27:42             SMSC                       129                         18586106881                                                             Completed               mavsms_pol02
                                                                                                                                                                     Successfully
    02/11/2018   15:43:50   60    mSTerminatingS   Incoming      129                         18586106881                         310260253792880   352509010940640   Completed                HNMSS348
                                    MSinMSC                                                                                                                          Successfully
    02/12/2018   01:56:00   13    mSTerminating    Incoming   2092680594                     18586106881                         310260253792880   352509010940640   Completed       11       CRMSS345
                                                                                                                                                                     Successfully
    02/12/2018   12:31:02             SMSC                       129                         18586106881                                                             Completed               mavsms_pol02
                                                                                                                                                                     Successfully
    02/13/2018   02:43:51   60    mSTerminatingS   Incoming      129                         18586106881                         310260253792880   352509010940640   Completed                ORMSS349
                                    MSinMSC                                                                                                                          Successfully
    02/13/2018   12:06:35             SMSC                       129                         18586106881                                                             Completed               mavsms_pol02
                                                                                                                                                                     Successfully
    02/13/2018   12:06:39   60    mSTerminatingS   Incoming      129                         18586106881                         310260253792880   352509010940640   Completed                ORMSS349
                                    MSinMSC                                                                                                                          Successfully
    02/13/2018   18:03:42   543    mSOriginating   Outgoing   8586106881    18003810759      18003810759    11818633180038107    310260253792880   352509010940640   Completed                ORMSS349
                                                                                                                   59                                                Successfully
    02/14/2018   11:53:52             SMSC                        129                        18586106881                                                             Completed               mavsms_pol02
                                                                                                                                                                     Successfully
    02/14/2018   14:32:50   60    mSTerminatingS   Incoming      129                         18586106881                         310260253792880   352509010940640   Completed                VGMSS342
                                    MSinMSC                                                                                                                          Successfully
    02/14/2018   19:52:29   60    mSTerminating    Incoming   8586106882                     18586106881                         310260253792880   352509010940640   Completed       11       SFMSS347
                                                                                                                                                                     Successfully
    02/14/2018   20:05:12   30    mSTerminating    Incoming   8586106882                     18586106881                         310260253792880   352509010940640   Completed       11       SFMSS347
                                                                                                                                                                     Successfully



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                                                                                      [Exhibit G - 121]
    02/15/2018   00:21:15    3    mSTerminating    Incoming   8588747916                     18586106881                         310260253792880   352509010940640   Completed       11       SFMSS347
                                                                                                                                                                     Successfully
    02/15/2018   12:10:19             SMSC                        129                        18586106881                                                             Completed               mavsms_pol02
                                                                                                                                                                     Successfully
    02/15/2018   12:10:21   60    mSTerminatingS   Incoming      129                         18586106881                         310260253792880   352509010940640   Completed                SPMSS346
                                    MSinMSC                                                                                                                          Successfully
    02/15/2018   20:04:07   348    mSOriginating   Outgoing   8586106881    18056377243      18056377243        13235409999      310260253792880   352509010940640   Completed                SFMSS347
                                                                                                                                                                     Successfully
    02/15/2018   20:09:55             SMSC                       129                         18586106881                                                             Completed               mavsms_pol02
                                                                                                                                                                     Successfully
    02/15/2018   20:10:00   60    mSTerminatingS   Incoming      129                         18586106881                         310260253792880   352509010940640   Completed                SFMSS347
                                    MSinMSC                                                                                                                          Successfully
    02/16/2018   07:23:47   26     mSOriginating   Outgoing   8586106881    18586106882      18586106882        18586106882      310260253792880   352509010940640   Completed                SFMSS347
                                                                                                                                                                     Successfully
    02/16/2018   12:18:59             SMSC                       129                         18586106881                                                             Completed               mavsms_pol02
                                                                                                                                                                     Successfully
    02/16/2018   19:22:24   60    mSTerminatingS   Incoming      129                         18586106881                         310260253792880   352509010940640   Completed                ATMSS344
                                    MSinMSC                                                                                                                          Successfully
    02/17/2018   12:35:23             SMSC                       129                         18586106881                                                             Completed               mavsms_pol02
                                                                                                                                                                     Successfully
    02/17/2018   15:55:32   60    mSTerminatingS   Incoming      129                         18586106881                         310260253792880   352509010940640   Completed                ATMSS344
                                    MSinMSC                                                                                                                          Successfully
    02/17/2018   17:43:12   116   mSTerminating    Incoming   8586106882                     18586106881                         310260253792880   352509010940640   Completed       11       ATMSS344
                                                                                                                                                                     Successfully
    02/17/2018   19:58:32   263   mSOriginating    Outgoing   8586106881    18008244491      18008244491     11818633180082444   310260253792880   352509010940640   Completed                ATMSS344
                                                                                                                    91                                               Successfully
    02/18/2018   12:27:17             SMSC                       129                         18586106881                                                             Completed               mavsms_pol02
                                                                                                                                                                     Successfully
    02/19/2018   01:48:59   60    mSTerminatingS   Incoming      129                         18586106881                         310260253792880   352509010940640   Completed                CRMSS345
                                    MSinMSC                                                                                                                          Successfully
    02/19/2018   12:18:55             SMSC                       129                         18586106881                                                             Completed               mavsms_pol02
                                                                                                                                                                     Successfully
    02/19/2018   17:31:25   60    mSTerminatingS   Incoming      129                         18586106881                         310260253792880   352509010940640   Completed                 IEMSS341
                                    MSinMSC                                                                                                                          Successfully
    02/19/2018   20:07:50   5     mSTerminating    Incoming   8588752450                     18586106881                         310260253792880   352509010940640   Completed       11        IEMSS341
                                                                                                                                                                     Successfully
    02/20/2018   06:17:31   44    mSOriginating    Outgoing   8586106881    18586106882      18586106882        18586106882      310260253792880   352509010940640   Completed                SPMSS346
                                                                                                                                                                     Successfully
    02/20/2018   06:33:20   7     mSTerminating    Incoming   8586106882                     18586106881                         310260253792880   352509010940640   Completed       11       SPMSS346
                                                                                                                                                                     Successfully
    02/20/2018   12:21:57             SMSC                       129                         18586106881                                                             Completed               mavsms_pol02
                                                                                                                                                                     Successfully
    02/20/2018   17:36:00   60    mSTerminatingS   Incoming      129                         18586106881                         310260253792880   352509010940640   Completed                SPMSS346
                                    MSinMSC                                                                                                                          Successfully
    02/21/2018   04:18:07   27     mSOriginating   Outgoing   8586106881    18586106882      18586106882        18586106882      310260253792880   352509010940640   Completed                DAMSS343
                                                                                                                                                                     Successfully
    02/21/2018   12:13:03             SMSC                       129                         18586106881                                                             Completed               mavsms_pol02
                                                                                                                                                                     Successfully
    02/21/2018   18:35:49    9         mtc         Incoming   18586106882   18586106881      18586106881        18586106881      310260253792880                     Completed      021;11    CHTAS003
                                                                                                                                                                     Successfully
    02/21/2018   18:35:50    9         moc         Outgoing   18586106882   18056377249      18056377249        13235409999      310260253792880                     Completed       02B      CHTAS003
                                                                                                                                                                     Successfully
    02/21/2018   18:36:23   60    mSTerminatingS   Incoming      129                         18586106881                         310260253792880   352509010940640   Completed                DAMSS343
                                    MSinMSC                                                                                                                          Successfully



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                                                                                      [Exhibit G - 122]
    02/21/2018   18:36:59   30    mSTerminating    Incoming   8586106882                       18586106881                      310260253792880   352509010940640   Completed       11       DAMSS343
                                                                                                                                                                    Successfully
    02/22/2018   12:57:32             SMSC                       129                           18586106881                                                          Completed               mavsms_pol02
                                                                                                                                                                    Successfully
    02/22/2018   12:57:34   60    mSTerminatingS   Incoming      129                           18586106881                      310260253792880   352509010940640   Completed                SPMSS346
                                    MSinMSC                                                                                                                         Successfully
    02/23/2018   04:21:54   50     mSOriginating   Outgoing   8586106881      18586106882      18586106882        18586106882   310260253792880   352509010940640   Completed                DAMSS343
                                                                                                                                                                    Successfully
    02/23/2018   12:31:47             SMSC                       129                           18586106881                                                          Completed               mavsms_pol02
                                                                                                                                                                    Successfully
    02/23/2018   14:42:23   60    mSTerminatingS   Incoming      129                           18586106881                      310260253792880   352509010940640   Completed                 IEMSS341
                                    MSinMSC                                                                                                                         Successfully
    02/24/2018   12:29:20             SMSC                       129                           18586106881                                                          Completed               mavsms_pol02
                                                                                                                                                                    Successfully
    02/24/2018   18:39:16   60    mSTerminatingS   Incoming      129                           18586106881                      310260253792880   352509010940640   Completed                CRMSS345
                                    MSinMSC                                                                                                                         Successfully
    02/25/2018   12:19:35             SMSC                       129                           18586106881                                                          Completed               mavsms_pol02
                                                                                                                                                                    Successfully
    02/25/2018   15:53:53   60    mSTerminatingS   Incoming      129                           18586106881                      310260253792880   352509010940640   Completed                 IEMSS341
                                    MSinMSC                                                                                                                         Successfully
    02/25/2018   17:07:25   21     mSOriginating   Outgoing   8586106881      18586106882      18586106882        18586106882   310260253792880   352509010940640   Completed                 IEMSS341
                                                                                                                                                                    Successfully
    02/26/2018   03:21:27   22    mSOriginating    Outgoing   8586106881      18586106882      18586106882        18586106882   310260253792880   352509010940640   Completed                ORMSS349
                                                                                                                                                                    Successfully
    02/26/2018   08:12:13         mSTerminating    Incoming   8586106882                       18586106881                      310260253792880   352509010940640    Abnormal       11       ATMSS344
                                                                                                                                                                    Completion
    02/26/2018   12:13:45             SMSC                       129                           18586106881                                                          Completed               mavsms_pol02
                                                                                                                                                                    Successfully
    02/26/2018   15:11:59   60    mSTerminatingS   Incoming      129                           18586106881                      310260253792880   352509010940640   Completed                ATMSS344
                                    MSinMSC                                                                                                                         Successfully
    02/26/2018   18:32:55   115   mSTerminating    Incoming   8586106882                       18586106881                      310260253792880   352509010940640   Completed       11       VGMSS342
                                                                                                                                                                    Successfully
    02/27/2018   12:09:27             SMSC                       129                           18586106881                                                          Completed               mavsms_pol02
                                                                                                                                                                    Successfully
    02/27/2018   15:41:25   60    mSTerminatingS   Incoming      129                           18586106881                      310260253792880   352509010940640   Completed                VGMSS342
                                    MSinMSC                                                                                                                         Successfully
    02/28/2018   12:07:46             SMSC                       129                           18586106881                                                          Completed               mavsms_pol02
                                                                                                                                                                    Successfully
    02/28/2018   18:28:07   60    mSTerminatingS   Incoming      129                           18586106881                      310260253792880   352509010940640   Completed                SFMSS347
                                    MSinMSC                                                                                                                         Successfully
    03/01/2018   02:50:31   42     mSOriginating   Outgoing   8586106881      18586106882      18586106882        18586106882   310260253792880   352509010940640   Completed                SFMSS347
                                                                                                                                                                    Successfully
    03/01/2018   12:12:03             SMSC                       129                           18586106881                                                          Completed               mavsms_pol02
                                                                                                                                                                    Successfully
    03/01/2018   17:49:23   60    mSTerminatingS   Incoming      129                           18586106881                      310260253792880   352509010940640   Completed                SFMSS347
                                    MSinMSC                                                                                                                         Successfully
    03/01/2018   18:24:41   34     mSOriginating   Outgoing   8586106881      18586106882      18586106882        18586106882   310260253792880   352509010940640   Completed                SFMSS347
                                                                                                                                                                    Successfully
    03/01/2018   19:28:20   215   mSOriginating    Outgoing   8586106881      18056377243      18056377243        13235409999                     352509010940640   Completed      042;42    SFMSS347
                                                                                                                                                                    Successfully
    03/01/2018   19:29:50         mSOriginating    Outgoing   8586106881   101721#9999999999 101721#9999999999                  310260253792880   352509010940640    Abnormal                SFMSS347
                                                                               999999999         999999999                                                          Completion
    03/01/2018   19:31:56             SMSC                       129                            18586106881                                                         Completed               mavsms_pol02
                                                                                                                                                                    Successfully



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                                                                                        [Exhibit G - 123]
    03/01/2018   19:32:00   60    mSTerminatingS   Incoming      129                        18586106881                        310260253792880   352509010940640   Completed                SFMSS347
                                    MSinMSC                                                                                                                        Successfully
    03/02/2018   01:24:43   36     mSOriginating   Outgoing   8586106881   8586108870        8586108870        18586108870     310260253792880   352509010940640   Completed                VGMSS342
                                                                                                                                                                   Successfully
    03/02/2018   12:19:22             SMSC                       129                        18586106881                                                            Completed               mavsms_pol02
                                                                                                                                                                   Successfully
    03/02/2018   16:34:20   60    mSTerminatingS   Incoming      129                        18586106881                        310260253792880   352509010940640   Completed                VGMSS342
                                    MSinMSC                                                                                                                        Successfully
    03/02/2018   18:08:14   63    mSTerminating    Incoming   8586106882                    18586106881                        310260253792880   352509010940640   Completed       11       VGMSS342
                                                                                                                                                                   Successfully
    03/04/2018   12:59:13             SMSC                       129                        18586106881                                                            Completed               mavsms_pol02
                                                                                                                                                                   Successfully
    03/05/2018   02:05:14   60    mSTerminatingS   Incoming      129                        18586106881                        310260253792880   352509010940640   Completed                ATMSS344
                                    MSinMSC                                                                                                                        Successfully
    03/05/2018   12:35:24             SMSC                       129                        18586106881                                                            Completed               mavsms_pol02
                                                                                                                                                                   Successfully
    03/05/2018   17:26:53   60    mSTerminatingS   Incoming      129                        18586106881                        310260253792880   352509010940640   Completed                ATMSS344
                                    MSinMSC                                                                                                                        Successfully
    03/06/2018   01:36:58    3    mSTerminating    Incoming   8588758492                    18586106881                        310260253792880   352509010940640   Completed       11       ATMSS344
                                                                                                                                                                   Successfully
    03/06/2018   02:09:16         mSOriginating    Outgoing   8586106881   18588758492      18588758492        18588758492     310260253792880   352509010940640   Completed                ATMSS344
                                                                                                                                                                   Successfully
    03/06/2018   12:24:42             SMSC                       129                        18586106881                                                            Completed               mavsms_pol02
                                                                                                                                                                   Successfully
    03/06/2018   16:48:46   33    callForwarding   Outgoing   5182160653   18056377249      18056377249        18056377249     310260253792880                     Completed      011;2B    ATMSS344
                                                                                                                                                                   Successfully
    03/06/2018   23:32:52   60    mSTerminatingS   Incoming      129                        18586106881                        310260253792880   352509010940640   Completed                ATMSS344
                                    MSinMSC                                                                                                                        Successfully
    03/07/2018   03:38:39   54     mSOriginating   Outgoing   8586106881   18586106882      18586106882        18586106882     310260253792880   352509010940640   Completed                ATMSS344
                                                                                                                                                                   Successfully
    03/07/2018   12:19:37             SMSC                       129                        18586106881                                                            Completed               mavsms_pol02
                                                                                                                                                                   Successfully
    03/07/2018   16:29:49   60    mSTerminatingS   Incoming      129                        18586106881                        310260253792880   352509010940640   Completed                ATMSS344
                                    MSinMSC                                                                                                                        Successfully
    03/08/2018   12:28:03             SMSC                       129                        18586106881                                                            Completed               mavsms_pol02
                                                                                                                                                                   Successfully
    03/08/2018   21:04:29   60    mSTerminatingS   Incoming      129                        18586106881                        310260253792880   352509010940640   Completed                ORMSS349
                                    MSinMSC                                                                                                                        Successfully
    03/08/2018   21:04:52   299    mSOriginating   Outgoing   8586106881   18008244491      18008244491    11818633180082444   310260253792880   352509010940640   Completed                ORMSS349
                                                                                                                  91                                               Successfully
    03/09/2018   13:07:53             SMSC                       129                        18586106881                                                            Completed               mavsms_pol02
                                                                                                                                                                   Successfully
    03/09/2018   15:36:03   60    mSTerminatingS   Incoming      129                        18586106881                        310260253792880   352509010940640   Completed                 IEMSS341
                                    MSinMSC                                                                                                                        Successfully
    03/09/2018   19:47:47   21     mSOriginating   Outgoing   8586106881   18586106882      18586106882        18586106882     310260253792880   352509010940640   Completed                 IEMSS341
                                                                                                                                                                   Successfully
    03/10/2018   12:34:52             SMSC                       129                        18586106881                                                            Completed               mavsms_pol02
                                                                                                                                                                   Successfully
    03/10/2018   15:12:52   60    mSTerminatingS   Incoming      129                        18586106881                        310260253792880   352509010940640   Completed                SPMSS346
                                    MSinMSC                                                                                                                        Successfully
    03/11/2018   04:38:40          mSOriginating   Outgoing   8586106881   18586106882      18586106882        18586106882     310260253792880   352509010940640   Completed                ATMSS344
                                                                                                                                                                   Successfully
    03/11/2018   04:39:01   52    mSOriginating    Outgoing   8586106881   8586108870        8586108870        18586108870     310260253792880   352509010940640   Completed                ATMSS344
                                                                                                                                                                   Successfully



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                                                                                        [Exhibit G - 124]
    03/11/2018   05:01:51   48    mSTerminating    Incoming   8586106882                    18586106881                         310260253792880   352509010940640   Completed      11    ATMSS344
                                                                                                                                                                    Successfully
    03/11/2018   12:32:32             SMSC                       129                        18586106881                                                             Completed           mavsms_pol02
                                                                                                                                                                    Successfully
    03/11/2018   18:32:46   60    mSTerminatingS   Incoming      129                        18586106881                         310260253792880   352509010940640   Completed            ATMSS344
                                    MSinMSC                                                                                                                         Successfully
    03/12/2018   11:34:29             SMSC                       129                        18586106881                                                             Completed           mavsms_pol02
                                                                                                                                                                    Successfully
    03/12/2018   21:51:35   60    mSTerminatingS   Incoming      129                        18586106881                         310260253792880   352509010940640   Completed            VGMSS342
                                    MSinMSC                                                                                                                         Successfully
    03/13/2018   11:17:17             SMSC                       129                        18586106881                                                             Completed           mavsms_pol02
                                                                                                                                                                    Successfully
    03/13/2018   23:24:31   60    mSTerminatingS   Incoming      129                        18586106881                         310260253792880   352509010940640   Completed            SFMSS347
                                    MSinMSC                                                                                                                         Successfully
    03/13/2018   23:24:51   440    mSOriginating   Outgoing   8586106881   18003472683      18003472683     11818633180034726   310260253792880   352509010940640   Completed            SFMSS347
                                                                                                                   83                                               Successfully
    03/14/2018   11:35:20             SMSC                       129                        18586106881                                                             Completed           mavsms_pol02
                                                                                                                                                                    Successfully
    03/14/2018   11:35:22   60    mSTerminatingS   Incoming      129                        18586106881                         310260253792880   352509010940640   Completed            ORMSS349
                                    MSinMSC                                                                                                                         Successfully
    03/14/2018   15:07:59   71    mSTerminating    Incoming   8586106882                    18586106881                         310260253792880   352509010940640   Completed      11    ORMSS349
                                                                                                                                                                    Successfully
    03/14/2018   17:53:22         mSOriginating    Outgoing   8586106881   18586106882      18586106882        18586106882      310260253792880   352509010940640   Completed            ATMSS344
                                                                                                                                                                    Successfully
    03/14/2018   18:02:50         mSOriginating    Outgoing   8586106881   18586106882      18586106882        18586106882      310260253792880   352509010940640   Completed            ATMSS344
                                                                                                                                                                    Successfully
    03/14/2018   18:03:24   87    mSTerminating    Incoming   8586106882                    18586106881                         310260253792880   352509010940640   Completed      11    ATMSS344
                                                                                                                                                                    Successfully
    03/14/2018   19:04:05   211   mSOriginating    Outgoing   8586106881   18056377243      18056377243        13235409999      310260253792880   352509010940640   Completed            ATMSS344
                                                                                                                                                                    Successfully
    03/14/2018   19:07:36             SMSC                       129                        18586106881                                                             Completed           mavsms_pol02
                                                                                                                                                                    Successfully
    03/14/2018   19:07:41   60    mSTerminatingS   Incoming      129                        18586106881                         310260253792880   352509010940640   Completed            ATMSS344
                                    MSinMSC                                                                                                                         Successfully
    03/15/2018   03:52:42   17     mSOriginating   Outgoing   8586106881   18586106882      18586106882        18586106882      310260253792880   352509010940640   Completed            VGMSS342
                                                                                                                                                                    Successfully
    03/15/2018   11:45:58             SMSC                       129                        18586106881                                                             Completed           mavsms_pol02
                                                                                                                                                                    Successfully
    03/15/2018   14:28:32   60    mSTerminatingS   Incoming      129                        18586106881                         310260253792880   352509010940640   Completed            VGMSS342
                                    MSinMSC                                                                                                                         Successfully
    03/15/2018   16:50:40   36    mSTerminating    Incoming   8586106882                    18586106881                         310260253792880   352509010940640   Completed      11    CRMSS345
                                                                                                                                                                    Successfully
    03/16/2018   11:51:20             SMSC                       129                        18586106881                                                             Completed           mavsms_pol02
                                                                                                                                                                    Successfully
    03/16/2018   15:00:41   60    mSTerminatingS   Incoming      129                        18586106881                         310260253792880   352509010940640   Completed            VGMSS342
                                    MSinMSC                                                                                                                         Successfully
    03/17/2018   11:56:59             SMSC                       129                        18586106881                                                             Completed           mavsms_pol02
                                                                                                                                                                    Successfully
    03/18/2018   17:49:16   39    mSOriginating    Outgoing   8586106881   18586106882      18586106882        18586106882      310260253792880   352509010940640   Completed            VGMSS342
                                                                                                                                                                    Successfully
    03/18/2018   17:49:19   60    mSTerminatingS   Incoming      129                        18586106881                         310260253792880   352509010940640   Completed            VGMSS342
                                    MSinMSC                                                                                                                         Successfully
    03/19/2018   12:07:26             SMSC                       129                        18586106881                                                             Completed           mavsms_pol02
                                                                                                                                                                    Successfully



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                                                                                     [Exhibit G - 125]
    03/19/2018   14:22:19   60   mSTerminatingS   Incoming      129                         18586106881                      310260253792880   352509010940640   Completed                ORMSS349
                                   MSinMSC                                                                                                                       Successfully
    03/19/2018   19:01:58   23    mSOriginating   Outgoing   8586106881    18586106882      18586106882        18586106882   310260253792880   352509010940640   Completed                DAMSS343
                                                                                                                                                                 Successfully
    03/20/2018   11:41:06            SMSC                        129                        18586106881                                                          Completed               mavsms_pol02
                                                                                                                                                                 Successfully
    03/20/2018   19:05:38   3         moc         Outgoing   18586106882   18056377249      18056377249        13235409999   310260253792880                     Completed       02B       TTTAS101
                                                                                                                                                                 Successfully
    03/20/2018   19:05:38   3         mtc         Incoming   18586106882   18586106881      18586106881        18586106881   310260253792880                     Completed      021;11     TTTAS101
                                                                                                                                                                 Successfully
    03/20/2018   19:05:48   3         mtc         Incoming   18586106882   18586106881      18586106881        18586106881   310260253792880                     Completed      021;11     TTTAS101
                                                                                                                                                                 Successfully
    03/20/2018   19:05:49   3         moc         Outgoing   18586106882   18056377249      18056377249        13235409999   310260253792880                     Completed       02B       TTTAS101
                                                                                                                                                                 Successfully
    03/21/2018   00:10:55   31   callForwarding   Outgoing   8586155204    18056377249      18056377249        18056377249   310260253792880                     Completed      011;2B    ATMSS344
                                                                                                                                                                 Successfully
    03/21/2018   00:47:46   5         mtc         Incoming   18586106882   18586106881      18586106881        18586106881   310260253792880                     Completed      021;11     TTTAS101
                                                                                                                                                                 Successfully
    03/21/2018   00:47:47   5         moc         Outgoing   18586106882   18056377249      18056377249        13235409999   310260253792880                     Completed       02B       TTTAS101
                                                                                                                                                                 Successfully
    03/21/2018   00:47:58   7         mtc         Incoming   18586106882   18586106881      18586106881        18586106881   310260253792880                     Completed      021;11     TTTAS101
                                                                                                                                                                 Successfully
    03/21/2018   00:47:59   7         moc         Outgoing   18586106882   18056377249      18056377249        13235409999   310260253792880                     Completed       02B       TTTAS101
                                                                                                                                                                 Successfully
    03/21/2018   03:17:42   60   mSTerminatingS   Incoming      129                         18586106881                      310260253792880   352509010940640   Completed                ATMSS344
                                   MSinMSC                                                                                                                       Successfully
    03/21/2018   11:42:24            SMSC                       129                         18586106881                                                          Completed               mavsms_pol02
                                                                                                                                                                 Successfully
    03/21/2018   17:03:17   60   mSTerminatingS   Incoming      129                         18586106881                      310260253792880   352509010940640   Completed                ATMSS344
                                   MSinMSC                                                                                                                       Successfully
    03/22/2018   11:54:45            SMSC                       129                         18586106881                                                          Completed               mavsms_pol02
                                                                                                                                                                 Successfully
    03/22/2018   17:39:39   60   mSTerminatingS   Incoming      129                         18586106881                      310260253792880   352509010940640   Completed                ATMSS344
                                   MSinMSC                                                                                                                       Successfully
    03/23/2018   01:02:26   11   mSTerminating    Incoming   8588768981                     18586106881                      310260253792880   352509010940640   Completed       11       ATMSS344
                                                                                                                                                                 Successfully
    03/23/2018   01:03:55   90   mSOriginating    Outgoing   8586106881    18588768981      18588768981        18588768981   310260253792880   352509010940640   Completed                ATMSS344
                                                                                                                                                                 Successfully
    03/23/2018   05:49:09   11   mSOriginating    Outgoing   8586106881    18588768981      18588768981        18588768981   310260253792880   352509010940640   Completed                ATMSS344
                                                                                                                                                                 Successfully
    03/23/2018   11:57:16            SMSC                       129                         18586106881                                                          Completed               mavsms_pol02
                                                                                                                                                                 Successfully
    03/24/2018   00:52:01   60   mSTerminatingS   Incoming      129                         18586106881                      310260253792880   352509010940640   Completed                ATMSS344
                                   MSinMSC                                                                                                                       Successfully
    03/24/2018   01:42:19   6    mSTerminating    Incoming   8588754177                     18586106881                      310260253792880   352509010940640   Completed       11       ATMSS344
                                                                                                                                                                 Successfully
    03/24/2018   01:43:15   28   mSOriginating    Outgoing   8586106881    18588754177      18588754177        18588754177   310260253792880   352509010940640   Completed                ATMSS344
                                                                                                                                                                 Successfully
    03/24/2018   11:57:37            SMSC                       129                         18586106881                                                          Completed               mavsms_pol02
                                                                                                                                                                 Successfully
    03/24/2018   16:01:00   60   mSTerminatingS   Incoming      129                         18586106881                      310260253792880   352509010940640   Completed                CRMSS345
                                   MSinMSC                                                                                                                       Successfully
    03/25/2018   11:53:42            SMSC                        129                        18586106881                                                          Completed               mavsms_pol02
                                                                                                                                                                 Successfully



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                                                                                     [Exhibit G - 126]
    03/25/2018   11:53:44   60   mSTerminatingS   Incoming      129                         18586106881                      310260253792880   352509010940640   Completed                 IEMSS341
                                   MSinMSC                                                                                                                       Successfully
    03/26/2018   04:56:35   30   mSTerminating    Incoming   8586106882                     18586106881                      310260253792880   352509010940640   Completed       11       CRMSS345
                                                                                                                                                                 Successfully
    03/26/2018   05:29:37   20   mSTerminating    Incoming   8586106882                     18586106881                      310260253792880   352509010940640   Completed       11       CRMSS345
                                                                                                                                                                 Successfully
    03/26/2018   11:44:00            SMSC                        129                        18586106881                                                          Completed               mavsms_pol02
                                                                                                                                                                 Successfully
    03/26/2018   17:40:45   19   callForwarding   Outgoing   8588746488    18056377249      18056377249        18056377249   310260253792880                     Completed      011;2B    CRMSS345
                                                                                                                                                                 Successfully
    03/26/2018   18:03:10   60   mSTerminatingS   Incoming      129                         18586106881                      310260253792880   352509010940640   Completed                CRMSS345
                                   MSinMSC                                                                                                                       Successfully
    03/27/2018   05:09:44   12    mSOriginating   Outgoing   8586106881    18586106882      18586106882        18586106882   310260253792880   352509010940640   Completed                HNMSS348
                                                                                                                                                                 Successfully
    03/27/2018   05:57:29   8    mSTerminating    Incoming   8586106882                     18586106881                      310260253792880   352509010940640   Completed       11       HNMSS348
                                                                                                                                                                 Successfully
    03/27/2018   11:30:12            SMSC                        129                        18586106881                                                          Completed               mavsms_pol02
                                                                                                                                                                 Successfully
    03/27/2018   21:18:06   60   mSTerminatingS   Incoming      129                         18586106881                      310260253792880   352509010940640   Completed                 IEMSS341
                                   MSinMSC                                                                                                                       Successfully
    03/28/2018   04:57:25   42    mSOriginating   Outgoing   8586106881    18586106882      18586106882        18586106882   310260253792880   352509010940640   Completed                DAMSS343
                                                                                                                                                                 Successfully
    03/28/2018   05:47:02   9    mSTerminating    Incoming   8586106882                     18586106881                      310260253792880   352509010940640   Completed       11       DAMSS343
                                                                                                                                                                 Successfully
    03/28/2018   11:39:50            SMSC                        129                        18586106881                                                          Completed               mavsms_pol02
                                                                                                                                                                 Successfully
    03/28/2018   16:21:31   60   mSTerminatingS   Incoming      129                         18586106881                      310260253792880   352509010940640   Completed                SPMSS346
                                   MSinMSC                                                                                                                       Successfully
    03/29/2018   05:16:17   25    mSOriginating   Outgoing   8586106881    18586106882      18586106882        18586106882   310260253792880   352509010940640   Completed                ATMSS344
                                                                                                                                                                 Successfully
    03/29/2018   06:19:55   9    mSTerminating    Incoming   8586106882                     18586106881                      310260253792880   352509010940640   Completed       11       ATMSS344
                                                                                                                                                                 Successfully
    03/29/2018   11:47:19            SMSC                        129                        18586106881                                                          Completed               mavsms_pol02
                                                                                                                                                                 Successfully
    03/29/2018   16:12:47   4         mtc         Incoming   18586106882   18586106881      18586106881        18586106881   310260253792880                     Completed      021;11     IETAS001
                                                                                                                                                                 Successfully
    03/29/2018   16:12:48   4         moc         Outgoing   18586106882   18056377249      18056377249        13235409999   310260253792880                     Completed       02B       IETAS001
                                                                                                                                                                 Successfully
    03/30/2018   04:51:40   60   mSTerminatingS   Incoming      129                         18586106881                      310260253792880   352509010940640   Completed                ATMSS344
                                   MSinMSC                                                                                                                       Successfully
    03/30/2018   05:28:44   11   mSTerminating    Incoming   8586106882                     18586106881                      310260253792880   352509010940640   Completed       11       ATMSS344
                                                                                                                                                                 Successfully
    03/30/2018   11:43:49            SMSC                        129                        18586106881                                                          Completed               mavsms_pol02
                                                                                                                                                                 Successfully
    03/30/2018   16:07:00   9         mtc         Incoming   18586106882   18586106881      18586106881        18586106881   310260253792880                     Completed      021;11    NVTAS009
                                                                                                                                                                 Successfully
    03/30/2018   16:07:01   9         moc         Outgoing   18586106882   18056377249      18056377249        13235409999   310260253792880                     Completed       02B      NVTAS009
                                                                                                                                                                 Successfully
    03/30/2018   16:07:16   20        mtc         Incoming   18586106882   18586106881      18586106881        18586106881   310260253792880                     Completed      021;11     SCTAS005
                                                                                                                                                                 Successfully
    03/30/2018   16:07:17   20        moc         Outgoing   18586106882   18056377249      18056377249        13235409999   310260253792880                     Completed       02B       SCTAS005
                                                                                                                                                                 Successfully
    03/30/2018   16:10:09   60   mSTerminatingS   Incoming      129                         18586106881                      310260253792880   352509010940640   Completed                ATMSS344
                                   MSinMSC                                                                                                                       Successfully



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                                                                                     [Exhibit G - 127]
    03/30/2018   20:33:55         mSTerminating    Incoming   8586503333                     18586106881                         310260253792880   352509010940640    Abnormal       11       ATMSS344
                                                                                                                                                                     Completion
    03/30/2018   20:33:56   10    callForwarding   Outgoing   8586503333    18056377249      18056377249        18056377249      310260253792880                     Completed      011;2A    ATMSS344
                                                                                                                                                                     Successfully
    03/31/2018   11:48:57             SMSC                        129                        18586106881                                                             Completed               mavsms_pol02
                                                                                                                                                                     Successfully
    03/31/2018   16:06:31   60    mSTerminatingS   Incoming       129                        18586106881                         310260253792880   352509010940640   Completed                HNMSS348
                                    MSinMSC                                                                                                                          Successfully
    04/01/2018   11:44:08             SMSC                        129                        18586106881                                                             Completed               mavsms_pol02
                                                                                                                                                                     Successfully
    04/01/2018   17:40:29   60    mSTerminatingS   Incoming       129                        18586106881                         310260253792880   352509010940640   Completed                ATMSS344
                                    MSinMSC                                                                                                                          Successfully
    04/02/2018   11:28:42             SMSC                        129                        18586106881                                                             Completed               mavsms_pol02
                                                                                                                                                                     Successfully
    04/02/2018   15:25:38   60    mSTerminatingS   Incoming       129                        18586106881                         310260253792880   352509010940640   Completed                ATMSS344
                                    MSinMSC                                                                                                                          Successfully
    04/03/2018   00:30:22   434    mSOriginating   Outgoing   8586106881    18003810759      18003810759     11818633180038107   310260253792880   352509010940640   Completed                ATMSS344
                                                                                                                    59                                               Successfully
    04/03/2018   11:43:03             SMSC                        129                        18586106881                                                             Completed               mavsms_pol02
                                                                                                                                                                     Successfully
    04/03/2018   17:30:24   60    mSTerminatingS   Incoming       129                        18586106881                         310260253792880   352509010940640   Completed                ATMSS344
                                    MSinMSC                                                                                                                          Successfully
    04/04/2018   05:42:49   250    mSOriginating   Outgoing   8586106881    18056377243      18056377243        13235409999      310260253792880   352509010940640   Completed                VGMSS342
                                                                                                                                                                     Successfully
    04/04/2018   05:46:59             SMSC                        129                        18586106881                                                             Completed               mavsms_pol02
                                                                                                                                                                     Successfully
    04/04/2018   05:47:10   60    mSTerminatingS   Incoming       129                        18586106881                         310260253792880   352509010940640   Completed                VGMSS342
                                    MSinMSC                                                                                                                          Successfully
    04/04/2018   11:36:56             SMSC                        129                        18586106881                                                             Completed               mavsms_pol02
                                                                                                                                                                     Successfully
    04/04/2018   16:28:41   60    mSTerminatingS   Incoming      129                         18586106881                         310260253792880   352509010940640   Completed                VGMSS342
                                    MSinMSC                                                                                                                          Successfully
    04/04/2018   16:30:28   195    mSOriginating   Outgoing   8586106881    18774222100      18774222100    11818633187742221    310260253792880   352509010940640   Completed                VGMSS342
                                                                                                                   00                                                Successfully
    04/04/2018   16:43:56   32    mSTerminating    Incoming   8004004222                     18586106881                         310260253792880   352509010940640   Completed       11       VGMSS342
                                                                                                                                                                     Successfully
    04/04/2018   16:48:53         mSTerminating    Incoming   8589454719                     18586106881                         310260253792880   352509010940640   Completed       11       ORMSS349
                                                                                                                                                                     Successfully
    04/04/2018   17:58:19             SMSC                    13025175998                    18586106881                                                             Completed               mavsms_pol02
                                                                                                                                                                     Successfully
    04/04/2018   17:58:25   60    mSTerminatingS   Incoming   13025175998                    18586106881                         310260253792880   352509010940640   Completed                ATMSS344
                                    MSinMSC                                                                                                                          Successfully
    04/04/2018   17:58:29   60    mSTerminatingS   Incoming   13025175998                    18586106881                         310260253792880   352509010940640   Completed                ATMSS344
                                    MSinMSC                                                                                                                          Successfully
    04/04/2018   18:30:35   19     mSOriginating   Outgoing   8586106881    18586106882      18586106882        18586106882      310260253792880   352509010940640   Completed                ATMSS344
                                                                                                                                                                     Successfully
    04/04/2018   19:53:49   23    mSOriginating    Outgoing   8586106881    18586106882      18586106882        18586106882      310260253792880   352509010940640   Completed                ATMSS344
                                                                                                                                                                     Successfully
    04/04/2018   20:00:09   14    mSTerminating    Incoming   8586106882                     18586106881                         310260253792880   352509010940640   Completed       11       ATMSS344
                                                                                                                                                                     Successfully
    04/05/2018   01:44:20   25    mSOriginating    Outgoing   8586106881    18586106882      18586106882        18586106882      310260253792880   352509010940640   Completed                DAMSS343
                                                                                                                                                                     Successfully
    04/05/2018   11:40:38             SMSC                        129                        18586106881                                                             Completed               mavsms_pol02
                                                                                                                                                                     Successfully



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                                                                                      [Exhibit G - 128]
    04/05/2018   16:53:06    6         mtc         Incoming   18586106882   18586106881      18586106881        18586106881      310260253792880                     Completed      021;11     IETAS001
                                                                                                                                                                     Successfully
    04/05/2018   16:53:07    6         moc         Outgoing   18586106882   18056377249      18056377249        13235409999      310260253792880                     Completed       02B       IETAS001
                                                                                                                                                                     Successfully
    04/05/2018   16:53:20    3         mtc         Incoming   18586106882   18586106881      18586106881        18586106881      310260253792880                     Completed      021;11    DATAS009
                                                                                                                                                                     Successfully
    04/05/2018   16:53:21    3         moc         Outgoing   18586106882   18056377249      18056377249        13235409999      310260253792880                     Completed       02B      DATAS009
                                                                                                                                                                     Successfully
    04/05/2018   16:56:31   60    mSTerminatingS   Incoming      129                         18586106881                         310260253792880   352509010940640   Completed                SFMSS347
                                    MSinMSC                                                                                                                          Successfully
    04/05/2018   16:56:58   43     mSOriginating   Outgoing   8586106881    18586106882      18586106882        18586106882      310260253792880   352509010940640   Completed                SFMSS347
                                                                                                                                                                     Successfully
    04/05/2018   16:57:57   46    mSTerminating    Incoming   8586106882                     18586106881                         310260253792880   352509010940640   Completed       11       SFMSS347
                                                                                                                                                                     Successfully
    04/05/2018   18:16:12         mSTerminating    Incoming   4848731833                     18586106881                         310260253792880   352509010940640    Abnormal       11       ATMSS344
                                                                                                                                                                     Completion
    04/05/2018   18:16:13   13    callForwarding   Outgoing   4848731833    18056377249      18056377249        18056377249      310260253792880                     Completed      011;2A    ATMSS344
                                                                                                                                                                     Successfully
    04/05/2018   18:18:24   12    mSOriginating    Outgoing   8586106881    14848731833      14848731833        14848731833      310260253792880   352509010940640   Completed                ATMSS344
                                                                                                                                                                     Successfully
    04/06/2018   11:33:55             SMSC                       129                         18586106881                                                             Completed               mavsms_pol02
                                                                                                                                                                     Successfully
    04/06/2018   15:24:07   60    mSTerminatingS   Incoming      129                         18586106881                         310260253792880   352509010940640   Completed                VGMSS342
                                    MSinMSC                                                                                                                          Successfully
    04/06/2018   21:16:16   295    mSOriginating   Outgoing   8586106881    18004374148      18004374148     11818633180043741   310260253792880   352509010940640   Completed                DAMSS343
                                                                                                                    48                                               Successfully
    04/07/2018   11:38:19             SMSC                       129                         18586106881                                                             Completed               mavsms_pol02
                                                                                                                                                                     Successfully
    04/08/2018   04:06:23   60    mSTerminatingS   Incoming      129                         18586106881                         310260253792880   352509010940640   Completed                DAMSS343
                                    MSinMSC                                                                                                                          Successfully
    04/08/2018   11:29:09             SMSC                       129                         18586106881                                                             Completed               mavsms_pol02
                                                                                                                                                                     Successfully
    04/08/2018   16:47:42   60    mSTerminatingS   Incoming      129                         18586106881                         310260253792880   352509010940640   Completed                SFMSS347
                                    MSinMSC                                                                                                                          Successfully
    04/08/2018   17:41:33   34     mSOriginating   Outgoing   8586106881    18586106882      18586106882        18586106882      310260253792880   352509010940640   Completed                SFMSS347
                                                                                                                                                                     Successfully
    04/09/2018   11:29:33             SMSC                       129                         18586106881                                                             Completed               mavsms_pol02
                                                                                                                                                                     Successfully
    04/09/2018   16:54:53   60    mSTerminatingS   Incoming      129                         18586106881                         310260253792880   352509010940640   Completed                CRMSS345
                                    MSinMSC                                                                                                                          Successfully
    04/09/2018   23:26:27   74     mSOriginating   Outgoing   8586106881    18586106882      18586106882        18586106882      310260253792880   352509010940640   Completed                SPMSS346
                                                                                                                                                                     Successfully
    04/10/2018   11:23:58             SMSC                       129                         18586106881                                                             Completed               mavsms_pol02
                                                                                                                                                                     Successfully
    04/10/2018   11:24:01   60    mSTerminatingS   Incoming      129                         18586106881                         310260253792880   352509010940640   Completed                SFMSS347
                                    MSinMSC                                                                                                                          Successfully
    04/11/2018   11:21:51             SMSC                       129                         18586106881                                                             Completed               mavsms_pol02
                                                                                                                                                                     Successfully
    04/11/2018   11:21:54   60    mSTerminatingS   Incoming      129                         18586106881                         310260253792880   352509010940640   Completed                ORMSS349
                                    MSinMSC                                                                                                                          Successfully
    04/11/2018   14:53:23   30     mSOriginating   Outgoing   8586106881    18586106882      18586106882        18586106882      310260253792880   352509010940640   Completed                ORMSS349
                                                                                                                                                                     Successfully
    04/11/2018   15:38:46   203   mSOriginating    Outgoing   8586106881    18056377243      18056377243        13235409999      310260253792880   352509010940640   Completed                ORMSS349
                                                                                                                                                                     Successfully



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                                                                                      [Exhibit G - 129]
    04/11/2018   15:42:10            SMSC                       129                        18586106881                                                          Completed           mavsms_pol02
                                                                                                                                                                Successfully
    04/11/2018   15:42:14   60   mSTerminatingS   Incoming      129                        18586106881                      310260253792880   352509010940640   Completed            ORMSS349
                                   MSinMSC                                                                                                                      Successfully
    04/12/2018   11:25:48            SMSC                       129                        18586106881                                                          Completed           mavsms_pol02
                                                                                                                                                                Successfully
    04/12/2018   15:43:14   60   mSTerminatingS   Incoming      129                        18586106881                      310260253792880   352509010940640   Completed            ATMSS344
                                   MSinMSC                                                                                                                      Successfully
    04/12/2018   15:43:23         mSOriginating   Outgoing   8586106881   18586106882      18586106882        18586106882   310260253792880   352509010940640   Completed            ATMSS344
                                                                                                                                                                Successfully
    04/13/2018   05:20:51   14   mSOriginating    Outgoing   8586106881   18586106882      18586106882        18586106882   310260253792880   352509010940640   Completed             IEMSS341
                                                                                                                                                                Successfully
    04/13/2018   05:40:20   12   mSTerminating    Incoming   8586106882                    18586106881                      310260253792880   352509010940640   Completed      11     IEMSS341
                                                                                                                                                                Successfully
    04/13/2018   11:38:13            SMSC                       129                        18586106881                                                          Completed           mavsms_pol02
                                                                                                                                                                Successfully
    04/14/2018   00:32:13   60   mSTerminatingS   Incoming      129                        18586106881                      310260253792880   352509010940640   Completed             IEMSS341
                                   MSinMSC                                                                                                                      Successfully
    04/14/2018   11:52:09            SMSC                       129                        18586106881                                                          Completed           mavsms_pol02
                                                                                                                                                                Successfully
    04/15/2018   05:22:23   21   mSOriginating    Outgoing   8586106881   18586106882      18586106882        18586106882   310260253792880   352509010940640   Completed            SFMSS347
                                                                                                                                                                Successfully
    04/15/2018   05:22:27   60   mSTerminatingS   Incoming      129                        18586106881                      310260253792880   352509010940640   Completed            SFMSS347
                                   MSinMSC                                                                                                                      Successfully
    04/15/2018   05:46:18   10   mSTerminating    Incoming   8586106882                    18586106881                      310260253792880   352509010940640   Completed      11    SFMSS347
                                                                                                                                                                Successfully
    04/15/2018   11:31:37            SMSC                       129                        18586106881                                                          Completed           mavsms_pol02
                                                                                                                                                                Successfully
    04/15/2018   19:41:44   60   mSTerminatingS   Incoming      129                        18586106881                      310260253792880   352509010940640   Completed            SFMSS347
                                   MSinMSC                                                                                                                      Successfully
    04/16/2018   02:55:06   32    mSOriginating   Outgoing   8586106881   18586106882      18586106882        18586106882   310260253792880   352509010940640   Completed            SFMSS347
                                                                                                                                                                Successfully
    04/16/2018   04:51:09   84   mSTerminating    Incoming   8586106882                    18586106881                      310260253792880   352509010940640   Completed      11    SFMSS347
                                                                                                                                                                Successfully
    04/16/2018   11:26:46            SMSC                       129                        18586106881                                                          Completed           mavsms_pol02
                                                                                                                                                                Successfully
    04/16/2018   15:00:18   60   mSTerminatingS   Incoming      129                        18586106881                      310260253792880   352509010940640   Completed            VGMSS342
                                   MSinMSC                                                                                                                      Successfully
    04/16/2018   15:47:34   27    mSOriginating   Outgoing   8586106881   18582788737      18582788737        18582788737   310260253792880   352509010940640   Completed            VGMSS342
                                                                                                                                                                Successfully
    04/16/2018   15:55:13   23   mSOriginating    Outgoing   8586106881   18582788737      18582788737        18582788737   310260253792880   352509010940640   Completed            VGMSS342
                                                                                                                                                                Successfully
    04/16/2018   16:04:15        mSOriginating    Outgoing   8586106881   18582788737      18582788737        18582788737   310260253792880   352509010940640    Abnormal            VGMSS342
                                                                                                                                                                Completion
    04/16/2018   16:05:11   20   mSOriginating    Outgoing   8586106881   18582788737      18582788737        18582788737   310260253792880   352509010940640   Completed            VGMSS342
                                                                                                                                                                Successfully
    04/16/2018   16:20:11   20   mSOriginating    Outgoing   8586106881   18582788737      18582788737        18582788737   310260253792880   352509010940640   Completed            VGMSS342
                                                                                                                                                                Successfully
    04/16/2018   16:30:14   12   mSOriginating    Outgoing   8586106881   18582788737      18582788737        18582788737   310260253792880   352509010940640   Completed            VGMSS342
                                                                                                                                                                Successfully
    04/16/2018   16:43:47   5    mSOriginating    Outgoing   8586106881   18582788737      18582788737        18582788737   310260253792880   352509010940640   Completed            VGMSS342
                                                                                                                                                                Successfully
    04/16/2018   16:57:08   20   mSOriginating    Outgoing   8586106881   18582788737      18582788737        18582788737   310260253792880   352509010940640   Completed            VGMSS342
                                                                                                                                                                Successfully



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                                                                                    [Exhibit G - 130]
    04/16/2018   17:08:44    8    mSOriginating    Outgoing    8586106881     18582788737      18582788737        18582788737   310260253792880   352509010940640   Completed                VGMSS342
                                                                                                                                                                    Successfully
    04/16/2018   17:41:15   59    mSOriginating    Outgoing    8586106881     18582788737      18582788737        18582788737   310260253792880   352509010940640   Completed                VGMSS342
                                                                                                                                                                    Successfully
    04/17/2018   11:23:48             SMSC                         129                         18586106881                                                          Completed               mavsms_pol02
                                                                                                                                                                    Successfully
    04/17/2018   13:28:40   60    mSTerminatingS   Incoming       129                          18586106881                      310260253792880   352509010940640   Completed                SPMSS346
                                     MSinMSC                                                                                                                        Successfully
    04/17/2018   19:53:12   33    callForwarding   Outgoing    2138073922     18056377249      18056377249        18056377249   310260253792880                     Completed      011;2B    VGMSS342
                                                                                                                                                                    Successfully
    04/17/2018   23:42:19   258   mSOriginating    Outgoing    8586106881     18056377243      18056377243        13235409999   310260253792880   352509010940640   Completed                VGMSS342
                                                                                                                                                                    Successfully
    04/17/2018   23:46:37             SMSC                         129                         18586106881                                                          Completed               mavsms_pol02
                                                                                                                                                                    Successfully
    04/17/2018   23:46:49   60    mSTerminatingS   Incoming       129                          18586106881                      310260253792880   352509010940640   Completed                VGMSS342
                                    MSinMSC                                                                                                                         Successfully
    04/18/2018   03:45:39    3     mSOriginating   Outgoing    8586106881     8586108870        8586108870        18586108870   310260253792880   352509010940640   Completed                VGMSS342
                                                                                                                                                                    Successfully
    04/18/2018   11:26:34             SMSC                         129                         18586106881                                                          Completed               mavsms_pol02
                                                                                                                                                                    Successfully
    04/18/2018   13:53:01   60    mSTerminatingS   Incoming       129                          18586106881                      310260253792880   352509010940640   Completed                VGMSS342
                                    MSinMSC                                                                                                                         Successfully
    04/19/2018   11:59:44             SMSC                         129                         18586106881                                                          Completed               mavsms_pol02
                                                                                                                                                                    Successfully
    04/19/2018   17:04:35   60    mSTerminatingS   Incoming       129                          18586106881                      310260253792880   352509010940640   Completed                ATMSS344
                                    MSinMSC                                                                                                                         Successfully
    04/20/2018   05:00:50          mSOriginating   Outgoing    8586106881     18586106882      18586106882        18586106882   310260253792880   352509010940640   Completed                SFMSS347
                                                                                                                                                                    Successfully
    04/20/2018   05:09:30         mSOriginating    Outgoing    8586106881     18586106882      18586106882        18586106882   310260253792880   352509010940640   Completed                SFMSS347
                                                                                                                                                                    Successfully
    04/20/2018   05:17:33         mSOriginating    Outgoing    8586106881     18586106882      18586106882        18586106882   310260253792880   352509010940640   Completed                SFMSS347
                                                                                                                                                                    Successfully
    04/20/2018   06:48:41         mSOriginating    Outgoing    8586106881     18586106882      18586106882        18586106882   310260253792880   352509010940640   Completed                SFMSS347
                                                                                                                                                                    Successfully
    04/20/2018   12:31:14             SMSC                         129                         18586106881                                                          Completed               mavsms_pol02
                                                                                                                                                                    Successfully
    04/20/2018   12:31:17   60    mSTerminatingS   Incoming       129                          18586106881                      310260253792880   352509010940640   Completed                HNMSS348
                                    MSinMSC                                                                                                                         Successfully
    04/20/2018   14:39:31   144   mSTerminating    Incoming   8618814152119                    18586106881                      310260253792880   352509010940640   Completed       11       HNMSS348
                                                                                                                                                                    Successfully
    04/21/2018   12:55:48             SMSC                         129                         18586106881                                                          Completed               mavsms_pol02
                                                                                                                                                                    Successfully
    04/21/2018   14:50:15   60    mSTerminatingS   Incoming       129                          18586106881                      310260253792880   352509010940640   Completed                ATMSS344
                                    MSinMSC                                                                                                                         Successfully
    04/22/2018   12:36:23             SMSC                        129                          18586106881                                                          Completed               mavsms_pol02
                                                                                                                                                                    Successfully
    04/22/2018   13:16:42   60    mSTerminatingS   Incoming       129                          18586106881                      310260253792880   352509010940640   Completed                VGMSS342
                                    MSinMSC                                                                                                                         Successfully
    04/23/2018   05:57:57   85     mSOriginating   Outgoing    8586106881     18586106882      18586106882        18586106882   310260253792880   352509010940640   Completed                DAMSS343
                                                                                                                                                                    Successfully
    04/23/2018   12:28:00             SMSC                         129                         18586106881                                                          Completed               mavsms_pol02
                                                                                                                                                                    Successfully
    04/23/2018   14:34:11   60    mSTerminatingS   Incoming       129                          18586106881                      310260253792880   352509010940640   Completed                ATMSS344
                                    MSinMSC                                                                                                                         Successfully



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                                                                                           [Exhibit G - 131]
    04/23/2018   23:14:11   20    mSTerminating    Incoming   8586139154                     18586106881                      310260253792880   352509010940640   Completed       11       CRMSS345
                                                                                                                                                                  Successfully
    04/24/2018   02:12:34   11    mSTerminating    Incoming   8588753576                     18586106881                      310260253792880   352509010940640   Completed       11       ATMSS344
                                                                                                                                                                  Successfully
    04/24/2018   12:31:37             SMSC                        129                        18586106881                                                          Completed               mavsms_pol02
                                                                                                                                                                  Successfully
    04/24/2018   15:13:02   60    mSTerminatingS   Incoming       129                        18586106881                      310260253792880   352509010940640   Completed                ATMSS344
                                    MSinMSC                                                                                                                       Successfully
    04/24/2018   15:14:47   121    mSOriginating   Outgoing   8586106881    8584040700        8584040700        18584040700   310260253792880   352509010940640   Completed                ATMSS344
                                                                                                                                                                  Successfully
    04/25/2018   12:33:30             SMSC                        129                        18586106881                                                          Completed               mavsms_pol02
                                                                                                                                                                  Successfully
    04/25/2018   13:31:25   60    mSTerminatingS   Incoming       129                        18586106881                      310260253792880   352509010940640   Completed                SPMSS346
                                    MSinMSC                                                                                                                       Successfully
    04/26/2018   06:24:45    7     mSOriginating   Outgoing   8586106881    18056377243      18056377243        13235409999   310260253792880   352509010940640   Completed                DAMSS343
                                                                                                                                                                  Successfully
    04/26/2018   06:24:53             SMSC                        129                        18586106881                                                          Completed               mavsms_pol02
                                                                                                                                                                  Successfully
    04/26/2018   06:25:04   60    mSTerminatingS   Incoming       129                        18586106881                      310260253792880   352509010940640   Completed                DAMSS343
                                    MSinMSC                                                                                                                       Successfully
    04/26/2018   06:25:26   262    mSOriginating   Outgoing   8586106881    18056377243      18056377243        13235409999   310260253792880   352509010940640   Completed                DAMSS343
                                                                                                                                                                  Successfully
    04/26/2018   06:29:49             SMSC                        129                        18586106881                                                          Completed               mavsms_pol02
                                                                                                                                                                  Successfully
    04/26/2018   06:29:53   60    mSTerminatingS   Incoming      129                         18586106881                      310260253792880   352509010940640   Completed                DAMSS343
                                    MSinMSC                                                                                                                       Successfully
    04/26/2018   06:30:36   15     mSOriginating   Outgoing   8586106881    18056377243      18056377243        13235409999   310260253792880   352509010940640   Completed                DAMSS343
                                                                                                                                                                  Successfully
    04/26/2018   06:30:52             SMSC                        129                        18586106881                                                          Completed               mavsms_pol02
                                                                                                                                                                  Successfully
    04/26/2018   12:56:42   60    mSTerminatingS   Incoming      129                         18586106881                      310260253792880   352509010940640   Completed                DAMSS343
                                    MSinMSC                                                                                                                       Successfully
    04/27/2018   05:07:12             SMSC                    16192028217                    18586106881                                                          Completed               mavsms_pol02
                                                                                                                                                                  Successfully
    04/27/2018   05:07:16   60    mSTerminatingS   Incoming   16192028217                    18586106881                      310260253792880   352509010940640   Completed                SFMSS347
                                    MSinMSC                                                                                                                       Successfully
    04/27/2018   12:45:46             SMSC                        129                        18586106881                                                          Completed               mavsms_pol02
                                                                                                                                                                  Successfully
    04/27/2018   12:45:49   60    mSTerminatingS   Incoming      129                         18586106881                      310260253792880   352509010940640   Completed                SFMSS347
                                    MSinMSC                                                                                                                       Successfully
    04/27/2018   17:29:32         mSTerminating    Incoming   6084051764                     18586106881                      310260253792880   352509010940640    Abnormal       11        IEMSS341
                                                                                                                                                                  Completion
    04/27/2018   17:29:33   33    callForwarding   Outgoing   6084051764    18056377249      18056377249        18056377249   310260253792880                     Completed      011;2A     IEMSS341
                                                                                                                                                                  Successfully
    04/27/2018   17:30:49   12    mSOriginating    Outgoing   8586106881    16084051764      16084051764        16084051764   310260253792880   352509010940640   Completed                 IEMSS341
                                                                                                                                                                  Successfully
    04/28/2018   02:58:11   121   mSOriginating    Outgoing   8586106881    18586106882      18586106882        18586106882   310260253792880   352509010940640   Completed                VGMSS342
                                                                                                                                                                  Successfully
    04/28/2018   12:41:38             SMSC                        129                        18586106881                                                          Completed               mavsms_pol02
                                                                                                                                                                  Successfully
    04/28/2018   15:21:02   60    mSTerminatingS   Incoming       129                        18586106881                      310260253792880   352509010940640   Completed                VGMSS342
                                    MSinMSC                                                                                                                       Successfully
    04/29/2018   12:27:53             SMSC                        129                        18586106881                                                          Completed               mavsms_pol02
                                                                                                                                                                  Successfully



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                                                                                         [Exhibit G - 132]
    04/29/2018   12:27:55   60    mSTerminatingS   Incoming       129                          18586106881                         310260253792880   352509010940640   Completed                CRMSS345
                                    MSinMSC                                                                                                                            Successfully
    04/30/2018   12:36:23             SMSC                         129                         18586106881                                                             Completed               mavsms_pol02
                                                                                                                                                                       Successfully
    04/30/2018   14:37:41   60    mSTerminatingS   Incoming       129                          18586106881                         310260253792880   352509010940640   Completed                VGMSS342
                                    MSinMSC                                                                                                                            Successfully
    05/01/2018   04:26:04          mSOriginating   Outgoing    8586106881     18586108870      18586108870        18586108870      310260253792880   352509010940640   Completed                SPMSS346
                                                                                                                                                                       Successfully
    05/01/2018   12:31:43   246   mSOriginating    Outgoing    8586106881     18056377243      18056377243        13235409999      310260253792880   352509010940640   Completed                SPMSS346
                                                                                                                                                                       Successfully
    05/01/2018   12:35:49             SMSC                         129                         18586106881                                                             Completed               mavsms_pol02
                                                                                                                                                                       Successfully
    05/01/2018   12:35:54   60    mSTerminatingS   Incoming       129                          18586106881                         310260253792880   352509010940640   Completed                SPMSS346
                                    MSinMSC                                                                                                                            Successfully
    05/01/2018   12:37:30             SMSC                         129                         18586106881                                                             Completed               mavsms_pol02
                                                                                                                                                                       Successfully
    05/01/2018   12:37:33   60    mSTerminatingS   Incoming       129                          18586106881                         310260253792880   352509010940640   Completed                SPMSS346
                                    MSinMSC                                                                                                                            Successfully
    05/01/2018   19:06:18   556    mSOriginating   Outgoing    8586106881     18009452000      18009452000     11818633180094520   310260253792880   352509010940640   Completed                 IEMSS341
                                                                                                                      00                                               Successfully
    05/01/2018   19:29:41   389   mSOriginating    Outgoing    8586106881     12108214105      12108214105        12108214105      310260253792880   352509010940640   Completed                 IEMSS341
                                                                                                                                                                       Successfully
    05/01/2018   19:38:13         mSTerminating    Incoming    8002882020                      18586106881                         310260253792880   352509010940640    Abnormal       11        IEMSS341
                                                                                                                                                                       Completion
    05/01/2018   19:38:14   14    callForwarding   Outgoing    8002882020     18056377249      18056377249        18056377249      310260253792880                     Completed      011;2A     IEMSS341
                                                                                                                                                                       Successfully
    05/02/2018   12:29:15             SMSC                         129                         18586106881                                                             Completed               mavsms_pol02
                                                                                                                                                                       Successfully
    05/02/2018   14:19:20   60    mSTerminatingS   Incoming       129                          18586106881                         310260253792880   352509010940640   Completed                HNMSS348
                                    MSinMSC                                                                                                                            Successfully
    05/04/2018   03:27:08          mSOriginating   Outgoing    8586106881     18586106882      18586106882        18586106882      310260253792880   352509010940640    Abnormal                ATMSS344
                                                                                                                                                                       Completion
    05/04/2018   03:30:34         mSOriginating    Outgoing    8586106881     18586106882      18586106882        18586106882      310260253792880   352509010940640   Completed                ATMSS344
                                                                                                                                                                       Successfully
    05/04/2018   03:41:51         mSOriginating    Outgoing    8586106881     18586106882      18586106882        18586106882      310260253792880   352509010940640   Completed                ATMSS344
                                                                                                                                                                       Successfully
    05/04/2018   03:42:52         mSOriginating    Outgoing    8586106881     18586106882      18586106882        18586106882      310260253792880   352509010940640   Completed                ATMSS344
                                                                                                                                                                       Successfully
    05/04/2018   04:36:41         mSOriginating    Outgoing    8586106881     18586106882      18586106882        18586106882      310260253792880   352509010940640   Completed                ATMSS344
                                                                                                                                                                       Successfully
    05/04/2018   06:00:04         mSOriginating    Outgoing    8586106881     18586106882      18586106882        18586106882      310260253792880   352509010940640    Abnormal                ATMSS344
                                                                                                                                                                       Completion
    05/04/2018   08:39:42             SMSC                     18586106882                     18586106881                                                             Completed               mavsms_ttn03
                                                                                                                                                                       Successfully
    05/04/2018   08:39:57             SMSC                     18586106882                     18586106881                                                             Completed               mavsms_ttn03
                                                                                                                                                                       Successfully
    05/04/2018   12:30:08             SMSC                        129                          18586106881                                                             Completed               mavsms_pol02
                                                                                                                                                                       Successfully
    05/04/2018   13:04:09   15    callForwarding   Outgoing   8618814152119   18056377249      18056377249        18056377249      310260253792880                     Completed      011;2B    ATMSS344
                                                                                                                                                                       Successfully
    05/04/2018   16:21:47   60    mSTerminatingS   Incoming       129                          18586106881                         310260253792880   352509010940640   Completed                ATMSS344
                                    MSinMSC                                                                                                                            Successfully
    05/04/2018   16:21:54   60    mSTerminatingS   Incoming   18586106882                      18586106881                         310260253792880   352509010940640   Completed                ATMSS344
                                    MSinMSC                                                                                                                            Successfully



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                                                                                        [Exhibit G - 133]
    05/04/2018   16:21:56   60    mSTerminatingS   Incoming   18586106882                    18586106881                         310260253792880   352509010940640   Completed                ATMSS344
                                    MSinMSC                                                                                                                          Successfully
    05/04/2018   18:21:22          mSOriginating   Outgoing   8586106881       73303            73303               51           310260253792880   352509010940640   Completed                 IEMSS341
                                                                                                                                                                     Successfully
    05/04/2018   18:29:32   35    mSOriginating    Outgoing   8586106881    18002882020      18002882020     11818633180028820   310260253792880   352509010940640   Completed                 IEMSS341
                                                                                                                    20                                               Successfully
    05/04/2018   18:30:25   237   mSOriginating    Outgoing   8586106881    12108214105      12108214105        12108214105      310260253792880   352509010940640   Completed                 IEMSS341
                                                                                                                                                                     Successfully
    05/05/2018   00:45:54   138   mSOriginating    Outgoing   8586106881    18586106882      18586106882        18586106882      310260253792880   352509010940640   Completed                SFMSS347
                                                                                                                                                                     Successfully
    05/05/2018   12:12:47             SMSC                        129                        18586106881                                                             Completed               mavsms_pol02
                                                                                                                                                                     Successfully
    05/05/2018   17:59:21   60    mSTerminatingS   Incoming      129                         18586106881                         310260253792880   352509010940640   Completed                SFMSS347
                                    MSinMSC                                                                                                                          Successfully
    05/06/2018   12:07:23             SMSC                        129                        18586106881                                                             Completed               mavsms_pol02
                                                                                                                                                                     Successfully
    05/07/2018   12:56:20   60    mSTerminatingS   Incoming      129                         18586106881                         310260253792880   352509010940640   Completed                VGMSS342
                                    MSinMSC                                                                                                                          Successfully
    05/07/2018   15:30:05   13    mSTerminating    Incoming   8582682980                     18586106881                         310260253792880   352509010940640   Completed       11       DAMSS343
                                                                                                                                                                     Successfully
    05/07/2018   15:30:46   7     callForwarding   Outgoing   8582682980    18056377249      18056377249        18056377249      310260253792880                     Completed      011;2B    DAMSS343
                                                                                                                                                                     Successfully
    05/07/2018   15:31:07   485   mSTerminating    Incoming   8582682980                     18586106881                         310260253792880   352509010940640   Completed       11       DAMSS343
                                                                                                                                                                     Successfully
    05/07/2018   16:43:24             SMSC                    16192028216                    18586106881                                                             Completed               mavsms_pol02
                                                                                                                                                                     Successfully
    05/07/2018   16:43:29   60    mSTerminatingS   Incoming   16192028216                    18586106881                         310260253792880   352509010940640   Completed                DAMSS343
                                    MSinMSC                                                                                                                          Successfully
    05/07/2018   20:55:07    5         moc         Outgoing   18586106882   18056377249      18056377249        13235409999      310260253792880                     Completed       02B      DATAS003
                                                                                                                                                                     Successfully
    05/07/2018   23:18:51   54    mSTerminating    Incoming   8586106882                     18586106881                         310260253792880   352509010940640   Completed       11        IEMSS341
                                                                                                                                                                     Successfully
    05/08/2018   12:00:57             SMSC                        129                        18586106881                                                             Completed               mavsms_pol02
                                                                                                                                                                     Successfully
    05/08/2018   19:06:26   60    mSTerminatingS   Incoming      129                         18586106881                         310260253792880   352509010940640   Completed                 IEMSS341
                                    MSinMSC                                                                                                                          Successfully
    05/08/2018   19:34:28   13     mSOriginating   Outgoing   8586106881    18586106882      18586106882        18586106882      310260253792880   352509010940640   Completed                 IEMSS341
                                                                                                                                                                     Successfully
    05/09/2018   12:10:53             SMSC                        129                        18586106881                                                             Completed               mavsms_pol02
                                                                                                                                                                     Successfully
    05/09/2018   15:21:30   60    mSTerminatingS   Incoming      129                         18586106881                         310260253792880   352509010940640   Completed                 IEMSS341
                                    MSinMSC                                                                                                                          Successfully
    05/10/2018   12:13:25             SMSC                        129                        18586106881                                                             Completed               mavsms_pol02
                                                                                                                                                                     Successfully
    05/10/2018   12:13:28   60    mSTerminatingS   Incoming      129                         18586106881                         310260253792880   352509010940640   Completed                VGMSS342
                                    MSinMSC                                                                                                                          Successfully
    05/10/2018   17:01:52   30     mSOriginating   Outgoing   8586106881    18586106882      18586106882        18586106882      310260253792880   352509010940640   Completed                VGMSS342
                                                                                                                                                                     Successfully
    05/10/2018   18:20:53   509   mSOriginating    Outgoing   8586106881    12108214105      12108214105        12108214105      310260253792880   352509010940640   Completed                SFMSS347
                                                                                                                                                                     Successfully
    05/10/2018   18:34:39   438   mSOriginating    Outgoing   8586106881    12108214105      12108214105        12108214105      310260253792880   352509010940640   Completed                SFMSS347
                                                                                                                                                                     Successfully
    05/10/2018   18:51:41   104   mSOriginating    Outgoing   8586106881    18443823312      18443823312     11818633184438233   310260253792880   352509010940640   Completed                SFMSS347
                                                                                                                    12                                               Successfully



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                                                                                       [Exhibit G - 134]
    05/10/2018   19:04:40   421   mSOriginating    Outgoing   8586106881    18008662453      18008662453        18008662453      310260253792880   352509010940640   Completed                SFMSS347
                                                                                                                                                                     Successfully
    05/10/2018   19:48:04   255   mSOriginating    Outgoing   8586106881    18553077949      18553077949     11818633185530779   310260253792880   352509010940640   Completed                SFMSS347
                                                                                                                     49                                              Successfully
    05/10/2018   19:52:51   17    callForwarding   Outgoing   8554950100    18056377249      18056377249        18056377249      310260253792880                     Completed      011;2B    SFMSS347
                                                                                                                                                                     Successfully
    05/10/2018   19:53:31   19    callForwarding   Outgoing   8554950100    18056377249      18056377249        18056377249      310260253792880                     Completed      011;2B    SFMSS347
                                                                                                                                                                     Successfully
    05/10/2018   20:46:03             SMSC                       1314                        18586106881                                                             Completed               mavsms_pol02
                                                                                                                                                                     Successfully
    05/10/2018   20:46:03             SMSC                    18586106881                        1314                                                                Completed               mavsms_pol02
                                                                                                                                                                     Successfully
    05/10/2018   20:46:07   60    mSTerminatingS   Incoming      1314                        18586106881                         310260253792880   352509010940640   Completed                DAMSS343
                                    MSinMSC                                                                                                                          Successfully
    05/10/2018   20:46:11   60    mSTerminatingS   Incoming      1314                        18586106881                         310260253792880   352509010940640   Completed                DAMSS343
                                    MSinMSC                                                                                                                          Successfully
    05/10/2018   20:46:31             SMSC                       1314                        18586106881                                                             Completed               mavsms_pol02
                                                                                                                                                                     Successfully
    05/10/2018   20:46:31             SMSC                    18586106881                        1314                                                                Completed               mavsms_pol02
                                                                                                                                                                     Successfully
    05/10/2018   20:46:36   60    mSTerminatingS   Incoming      1314                        18586106881                         310260253792880   352509010940640   Completed                DAMSS343
                                    MSinMSC                                                                                                                          Successfully
    05/11/2018   04:23:44   13     mSOriginating   Outgoing   8586106881    18586106882      18586106882        18586106882      310260253792880   352509010940640   Completed                DAMSS343
                                                                                                                                                                     Successfully
    05/11/2018   05:47:54   10    mSTerminating    Incoming   8586106882                     18586106881                         310260253792880   352509010940640   Completed       11       DAMSS343
                                                                                                                                                                     Successfully
    05/11/2018   12:23:24             SMSC                       129                         18586106881                                                             Completed               mavsms_pol02
                                                                                                                                                                     Successfully
    05/11/2018   14:07:37   60    mSTerminatingS   Incoming      129                         18586106881                         310260253792880   352509010940640   Completed                DAMSS343
                                    MSinMSC                                                                                                                          Successfully
    05/11/2018   20:05:26   24    mSTerminating    Incoming   3233733162                     18586106881                         310260253792880   352509010940640   Completed       11       ORMSS349
                                                                                                                                                                     Successfully
    05/11/2018   20:06:19   4     callForwarding   Outgoing   3233733162    18056377249      18056377249        18056377249      310260253792880                     Completed      011;2B    ORMSS349
                                                                                                                                                                     Successfully
    05/11/2018   20:06:39   2     mSTerminating    Incoming   3233733162                     18586106881                         310260253792880   352509010940640   Completed       11       SPMSS346
                                                                                                                                                                     Successfully
    05/11/2018   20:07:02   1     mSTerminating    Incoming   3233733162                     18586106881                         310260253792880   352509010940640   Completed       11       SPMSS346
                                                                                                                                                                     Successfully
    05/11/2018   20:07:28         mSTerminating    Incoming   3233733162                     18586106881                         310260253792880   352509010940640    Abnormal       11       SPMSS346
                                                                                                                                                                     Completion
    05/11/2018   20:07:38         mSTerminating    Incoming   3233733162                     18586106881                         310260253792880   352509010940640    Abnormal       11       SPMSS346
                                                                                                                                                                     Completion
    05/12/2018   04:43:24   16    mSOriginating    Outgoing   8586106881    18586106882      18586106882        18586106882      310260253792880   352509010940640   Completed                CRMSS345
                                                                                                                                                                     Successfully
    05/12/2018   05:04:41   8     mSTerminating    Incoming   8586106882                     18586106881                         310260253792880   352509010940640   Completed       11       SFMSS347
                                                                                                                                                                     Successfully
    05/12/2018   12:18:37             SMSC                       129                         18586106881                                                             Completed               mavsms_pol02
                                                                                                                                                                     Successfully
    05/13/2018   00:31:00   60    mSTerminatingS   Incoming      129                         18586106881                         310260253792880   352509010940640   Completed                SFMSS347
                                    MSinMSC                                                                                                                          Successfully
    05/13/2018   01:51:06   12     mSOriginating   Outgoing   8586106881    18772118858      18772118858     11818633187721188   310260253792880   352509010940640   Completed                SPMSS346
                                                                                                                    58                                               Successfully
    05/13/2018   04:15:22   16    mSOriginating    Outgoing   8586106881    18586106882      18586106882        18586106882      310260253792880   352509010940640   Completed                 IEMSS341
                                                                                                                                                                     Successfully



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                                                                                      [Exhibit G - 135]
    05/13/2018   04:31:01    9    mSTerminating    Incoming   8586106882                    18586106881                         310260253792880   352509010940640   Completed       11        IEMSS341
                                                                                                                                                                    Successfully
    05/13/2018   12:12:32             SMSC                       129                        18586106881                                                             Completed               mavsms_pol02
                                                                                                                                                                    Successfully
    05/13/2018   17:29:41   60    mSTerminatingS   Incoming      129                        18586106881                         310260253792880   352509010940640   Completed                 IEMSS341
                                    MSinMSC                                                                                                                         Successfully
    05/14/2018   01:28:52   112   mSTerminating    Incoming   8586108870                    18586106881                         310260253792880   352509010940640   Completed       11        IEMSS341
                                                                                                                                                                    Successfully
    05/14/2018   03:56:47   18    mSTerminating    Incoming   8586106882                    18586106881                         310260253792880   352509010940640   Completed       11        IEMSS341
                                                                                                                                                                    Successfully
    05/14/2018   05:32:05   18    mSTerminating    Incoming   8586106882                    18586106881                         310260253792880   352509010940640   Completed       11       SPMSS346
                                                                                                                                                                    Successfully
    05/14/2018   12:21:29             SMSC                       129                        18586106881                                                             Completed               mavsms_pol02
                                                                                                                                                                    Successfully
    05/14/2018   16:48:43   60    mSTerminatingS   Incoming      129                        18586106881                         310260253792880   352509010940640   Completed                SFMSS347
                                    MSinMSC                                                                                                                         Successfully
    05/14/2018   22:20:01   22     mSOriginating   Outgoing   8586106881   18003810759      18003810759     11818633180038107   310260253792880   352509010940640   Completed                SFMSS347
                                                                                                                   59                                               Successfully
    05/14/2018   22:23:50   807   mSOriginating    Outgoing   8586106881   18003810759      18003810759     11818633180038107   310260253792880   352509010940640   Completed                SFMSS347
                                                                                                                   59                                               Successfully
    05/15/2018   04:28:35   22    mSOriginating    Outgoing   8586106881   18586106882      18586106882        18586106882      310260253792880   352509010940640   Completed                DAMSS343
                                                                                                                                                                    Successfully
    05/15/2018   05:22:05   10    mSTerminating    Incoming   8586106882                    18586106881                         310260253792880   352509010940640   Completed       11       DAMSS343
                                                                                                                                                                    Successfully
    05/15/2018   12:12:30             SMSC                       129                        18586106881                                                             Completed               mavsms_pol02
                                                                                                                                                                    Successfully
    05/15/2018   18:11:00   33    callForwarding   Outgoing   8002905000   18056377249      18056377249        18056377249      310260253792880                     Completed      011;2B    HNMSS348
                                                                                                                                                                    Successfully
    05/15/2018   20:35:33   27    callForwarding   Outgoing   8582435101   18056377249      18056377249        18056377249      310260253792880                     Completed      011;2B    HNMSS348
                                                                                                                                                                    Successfully
    05/15/2018   22:32:46   27    callForwarding   Outgoing   8582435260   18056377249      18056377249        18056377249      310260253792880                     Completed      011;2B    HNMSS348
                                                                                                                                                                    Successfully
    05/16/2018   02:12:34   60    mSTerminatingS   Incoming      129                        18586106881                         310260253792880   352509010940640   Completed                HNMSS348
                                    MSinMSC                                                                                                                         Successfully
    05/16/2018   02:12:52   182    mSOriginating   Outgoing   8586106881   18009452000      18009452000     11818633180094520   310260253792880   352509010940640   Completed                HNMSS348
                                                                                                                   00                                               Successfully
    05/16/2018   04:22:46         mSTerminating    Incoming   8586106882                    18586106881                         310260253792880   352509010940640    Abnormal       11       DAMSS343
                                                                                                                                                                    Completion
    05/16/2018   12:08:18             SMSC                       129                        18586106881                                                             Completed               mavsms_pol02
                                                                                                                                                                    Successfully
    05/16/2018   13:53:57   60    mSTerminatingS   Incoming      129                        18586106881                         310260253792880   352509010940640   Completed                DAMSS343
                                    MSinMSC                                                                                                                         Successfully
    05/16/2018   16:59:22         mSTerminating    Incoming   8582435729                    18586106881                         310260253792880   352509010940640    Abnormal       11       VGMSS342
                                                                                                                                                                    Completion
    05/16/2018   17:47:28   6     mSTerminating    Incoming   2138072155                    18586106881                         310260253792880   352509010940640   Completed       11       VGMSS342
                                                                                                                                                                    Successfully
    05/16/2018   17:56:55   55    mSOriginating    Outgoing   8586106881   18586106882      18586106882        18586106882      310260253792880   352509010940640   Completed                VGMSS342
                                                                                                                                                                    Successfully
    05/16/2018   19:58:39   63    mSOriginating    Outgoing   8586106881   18586106882      18586106882        18586106882      310260253792880   352509010940640   Completed                VGMSS342
                                                                                                                                                                    Successfully
    05/16/2018   21:48:04   14    mSOriginating    Outgoing   8586106881   18056377243      18056377243        13235409999      310260253792880   352509010940640   Completed                VGMSS342
                                                                                                                                                                    Successfully
    05/16/2018   21:48:20             SMSC                       129                        18586106881                                                             Completed               mavsms_pol02
                                                                                                                                                                    Successfully



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                                                                                     [Exhibit G - 136]
    05/16/2018   21:48:23   60    mSTerminatingS   Incoming      129                         18586106881                         310260253792880   352509010940640   Completed                VGMSS342
                                    MSinMSC                                                                                                                          Successfully
    05/16/2018   21:48:45   206    mSOriginating   Outgoing   8586106881    18056377243      18056377243        13235409999      310260253792880   352509010940640   Completed                VGMSS342
                                                                                                                                                                     Successfully
    05/16/2018   21:52:11             SMSC                       129                         18586106881                                                             Completed               mavsms_pol02
                                                                                                                                                                     Successfully
    05/16/2018   21:52:16   60    mSTerminatingS   Incoming      129                         18586106881                         310260253792880   352509010940640   Completed                VGMSS342
                                    MSinMSC                                                                                                                          Successfully
    05/17/2018   12:17:50             SMSC                       129                         18586106881                                                             Completed               mavsms_pol02
                                                                                                                                                                     Successfully
    05/17/2018   17:27:47              moc         Outgoing   18586106845   18056377249      18056377249        13235409999      310260253792880                      Abnormal       02B       TTTAS005
                                                                                                                                                                     Completion
    05/17/2018   17:27:47              mtc         Incoming   18586106845   18586106881      18586106881        18586106881      310260253792880                      Abnormal      021;11     TTTAS005
                                                                                                                                                                     Completion
    05/17/2018   20:31:09   27    callForwarding   Outgoing   9253600161    18056377249      18056377249        18056377249      310260253792880                     Completed      011;2B    CRMSS345
                                                                                                                                                                     Successfully
    05/18/2018   05:50:04   60    mSTerminatingS   Incoming      129                         18586106881                         310260253792880   352509010940640   Completed                CRMSS345
                                    MSinMSC                                                                                                                          Successfully
    05/18/2018   05:50:18   13     mSOriginating   Outgoing   8586106881    18586106882      18586106882        18586106882      310260253792880   352509010940640   Completed                CRMSS345
                                                                                                                                                                     Successfully
    05/18/2018   12:21:38             SMSC                       129                         18586106881                                                             Completed               mavsms_pol02
                                                                                                                                                                     Successfully
    05/18/2018   15:35:57   60    mSTerminatingS   Incoming      129                         18586106881                         310260253792880   352509010940640   Completed                SPMSS346
                                    MSinMSC                                                                                                                          Successfully
    05/18/2018   20:12:06   19    mSTerminating    Incoming   3232022821                     18586106881                         310260253792880   352509010940640   Completed       11       DAMSS343
                                                                                                                                                                     Successfully
    05/19/2018   04:59:18   10    mSTerminating    Incoming   8586106882                     18586106881                         310260253792880   352509010940640   Completed       11        IEMSS341
                                                                                                                                                                     Successfully
    05/19/2018   12:25:01             SMSC                       129                         18586106881                                                             Completed               mavsms_pol02
                                                                                                                                                                     Successfully
    05/19/2018   17:30:39   32         mtc         Incoming   18586106882   18586106881      18586106881        18586106881      310260253792880                     Completed      021;11    NVTAS009
                                                                                                                                                                     Successfully
    05/19/2018   17:30:40   32         moc         Outgoing   18586106882   18056377249      18056377249        13235409999      310260253792880                     Completed       02B      NVTAS009
                                                                                                                                                                     Successfully
    05/19/2018   21:29:12   60    mSTerminatingS   Incoming      129                         18586106881                         310260253792880   352509010940640   Completed                 IEMSS341
                                    MSinMSC                                                                                                                          Successfully
    05/20/2018   05:14:07   11    mSTerminating    Incoming   8586106882                     18586106881                         310260253792880   352509010940640   Completed       11       SPMSS346
                                                                                                                                                                     Successfully
    05/20/2018   12:06:44             SMSC                       129                         18586106881                                                             Completed               mavsms_pol02
                                                                                                                                                                     Successfully
    05/20/2018   17:14:20   60    mSTerminatingS   Incoming      129                         18586106881                         310260253792880   352509010940640   Completed                CRMSS345
                                    MSinMSC                                                                                                                          Successfully
    05/21/2018   04:23:28   10    mSTerminating    Incoming   8586106882                     18586106881                         310260253792880   352509010940640   Completed       11       DAMSS343
                                                                                                                                                                     Successfully
    05/21/2018   12:09:10             SMSC                       129                         18586106881                                                             Completed               mavsms_pol02
                                                                                                                                                                     Successfully
    05/21/2018   16:34:59   60    mSTerminatingS   Incoming      129                         18586106881                         310260253792880   352509010940640   Completed                DAMSS343
                                    MSinMSC                                                                                                                          Successfully
    05/21/2018   18:46:06          mSOriginating   Outgoing   8586106881    108003810759     108003810759           51           310260253792880   352509010940640   Completed                ATMSS344
                                                                                                                                                                     Successfully
    05/21/2018   18:46:27   580   mSOriginating    Outgoing   8586106881    18003810759      18003810759     11818633180038107   310260253792880   352509010940640   Completed                ATMSS344
                                                                                                                    59                                               Successfully
    05/22/2018   05:07:27   12    mSTerminating    Incoming   8586106882                     18586106881                         310260253792880   352509010940640   Completed       11        IEMSS341
                                                                                                                                                                     Successfully



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                                                                                       [Exhibit G - 137]
    05/22/2018   12:12:02             SMSC                       129                        18586106881                                                             Completed               mavsms_pol02
                                                                                                                                                                    Successfully
    05/22/2018   14:35:17   60    mSTerminatingS   Incoming      129                        18586106881                         310260253792880   352509010940640   Completed                CRMSS345
                                    MSinMSC                                                                                                                         Successfully
    05/23/2018   12:06:38             SMSC                       129                        18586106881                                                             Completed               mavsms_pol02
                                                                                                                                                                    Successfully
    05/23/2018   13:34:41   60    mSTerminatingS   Incoming      129                        18586106881                         310260253792880   352509010940640   Completed                ORMSS349
                                    MSinMSC                                                                                                                         Successfully
    05/23/2018   16:04:41   706    mSOriginating   Outgoing   8586106881   18008244491      18008244491     11818633180082444   310260253792880   352509010940640   Completed                CRMSS345
                                                                                                                   91                                               Successfully
    05/23/2018   16:21:36   860   mSOriginating    Outgoing   8586106881   18008244491      18008244491     11818633180082444   310260253792880   352509010940640   Completed                CRMSS345
                                                                                                                   91                                               Successfully
    05/23/2018   16:51:05   160   mSOriginating    Outgoing   8586106881   18008244491      18008244491     11818633180082444   310260253792880   352509010940640   Completed                CRMSS345
                                                                                                                   91                                               Successfully
    05/23/2018   17:36:59   657   mSOriginating    Outgoing   8586106881   18008244491      18008244491     11818633180082444   310260253792880   352509010940640   Completed                CRMSS345
                                                                                                                   91                                               Successfully
    05/24/2018   12:22:18             SMSC                       129                        18586106881                                                             Completed               mavsms_pol02
                                                                                                                                                                    Successfully
    05/24/2018   15:09:56   60    mSTerminatingS   Incoming      129                        18586106881                         310260253792880   352509010940640   Completed                DAMSS343
                                    MSinMSC                                                                                                                         Successfully
    05/25/2018   04:58:28   3      mSOriginating   Outgoing   8586106881   18586106882      18586106882        18586106882      310260253792880   352509010940640   Completed                ORMSS349
                                                                                                                                                                    Successfully
    05/25/2018   04:58:59   12    mSTerminating    Incoming   8586106882                    18586106881                         310260253792880   352509010940640   Completed       11       ORMSS349
                                                                                                                                                                    Successfully
    05/25/2018   05:19:51   9     mSTerminating    Incoming   8586106882                    18586106881                         310260253792880   352509010940640   Completed       11       ORMSS349
                                                                                                                                                                    Successfully
    05/25/2018   12:15:40             SMSC                       129                        18586106881                                                             Completed               mavsms_pol02
                                                                                                                                                                    Successfully
    05/25/2018   16:42:45   33    callForwarding   Outgoing   3132097648   18056377249      18056377249        18056377249      310260253792880                     Completed      011;2B    ORMSS349
                                                                                                                                                                    Successfully
    05/25/2018   17:37:34   60    mSTerminatingS   Incoming      129                        18586106881                         310260253792880   352509010940640   Completed                ORMSS349
                                    MSinMSC                                                                                                                         Successfully
    05/25/2018   20:46:32   25    mSTerminating    Incoming   2138074091                    18586106881                         310260253792880   352509010940640   Completed       11       SPMSS346
                                                                                                                                                                    Successfully
    05/26/2018   02:10:50   211   mSOriginating    Outgoing   8586106881   18586503333      18586503333        18586503333      310260253792880   352509010940640   Completed                SPMSS346
                                                                                                                                                                    Successfully
    05/26/2018   04:41:15   11    mSTerminating    Incoming   8586106882                    18586106881                         310260253792880   352509010940640   Completed       11       SPMSS346
                                                                                                                                                                    Successfully
    05/26/2018   12:25:20             SMSC                       129                        18586106881                                                             Completed               mavsms_pol02
                                                                                                                                                                    Successfully
    05/26/2018   17:04:57   60    mSTerminatingS   Incoming      129                        18586106881                         310260253792880   352509010940640   Completed                SPMSS346
                                    MSinMSC                                                                                                                         Successfully
    05/27/2018   04:33:59   9     mSTerminating    Incoming   8586106882                    18586106881                         310260253792880   352509010940640   Completed       11       ATMSS344
                                                                                                                                                                    Successfully
    05/27/2018   12:18:57             SMSC                       129                        18586106881                                                             Completed               mavsms_pol02
                                                                                                                                                                    Successfully
    05/27/2018   15:28:21   60    mSTerminatingS   Incoming      129                        18586106881                         310260253792880   352509010940640   Completed                ATMSS344
                                    MSinMSC                                                                                                                         Successfully
    05/27/2018   17:12:05   9      mSOriginating   Outgoing   8586106881   18586106882      18586106882        18586106882      310260253792880   352509010940640   Completed                ATMSS344
                                                                                                                                                                    Successfully
    05/28/2018   03:34:33   70    mSTerminating    Incoming   8586106882                    18586106881                         310260253792880   352509010940640   Completed       11       ATMSS344
                                                                                                                                                                    Successfully
    05/28/2018   05:39:38   21    mSTerminating    Incoming   8586106882                    18586106881                         310260253792880   352509010940640   Completed       11       ATMSS344
                                                                                                                                                                    Successfully



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                                                                                     [Exhibit G - 138]
    05/28/2018   12:13:25             SMSC                       129                        18586106881                                                            Completed               mavsms_pol02
                                                                                                                                                                   Successfully
    05/28/2018   18:11:15   11    mSOriginating    Outgoing   8586106881   18586106882      18586106882        18586106882     310260253792880   352509010940640   Completed                ATMSS344
                                                                                                                                                                   Successfully
    05/28/2018   18:11:27   60    mSTerminatingS   Incoming      129                        18586106881                        310260253792880   352509010940640   Completed                ATMSS344
                                    MSinMSC                                                                                                                        Successfully
    05/29/2018   05:56:50    9    mSTerminating    Incoming   8586106882                    18586106881                        310260253792880   352509010940640   Completed       11       CRMSS345
                                                                                                                                                                   Successfully
    05/29/2018   12:07:34             SMSC                       129                        18586106881                                                            Completed               mavsms_pol02
                                                                                                                                                                   Successfully
    05/29/2018   15:31:43   60    mSTerminatingS   Incoming      129                        18586106881                        310260253792880   352509010940640   Completed                CRMSS345
                                    MSinMSC                                                                                                                        Successfully
    05/29/2018   17:06:36   52     mSOriginating   Outgoing   8586106881   18586106882      18586106882        18586106882     310260253792880   352509010940640   Completed                CRMSS345
                                                                                                                                                                   Successfully
    05/29/2018   17:56:23         mSTerminating    Incoming   2138078088                    18586106881                        310260253792880   352509010940640    Abnormal       11       CRMSS345
                                                                                                                                                                   Completion
    05/29/2018   17:56:24         callForwarding   Outgoing   2138078088   18056377249      18056377249        18056377249     310260253792880                     Completed      011;2A    CRMSS345
                                                                                                                                                                   Successfully
    05/29/2018   19:04:49   1     mSOriginating    Outgoing   8586106881   18003810759      18003810759    11818633180038107   310260253792880   352509010940640   Completed                SPMSS346
                                                                                                                  59                                               Successfully
    05/29/2018   21:21:35   12    mSOriginating    Outgoing   8586106881   18003810759      18003810759    11818633180038107   310260253792880   352509010940640   Completed                 IEMSS341
                                                                                                                  59                                               Successfully
    05/29/2018   21:24:09   386   mSOriginating    Outgoing   8586106881   18003810759      18003810759    11818633180038107   310260253792880   352509010940640   Completed                 IEMSS341
                                                                                                                  59                                               Successfully
    05/30/2018   12:12:53             SMSC                       129                        18586106881                                                            Completed               mavsms_pol02
                                                                                                                                                                   Successfully
    05/30/2018   14:53:34   60    mSTerminatingS   Incoming      129                        18586106881                        310260253792880   352509010940640   Completed                ATMSS344
                                    MSinMSC                                                                                                                        Successfully
    05/31/2018   02:38:44   23    mSTerminating    Incoming   8586106882                    18586106881                        310260253792880   352509010940640   Completed       11       CRMSS345
                                                                                                                                                                   Successfully
    05/31/2018   03:49:57   18    mSOriginating    Outgoing   8586106881   18586106882      18586106882        18586106882     310260253792880   352509010940640   Completed                DAMSS343
                                                                                                                                                                   Successfully
    05/31/2018   12:12:24             SMSC                       129                        18586106881                                                            Completed               mavsms_pol02
                                                                                                                                                                   Successfully
    05/31/2018   16:36:34   60    mSTerminatingS   Incoming      129                        18586106881                        310260253792880   352509010940640   Completed                ATMSS344
                                    MSinMSC                                                                                                                        Successfully
    06/01/2018   05:25:36   9     mSTerminating    Incoming   8586106882                    18586106881                        310260253792880   352509010940640   Completed       11       VGMSS342
                                                                                                                                                                   Successfully
    06/01/2018   12:14:12             SMSC                       129                        18586106881                                                            Completed               mavsms_pol02
                                                                                                                                                                   Successfully
    06/01/2018   16:25:49   60    mSTerminatingS   Incoming      129                        18586106881                        310260253792880   352509010940640   Completed                SPMSS346
                                    MSinMSC                                                                                                                        Successfully
    06/01/2018   16:26:23          mSOriginating   Outgoing   8586106881   1856941020        1856941020            51          310260253792880   352509010940640   Completed                SPMSS346
                                                                                                                                                                   Successfully
    06/01/2018   16:26:39   52    mSOriginating    Outgoing   8586106881   18586941020      18586941020        18586941020     310260253792880   352509010940640   Completed                SPMSS346
                                                                                                                                                                   Successfully
    06/01/2018   16:33:10   26    mSOriginating    Outgoing   8586106881   18586941020      18586941020        18586941020     310260253792880   352509010940640   Completed                SPMSS346
                                                                                                                                                                   Successfully
    06/01/2018   16:33:48   54    mSOriginating    Outgoing   8586106881   18586941020      18586941020        18586941020     310260253792880   352509010940640   Completed                SPMSS346
                                                                                                                                                                   Successfully
    06/01/2018   16:58:05   109   mSOriginating    Outgoing   8586106881   18586941020      18586941020        18586941020     310260253792880   352509010940640   Completed                SPMSS346
                                                                                                                                                                   Successfully
    06/02/2018   04:45:56   13    mSTerminating    Incoming   8586106882                    18586106881                        310260253792880   352509010940640   Completed       11       CRMSS345
                                                                                                                                                                   Successfully



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                                                                                        [Exhibit G - 139]
    06/02/2018   12:19:43             SMSC                       129                        18586106881                                                          Completed           mavsms_pol02
                                                                                                                                                                 Successfully
    06/03/2018   00:24:04   60    mSTerminatingS   Incoming      129                        18586106881                      310260253792880   352509010940640   Completed             IEMSS341
                                    MSinMSC                                                                                                                      Successfully
    06/03/2018   00:25:09   235    mSOriginating   Outgoing   8586106881   18056377243      18056377243        13235409999   310260253792880   352509010940640   Completed             IEMSS341
                                                                                                                                                                 Successfully
    06/03/2018   00:29:05             SMSC                       129                        18586106881                                                          Completed           mavsms_pol02
                                                                                                                                                                 Successfully
    06/03/2018   00:29:13   60    mSTerminatingS   Incoming      129                        18586106881                      310260253792880   352509010940640   Completed             IEMSS341
                                    MSinMSC                                                                                                                      Successfully
    06/03/2018   00:29:13   193    mSOriginating   Outgoing   8586106881   18056377243      18056377243        13235409999   310260253792880   352509010940640   Completed             IEMSS341
                                                                                                                                                                 Successfully
    06/03/2018   00:32:27             SMSC                       129                        18586106881                                                          Completed           mavsms_pol02
                                                                                                                                                                 Successfully
    06/03/2018   00:32:30   60    mSTerminatingS   Incoming      129                        18586106881                      310260253792880   352509010940640   Completed             IEMSS341
                                    MSinMSC                                                                                                                      Successfully
    06/03/2018   04:48:01   23    mSTerminating    Incoming   8586106882                    18586106881                      310260253792880   352509010940640   Completed      11     IEMSS341
                                                                                                                                                                 Successfully
    06/03/2018   12:35:39             SMSC                       129                        18586106881                                                          Completed           mavsms_pol02
                                                                                                                                                                 Successfully
    06/03/2018   17:15:37   60    mSTerminatingS   Incoming      129                        18586106881                      310260253792880   352509010940640   Completed             IEMSS341
                                    MSinMSC                                                                                                                      Successfully
    06/04/2018   04:46:21   11    mSTerminating    Incoming   8586106882                    18586106881                      310260253792880   352509010940640   Completed      11    SPMSS346
                                                                                                                                                                 Successfully
    06/04/2018   12:09:25             SMSC                       129                        18586106881                                                          Completed           mavsms_pol02
                                                                                                                                                                 Successfully
    06/04/2018   15:17:52   60    mSTerminatingS   Incoming      129                        18586106881                      310260253792880   352509010940640   Completed            ORMSS349
                                    MSinMSC                                                                                                                      Successfully
    06/04/2018   18:22:49   28     mSOriginating   Outgoing   8586106881   18586106882      18586106882        18586106882   310260253792880   352509010940640   Completed            ORMSS349
                                                                                                                                                                 Successfully
    06/05/2018   05:23:55   13    mSTerminating    Incoming   8586106882                    18586106881                      310260253792880   352509010940640   Completed      11    ORMSS349
                                                                                                                                                                 Successfully
    06/05/2018   12:13:15             SMSC                       129                        18586106881                                                          Completed           mavsms_pol02
                                                                                                                                                                 Successfully
    06/06/2018   02:03:19   60    mSTerminatingS   Incoming      129                        18586106881                      310260253792880   352509010940640   Completed            CRMSS345
                                    MSinMSC                                                                                                                      Successfully
    06/06/2018   12:17:09             SMSC                       129                        18586106881                                                          Completed           mavsms_pol02
                                                                                                                                                                 Successfully
    06/06/2018   16:34:46   60    mSTerminatingS   Incoming      129                        18586106881                      310260253792880   352509010940640   Completed            CRMSS345
                                    MSinMSC                                                                                                                      Successfully
    06/07/2018   12:31:21             SMSC                       129                        18586106881                                                          Completed           mavsms_pol02
                                                                                                                                                                 Successfully
    06/07/2018   15:43:43   60    mSTerminatingS   Incoming      129                        18586106881                      310260253792880   352509010940640   Completed            SFMSS347
                                    MSinMSC                                                                                                                      Successfully
    06/08/2018   04:03:20   24     mSOriginating   Outgoing   8586106881   18586106882      18586106882        18586106882   310260253792880   352509010940640   Completed            DAMSS343
                                                                                                                                                                 Successfully
    06/08/2018   05:07:30   13    mSTerminating    Incoming   8586106882                    18586106881                      310260253792880   352509010940640   Completed      11    DAMSS343
                                                                                                                                                                 Successfully
    06/08/2018   12:24:42             SMSC                       129                        18586106881                                                          Completed           mavsms_pol02
                                                                                                                                                                 Successfully
    06/08/2018   16:41:37   60    mSTerminatingS   Incoming      129                        18586106881                      310260253792880   352509010940640   Completed            VGMSS342
                                    MSinMSC                                                                                                                      Successfully
    06/09/2018   03:50:27   18     mSOriginating   Outgoing   8586106881   18586106882      18586106882        18586106882   310260253792880   352509010940640   Completed            ORMSS349
                                                                                                                                                                 Successfully



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                                                                                     [Exhibit G - 140]
    06/09/2018   04:25:52   9    mSTerminating    Incoming   8586106882                    18586106881                      310260253792880   352509010940640   Completed       11        IEMSS341
                                                                                                                                                                Successfully
    06/09/2018   12:19:33            SMSC                       129                        18586106881                                                          Completed               mavsms_pol02
                                                                                                                                                                Successfully
    06/10/2018   04:25:21   60   mSTerminatingS   Incoming      129                        18586106881                      310260253792880   352509010940640   Completed                 IEMSS341
                                   MSinMSC                                                                                                                      Successfully
    06/10/2018   04:25:45   14    mSOriginating   Outgoing   8586106881   18586106882      18586106882        18586106882   310260253792880   352509010940640   Completed                 IEMSS341
                                                                                                                                                                Successfully
    06/10/2018   04:38:36   14   mSTerminating    Incoming   8586106882                    18586106881                      310260253792880   352509010940640   Completed       11        IEMSS341
                                                                                                                                                                Successfully
    06/10/2018   12:14:42            SMSC                       129                        18586106881                                                          Completed               mavsms_pol02
                                                                                                                                                                Successfully
    06/10/2018   16:41:41   60   mSTerminatingS   Incoming      129                        18586106881                      310260253792880   352509010940640   Completed                DAMSS343
                                   MSinMSC                                                                                                                      Successfully
    06/11/2018   04:21:19   13   mSTerminating    Incoming   8586106882                    18586106881                      310260253792880   352509010940640   Completed       11       ATMSS344
                                                                                                                                                                Successfully
    06/11/2018   12:15:41            SMSC                       129                        18586106881                                                          Completed               mavsms_pol02
                                                                                                                                                                Successfully
    06/11/2018   16:29:44   33   callForwarding   Outgoing   5713489418   18056377249      18056377249        18056377249   310260253792880                     Completed      011;2B    SPMSS346
                                                                                                                                                                Successfully
    06/11/2018   17:32:50   60   mSTerminatingS   Incoming      129                        18586106881                      310260253792880   352509010940640   Completed                ATMSS344
                                   MSinMSC                                                                                                                      Successfully
    06/12/2018   03:40:43   23    mSOriginating   Outgoing   8586106881   18586106882      18586106882        18586106882   310260253792880   352509010940640   Completed                VGMSS342
                                                                                                                                                                Successfully
    06/12/2018   05:15:29   8    mSTerminating    Incoming   8586106882                    18586106881                      310260253792880   352509010940640   Completed       11       ORMSS349
                                                                                                                                                                Successfully
    06/12/2018   12:36:43            SMSC                       129                        18586106881                                                          Completed               mavsms_pol02
                                                                                                                                                                Successfully
    06/13/2018   06:09:17   60   mSTerminatingS   Incoming      129                        18586106881                      310260253792880   352509010940640   Completed                DAMSS343
                                   MSinMSC                                                                                                                      Successfully
    06/13/2018   12:30:59            SMSC                       129                        18586106881                                                          Completed               mavsms_pol02
                                                                                                                                                                Successfully
    06/13/2018   16:04:44   60   mSTerminatingS   Incoming      129                        18586106881                      310260253792880   352509010940640   Completed                DAMSS343
                                   MSinMSC                                                                                                                      Successfully
    06/13/2018   17:12:15   11    mSOriginating   Outgoing   8586106881   18586503333      18586503333        18586503333   310260253792880   352509010940640   Completed                ATMSS344
                                                                                                                                                                Successfully
    06/14/2018   02:20:29   27   mSOriginating    Outgoing   8586106881   18586106882      18586106882        18586106882   310260253792880   352509010940640   Completed                ATMSS344
                                                                                                                                                                Successfully
    06/14/2018   05:36:09   10   mSTerminating    Incoming   8586106882                    18586106881                      310260253792880   352509010940640   Completed       11       HNMSS348
                                                                                                                                                                Successfully
    06/14/2018   05:47:19   10   mSOriginating    Outgoing   8586106881   18587957040      18587957040        18587957040   310260253792880   352509010940640   Completed                HNMSS348
                                                                                                                                                                Successfully
    06/14/2018   12:25:39            SMSC                       129                        18586106881                                                          Completed               mavsms_pol02
                                                                                                                                                                Successfully
    06/14/2018   16:29:05   60   mSTerminatingS   Incoming      129                        18586106881                      310260253792880   352509010940640   Completed                SPMSS346
                                   MSinMSC                                                                                                                      Successfully
    06/14/2018   16:38:25   17   mSTerminating    Incoming   8586106882                    18586106881                      310260253792880   352509010940640   Completed       11       SPMSS346
                                                                                                                                                                Successfully
    06/14/2018   17:35:58   47   mSTerminating    Incoming   2124306710                    18586106881                      310260253792880   352509010940640   Completed       11       SPMSS346
                                                                                                                                                                Successfully
    06/15/2018   05:02:48   41   mSOriginating    Outgoing   8586106881   18587957040      18587957040        18587957040   310260253792880   352509010940640   Completed                SFMSS347
                                                                                                                                                                Successfully
    06/15/2018   05:14:42   12   mSOriginating    Outgoing   8586106881   18586106882      18586106882        18586106882   310260253792880   352509010940640   Completed                SFMSS347
                                                                                                                                                                Successfully



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                                                                                    [Exhibit G - 141]
    06/15/2018   05:51:45   18    mSTerminating    Incoming   8586106882                     18586106881                      310260253792880   352509010940640   Completed      11     SFMSS347
                                                                                                                                                                  Successfully
    06/15/2018   12:25:40             SMSC                        129                        18586106881                                                          Completed            mavsms_pol02
                                                                                                                                                                  Successfully
    06/15/2018   18:21:40   53    mSOriginating    Outgoing   8586106881    18586108863      18586108863        18586108863   310260253792880   352509010940640   Completed             SFMSS347
                                                                                                                                                                  Successfully
    06/15/2018   18:22:03   60    mSTerminatingS   Incoming       129                        18586106881                      310260253792880   352509010940640   Completed             SFMSS347
                                    MSinMSC                                                                                                                       Successfully
    06/15/2018   18:33:04   224    mSOriginating   Outgoing   8586106881    18056377243      18056377243        13235409999   310260253792880   352509010940640   Completed             SPMSS346
                                                                                                                                                                  Successfully
    06/15/2018   18:36:49             SMSC                        129                        18586106881                                                          Completed            mavsms_pol02
                                                                                                                                                                  Successfully
    06/15/2018   18:36:59   60    mSTerminatingS   Incoming       129                        18586106881                      310260253792880   352509010940640   Completed             SPMSS346
                                    MSinMSC                                                                                                                       Successfully
    06/15/2018   18:42:08   13     mSOriginating   Outgoing   8586106881    12108214105      12108214105        12108214105   310260253792880   352509010940640   Completed             SPMSS346
                                                                                                                                                                  Successfully
    06/15/2018   18:42:46   139   mSOriginating    Outgoing   8586106881    12108214105      12108214105        12108214105   310260253792880   352509010940640   Completed             SPMSS346
                                                                                                                                                                  Successfully
    06/16/2018   05:22:42   13    mSTerminating    Incoming   8586106882                     18586106881                      310260253792880   352509010940640   Completed      11     CRMSS345
                                                                                                                                                                  Successfully
    06/16/2018   12:18:42             SMSC                        129                        18586106881                                                          Completed            mavsms_pol02
                                                                                                                                                                  Successfully
    06/17/2018   04:56:21   60    mSTerminatingS   Incoming       129                        18586106881                      310260253792880   352509010940640   Completed             CRMSS345
                                    MSinMSC                                                                                                                       Successfully
    06/17/2018   04:56:54   20     mSOriginating   Outgoing   8586106881    18586106882      18586106882        18586106882   310260253792880   352509010940640   Completed             CRMSS345
                                                                                                                                                                  Successfully
    06/17/2018   05:39:32   9     mSTerminating    Incoming   8586106882                     18586106881                      310260253792880   352509010940640   Completed      11     CRMSS345
                                                                                                                                                                  Successfully
    06/17/2018   12:21:45             SMSC                        129                        18586106881                                                          Completed            mavsms_pol02
                                                                                                                                                                  Successfully
    06/17/2018   17:44:56   60    mSTerminatingS   Incoming      129                         18586106881                      310260253792880   352509010940640   Completed             CRMSS345
                                    MSinMSC                                                                                                                       Successfully
    06/18/2018   05:59:34          mSOriginating   Outgoing   8586106881    18586106882      18586106882        18586106882   310260253792880   352509010940640    Abnormal             CRMSS345
                                                                                                                                                                  Completion
    06/18/2018   05:59:51   27    mSOriginating    Outgoing   8586106881    18586106882      18586106882        18586106882   310260253792880   352509010940640   Completed             CRMSS345
                                                                                                                                                                  Successfully
    06/18/2018   06:57:57   23    mSTerminating    Incoming   8586106882                     18586106881                      310260253792880   352509010940640   Completed      11     SFMSS347
                                                                                                                                                                  Successfully
    06/18/2018   12:19:25             SMSC                        129                        18586106881                                                          Completed            mavsms_pol02
                                                                                                                                                                  Successfully
    06/18/2018   15:33:15   60    mSTerminatingS   Incoming      129                         18586106881                      310260253792880   352509010940640   Completed             VGMSS342
                                    MSinMSC                                                                                                                       Successfully
    06/18/2018   21:04:58   7     mSTerminating    Incoming   8583167044                     18586106881                      310260253792880   352509010940640   Completed      11     HNMSS348
                                                                                                                                                                  Successfully
    06/18/2018   22:23:24             SMSC                    16192028739                    18586106881                                                          Completed            mavsms_pol02
                                                                                                                                                                  Successfully
    06/18/2018   22:23:29   60    mSTerminatingS   Incoming   16192028739                    18586106881                      310260253792880   352509010940640   Completed             VGMSS342
                                    MSinMSC                                                                                                                       Successfully
    06/19/2018   05:42:07    3         moc         Outgoing   18586106882   18056377249      18056377249        13235409999   310260253792880                     Completed      02B     TPTAS202
                                                                                                                                                                  Successfully
    06/19/2018   05:57:07   3     mSOriginating    Outgoing   8586106881    18586106882      18586106882        18586106882   310260253792880   352509010940640   Completed             SPMSS346
                                                                                                                                                                  Successfully
    06/19/2018   12:15:44             SMSC                        129                        18586106881                                                          Completed            mavsms_pol02
                                                                                                                                                                  Successfully



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                                                                                      [Exhibit G - 142]
    06/19/2018   18:35:32   26   mSOriginating    Outgoing   8586106881   18586106882      18586106882        18586106882   310260253792880   352509010940640   Completed                SPMSS346
                                                                                                                                                                Successfully
    06/19/2018   18:35:40   60   mSTerminatingS   Incoming      129                        18586106881                      310260253792880   352509010940640   Completed                SPMSS346
                                   MSinMSC                                                                                                                      Successfully
    06/20/2018   12:13:44            SMSC                       129                        18586106881                                                          Completed               mavsms_pol02
                                                                                                                                                                Successfully
    06/20/2018   12:13:47   60   mSTerminatingS   Incoming      129                        18586106881                      310260253792880   352509010940640   Completed                ATMSS344
                                   MSinMSC                                                                                                                      Successfully
    06/21/2018   12:22:05            SMSC                       129                        18586106881                                                          Completed               mavsms_pol02
                                                                                                                                                                Successfully
    06/21/2018   14:48:09   60   mSTerminatingS   Incoming      129                        18586106881                      310260253792880   352509010940640   Completed                 IEMSS341
                                   MSinMSC                                                                                                                      Successfully
    06/21/2018   17:22:18   22   mSTerminating    Incoming   5624015940                    18586106881                      310260253792880   352509010940640   Completed       11        IEMSS341
                                                                                                                                                                Successfully
    06/21/2018   17:36:34        mSTerminating    Incoming   8586108618                    18586106881                      310260253792880   352509010940640    Abnormal       11        IEMSS341
                                                                                                                                                                Completion
    06/21/2018   17:36:35   32   callForwarding   Outgoing   8586108618   18056377249      18056377249        18056377249   310260253792880                     Completed      011;2A     IEMSS341
                                                                                                                                                                Successfully
    06/21/2018   17:39:36   29   mSOriginating    Outgoing   8586106881   18586108618      18586108618        18586108618   310260253792880   352509010940640   Completed                 IEMSS341
                                                                                                                                                                Successfully
    06/21/2018   17:41:09   4    mSOriginating    Outgoing   8586106881   18586108618      18586108618        18586108618   310260253792880   352509010940640   Completed                SFMSS347
                                                                                                                                                                Successfully
    06/22/2018   04:52:01   47   mSOriginating    Outgoing   8586106881   18586106882      18586106882        18586106882   310260253792880   352509010940640   Completed                 IEMSS341
                                                                                                                                                                Successfully
    06/22/2018   05:03:32   16   mSTerminating    Incoming   8586106882                    18586106881                      310260253792880   352509010940640   Completed       11        IEMSS341
                                                                                                                                                                Successfully
    06/22/2018   12:26:21            SMSC                       129                        18586106881                                                          Completed               mavsms_pol02
                                                                                                                                                                Successfully
    06/22/2018   14:43:49   60   mSTerminatingS   Incoming      129                        18586106881                      310260253792880   352509010940640   Completed                ORMSS349
                                   MSinMSC                                                                                                                      Successfully
    06/23/2018   05:09:13   15    mSOriginating   Outgoing   8586106881   18586106882      18586106882        18586106882   310260253792880   352509010940640   Completed                 IEMSS341
                                                                                                                                                                Successfully
    06/23/2018   06:23:14   13   mSTerminating    Incoming   8586106882                    18586106881                      310260253792880   352509010940640   Completed       11       HNMSS348
                                                                                                                                                                Successfully
    06/23/2018   12:24:14            SMSC                       129                        18586106881                                                          Completed               mavsms_pol02
                                                                                                                                                                Successfully
    06/23/2018   12:24:18   60   mSTerminatingS   Incoming      129                        18586106881                      310260253792880   352509010940640   Completed                CRMSS345
                                   MSinMSC                                                                                                                      Successfully
    06/24/2018   05:38:49   11   mSTerminating    Incoming   8586106882                    18586106881                      310260253792880   352509010940640   Completed       11       ATMSS344
                                                                                                                                                                Successfully
    06/24/2018   12:09:40            SMSC                       129                        18586106881                                                          Completed               mavsms_pol02
                                                                                                                                                                Successfully
    06/24/2018   20:22:58   60   mSTerminatingS   Incoming      129                        18586106881                      310260253792880   352509010940640   Completed                ORMSS349
                                   MSinMSC                                                                                                                      Successfully
    06/25/2018   04:05:17   17   mSTerminating    Incoming   8586106882                    18586106881                      310260253792880   352509010940640   Completed       11       ORMSS349
                                                                                                                                                                Successfully
    06/25/2018   12:25:06            SMSC                       129                        18586106881                                                          Completed               mavsms_pol02
                                                                                                                                                                Successfully
    06/25/2018   17:35:25   60   mSTerminatingS   Incoming      129                        18586106881                      310260253792880   352509010940640   Completed                ORMSS349
                                   MSinMSC                                                                                                                      Successfully
    06/26/2018   00:05:55   52    mSOriginating   Outgoing   8586106881   12108214105      12108214105        12108214105   310260253792880   352509010940640   Completed                ORMSS349
                                                                                                                                                                Successfully
    06/26/2018   00:07:06   84   mSOriginating    Outgoing   8586106881   12108214105      12108214105        12108214105   310260253792880   352509010940640   Completed                ORMSS349
                                                                                                                                                                Successfully



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                                                                                    [Exhibit G - 143]
    06/26/2018   05:09:51   13    mSTerminating    Incoming   8586106882                     18586106881                         310260253792880   352509010940640   Completed       11       ORMSS349
                                                                                                                                                                     Successfully
    06/26/2018   12:18:17             SMSC                        129                        18586106881                                                             Completed               mavsms_pol02
                                                                                                                                                                     Successfully
    06/26/2018   17:59:03   60    mSTerminatingS   Incoming      129                         18586106881                         310260253792880   352509010940640   Completed                ORMSS349
                                    MSinMSC                                                                                                                          Successfully
    06/27/2018   02:07:06   93     mSOriginating   Outgoing   8586106881    18008244491      18008244491     11818633180082444   310260253792880   352509010940640   Completed                DAMSS343
                                                                                                                    91                                               Successfully
    06/27/2018   02:26:21   306   mSOriginating    Outgoing   8586106881    18008244491      18008244491     11818633180082444   310260253792880   352509010940640   Completed                ATMSS344
                                                                                                                    91                                               Successfully
    06/27/2018   02:35:45   779   mSOriginating    Outgoing   8586106881    18008244491      18008244491     11818633180082444   310260253792880   352509010940640   Completed                ATMSS344
                                                                                                                    91                                               Successfully
    06/27/2018   11:15:48             SMSC                        129                        18586106881                                                             Completed               mavsms_pol02
                                                                                                                                                                     Successfully
    06/27/2018   17:30:10    5         moc         Outgoing   18586106882   18056377249      18056377249        13235409999      310260253792880                     Completed       02B      CHTAS004
                                                                                                                                                                     Successfully
    06/27/2018   17:30:10    5         mtc         Incoming   18586106882   18586106881      18586106881        18586106881      310260253792880                     Completed      021;11    CHTAS004
                                                                                                                                                                     Successfully
    06/27/2018   17:30:20   11         mtc         Incoming   18586106882   18586106881      18586106881        18586106881      310260253792880                     Completed      021;11     SFTAS003
                                                                                                                                                                     Successfully
    06/27/2018   17:30:21   11         moc         Outgoing   18586106882   18056377249      18056377249        13235409999      310260253792880                     Completed       02B       SFTAS003
                                                                                                                                                                     Successfully
    06/27/2018   17:30:38   14         mtc         Incoming   18586106882   18586106881      18586106881        18586106881      310260253792880                     Completed      021;11     SCTAS005
                                                                                                                                                                     Successfully
    06/27/2018   17:30:39   14         moc         Outgoing   18586106882   18056377249      18056377249        13235409999      310260253792880                     Completed       02B       SCTAS005
                                                                                                                                                                     Successfully
    06/27/2018   20:23:05   60    mSTerminatingS   Incoming      129                         18586106881                         310260253792880   352509010940640   Completed                DAMSS343
                                    MSinMSC                                                                                                                          Successfully
    06/27/2018   20:24:01   3      mSOriginating   Outgoing   8586106881    18586106882      18586106882        18586106882      310260253792880   352509010940640   Completed                DAMSS343
                                                                                                                                                                     Successfully
    06/28/2018   04:07:27   37    mSOriginating    Outgoing   8586106881    18586106882      18586106882        18586106882      310260253792880   352509010940640   Completed                CRMSS345
                                                                                                                                                                     Successfully
    06/28/2018   05:21:37   12    mSTerminating    Incoming   8586106882                     18586106881                         310260253792880   352509010940640   Completed       11       CRMSS345
                                                                                                                                                                     Successfully
    06/28/2018   11:24:34             SMSC                        129                        18586106881                                                             Completed               mavsms_pol02
                                                                                                                                                                     Successfully
    06/28/2018   16:27:24   60    mSTerminatingS   Incoming      129                         18586106881                         310260253792880   352509010940640   Completed                CRMSS345
                                    MSinMSC                                                                                                                          Successfully
    06/28/2018   17:07:58   422    mSOriginating   Outgoing   8586106881    12108214105      12108214105        12108214105      310260253792880   352509010940640   Completed                CRMSS345
                                                                                                                                                                     Successfully
    06/28/2018   17:18:52   3     mSOriginating    Outgoing   8586106881    16192301434      16192301434        16192301434      310260253792880   352509010940640   Completed                CRMSS345
                                                                                                                                                                     Successfully
    06/28/2018   17:20:12   57    mSOriginating    Outgoing   8586106881    16194304667      16194304667        16194304667      310260253792880   352509010940640   Completed                SFMSS347
                                                                                                                                                                     Successfully
    06/28/2018   17:21:44             SMSC                       85100                       18586106881                                                             Completed               mavsms_pol02
                                                                                                                                                                     Successfully
    06/28/2018   17:21:45             SMSC                    18586106881                       85100                                                                Completed               mavsms_pol02
                                                                                                                                                                     Successfully
    06/28/2018   17:22:53   136   mSOriginating    Outgoing   8586106881    16194304667      16194304667        16194304667      310260253792880   352509010940640   Completed                DAMSS343
                                                                                                                                                                     Successfully
    06/28/2018   17:23:45   60    mSTerminatingS   Incoming     85100                        18586106881                         310260253792880   352509010940640   Completed                DAMSS343
                                    MSinMSC                                                                                                                          Successfully
    06/28/2018   17:27:45   663    mSOriginating   Outgoing   8586106881    16192310781      16192310781        16192310781      310260253792880   352509010940640   Completed                DAMSS343
                                                                                                                                                                     Successfully



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                                                                                      [Exhibit G - 144]
    06/28/2018   19:17:21   1048   mSTerminating    Incoming   6194760040                    18586106881                         310260253792880   352509010940640   Completed       11       DAMSS343
                                                                                                                                                                     Successfully
    06/29/2018   02:11:40   49     mSOriginating    Outgoing   8586106881   18662821155      18662821155     11818633186628211   310260253792880   352509010940640   Completed                 IEMSS341
                                                                                                                    55                                               Successfully
    06/29/2018   02:12:42   63     mSOriginating    Outgoing   8586106881   18662821155      18662821155     11818633186628211                     352509010940640   Completed       41        IEMSS341
                                                                                                                    55                                               Successfully
    06/29/2018   02:13:29          mSTerminating    Incoming   8133697231                    18586106881                         310260253792880   352509010940640    Abnormal       11        IEMSS341
                                                                                                                                                                     Completion
    06/29/2018   02:13:30   33     callForwarding   Outgoing   8133697231   18056377249      18056377249        18056377249      310260253792880                     Completed      011;2A     IEMSS341
                                                                                                                                                                     Successfully
    06/29/2018   02:14:25   23     callForwarding   Outgoing   8778187405   18056377249      18056377249        18056377249      310260253792880                     Completed      011;29     IEMSS341
                                                                                                                                                                     Successfully
    06/29/2018   02:14:32    6     mSTerminating    Incoming   8778187405                    18586106881                         310260253792880   352509010940640   Completed       11        IEMSS341
                                                                                                                                                                     Successfully
    06/29/2018   02:15:55   12     callForwarding   Outgoing   8778187405   18056377249      18056377249        18056377249      310260253792880                     Completed      011;2B     IEMSS341
                                                                                                                                                                     Successfully
    06/29/2018   05:24:17    9     mSTerminating    Incoming   8586106882                    18586106881                         310260253792880   352509010940640   Completed       11       CRMSS345
                                                                                                                                                                     Successfully
    06/29/2018   11:25:34              SMSC                       129                        18586106881                                                             Completed               mavsms_pol02
                                                                                                                                                                     Successfully
    06/29/2018   15:10:49   60     mSTerminatingS   Incoming      129                        18586106881                         310260253792880   352509010940640   Completed                VGMSS342
                                     MSinMSC                                                                                                                         Successfully
    06/29/2018   16:51:44          mSTerminating    Incoming   8586996049                    18586106881                         310260253792880   352509010940640   Completed       11       ATMSS344
                                                                                                                                                                     Successfully
    06/29/2018   16:51:45   10     callForwarding   Outgoing   8586996049   18056377249      18056377249        18056377249      310260253792880                     Completed      011;2A     IEMSS341
                                                                                                                                                                     Successfully
    06/29/2018   19:46:13          mSTerminating    Incoming   6194760030                    18586106881                         310260253792880   352509010940640    Abnormal       11       HNMSS348
                                                                                                                                                                     Completion
    06/29/2018   19:46:14   11     callForwarding   Outgoing   6194760030   18056377249      18056377249        18056377249      310260253792880                     Completed      011;2A    HNMSS348
                                                                                                                                                                     Successfully
    06/30/2018   05:13:32   25     mSTerminating    Incoming   8586106882                    18586106881                         310260253792880   352509010940640   Completed       11       CRMSS345
                                                                                                                                                                     Successfully
    06/30/2018   11:54:20              SMSC                       129                        18586106881                                                             Completed               mavsms_pol02
                                                                                                                                                                     Successfully
    06/30/2018   20:00:32   60     mSTerminatingS   Incoming      129                        18586106881                         310260253792880   352509010940640   Completed                CRMSS345
                                     MSinMSC                                                                                                                         Successfully
    07/01/2018   04:57:19   10     mSTerminating    Incoming   8586106882                    18586106881                         310260253792880   352509010940640   Completed       11       SPMSS346
                                                                                                                                                                     Successfully
    07/01/2018   11:16:21              SMSC                       129                        18586106881                                                             Completed               mavsms_pol02
                                                                                                                                                                     Successfully
    07/01/2018   14:08:41   60     mSTerminatingS   Incoming      129                        18586106881                         310260253792880   352509010940640   Completed                SPMSS346
                                     MSinMSC                                                                                                                         Successfully
    07/02/2018   01:25:39   52      mSOriginating   Outgoing   8586106881   18586106882      18586106882        18586106882      310260253792880   352509010940640   Completed                SPMSS346
                                                                                                                                                                     Successfully
    07/02/2018   04:47:39   10     mSTerminating    Incoming   8586106882                    18586106881                         310260253792880   352509010940640   Completed       11       SPMSS346
                                                                                                                                                                     Successfully
    07/02/2018   11:13:05              SMSC                       129                        18586106881                                                             Completed               mavsms_pol02
                                                                                                                                                                     Successfully
    07/02/2018   13:43:27    60    mSTerminatingS   Incoming      129                        18586106881                         310260253792880   352509010940640   Completed                SPMSS346
                                     MSinMSC                                                                                                                         Successfully
    07/02/2018   21:53:03   373    mSTerminating    Incoming   6194760030                    18586106881                         310260253792880   352509010940640   Completed       11       ATMSS344
                                                                                                                                                                     Successfully
    07/03/2018   00:41:11    5     callForwarding   Outgoing   8586106882   18056377249      18056377249        18056377249      310260253792880                     Completed      011;29    SPMSS346
                                                                                                                                                                     Successfully



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                                                                                      [Exhibit G - 145]
    07/03/2018   00:41:12   16    mSOriginating    Outgoing   8586106881   18586106882      18586106882        18586106882                     352509010940640   Completed       41       VGMSS342
                                                                                                                                                                 Successfully
    07/03/2018   00:41:28         mSTerminating    Incoming   8586106882                    18586106881                      310260253792880   352509010940640   Completed       11       VGMSS342
                                                                                                                                                                 Successfully
    07/03/2018   00:41:29    4    callForwarding   Outgoing   8586106882   18056377249      18056377249        18056377249   310260253792880                     Completed      011;29    SPMSS346
                                                                                                                                                                 Successfully
    07/03/2018   00:41:59    6    callForwarding   Outgoing   8586106882   18056377249      18056377249        18056377249   310260253792880                     Completed      011;2B    SPMSS346
                                                                                                                                                                 Successfully
    07/03/2018   00:42:20   46    mSTerminating    Incoming   8586106882                    18586106881                      310260253792880   352509010940640   Completed       11       VGMSS342
                                                                                                                                                                 Successfully
    07/03/2018   03:22:08   77    mSOriginating    Outgoing   8586106881   18586106882      18586106882        18586106882   310260253792880   352509010940640   Completed                VGMSS342
                                                                                                                                                                 Successfully
    07/03/2018   03:57:48   19    mSOriginating    Outgoing   8586106881   18586106882      18586106882        18586106882   310260253792880   352509010940640   Completed                VGMSS342
                                                                                                                                                                 Successfully
    07/03/2018   11:11:26             SMSC                       129                        18586106881                                                          Completed               mavsms_pol02
                                                                                                                                                                 Successfully
    07/03/2018   13:05:03   60    mSTerminatingS   Incoming      129                        18586106881                      310260253792880   352509010940640   Completed                VGMSS342
                                    MSinMSC                                                                                                                      Successfully
    07/03/2018   13:23:09   225    mSOriginating   Outgoing   8586106881   18056377243      18056377243        13235409999   310260253792880   352509010940640   Completed                HNMSS348
                                                                                                                                                                 Successfully
    07/03/2018   13:26:55             SMSC                       129                        18586106881                                                          Completed               mavsms_pol02
                                                                                                                                                                 Successfully
    07/03/2018   13:27:00   60    mSTerminatingS   Incoming      129                        18586106881                      310260253792880   352509010940640   Completed                HNMSS348
                                    MSinMSC                                                                                                                      Successfully
    07/03/2018   19:13:40   91     mSOriginating   Outgoing   8586106881   18586106882      18586106882        18586106882   310260253792880   352509010940640   Completed                HNMSS348
                                                                                                                                                                 Successfully
    07/04/2018   01:29:35   142   mSTerminating    Incoming   8586106882                    18586106881                      310260253792880   352509010940640   Completed       11       HNMSS348
                                                                                                                                                                 Successfully
    07/04/2018   11:10:55             SMSC                       129                        18586106881                                                          Completed               mavsms_pol02
                                                                                                                                                                 Successfully
    07/04/2018   14:14:30   60    mSTerminatingS   Incoming      129                        18586106881                      310260253792880   352509010940640   Completed                HNMSS348
                                    MSinMSC                                                                                                                      Successfully
    07/04/2018   17:03:34   41    mSTerminating    Incoming   8586106882                    18586106881                      310260253792880   352509010940640   Completed       11       HNMSS348
                                                                                                                                                                 Successfully
    07/04/2018   23:56:00   48    mSOriginating    Outgoing   8586106881   18586106882      18586106882        18586106882   310260253792880   352509010940640   Completed                DAMSS343
                                                                                                                                                                 Successfully
    07/05/2018   01:03:20   29    mSTerminating    Incoming   8586106882                    18586106881                      310260253792880   352509010940640   Completed       11       DAMSS343
                                                                                                                                                                 Successfully
    07/05/2018   11:17:18             SMSC                       129                        18586106881                                                          Completed               mavsms_pol02
                                                                                                                                                                 Successfully
    07/05/2018   15:53:36   60    mSTerminatingS   Incoming      129                        18586106881                      310260253792880   352509010940640   Completed                ORMSS349
                                    MSinMSC                                                                                                                      Successfully
    07/05/2018   19:42:19         mSTerminating    Incoming   2023244827                    18586106881                      310260253792880   352509010940640    Abnormal       11       HNMSS348
                                                                                                                                                                 Completion
    07/05/2018   19:42:21   33    callForwarding   Outgoing   2023244827   18056377249      18056377249        18056377249   310260253792880                     Completed      011;2A    HNMSS348
                                                                                                                                                                 Successfully
    07/06/2018   05:49:35   53    mSTerminating    Incoming   8586106882                    18586106881                      310260253792880   352509010940640   Completed       11       ATMSS344
                                                                                                                                                                 Successfully
    07/06/2018   11:20:11             SMSC                       129                        18586106881                                                          Completed               mavsms_pol02
                                                                                                                                                                 Successfully
    07/06/2018   16:22:39   105   mSOriginating    Outgoing   8586106881   16194760030      16194760030        16194760030   310260253792880   352509010940640   Completed                HNMSS348
                                                                                                                                                                 Successfully
    07/06/2018   16:22:51   60    mSTerminatingS   Incoming      129                        18586106881                      310260253792880   352509010940640   Completed                HNMSS348
                                    MSinMSC                                                                                                                      Successfully



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                                                                                     [Exhibit G - 146]
    07/06/2018   20:24:14   13   mSTerminating    Incoming   2705513028                    18586106881                      310260253792880   352509010940640   Completed      11    DAMSS343
                                                                                                                                                                Successfully
    07/07/2018   04:06:24   10   mSTerminating    Incoming   8586106882                    18586106881                      310260253792880   352509010940640   Completed      11    SFMSS347
                                                                                                                                                                Successfully
    07/07/2018   11:19:26            SMSC                       129                        18586106881                                                          Completed           mavsms_pol02
                                                                                                                                                                Successfully
    07/07/2018   15:24:40   60   mSTerminatingS   Incoming      129                        18586106881                      310260253792880   352509010940640   Completed            SFMSS347
                                   MSinMSC                                                                                                                      Successfully
    07/08/2018   04:27:20   11   mSTerminating    Incoming   8586106882                    18586106881                      310260253792880   352509010940640   Completed      11    SFMSS347
                                                                                                                                                                Successfully
    07/08/2018   11:19:55            SMSC                       129                        18586106881                                                          Completed           mavsms_pol02
                                                                                                                                                                Successfully
    07/08/2018   17:45:55   60   mSTerminatingS   Incoming      129                        18586106881                      310260253792880   352509010940640   Completed            SFMSS347
                                   MSinMSC                                                                                                                      Successfully
    07/09/2018   04:33:56   11   mSTerminating    Incoming   8586106882                    18586106881                      310260253792880   352509010940640   Completed      11    ORMSS349
                                                                                                                                                                Successfully
    07/09/2018   11:17:04            SMSC                       129                        18586106881                                                          Completed           mavsms_pol02
                                                                                                                                                                Successfully
    07/09/2018   14:43:24   60   mSTerminatingS   Incoming      129                        18586106881                      310260253792880   352509010940640   Completed            CRMSS345
                                   MSinMSC                                                                                                                      Successfully
    07/09/2018   19:00:25   13    mSOriginating   Outgoing   8586106881   18586106882      18586106882        18586106882   310260253792880   352509010940640   Completed            ORMSS349
                                                                                                                                                                Successfully
    07/09/2018   19:11:43   3    mSOriginating    Outgoing   8586106881   18586106882      18586106882        18586106882   310260253792880   352509010940640   Completed            ORMSS349
                                                                                                                                                                Successfully
    07/09/2018   22:36:18   38   mSTerminating    Incoming   8586106882                    18586106881                      310260253792880   352509010940640   Completed      11    SPMSS346
                                                                                                                                                                Successfully
    07/10/2018   05:05:01   9    mSTerminating    Incoming   8586106882                    18586106881                      310260253792880   352509010940640   Completed      11    SPMSS346
                                                                                                                                                                Successfully
    07/10/2018   11:14:48            SMSC                       129                        18586106881                                                          Completed           mavsms_pol02
                                                                                                                                                                Successfully
    07/10/2018   13:49:24   60   mSTerminatingS   Incoming      129                        18586106881                      310260253792880   352509010940640   Completed            CRMSS345
                                   MSinMSC                                                                                                                      Successfully
    07/11/2018   05:24:15   16    mSOriginating   Outgoing   8586106881   18586106882      18586106882        18586106882   310260253792880   352509010940640   Completed            HNMSS348
                                                                                                                                                                Successfully
    07/11/2018   05:48:34   18   mSTerminating    Incoming   8586106882                    18586106881                      310260253792880   352509010940640   Completed      11    HNMSS348
                                                                                                                                                                Successfully
    07/11/2018   10:58:15            SMSC                       129                        18586106881                                                          Completed           mavsms_pol02
                                                                                                                                                                Successfully
    07/11/2018   14:59:01   60   mSTerminatingS   Incoming      129                        18586106881                      310260253792880   352509010940640   Completed            HNMSS348
                                   MSinMSC                                                                                                                      Successfully
    07/12/2018   04:11:13   16   mSTerminating    Incoming   8586106882                    18586106881                      310260253792880   352509010940640   Completed      11    ATMSS344
                                                                                                                                                                Successfully
    07/12/2018   11:17:08            SMSC                       129                        18586106881                                                          Completed           mavsms_pol02
                                                                                                                                                                Successfully
    07/12/2018   18:03:15   60   mSTerminatingS   Incoming      129                        18586106881                      310260253792880   352509010940640   Completed            CRMSS345
                                   MSinMSC                                                                                                                      Successfully
    07/12/2018   20:49:02         mSOriginating   Outgoing   8586106881   18587957040      18587957040        18587957040   310260253792880   352509010940640   Completed            DAMSS343
                                                                                                                                                                Successfully
    07/12/2018   20:53:03   76   mSOriginating    Outgoing   8586106881   18587957040      18587957040        18587957040   310260253792880   352509010940640   Completed            DAMSS343
                                                                                                                                                                Successfully
    07/13/2018   05:16:53   13   mSTerminating    Incoming   8586106882                    18586106881                      310260253792880   352509010940640   Completed      11    ORMSS349
                                                                                                                                                                Successfully
    07/13/2018   11:17:39            SMSC                       129                        18586106881                                                          Completed           mavsms_pol02
                                                                                                                                                                Successfully



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                                                                                    [Exhibit G - 147]
    07/13/2018   15:54:44    60    mSTerminatingS   Incoming      129                        18586106881                         310260253792880   352509010940640   Completed                ORMSS349
                                     MSinMSC                                                                                                                         Successfully
    07/14/2018   05:12:52    18    mSTerminating    Incoming   8586106882                    18586106881                         310260253792880   352509010940640   Completed       11       CRMSS345
                                                                                                                                                                     Successfully
    07/14/2018   11:24:41              SMSC                       129                        18586106881                                                             Completed               mavsms_pol02
                                                                                                                                                                     Successfully
    07/15/2018   04:18:03    60    mSTerminatingS   Incoming      129                        18586106881                         310260253792880   352509010940640   Completed                CRMSS345
                                     MSinMSC                                                                                                                         Successfully
    07/15/2018   05:07:44    12    mSTerminating    Incoming   8586106882                    18586106881                         310260253792880   352509010940640   Completed       11       CRMSS345
                                                                                                                                                                     Successfully
    07/15/2018   11:19:23              SMSC                       129                        18586106881                                                             Completed               mavsms_pol02
                                                                                                                                                                     Successfully
    07/15/2018   17:34:47    60    mSTerminatingS   Incoming      129                        18586106881                         310260253792880   352509010940640   Completed                CRMSS345
                                     MSinMSC                                                                                                                         Successfully
    07/16/2018   04:52:47   20      mSOriginating   Outgoing   8586106881   18586106882      18586106882        18586106882      310260253792880   352509010940640   Completed                HNMSS348
                                                                                                                                                                     Successfully
    07/16/2018   05:12:15    9     mSTerminating    Incoming   8586106882                    18586106881                         310260253792880   352509010940640   Completed       11       HNMSS348
                                                                                                                                                                     Successfully
    07/16/2018   11:18:31              SMSC                       129                        18586106881                                                             Completed               mavsms_pol02
                                                                                                                                                                     Successfully
    07/16/2018   16:54:56    60    mSTerminatingS   Incoming      129                        18586106881                         310260253792880   352509010940640   Completed                HNMSS348
                                     MSinMSC                                                                                                                         Successfully
    07/17/2018   05:23:57    9     mSTerminating    Incoming   8586106882                    18586106881                         310260253792880   352509010940640   Completed       11       SPMSS346
                                                                                                                                                                     Successfully
    07/17/2018   11:15:17              SMSC                       129                        18586106881                                                             Completed               mavsms_pol02
                                                                                                                                                                     Successfully
    07/17/2018   16:15:08    60    mSTerminatingS   Incoming      129                        18586106881                         310260253792880   352509010940640   Completed                SPMSS346
                                     MSinMSC                                                                                                                         Successfully
    07/17/2018   17:18:33   252     mSOriginating   Outgoing   8586106881   18003810759      18003810759     11818633180038107   310260253792880   352509010940640   Completed                CRMSS345
                                                                                                                    59                                               Successfully
    07/17/2018   17:24:42   297    mSOriginating    Outgoing   8586106881   18003810759      18003810759     11818633180038107                     352509010940640   Completed       42       CRMSS345
                                                                                                                    59                                               Successfully
    07/17/2018   17:27:14   1097   mSOriginating    Outgoing   8586106881   18003810759      18003810759     11818633180038107   310260253792880   352509010940640   Completed                CRMSS345
                                                                                                                    59                                               Successfully
    07/17/2018   19:31:21          mSTerminating    Incoming   3157241190                    18586106881                         310260253792880   352509010940640    Abnormal       11       CRMSS345
                                                                                                                                                                     Completion
    07/18/2018   01:21:59    2     mSTerminating    Incoming   8588765134                    18586106881                         310260253792880   352509010940640   Completed       11       CRMSS345
                                                                                                                                                                     Successfully
    07/18/2018   05:29:42    8     mSTerminating    Incoming   8586106882                    18586106881                         310260253792880   352509010940640   Completed       11       ORMSS349
                                                                                                                                                                     Successfully
    07/18/2018   11:14:03              SMSC                       129                        18586106881                                                             Completed               mavsms_pol02
                                                                                                                                                                     Successfully
    07/19/2018   00:43:58   286    mSOriginating    Outgoing   8586106881   18056377243      18056377243        13235409999                        352509010940640   Completed      042;42    ORMSS349
                                                                                                                                                                     Successfully
    07/19/2018   00:44:06   60     mSTerminatingS   Incoming      129                        18586106881                         310260253792880   352509010940640   Completed                ORMSS349
                                     MSinMSC                                                                                                                         Successfully
    07/19/2018   00:44:23           mSOriginating   Outgoing   8586106881     101721            101721              51           310260253792880   352509010940640    Abnormal                ORMSS349
                                                                                                                                                                     Completion
    07/19/2018   00:48:45              SMSC                       129                        18586106881                                                             Completed               mavsms_pol02
                                                                                                                                                                     Successfully
    07/19/2018   00:48:48    60    mSTerminatingS   Incoming      129                        18586106881                         310260253792880   352509010940640   Completed                ORMSS349
                                     MSinMSC                                                                                                                         Successfully
    07/19/2018   03:41:12    14    mSTerminating    Incoming   8586106882                    18586106881                         310260253792880   352509010940640   Completed       11       ORMSS349
                                                                                                                                                                     Successfully



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                                                                                       [Exhibit G - 148]
    07/19/2018   11:15:07             SMSC                       129                        18586106881                                                          Completed               mavsms_pol02
                                                                                                                                                                 Successfully
    07/19/2018   16:27:23   60    mSTerminatingS   Incoming      129                        18586106881                      310260253792880   352509010940640   Completed                SPMSS346
                                    MSinMSC                                                                                                                      Successfully
    07/19/2018   21:46:09   51     mSOriginating   Outgoing   8586106881   16194760030      16194760030        16194760030   310260253792880   352509010940640   Completed                DAMSS343
                                                                                                                                                                 Successfully
    07/19/2018   21:51:54   27    mSTerminating    Incoming   6194760030                    18586106881                      310260253792880   352509010940640   Completed       11       DAMSS343
                                                                                                                                                                 Successfully
    07/19/2018   21:52:58   198   mSOriginating    Outgoing   8586106881   16194760030      16194760030        16194760030   310260253792880   352509010940640   Completed                DAMSS343
                                                                                                                                                                 Successfully
    07/20/2018   05:21:11   7     mSTerminating    Incoming   8586106882                    18586106881                      310260253792880   352509010940640   Completed       11       ATMSS344
                                                                                                                                                                 Successfully
    07/20/2018   11:23:50             SMSC                       129                        18586106881                                                          Completed               mavsms_pol02
                                                                                                                                                                 Successfully
    07/20/2018   16:15:24   60    mSTerminatingS   Incoming      129                        18586106881                      310260253792880   352509010940640   Completed                ATMSS344
                                    MSinMSC                                                                                                                      Successfully
    07/21/2018   04:20:23   9     mSTerminating    Incoming   8586106882                    18586106881                      310260253792880   352509010940640   Completed       11       ATMSS344
                                                                                                                                                                 Successfully
    07/21/2018   04:20:46   21    mSTerminating    Incoming   8586106882                    18586106881                      310260253792880   352509010940640   Completed       11       ATMSS344
                                                                                                                                                                 Successfully
    07/21/2018   11:21:22             SMSC                       129                        18586106881                                                          Completed               mavsms_pol02
                                                                                                                                                                 Successfully
    07/21/2018   14:25:10   60    mSTerminatingS   Incoming      129                        18586106881                      310260253792880   352509010940640   Completed                 IEMSS341
                                    MSinMSC                                                                                                                      Successfully
    07/22/2018   05:02:13   12    mSTerminating    Incoming   8586106882                    18586106881                      310260253792880   352509010940640   Completed       11        IEMSS341
                                                                                                                                                                 Successfully
    07/22/2018   11:22:17             SMSC                       129                        18586106881                                                          Completed               mavsms_pol02
                                                                                                                                                                 Successfully
    07/22/2018   14:14:58   60    mSTerminatingS   Incoming      129                        18586106881                      310260253792880   352509010940640   Completed                 IEMSS341
                                    MSinMSC                                                                                                                      Successfully
    07/23/2018   04:45:17   10    mSTerminating    Incoming   8586106882                    18586106881                      310260253792880   352509010940640   Completed       11        IEMSS341
                                                                                                                                                                 Successfully
    07/23/2018   11:14:56             SMSC                       129                        18586106881                                                          Completed               mavsms_pol02
                                                                                                                                                                 Successfully
    07/23/2018   13:50:57   60    mSTerminatingS   Incoming      129                        18586106881                      310260253792880   352509010940640   Completed                ATMSS344
                                    MSinMSC                                                                                                                      Successfully
    07/23/2018   19:51:16         mSTerminating    Incoming   8586101618                    18586106881                      310260253792880   352509010940640    Abnormal       11       SFMSS347
                                                                                                                                                                 Completion
    07/23/2018   19:51:17   32    callForwarding   Outgoing   8586101618   18056377249      18056377249        18056377249   310260253792880                     Completed      011;2A    SFMSS347
                                                                                                                                                                 Successfully
    07/24/2018   01:32:01   4     mSTerminating    Incoming   8588747746                    18586106881                      310260253792880   352509010940640   Completed       11       ORMSS349
                                                                                                                                                                 Successfully
    07/24/2018   05:07:50   13    mSOriginating    Outgoing   8586106881   18586106882      18586106882        18586106882   310260253792880   352509010940640   Completed                 IEMSS341
                                                                                                                                                                 Successfully
    07/24/2018   05:38:27   10    mSTerminating    Incoming   8586106882                    18586106881                      310260253792880   352509010940640   Completed       11        IEMSS341
                                                                                                                                                                 Successfully
    07/24/2018   05:40:35   11    mSTerminating    Incoming   8586106882                    18586106881                      310260253792880   352509010940640   Completed       11        IEMSS341
                                                                                                                                                                 Successfully
    07/24/2018   11:13:48             SMSC                       129                        18586106881                                                          Completed               mavsms_pol02
                                                                                                                                                                 Successfully
    07/25/2018   05:33:32   46    mSOriginating    Outgoing   8586106881   18586106882      18586106882        18586106882   310260253792880   352509010940640   Completed                SPMSS346
                                                                                                                                                                 Successfully
    07/25/2018   05:33:48   60    mSTerminatingS   Incoming      129                        18586106881                      310260253792880   352509010940640   Completed                SPMSS346
                                    MSinMSC                                                                                                                      Successfully



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                                                                                     [Exhibit G - 149]
    07/25/2018   11:12:06              SMSC                        129                        18586106881                                                             Completed               mavsms_pol02
                                                                                                                                                                      Successfully
    07/25/2018   18:04:10   33     callForwarding   Outgoing   2138078088    18056377249      18056377249        18056377249      310260253792880                     Completed      011;2B    SPMSS346
                                                                                                                                                                      Successfully
    07/26/2018   03:51:43    60    mSTerminatingS   Incoming      129                         18586106881                         310260253792880   352509010940640   Completed                SPMSS346
                                     MSinMSC                                                                                                                          Successfully
    07/26/2018   11:19:03              SMSC                        129                        18586106881                                                             Completed               mavsms_pol02
                                                                                                                                                                      Successfully
    07/26/2018   18:14:04   33     callForwarding   Outgoing   8586104618    18056377249      18056377249        18056377249      310260253792880                     Completed      011;2B    SPMSS346
                                                                                                                                                                      Successfully
    07/26/2018   19:11:06   817    mSOriginating    Outgoing   8586106881    18003810759      18003810759     11818633180038107   310260253792880   352509010940640   Completed                SPMSS346
                                                                                                                     59                                               Successfully
    07/26/2018   19:11:22    60    mSTerminatingS   Incoming      129                         18586106881                         310260253792880   352509010940640   Completed                SPMSS346
                                     MSinMSC                                                                                                                          Successfully
    07/26/2018   19:39:13   418     mSOriginating   Outgoing   8586106881    18003810759      18003810759     11818633180038107   310260253792880   352509010940640   Completed                 IEMSS341
                                                                                                                     59                                               Successfully
    07/27/2018   01:33:06   11     mSTerminating    Incoming   8588757123                     18586106881                         310260253792880   352509010940640   Completed       11       CRMSS345
                                                                                                                                                                      Successfully
    07/27/2018   05:28:56   18     mSTerminating    Incoming   8586106882                     18586106881                         310260253792880   352509010940640   Completed       11       ORMSS349
                                                                                                                                                                      Successfully
    07/27/2018   05:45:59    7     mSTerminating    Incoming   8586106882                     18586106881                         310260253792880   352509010940640   Completed       11       ORMSS349
                                                                                                                                                                      Successfully
    07/27/2018   11:20:13              SMSC                        129                        18586106881                                                             Completed               mavsms_pol02
                                                                                                                                                                      Successfully
    07/27/2018   13:45:16    60    mSTerminatingS   Incoming      129                         18586106881                         310260253792880   352509010940640   Completed                ORMSS349
                                     MSinMSC                                                                                                                          Successfully
    07/27/2018   14:02:10   226     mSOriginating   Outgoing   8586106881    18009452000      18009452000     11818633180094520   310260253792880   352509010940640   Completed                ATMSS344
                                                                                                                     00                                               Successfully
    07/27/2018   14:07:11   1064   mSOriginating    Outgoing   8586106881    18009452000      18009452000     11818633180094520   310260253792880   352509010940640   Completed                ATMSS344
                                                                                                                     00                                               Successfully
    07/28/2018   04:43:48   27     mSTerminating    Incoming   8586106882                     18586106881                         310260253792880   352509010940640   Completed       11       ATMSS344
                                                                                                                                                                      Successfully
    07/28/2018   11:55:21              SMSC                        129                        18586106881                                                             Completed               mavsms_pol02
                                                                                                                                                                      Successfully
    07/28/2018   18:36:54    60    mSTerminatingS   Incoming      129                         18586106881                         310260253792880   352509010940640   Completed                SPMSS346
                                     MSinMSC                                                                                                                          Successfully
    07/29/2018   04:34:34   10     mSTerminating    Incoming   8586106882                     18586106881                         310260253792880   352509010940640   Completed       11       VGMSS342
                                                                                                                                                                      Successfully
    07/29/2018   11:15:49              SMSC                        129                        18586106881                                                             Completed               mavsms_pol02
                                                                                                                                                                      Successfully
    07/30/2018   03:53:08    4          mtc         Incoming   18586106882   18586106881      18586106881        18586106881      310260253792880                     Completed      021;11     IETAS002
                                                                                                                                                                      Successfully
    07/30/2018   03:53:09    4          moc         Outgoing   18586106882   18056377249      18056377249        13235409999      310260253792880                     Completed       02B       IETAS002
                                                                                                                                                                      Successfully
    07/30/2018   03:53:18    6          mtc         Incoming   18586106882   18586106881      18586106881        18586106881      310260253792880                     Completed      021;11    NVTAS010
                                                                                                                                                                      Successfully
    07/30/2018   03:53:19    6          moc         Outgoing   18586106882   18056377249      18056377249        13235409999      310260253792880                     Completed       02B      NVTAS010
                                                                                                                                                                      Successfully
    07/30/2018   11:09:20              SMSC                        129                        18586106881                                                             Completed               mavsms_pol02
                                                                                                                                                                      Successfully
    07/30/2018   14:40:49    60    mSTerminatingS   Incoming      129                         18586106881                         310260253792880   352509010940640   Completed                VGMSS342
                                     MSinMSC                                                                                                                          Successfully
    07/30/2018   14:40:51    60    mSTerminatingS   Incoming      129                         18586106881                         310260253792880   352509010940640   Completed                VGMSS342
                                     MSinMSC                                                                                                                          Successfully



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                                                                                       [Exhibit G - 150]
    07/30/2018   21:17:23         mSTerminating    Incoming   8588762417                    18586106881                      310260253792880   352509010940640    Abnormal       11       VGMSS342
                                                                                                                                                                 Completion
    07/30/2018   21:17:25    7    callForwarding   Outgoing   8588762417   18056377249      18056377249        18056377249   310260253792880                     Completed      011;2A    VGMSS342
                                                                                                                                                                 Successfully
    07/31/2018   05:35:59   12    mSTerminating    Incoming   8586106882                    18586106881                      310260253792880   352509010940640   Completed       11       VGMSS342
                                                                                                                                                                 Successfully
    07/31/2018   11:16:17             SMSC                       129                        18586106881                                                          Completed               mavsms_pol02
                                                                                                                                                                 Successfully
    07/31/2018   14:27:52   60    mSTerminatingS   Incoming      129                        18586106881                      310260253792880   352509010940640   Completed                VGMSS342
                                    MSinMSC                                                                                                                      Successfully
    08/01/2018   01:22:35         mSTerminating    Incoming   8588774886                    18586106881                      310260253792880   352509010940640    Abnormal       11       CRMSS345
                                                                                                                                                                 Completion
    08/01/2018   01:22:37   11    callForwarding   Outgoing   8588774886   18056377249      18056377249        18056377249   310260253792880                     Completed      011;2A    CRMSS345
                                                                                                                                                                 Successfully
    08/01/2018   01:28:17   10    mSOriginating    Outgoing   8586106881   18588774886      18588774886        18588774886   310260253792880   352509010940640   Completed                CRMSS345
                                                                                                                                                                 Successfully
    08/01/2018   11:06:06             SMSC                       129                        18586106881                                                          Completed               mavsms_pol02
                                                                                                                                                                 Successfully
    08/01/2018   14:41:05   60    mSTerminatingS   Incoming      129                        18586106881                      310260253792880   352509010940640   Completed                CRMSS345
                                    MSinMSC                                                                                                                      Successfully
    08/01/2018   23:10:28   102    mSOriginating   Outgoing   8586106881   18586106882      18586106882        18586106882   310260253792880   352509010940640   Completed                ORMSS349
                                                                                                                                                                 Successfully
    08/02/2018   01:32:15   43    mSTerminating    Incoming   8586106882                    18586106881                      310260253792880   352509010940640   Completed       11       ORMSS349
                                                                                                                                                                 Successfully
    08/02/2018   11:17:36             SMSC                       129                        18586106881                                                          Completed               mavsms_pol02
                                                                                                                                                                 Successfully
    08/02/2018   22:22:03   33    callForwarding   Outgoing   8586379454   18056377249      18056377249        18056377249   310260253792880                     Completed      011;2B    ORMSS349
                                                                                                                                                                 Successfully
    08/03/2018   01:17:24   60    mSTerminatingS   Incoming      129                        18586106881                      310260253792880   352509010940640   Completed                ORMSS349
                                    MSinMSC                                                                                                                      Successfully
    08/03/2018   05:30:08   11    mSTerminating    Incoming   8586106882                    18586106881                      310260253792880   352509010940640   Completed       11       ORMSS349
                                                                                                                                                                 Successfully
    08/03/2018   06:33:00   220   mSOriginating    Outgoing   8586106881   18056377243      18056377243        13235409999   310260253792880   352509010940640   Completed                ORMSS349
                                                                                                                                                                 Successfully
    08/03/2018   06:36:40             SMSC                       129                        18586106881                                                          Completed               mavsms_pol02
                                                                                                                                                                 Successfully
    08/03/2018   06:37:22   60    mSTerminatingS   Incoming      129                        18586106881                      310260253792880   352509010940640   Completed                ORMSS349
                                    MSinMSC                                                                                                                      Successfully
    08/03/2018   11:16:25             SMSC                       129                        18586106881                                                          Completed               mavsms_pol02
                                                                                                                                                                 Successfully
    08/03/2018   18:46:04   60    mSTerminatingS   Incoming      129                        18586106881                      310260253792880   352509010940640   Completed                ORMSS349
                                    MSinMSC                                                                                                                      Successfully
    08/04/2018   04:19:23   13    mSTerminating    Incoming   8586106882                    18586106881                      310260253792880   352509010940640   Completed       11        IEMSS341
                                                                                                                                                                 Successfully
    08/04/2018   11:10:27             SMSC                       129                        18586106881                                                          Completed               mavsms_pol02
                                                                                                                                                                 Successfully
    08/04/2018   16:25:08   60    mSTerminatingS   Incoming      129                        18586106881                      310260253792880   352509010940640   Completed                 IEMSS341
                                    MSinMSC                                                                                                                      Successfully
    08/05/2018   05:23:53   12     mSOriginating   Outgoing   8586106881   18586106882      18586106882        18586106882   310260253792880   352509010940640   Completed                 IEMSS341
                                                                                                                                                                 Successfully
    08/05/2018   05:45:46   11    mSTerminating    Incoming   8586106882                    18586106881                      310260253792880   352509010940640   Completed       11        IEMSS341
                                                                                                                                                                 Successfully
    08/05/2018   11:21:42             SMSC                       129                        18586106881                                                          Completed               mavsms_pol02
                                                                                                                                                                 Successfully



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                                                                                     [Exhibit G - 151]
    08/05/2018   18:13:10   60   mSTerminatingS   Incoming      129                        18586106881                         310260253792880   352509010940640   Completed                 IEMSS341
                                   MSinMSC                                                                                                                         Successfully
    08/06/2018   04:40:36   17   mSTerminating    Incoming   8586106882                    18586106881                         310260253792880   352509010940640   Completed       11       ORMSS349
                                                                                                                                                                   Successfully
    08/06/2018   04:41:00   4    callForwarding   Outgoing   8586106882   18056377249      18056377249        18056377249      310260253792880                     Completed      011;29    ORMSS349
                                                                                                                                                                   Successfully
    08/06/2018   04:41:09   26   mSOriginating    Outgoing   8586106881   18586106882      18586106882        18586106882      310260253792880   352509010940640   Completed                ORMSS349
                                                                                                                                                                   Successfully
    08/06/2018   11:15:38            SMSC                       129                        18586106881                                                             Completed               mavsms_pol02
                                                                                                                                                                   Successfully
    08/06/2018   16:40:18   60   mSTerminatingS   Incoming      129                        18586106881                         310260253792880   352509010940640   Completed                 IEMSS341
                                   MSinMSC                                                                                                                         Successfully
    08/06/2018   17:24:42   53    mSOriginating   Outgoing   8586106881   18586106882      18586106882        18586106882      310260253792880   352509010940640   Completed                VGMSS342
                                                                                                                                                                   Successfully
    08/06/2018   17:31:26   39   mSOriginating    Outgoing   8586106881   18586106882      18586106882        18586106882      310260253792880   352509010940640   Completed                VGMSS342
                                                                                                                                                                   Successfully
    08/07/2018   05:11:58   9    mSTerminating    Incoming   8586106882                    18586106881                         310260253792880   352509010940640   Completed       11       ORMSS349
                                                                                                                                                                   Successfully
    08/07/2018   11:18:17            SMSC                       129                        18586106881                                                             Completed               mavsms_pol02
                                                                                                                                                                   Successfully
    08/07/2018   14:44:20   60   mSTerminatingS   Incoming      129                        18586106881                         310260253792880   352509010940640   Completed                ATMSS344
                                   MSinMSC                                                                                                                         Successfully
    08/07/2018   14:45:02   89    mSOriginating   Outgoing   8586106881   18007082736      18007082736     11818633180070827   310260253792880   352509010940640   Completed                ATMSS344
                                                                                                                  36                                               Successfully
    08/07/2018   20:30:45   9    mSTerminating    Incoming   2138047008                    18586106881                         310260253792880   352509010940640   Completed       11       VGMSS342
                                                                                                                                                                   Successfully
    08/07/2018   21:39:05   12   mSTerminating    Incoming   7122435619                    18586106881                         310260253792880   352509010940640   Completed       11       VGMSS342
                                                                                                                                                                   Successfully
    08/08/2018   04:53:34   17   mSOriginating    Outgoing   8586106881   18586106882      18586106882        18586106882      310260253792880   352509010940640   Completed                ORMSS349
                                                                                                                                                                   Successfully
    08/08/2018   11:10:07            SMSC                       129                        18586106881                                                             Completed               mavsms_pol02
                                                                                                                                                                   Successfully
    08/08/2018   16:33:08   11   callForwarding   Outgoing   7122435647   18056377249      18056377249        18056377249      310260253792880                     Completed      011;2B    ORMSS349
                                                                                                                                                                   Successfully
    08/08/2018   16:37:47   60   mSTerminatingS   Incoming      129                        18586106881                         310260253792880   352509010940640   Completed                ORMSS349
                                   MSinMSC                                                                                                                         Successfully
    08/08/2018   17:15:05   54   mSTerminating    Incoming   8586106882                    18586106881                         310260253792880   352509010940640   Completed       11       ORMSS349
                                                                                                                                                                   Successfully
    08/08/2018   21:30:20   8    mSTerminating    Incoming   7122435647                    18586106881                         310260253792880   352509010940640   Completed       11       HNMSS348
                                                                                                                                                                   Successfully
    08/09/2018   01:13:19   36   mSOriginating    Outgoing   8586106881   18586106882      18586106882        18586106882      310260253792880   352509010940640   Completed                HNMSS348
                                                                                                                                                                   Successfully
    08/09/2018   02:20:22   14   mSTerminating    Incoming   8586106882                    18586106881                         310260253792880   352509010940640   Completed       11       ORMSS349
                                                                                                                                                                   Successfully
    08/09/2018   02:31:47   12   mSTerminating    Incoming   8586106882                    18586106881                         310260253792880   352509010940640   Completed       11       ORMSS349
                                                                                                                                                                   Successfully
    08/09/2018   11:12:10            SMSC                       129                        18586106881                                                             Completed               mavsms_pol02
                                                                                                                                                                   Successfully
    08/09/2018   16:00:05   60   mSTerminatingS   Incoming      129                        18586106881                         310260253792880   352509010940640   Completed                ORMSS349
                                   MSinMSC                                                                                                                         Successfully
    08/09/2018   16:01:32   33   mSTerminating    Incoming   7122435650                    18586106881                         310260253792880   352509010940640   Completed       11       ORMSS349
                                                                                                                                                                   Successfully
    08/10/2018   04:24:42   21   mSOriginating    Outgoing   8586106881   18586106882      18586106882        18586106882      310260253792880   352509010940640   Completed                CRMSS345
                                                                                                                                                                   Successfully



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                                                                                    [Exhibit G - 152]
    08/10/2018   06:11:06   16    mSTerminating    Incoming   8586106882                     18586106881                      310260253792880   352509010940640   Completed       11       CRMSS345
                                                                                                                                                                  Successfully
    08/10/2018   11:29:52             SMSC                        129                        18586106881                                                          Completed               mavsms_pol02
                                                                                                                                                                  Successfully
    08/10/2018   16:00:18    4         mtc         Incoming   18586106882   18586106881      18586106881        18586106881   310260253792880                     Completed      021;11     TPTAS201
                                                                                                                                                                  Successfully
    08/10/2018   16:00:19   4          moc         Outgoing   18586106882   18056377249      18056377249        13235409999   310260253792880                     Completed       02B       TPTAS201
                                                                                                                                                                  Successfully
    08/10/2018   16:38:40   8          mtc         Incoming   18586106882   18586106881      18586106881        18586106881   310260253792880                     Completed      021;11    ORTAS002
                                                                                                                                                                  Successfully
    08/10/2018   16:38:41   8          moc         Outgoing   18586106882   18056377249      18056377249        13235409999   310260253792880                     Completed       02B      ORTAS002
                                                                                                                                                                  Successfully
    08/10/2018   16:58:16   60    mSTerminatingS   Incoming      129                         18586106881                      310260253792880   352509010940640   Completed                CRMSS345
                                    MSinMSC                                                                                                                       Successfully
    08/10/2018   22:53:18   46    mSTerminating    Incoming   8586106882                     18586106881                      310260253792880   352509010940640   Completed       11       ATMSS344
                                                                                                                                                                  Successfully
    08/10/2018   22:56:15   141   mSOriginating    Outgoing   8586106881    18586106882      18586106882        18586106882   310260253792880   352509010940640   Completed                ATMSS344
                                                                                                                                                                  Successfully
    08/10/2018   23:02:54   4          moc         Outgoing   18586106882   18056377249      18056377249        13235409999   310260253792880                     Completed       02B       TTTAS101
                                                                                                                                                                  Successfully
    08/10/2018   23:03:15   3          moc         Outgoing   18586106882   18056377249      18056377249        13235409999   310260253792880                     Completed       02B      NVTAS010
                                                                                                                                                                  Successfully
    08/10/2018   23:03:36   4          moc         Outgoing   18586106882   18056377249      18056377249        13235409999   310260253792880                     Completed       02B      DATAS004
                                                                                                                                                                  Successfully
    08/10/2018   23:04:01   4          moc         Outgoing   18586106882   18056377249      18056377249        13235409999   310260253792880                     Completed       02B       SCTAS006
                                                                                                                                                                  Successfully
    08/10/2018   23:04:25   45    mSTerminating    Incoming   8586106882                     18586106881                      310260253792880   352509010940640   Completed       11        IEMSS341
                                                                                                                                                                  Successfully
    08/10/2018   23:19:51         mSTerminating    Incoming   8588372279                     18586106881                      310260253792880   352509010940640    Abnormal       11        IEMSS341
                                                                                                                                                                  Completion
    08/11/2018   04:23:25   9     mSTerminating    Incoming   8586106882                     18586106881                      310260253792880   352509010940640   Completed       11       ATMSS344
                                                                                                                                                                  Successfully
    08/11/2018   11:13:19             SMSC                       129                         18586106881                                                          Completed               mavsms_pol02
                                                                                                                                                                  Successfully
    08/11/2018   22:39:33   60    mSTerminatingS   Incoming      129                         18586106881                      310260253792880   352509010940640   Completed                SFMSS347
                                    MSinMSC                                                                                                                       Successfully
    08/12/2018   04:07:16   12    mSTerminating    Incoming   8586106882                     18586106881                      310260253792880   352509010940640   Completed       11       CRMSS345
                                                                                                                                                                  Successfully
    08/12/2018   11:42:16             SMSC                       129                         18586106881                                                          Completed               mavsms_pol02
                                                                                                                                                                  Successfully
    08/12/2018   17:49:55   60    mSTerminatingS   Incoming      129                         18586106881                      310260253792880   352509010940640   Completed                SFMSS347
                                    MSinMSC                                                                                                                       Successfully
    08/13/2018   04:08:28   18    mSTerminating    Incoming   8586106882                     18586106881                      310260253792880   352509010940640   Completed       11        IEMSS341
                                                                                                                                                                  Successfully
    08/13/2018   10:56:03             SMSC                       129                         18586106881                                                          Completed               mavsms_pol02
                                                                                                                                                                  Successfully
    08/13/2018   15:41:16   60    mSTerminatingS   Incoming      129                         18586106881                      310260253792880   352509010940640   Completed                ATMSS344
                                    MSinMSC                                                                                                                       Successfully
    08/13/2018   18:59:08   70     mSOriginating   Outgoing   8586106881    16194760030      16194760030        16194760030   310260253792880   352509010940640   Completed                ATMSS344
                                                                                                                                                                  Successfully
    08/13/2018   19:37:34   111   mSOriginating    Outgoing   8586106881    18587957040      18587957040        18587957040   310260253792880   352509010940640   Completed                ATMSS344
                                                                                                                                                                  Successfully
    08/14/2018   06:05:28   36    mSTerminating    Incoming   8586106882                     18586106881                      310260253792880   352509010940640   Completed       11       DAMSS343
                                                                                                                                                                  Successfully



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                                                                                      [Exhibit G - 153]
    08/14/2018   10:51:19             SMSC                        129                        18586106881                                                          Completed               mavsms_pol02
                                                                                                                                                                  Successfully
    08/14/2018   16:29:58   60    mSTerminatingS   Incoming      129                         18586106881                      310260253792880   352509010940640   Completed                DAMSS343
                                    MSinMSC                                                                                                                       Successfully
    08/15/2018   03:32:38         mSTerminating    Incoming   8586106882                     18586106881                      310260253792880   352509010940640    Abnormal       11       HNMSS348
                                                                                                                                                                  Completion
    08/15/2018   10:50:37             SMSC                        129                        18586106881                                                          Completed               mavsms_pol02
                                                                                                                                                                  Successfully
    08/15/2018   18:40:37   60    mSTerminatingS   Incoming      129                         18586106881                      310260253792880   352509010940640   Completed                SPMSS346
                                    MSinMSC                                                                                                                       Successfully
    08/16/2018   05:17:08   39     mSOriginating   Outgoing   8586106881    18586106882      18586106882        18586106882   310260253792880   352509010940640   Completed                 IEMSS341
                                                                                                                                                                  Successfully
    08/16/2018   10:58:22             SMSC                        129                        18586106881                                                          Completed               mavsms_pol02
                                                                                                                                                                  Successfully
    08/16/2018   20:20:07   60    mSTerminatingS   Incoming      129                         18586106881                      310260253792880   352509010940640   Completed                 IEMSS341
                                    MSinMSC                                                                                                                       Successfully
    08/16/2018   23:55:38   23     mSOriginating   Outgoing   8586106881    18586106882      18586106882        18586106882   310260253792880   352509010940640   Completed                ATMSS344
                                                                                                                                                                  Successfully
    08/17/2018   06:04:38   32    mSTerminating    Incoming   8586106882                     18586106881                      310260253792880   352509010940640   Completed       11       ATMSS344
                                                                                                                                                                  Successfully
    08/17/2018   10:57:23             SMSC                        129                        18586106881                                                          Completed               mavsms_pol02
                                                                                                                                                                  Successfully
    08/17/2018   17:00:29   60    mSTerminatingS   Incoming      129                         18586106881                      310260253792880   352509010940640   Completed                ATMSS344
                                    MSinMSC                                                                                                                       Successfully
    08/17/2018   17:44:11         mSTerminating    Incoming   6057777366                     18586106881                      310260253792880   352509010940640    Abnormal       11       ATMSS344
                                                                                                                                                                  Completion
    08/17/2018   17:44:12   33    callForwarding   Outgoing   6057777366    18056377249      18056377249        18056377249   310260253792880                     Completed      011;2A    ATMSS344
                                                                                                                                                                  Successfully
    08/18/2018   04:49:33   25    mSOriginating    Outgoing   8586106881    18586106882      18586106882        18586106882   310260253792880   352509010940640   Completed                 IEMSS341
                                                                                                                                                                  Successfully
    08/18/2018   05:23:01   12    mSTerminating    Incoming   8586106882                     18586106881                      310260253792880   352509010940640   Completed       11        IEMSS341
                                                                                                                                                                  Successfully
    08/18/2018   10:58:30             SMSC                       129                         18586106881                                                          Completed               mavsms_pol02
                                                                                                                                                                  Successfully
    08/18/2018   16:35:40   60    mSTerminatingS   Incoming      129                         18586106881                      310260253792880   352509010940640   Completed                 IEMSS341
                                    MSinMSC                                                                                                                       Successfully
    08/19/2018   04:36:24   12    mSTerminating    Incoming   8586106882                     18586106881                      310260253792880   352509010940640   Completed       11       VGMSS342
                                                                                                                                                                  Successfully
    08/19/2018   11:14:36             SMSC                       129                         18586106881                                                          Completed               mavsms_pol02
                                                                                                                                                                  Successfully
    08/19/2018   16:43:07   60    mSTerminatingS   Incoming      129                         18586106881                      310260253792880   352509010940640   Completed                ATMSS344
                                    MSinMSC                                                                                                                       Successfully
    08/20/2018   04:38:55   9     mSTerminating    Incoming   8586106882                     18586106881                      310260253792880   352509010940640   Completed       11       ATMSS344
                                                                                                                                                                  Successfully
    08/20/2018   11:12:32             SMSC                       129                         18586106881                                                          Completed               mavsms_pol02
                                                                                                                                                                  Successfully
    08/20/2018   16:06:21             SMSC                    18586106881                       84285                                                             Completed               mavsms_pol02
                                                                                                                                                                  Successfully
    08/20/2018   16:06:21             SMSC                       84285                       18586106881                                                          Completed               mavsms_pol02
                                                                                                                                                                  Successfully
    08/20/2018   22:09:04   106   mSOriginating    Outgoing   8586106881    18582717753      18582717753        18582717753   310260253792880   352509010940640   Completed                ATMSS344
                                                                                                                                                                  Successfully
    08/20/2018   22:10:05   60    mSTerminatingS   Incoming      129                         18586106881                      310260253792880   352509010940640   Completed                ATMSS344
                                    MSinMSC                                                                                                                       Successfully



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                                                                                      [Exhibit G - 154]
    08/20/2018   22:10:16   60    mSTerminatingS   Incoming     84285                        18586106881                      310260253792880   352509010940640   Completed                ATMSS344
                                    MSinMSC                                                                                                                       Successfully
    08/20/2018   22:11:39   72     mSOriginating   Outgoing   8586106881    18586106882      18586106882        18586106882   310260253792880   352509010940640   Completed                ATMSS344
                                                                                                                                                                  Successfully
    08/21/2018   04:39:52   18    mSOriginating    Outgoing   8586106881    18586106882      18586106882        18586106882   310260253792880   352509010940640   Completed                DAMSS343
                                                                                                                                                                  Successfully
    08/21/2018   06:19:02   14    mSTerminating    Incoming   8586106882                     18586106881                      310260253792880   352509010940640   Completed       11       CRMSS345
                                                                                                                                                                  Successfully
    08/21/2018   10:43:16             SMSC                        129                        18586106881                                                          Completed               mavsms_pol02
                                                                                                                                                                  Successfully
    08/21/2018   17:17:06             SMSC                    18586106881                       84285                                                             Completed               mavsms_pol02
                                                                                                                                                                  Successfully
    08/21/2018   17:17:06             SMSC                       84285                       18586106881                                                          Completed               mavsms_pol02
                                                                                                                                                                  Successfully
    08/22/2018   01:57:06   60    mSTerminatingS   Incoming      129                         18586106881                      310260253792880   352509010940640   Completed                CRMSS345
                                    MSinMSC                                                                                                                       Successfully
    08/22/2018   01:57:10   60    mSTerminatingS   Incoming     84285                        18586106881                      310260253792880   352509010940640   Completed                CRMSS345
                                    MSinMSC                                                                                                                       Successfully
    08/22/2018   01:58:25          mSOriginating   Outgoing   8586106881    18586959475      18586959475        18586959475   310260253792880   352509010940640   Completed                CRMSS345
                                                                                                                                                                  Successfully
    08/22/2018   01:59:39   23    mSOriginating    Outgoing   8586106881    18582717224      18582717224        18582717224   310260253792880   352509010940640   Completed                CRMSS345
                                                                                                                                                                  Successfully
    08/22/2018   03:10:00   35    mSOriginating    Outgoing   8586106881    18586106882      18586106882        18586106882   310260253792880   352509010940640   Completed                CRMSS345
                                                                                                                                                                  Successfully
    08/22/2018   03:37:40   44    mSOriginating    Outgoing   8586106881    18586106882      18586106882        18586106882   310260253792880   352509010940640   Completed                CRMSS345
                                                                                                                                                                  Successfully
    08/22/2018   10:41:03             SMSC                        129                        18586106881                                                          Completed               mavsms_pol02
                                                                                                                                                                  Successfully
    08/23/2018   02:53:09   60    mSTerminatingS   Incoming      129                         18586106881                      310260253792880   352509010940640   Completed                CRMSS345
                                    MSinMSC                                                                                                                       Successfully
    08/23/2018   02:53:16   104    mSOriginating   Outgoing   8586106881    18586106882      18586106882        18586106882   310260253792880   352509010940640   Completed                CRMSS345
                                                                                                                                                                  Successfully
    08/23/2018   03:41:10   5     mSOriginating    Outgoing   8586106881    18586106882      18586106882        18586106882   310260253792880   352509010940640   Completed                CRMSS345
                                                                                                                                                                  Successfully
    08/23/2018   10:48:39             SMSC                        129                        18586106881                                                          Completed               mavsms_pol02
                                                                                                                                                                  Successfully
    08/26/2018   16:09:02   33    callForwarding   Outgoing   8002255345    18056377249      18056377249        18056377249   310260253792880                     Completed      011;2B    DAMSS343
                                                                                                                                                                  Successfully
    08/26/2018   21:01:50   5          mtc         Incoming   18586106882   18586106881      18586106881        18586106881   310260253792880                     Completed      021;11    NVTAS009
                                                                                                                                                                  Successfully
    08/26/2018   21:01:51   5          moc         Outgoing   18586106882   18056377249      18056377249        13235409999   310260253792880                     Completed       02B      NVTAS009
                                                                                                                                                                  Successfully
    08/26/2018   21:02:01   11         mtc         Incoming   18586106882   18586106881      18586106881        18586106881   310260253792880                     Completed      021;11     IETAS001
                                                                                                                                                                  Successfully
    08/26/2018   21:02:02   11         moc         Outgoing   18586106882   18056377249      18056377249        13235409999   310260253792880                     Completed       02B       IETAS001
                                                                                                                                                                  Successfully
    08/26/2018   21:02:19   6          mtc         Incoming   18586106882   18586106881      18586106881        18586106881   310260253792880                     Completed      021;11    AUTAS202
                                                                                                                                                                  Successfully
    08/26/2018   21:02:20   6          moc         Outgoing   18586106882   18056377249      18056377249        13235409999   310260253792880                     Completed       02B      AUTAS202
                                                                                                                                                                  Successfully
    08/26/2018   22:18:07   5          mtc         Incoming   18586106882   18586106881      18586106881        18586106881   310260253792880                     Completed      021;11    ORTAS002
                                                                                                                                                                  Successfully
    08/26/2018   22:18:08   5          moc         Outgoing   18586106882   18056377249      18056377249        13235409999   310260253792880                     Completed       02B      ORTAS002
                                                                                                                                                                  Successfully



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                                                                                      [Exhibit G - 155]
    08/27/2018   00:39:44    5         moc         Outgoing   18586106882   18056377249      18056377249        13235409999     310260253792880                     Completed       02B       TPTAS202
                                                                                                                                                                    Successfully
    08/27/2018   00:39:44    5         mtc         Incoming   18586106882   18586106881      18586106881        18586106881     310260253792880                     Completed      021;11     TPTAS202
                                                                                                                                                                    Successfully
    08/27/2018   00:51:45    8         moc         Outgoing   18586106882   18056377249      18056377249        13235409999     310260253792880                     Completed       02B      NVTAS010
                                                                                                                                                                    Successfully
    08/27/2018   00:51:45    8         mtc         Incoming   18586106882   18586106881      18586106881        18586106881     310260253792880                     Completed      021;11    NVTAS010
                                                                                                                                                                    Successfully
    08/27/2018   00:51:58    5         moc         Outgoing   18586106882   18056377249      18056377249        13235409999     310260253792880                     Completed       02B       TTTAS005
                                                                                                                                                                    Successfully
    08/27/2018   00:51:58    5         mtc         Incoming   18586106882   18586106881      18586106881        18586106881     310260253792880                     Completed      021;11     TTTAS005
                                                                                                                                                                    Successfully
    08/27/2018   02:51:28    3         moc         Outgoing   18586106882   18056377249      18056377249        13235409999     310260253792880                     Completed       02B      DATAS003
                                                                                                                                                                    Successfully
    08/27/2018   02:51:28    3         mtc         Incoming   18586106882   18586106881      18586106881        18586106881     310260253792880                     Completed      021;11    DATAS003
                                                                                                                                                                    Successfully
    08/29/2018   16:14:29   10    callForwarding   Outgoing   6199952480    18056377249      18056377249        18056377249     310260253792880                     Completed      011;2B    DAMSS343
                                                                                                                                                                    Successfully
    08/29/2018   16:19:14             SMSC                    16199952480                    18586106881                                                            Completed               mavsms_pol02
                                                                                                                                                                    Successfully
    08/29/2018   19:18:47   33    callForwarding   Outgoing   2138078661    18056377249      18056377249        18056377249     310260253792880                     Completed      011;2B    DAMSS343
                                                                                                                                                                    Successfully
    08/30/2018   12:10:00             SMSC                        129                        18586106881                                                            Completed               mavsms_pol02
                                                                                                                                                                    Successfully
    08/30/2018   16:46:51   60    mSTerminatingS   Incoming      129                         18586106881                        310260253792880   352509010940640   Completed                CRMSS345
                                    MSinMSC                                                                                                                         Successfully
    08/30/2018   16:46:54   60    mSTerminatingS   Incoming   16199952480                    18586106881                        310260253792880   352509010940640   Completed                CRMSS345
                                    MSinMSC                                                                                                                         Successfully
    08/30/2018   16:46:56   60    mSTerminatingS   Incoming      129                         18586106881                        310260253792880   352509010940640   Completed                CRMSS345
                                    MSinMSC                                                                                                                         Successfully
    08/30/2018   16:48:54   66     mSOriginating   Outgoing   8586106881    18882338749      18882338749    11509205188823387   310260253792880   352509010940640   Completed                CRMSS345
                                                                                                                   49                                               Successfully
    08/30/2018   17:39:02   123   mSOriginating    Outgoing   8586106881    18003311212      18003311212    11509205180033112   310260253792880   352509010940640   Completed                CRMSS345
                                                                                                                   12                                               Successfully
    08/30/2018   17:43:12   111   mSOriginating    Outgoing   8586106881    19734963500      19734963500       19734963500      310260253792880   352509010940640   Completed                CRMSS345
                                                                                                                                                                    Successfully
    08/30/2018   17:45:13   119   mSOriginating    Outgoing   8586106881    19734963500      19734963500        19734963500     310260253792880   352509010940640   Completed                CRMSS345
                                                                                                                                                                    Successfully
    08/31/2018   10:51:00             SMSC                        129                        18586106881                                                            Completed               mavsms_pol02
                                                                                                                                                                    Successfully
    09/01/2018   16:35:18   60    mSTerminatingS   Incoming      129                         18586106881                        310260253792880   352509010940640   Completed                CRMSS345
                                    MSinMSC                                                                                                                         Successfully
    09/01/2018   20:37:40          mSOriginating   Outgoing   8586106881    18586106882      18586106882        18586106882     310260253792880   352509010940640   Completed                DAMSS343
                                                                                                                                                                    Successfully
    09/02/2018   01:07:31   43    mSOriginating    Outgoing   8586106881    18586106882      18586106882        18586106882     310260253792880   352509010940640   Completed                SPMSS346
                                                                                                                                                                    Successfully
    09/02/2018   03:22:49   19    mSTerminating    Incoming   8586106882                     18586106881                        310260253792880   352509010940640   Completed       11       SPMSS346
                                                                                                                                                                    Successfully
    09/02/2018   10:53:44             SMSC                        129                        18586106881                                                            Completed               mavsms_pol02
                                                                                                                                                                    Successfully
    09/02/2018   18:02:39   60    mSTerminatingS   Incoming       129                        18586106881                        310260253792880   352509010940640   Completed                SPMSS346
                                    MSinMSC                                                                                                                         Successfully
    09/02/2018   23:43:18   17     mSOriginating   Outgoing   8586106881    18586106882      18586106882        18586106882     310260253792880   352509010940640   Completed                CRMSS345
                                                                                                                                                                    Successfully



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                                                                                      [Exhibit G - 156]
    09/03/2018   04:32:14   105    mSOriginating    Outgoing   8586106881   18586106882      18586106882        18586106882      310260253792880   352509010940640   Completed                VGMSS342
                                                                                                                                                                     Successfully
    09/03/2018   04:38:16   44     mSTerminating    Incoming   8586106882                    18586106881                         310260253792880   352509010940640   Completed       11       HNMSS348
                                                                                                                                                                     Successfully
    09/03/2018   06:57:29   30     mSOriginating    Outgoing   8586106881   18056377243      18056377243        13235409999      310260253792880   352509010940640   Completed                HNMSS348
                                                                                                                                                                     Successfully
    09/03/2018   06:58:00              SMSC                       129                        18586106881                                                             Completed               mavsms_pol02
                                                                                                                                                                     Successfully
    09/03/2018   06:58:39   102    mSOriginating    Outgoing   8586106881   18056377243      18056377243        13235409999      310260253792880   352509010940640   Completed                HNMSS348
                                                                                                                                                                     Successfully
    09/03/2018   06:59:02    60    mSTerminatingS   Incoming      129                        18586106881                         310260253792880   352509010940640   Completed                HNMSS348
                                     MSinMSC                                                                                                                         Successfully
    09/03/2018   07:00:22              SMSC                       129                        18586106881                                                             Completed               mavsms_pol02
                                                                                                                                                                     Successfully
    09/03/2018   07:00:26    60    mSTerminatingS   Incoming      129                        18586106881                         310260253792880   352509010940640   Completed                HNMSS348
                                     MSinMSC                                                                                                                         Successfully
    09/03/2018   07:00:47   25      mSOriginating   Outgoing   8586106881   18056377243      18056377243        13235409999      310260253792880   352509010940640   Completed                HNMSS348
                                                                                                                                                                     Successfully
    09/03/2018   07:01:13              SMSC                       129                        18586106881                                                             Completed               mavsms_pol02
                                                                                                                                                                     Successfully
    09/03/2018   07:01:25    60    mSTerminatingS   Incoming      129                        18586106881                         310260253792880   352509010940640   Completed                HNMSS348
                                     MSinMSC                                                                                                                         Successfully
    09/03/2018   18:52:18   19      mSOriginating   Outgoing   8586106881   18008244491      18008244491     11818633180082444   310260253792880   352509010940640   Completed                HNMSS348
                                                                                                                    91                                               Successfully
    09/03/2018   18:52:50   25     mSOriginating    Outgoing   8586106881   18008244491      18008244491     11818633180082444   310260253792880   352509010940640   Completed                HNMSS348
                                                                                                                    91                                               Successfully
    09/03/2018   18:53:29   53     mSOriginating    Outgoing   8586106881   18008244491      18008244491     11818633180082444   310260253792880   352509010940640   Completed                HNMSS348
                                                                                                                    91                                               Successfully
    09/03/2018   18:55:47   146    mSOriginating    Outgoing   8586106881   18008244491      18008244491     11818633180082444   310260253792880   352509010940640   Completed                HNMSS348
                                                                                                                    91                                               Successfully
    09/03/2018   18:58:26    8     mSOriginating    Outgoing   8586106881   18008244491      18008244491     11818633180082444   310260253792880   352509010940640   Completed                HNMSS348
                                                                                                                    91                                               Successfully
    09/03/2018   18:59:33   26     mSOriginating    Outgoing   8586106881   18008244491      18008244491     11818633180082444   310260253792880   352509010940640   Completed                HNMSS348
                                                                                                                    91                                               Successfully
    09/03/2018   19:04:39   247    mSOriginating    Outgoing   8586106881   18008244491      18008244491     11818633180082444   310260253792880   352509010940640   Completed                HNMSS348
                                                                                                                    91                                               Successfully
    09/04/2018   05:21:54    8     mSTerminating    Incoming   8586106882                    18586106881                         310260253792880   352509010940640   Completed       11       SPMSS346
                                                                                                                                                                     Successfully
    09/04/2018   19:57:52   29     mSOriginating    Outgoing   8586106881   18007770133      18007770133     11818633180077701   310260253792880   352509010940640   Completed                HNMSS348
                                                                                                                     33                                              Successfully
    09/04/2018   20:50:06   3133   mSOriginating    Outgoing   8586106881   18007770133      18007770133     11818633180077701   310260253792880   352509010940640   Completed                HNMSS348
                                                                                                                     33                                              Successfully
    09/04/2018   21:42:54   5989   mSOriginating    Outgoing   8586106881   18007770133      18007770133     11818633180077701   310260253792880   352509010940640   Completed                HNMSS348
                                                                                                                     33                                              Successfully
    09/05/2018   01:55:37   12     callForwarding   Outgoing   8586899913   18056377249      18056377249        18056377249      310260253792880                     Completed      011;2B    ATMSS344
                                                                                                                                                                     Successfully
    09/05/2018   01:55:50              SMSC                       129                        18586106881                                                             Completed               mavsms_pol02
                                                                                                                                                                     Successfully
    09/05/2018   01:55:53    60    mSTerminatingS   Incoming      129                        18586106881                         310260253792880   352509010940640   Completed                 IEMSS341
                                     MSinMSC                                                                                                                         Successfully
    09/05/2018   02:07:33   31      mSOriginating   Outgoing   8586106881   18056377243      18056377243        13235409999      310260253792880   352509010940640   Completed                 IEMSS341
                                                                                                                                                                     Successfully
    09/05/2018   02:08:04              SMSC                       129                        18586106881                                                             Completed               mavsms_pol02
                                                                                                                                                                     Successfully



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                                                                                      [Exhibit G - 157]
    09/05/2018   02:08:50   60    mSTerminatingS   Incoming       129                        18586106881                      310260253792880   352509010940640   Completed             CRMSS345
                                    MSinMSC                                                                                                                       Successfully
    09/05/2018   02:23:54          mSOriginating   Outgoing   8586106881    18586106882      18586106882        18586106882   310260253792880   352509010940640   Completed             CRMSS345
                                                                                                                                                                  Successfully
    09/05/2018   03:11:53   64    mSOriginating    Outgoing   8586106881    8586108863        8586108863        18586108863   310260253792880   352509010940640   Completed             CRMSS345
                                                                                                                                                                  Successfully
    09/06/2018   02:18:33              mtc         Incoming   16195345829   18586106881      18586106881        18586106881   310260253792880                      Abnormal      11     ORTAS001
                                                                                                                                                                  Completion
    09/07/2018   05:17:58   23    mSTerminating    Incoming   8586106882                     18586106881                      310260253792880   352509010940640   Completed      11     HNMSS348
                                                                                                                                                                  Successfully
    09/07/2018   05:36:42   10    mSTerminating    Incoming   8586106882                     18586106881                      310260253792880   352509010940640   Completed      11     HNMSS348
                                                                                                                                                                  Successfully
    09/07/2018   14:37:43             SMSC                    18586100658                    18586106881                                                          Completed            mavsms_pol02
                                                                                                                                                                  Successfully
    09/07/2018   14:52:58             SMSC                    18586100658                    18586106881                                                          Completed            mavsms_pol03
                                                                                                                                                                  Successfully
    09/07/2018   15:34:17             SMSC                    18586100658                    18586106881                                                          Completed            mavsms_ttn02
                                                                                                                                                                  Successfully
    09/07/2018   15:54:05             SMSC                       2300                        18586106881                                                          Completed            mavsms_pol02
                                                                                                                                                                  Successfully
    09/07/2018   15:55:23             SMSC                    18586100658                    18586106881                                                          Completed            mavsms_pol01
                                                                                                                                                                  Successfully
    09/08/2018   04:11:59   60    mSTerminatingS   Incoming   18586100658                    18586106881                      310260253792880   352509010940640   Completed             HNMSS348
                                    MSinMSC                                                                                                                       Successfully
    09/08/2018   04:12:12   60    mSTerminatingS   Incoming   18586100658                    18586106881                      310260253792880   352509010940640   Completed             HNMSS348
                                    MSinMSC                                                                                                                       Successfully
    09/08/2018   04:14:15   60    mSTerminatingS   Incoming   18586100658                    18586106881                      310260253792880   352509010940640   Completed             HNMSS348
                                    MSinMSC                                                                                                                       Successfully
    09/08/2018   04:14:19   60    mSTerminatingS   Incoming      2300                        18586106881                      310260253792880   352509010940640   Completed             HNMSS348
                                    MSinMSC                                                                                                                       Successfully
    09/08/2018   04:14:23   60    mSTerminatingS   Incoming      2300                        18586106881                      310260253792880   352509010940640   Completed             HNMSS348
                                    MSinMSC                                                                                                                       Successfully
    09/08/2018   04:19:05   60    mSTerminatingS   Incoming   18586100658                    18586106881                      310260253792880   352509010940640   Completed             HNMSS348
                                    MSinMSC                                                                                                                       Successfully
    09/08/2018   04:20:40   1      mSOriginating   Outgoing   8586106881    18586100658      18586100658        18586100658   310260253792880   352509010940640   Completed             HNMSS348
                                                                                                                                                                  Successfully
    09/08/2018   04:25:11   12    mSTerminating    Incoming   8586106882                     18586106881                      310260253792880   352509010940640   Completed      11     HNMSS348
                                                                                                                                                                  Successfully
    09/09/2018   01:35:50   11    mSOriginating    Outgoing   8586106881    18586106882      18586106882        18586106882   310260253792880   352509010940640   Completed             VGMSS342
                                                                                                                                                                  Successfully
    09/09/2018   01:38:00   27    mSTerminating    Incoming   8586106882                     18586106881                      310260253792880   352509010940640   Completed      11     VGMSS342
                                                                                                                                                                  Successfully
    09/09/2018   01:39:35   4          moc         Outgoing   18586106882   18056377249      18056377249        13235409999   310260253792880                     Completed      02B     SCTAS005
                                                                                                                                                                  Successfully
    09/09/2018   01:39:56   32    mSTerminating    Incoming   8586106882                     18586106881                      310260253792880   352509010940640   Completed      11     VGMSS342
                                                                                                                                                                  Successfully
    09/09/2018   02:06:09         mSOriginating    Outgoing   8586106881    18582202425      18582202425        18582202425   310260253792880   352509010940640   Completed             ORMSS349
                                                                                                                                                                  Successfully
    09/09/2018   02:17:35   12    mSOriginating    Outgoing   8586106881    18582202425      18582202425        18582202425   310260253792880   352509010940640   Completed             CRMSS345
                                                                                                                                                                  Successfully
    09/09/2018   02:19:58   389   mSOriginating    Outgoing   8586106881    18582202425      18582202425        18582202425   310260253792880   352509010940640   Completed             CRMSS345
                                                                                                                                                                  Successfully
    09/09/2018   02:42:03         mSOriginating    Outgoing   8586106881    18585058735      18585058735        18585058735   310260253792880   352509010940640   Completed             CRMSS345
                                                                                                                                                                  Successfully



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                                                                                         [Exhibit G - 158]
    09/09/2018   02:46:58        mSOriginating    Outgoing   8586106881    18585058735      18585058735        18585058735   310260253792880   352509010940640   Completed                CRMSS345
                                                                                                                                                                 Successfully
    09/09/2018   02:51:09        mSOriginating    Outgoing   8586106881    18585058735      18585058735        18585058735   310260253792880   352509010940640   Completed                CRMSS345
                                                                                                                                                                 Successfully
    09/09/2018   04:43:50   12   mSTerminating    Incoming   8586106882                     18586106881                      310260253792880   352509010940640   Completed       11       CRMSS345
                                                                                                                                                                 Successfully
    09/09/2018   18:22:19   8    callForwarding   Outgoing   2093143007    18056377249      18056377249        18056377249   310260253792880                     Completed      011;2B    CRMSS345
                                                                                                                                                                 Successfully
    09/09/2018   19:02:41   96   mSOriginating    Outgoing   8586106881    18586106882      18586106882        18586106882   310260253792880   352509010940640   Completed                CRMSS345
                                                                                                                                                                 Successfully
    09/10/2018   04:32:45   12   mSTerminating    Incoming   8586106882                     18586106881                      310260253792880   352509010940640   Completed       11       SPMSS346
                                                                                                                                                                 Successfully
    09/11/2018   05:11:16   22   mSTerminating    Incoming   8586106882                     18586106881                      310260253792880   352509010940640   Completed       11       ORMSS349
                                                                                                                                                                 Successfully
    09/11/2018   15:35:19   10        mtc         Incoming   18586106882   18586106881      18586106881        18586106881   310260253792880                     Completed      021;11    AUTAS201
                                                                                                                                                                 Successfully
    09/11/2018   15:35:20   10       moc          Outgoing   18586106882   18056377249      18056377249        13235409999   310260253792880                     Completed       02B      AUTAS201
                                                                                                                                                                 Successfully
    09/11/2018   15:35:31            SMSC                        129                        18586106881                                                          Completed               mavsms_pol02
                                                                                                                                                                 Successfully
    09/11/2018   16:29:08   7         mtc         Incoming   18586106882   18586106881      18586106881        18586106881   310260253792880                     Completed      021;11    CHTAS004
                                                                                                                                                                 Successfully
    09/11/2018   16:29:09   7        moc          Outgoing   18586106882   18056377249      18056377249        13235409999   310260253792880                     Completed       02B      CHTAS004
                                                                                                                                                                 Successfully
    09/11/2018   16:29:22   7         mtc         Incoming   18586106882   18586106881      18586106881        18586106881   310260253792880                     Completed      021;11     TPTAS201
                                                                                                                                                                 Successfully
    09/11/2018   16:29:23   7        moc          Outgoing   18586106882   18056377249      18056377249        13235409999   310260253792880                     Completed       02B       TPTAS201
                                                                                                                                                                 Successfully
    09/11/2018   18:56:14   10        mtc         Incoming   18586106882   18586106881      18586106881        18586106881   310260253792880                     Completed      021;11    POTAS001
                                                                                                                                                                 Successfully
    09/11/2018   18:56:15   10       moc          Outgoing   18586106882   18056377249      18056377249        13235409999   310260253792880                     Completed       02B      POTAS001
                                                                                                                                                                 Successfully
    09/11/2018   18:56:31   13       moc          Outgoing   18586106882   18056377249      18056377249        13235409999   310260253792880                     Completed       02B       TPTAS201
                                                                                                                                                                 Successfully
    09/11/2018   18:56:31   13        mtc         Incoming   18586106882   18586106881      18586106881        18586106881   310260253792880                     Completed      021;11     TPTAS201
                                                                                                                                                                 Successfully
    09/11/2018   18:56:50   8         mtc         Incoming   18586106882   18586106881      18586106881        18586106881   310260253792880                     Completed      021;11    CHTAS004
                                                                                                                                                                 Successfully
    09/11/2018   18:56:51   8        moc          Outgoing   18586106882   18056377249      18056377249        13235409999   310260253792880                     Completed       02B      CHTAS004
                                                                                                                                                                 Successfully
    09/11/2018   18:57:04   8         mtc         Incoming   18586106882   18586106881      18586106881        18586106881   310260253792880                     Completed      021;11     TPTAS201
                                                                                                                                                                 Successfully
    09/11/2018   18:57:05   8        moc          Outgoing   18586106882   18056377249      18056377249        13235409999   310260253792880                     Completed       02B       TPTAS201
                                                                                                                                                                 Successfully
    09/11/2018   18:57:18   6         mtc         Incoming   18586106882   18586106881      18586106881        18586106881   310260253792880                     Completed      021;11    NVTAS009
                                                                                                                                                                 Successfully
    09/11/2018   18:57:19   6        moc          Outgoing   18586106882   18056377249      18056377249        13235409999   310260253792880                     Completed       02B      NVTAS009
                                                                                                                                                                 Successfully
    09/11/2018   18:57:31   13        mtc         Incoming   18586106882   18586106881      18586106881        18586106881   310260253792880                     Completed      021;11    DATAS009
                                                                                                                                                                 Successfully
    09/11/2018   18:57:32   13       moc          Outgoing   18586106882   18056377249      18056377249        13235409999   310260253792880                     Completed       02B      DATAS009
                                                                                                                                                                 Successfully
    09/11/2018   18:57:52   7        moc          Outgoing   18586106882   18056377249      18056377249        13235409999   310260253792880                     Completed       02B       TPTAS201
                                                                                                                                                                 Successfully



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                                                                                     [Exhibit G - 159]
    09/11/2018   18:57:52    7          mtc         Incoming   18586106882   18586106881      18586106881        18586106881      310260253792880                     Completed      021;11     TPTAS201
                                                                                                                                                                      Successfully
    09/12/2018   02:48:13    60    mSTerminatingS   Incoming      129                         18586106881                         310260253792880   352509010940640   Completed                ORMSS349
                                     MSinMSC                                                                                                                          Successfully
    09/12/2018   02:49:43    4      mSOriginating   Outgoing   8586106881    18586106882      18586106882        18586106882      310260253792880   352509010940640   Completed                ORMSS349
                                                                                                                                                                      Successfully
    09/12/2018   02:53:12    4     mSOriginating    Outgoing   8586106881    18586106882      18586106882        18586106882      310260253792880   352509010940640   Completed                ORMSS349
                                                                                                                                                                      Successfully
    09/12/2018   03:08:41   31     mSOriginating    Outgoing   8586106881    18586106882      18586106882        18586106882      310260253792880   352509010940640   Completed                ORMSS349
                                                                                                                                                                      Successfully
    09/12/2018   18:29:13    6     mSTerminating    Incoming   2012045141                     18586106881                         310260253792880   352509010940640   Completed       11       ATMSS344
                                                                                                                                                                      Successfully
    09/13/2018   16:02:39   35     callForwarding   Outgoing   2012043116    18056377249      18056377249        18056377249      310260253792880                     Completed      011;2B    SFMSS347
                                                                                                                                                                      Successfully
    09/13/2018   16:03:14              SMSC                       129                         18586106881                                                             Completed               mavsms_pol02
                                                                                                                                                                      Successfully
    09/13/2018   16:11:24    60    mSTerminatingS   Incoming      129                         18586106881                         310260253792880   352509010940640   Completed                 IEMSS341
                                     MSinMSC                                                                                                                          Successfully
    09/13/2018   18:23:12   30     mSTerminating    Incoming   2012041850                     18586106881                         310260253792880   352509010940640   Completed       11        IEMSS341
                                                                                                                                                                      Successfully
    09/14/2018   05:18:52   19     mSTerminating    Incoming   8586106882                     18586106881                         310260253792880   352509010940640   Completed       11        IEMSS341
                                                                                                                                                                      Successfully
    09/14/2018   05:38:10    9     mSTerminating    Incoming   8586106882                     18586106881                         310260253792880   352509010940640   Completed       11       VGMSS342
                                                                                                                                                                      Successfully
    09/14/2018   16:50:15   39     mSOriginating    Outgoing   8586106881    18587957040      18587957040        18587957040      310260253792880   352509010940640   Completed                VGMSS342
                                                                                                                                                                      Successfully
    09/14/2018   19:15:58   13     mSTerminating    Incoming   8587957039                     18586106881                         310260253792880   352509010940640   Completed       11       VGMSS342
                                                                                                                                                                      Successfully
    09/15/2018   03:43:49    9     mSTerminating    Incoming   8586106882                     18586106881                         310260253792880   352509010940640   Completed       11       HNMSS348
                                                                                                                                                                      Successfully
    09/15/2018   03:51:01   22     mSTerminating    Incoming   8586106882                     18586106881                         310260253792880   352509010940640   Completed       11       HNMSS348
                                                                                                                                                                      Successfully
    09/15/2018   05:01:07   13     mSTerminating    Incoming   8586106882                     18586106881                         310260253792880   352509010940640   Completed       11       ORMSS349
                                                                                                                                                                      Successfully
    09/15/2018   15:06:59   174    mSOriginating    Outgoing   8586106881    18585505912      18585505912        18585505912      310260253792880   352509010940640   Completed                VGMSS342
                                                                                                                                                                      Successfully
    09/15/2018   19:30:09    5     mSOriginating    Outgoing   8586106881    18583668393      18583668393        18583668393      310260253792880   352509010940640   Completed                VGMSS342
                                                                                                                                                                      Successfully
    09/15/2018   19:30:46          mSOriginating    Outgoing   8586106881    1803810759        1803810759            51           310260253792880   352509010940640   Completed                VGMSS342
                                                                                                                                                                      Successfully
    09/15/2018   19:31:30   1083   mSOriginating    Outgoing   8586106881    18003810759      18003810759     11818633180038107   310260253792880   352509010940640   Completed                VGMSS342
                                                                                                                     59                                               Successfully
    09/15/2018   20:20:53   322    mSOriginating    Outgoing   8586106881    18008244491      18008244491     11818633180082444   310260253792880   352509010940640   Completed                VGMSS342
                                                                                                                     91                                               Successfully
    09/16/2018   04:10:38    8     mSTerminating    Incoming   8586106882                     18586106881                         310260253792880   352509010940640   Completed       11       DAMSS343
                                                                                                                                                                      Successfully
    09/17/2018   03:59:55    8     mSTerminating    Incoming   8586106882                     18586106881                         310260253792880   352509010940640   Completed       11       DAMSS343
                                                                                                                                                                      Successfully
    09/18/2018   05:32:04    14    mSTerminating    Incoming   8586106882                     18586106881                         310260253792880   352509010940640   Completed       11       VGMSS342
                                                                                                                                                                      Successfully
    09/18/2018   21:35:48          mSTerminating    Incoming   8586106545                     18586106881                         310260253792880   352509010940640    Abnormal       11       SFMSS347
                                                                                                                                                                      Completion
    09/20/2018   00:44:37   60     mSTerminating    Incoming   8586106882                     18586106881                         310260253792880   352509010940640   Completed       11       ORMSS349
                                                                                                                                                                      Successfully



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                                                                                          [Exhibit G - 160]
    09/20/2018   01:11:19   25    mSTerminating    Incoming   8586108863                    18586106881                         310260253792880   352509010940640   Completed       11       ORMSS349
                                                                                                                                                                    Successfully
    09/20/2018   18:47:53   265   mSOriginating    Outgoing   8586106881   18662807115      18662807115     11818633186628071   310260253792880   352509010940640   Completed                VGMSS342
                                                                                                                   15                                               Successfully
    09/20/2018   18:56:41   43    mSTerminating    Incoming   8883722456                    18586106881                         310260253792880   352509010940640   Completed       11       VGMSS342
                                                                                                                                                                    Successfully
    09/21/2018   05:18:30         mSTerminating    Incoming   8586106882                    18586106881                         310260253792880   352509010940640    Abnormal       11       VGMSS342
                                                                                                                                                                    Completion
    09/21/2018   05:18:51         mSTerminating    Incoming   8586106882                    18586106881                         310260253792880   352509010940640   Completed       11       VGMSS342
                                                                                                                                                                    Successfully
    09/21/2018   05:19:04   18    mSTerminating    Incoming   8586106882                    18586106881                         310260253792880   352509010940640   Completed       11       VGMSS342
                                                                                                                                                                    Successfully
    09/22/2018   05:52:40   13    mSTerminating    Incoming   8586106882                    18586106881                         310260253792880   352509010940640   Completed       11       CRMSS345
                                                                                                                                                                    Successfully
    09/22/2018   06:21:50   16    mSTerminating    Incoming   8586106882                    18586106881                         310260253792880   352509010940640   Completed       11       CRMSS345
                                                                                                                                                                    Successfully
    09/22/2018   06:22:12    4    callForwarding   Outgoing   8586106882   18056377249      18056377249        18056377249      310260253792880                     Completed      011;29    CRMSS345
                                                                                                                                                                    Successfully
    09/22/2018   06:22:27   20    mSTerminating    Incoming   8586106882                    18586106881                         310260253792880   352509010940640   Completed       11       CRMSS345
                                                                                                                                                                    Successfully
    09/22/2018   06:41:49    9    mSTerminating    Incoming   8586106882                    18586106881                         310260253792880   352509010940640   Completed       11       CRMSS345
                                                                                                                                                                    Successfully
    09/23/2018   05:05:37   13    mSTerminating    Incoming   8586106882                    18586106881                         310260253792880   352509010940640   Completed       11       ATMSS344
                                                                                                                                                                    Successfully
    09/24/2018   04:36:52   13    mSTerminating    Incoming   8586106882                    18586106881                         310260253792880   352509010940640   Completed       11       DAMSS343
                                                                                                                                                                    Successfully
    09/25/2018   05:48:12   12    mSTerminating    Incoming   8586106882                    18586106881                         310260253792880   352509010940640   Completed       11       SPMSS346
                                                                                                                                                                    Successfully
    09/25/2018   20:34:49   52    mSOriginating    Outgoing   8586106881   18587957040      18587957040        18587957040      310260253792880   352509010940640   Completed                ATMSS344
                                                                                                                                                                    Successfully
    09/25/2018   21:31:55         mSTerminating    Incoming   8587957039                    18586106881                         310260253792880   352509010940640    Abnormal       11       ATMSS344
                                                                                                                                                                    Completion
    09/25/2018   21:31:56   44    callForwarding   Outgoing   8587957039   18056377249      18056377249        18056377249      310260253792880                     Completed      011;2A    ATMSS344
                                                                                                                                                                    Successfully
    09/25/2018   21:32:41             SMSC                       129                        18586106881                                                             Completed               mavsms_pol02
                                                                                                                                                                    Successfully
    09/25/2018   21:32:43   60    mSTerminatingS   Incoming      129                        18586106881                         310260253792880   352509010940640   Completed                ATMSS344
                                    MSinMSC                                                                                                                         Successfully
    09/26/2018   01:56:39   19     mSOriginating   Outgoing   8586106881   18586106882      18586106882        18586106882      310260253792880   352509010940640   Completed                ATMSS344
                                                                                                                                                                    Successfully
    09/27/2018   04:28:42   13    mSOriginating    Outgoing   8586106881   18586106882      18586106882        18586106882      310260253792880   352509010940640   Completed                DAMSS343
                                                                                                                                                                    Successfully
    09/27/2018   17:35:32   523   mSOriginating    Outgoing   8586106881   18003810759      18003810759     11818633180038107   310260253792880   352509010940640   Completed                DAMSS343
                                                                                                                   59                                               Successfully
    09/28/2018   04:05:22   29    mSOriginating    Outgoing   8586106881   18586106882      18586106882        18586106882      310260253792880   352509010940640   Completed                ORMSS349
                                                                                                                                                                    Successfully
    09/28/2018   04:06:24   10    mSOriginating    Outgoing   8586106881   18586106882      18586106882        18586106882      310260253792880   352509010940640   Completed                ORMSS349
                                                                                                                                                                    Successfully
    09/28/2018   18:44:39         mSTerminating    Incoming   2132011784                    18586106881                         310260253792880   352509010940640    Abnormal       11       ORMSS349
                                                                                                                                                                    Completion
    09/28/2018   18:44:40   46    callForwarding   Outgoing   2132011784   18056377249      18056377249        18056377249      310260253792880                     Completed      011;2A    ORMSS349
                                                                                                                                                                    Successfully
    09/28/2018   18:45:27             SMSC                       129                        18586106881                                                             Completed               mavsms_pol02
                                                                                                                                                                    Successfully



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                                                                                     [Exhibit G - 161]
    09/28/2018   18:45:30   60    mSTerminatingS   Incoming      129                         18586106881                         310260253792880   352509010940640   Completed                ORMSS349
                                    MSinMSC                                                                                                                          Successfully
    09/28/2018   18:55:09   94     mSOriginating   Outgoing   8586106881    18056377243      18056377243        13235409999      310260253792880   352509010940640   Completed                ORMSS349
                                                                                                                                                                     Successfully
    09/28/2018   18:56:44             SMSC                       129                         18586106881                                                             Completed               mavsms_pol02
                                                                                                                                                                     Successfully
    09/28/2018   18:56:57   60    mSTerminatingS   Incoming      129                         18586106881                         310260253792880   352509010940640   Completed                ORMSS349
                                    MSinMSC                                                                                                                          Successfully
    09/29/2018   04:34:56   16     mSOriginating   Outgoing   8586106881    18586106882      18586106882        18586106882      310260253792880   352509010940640   Completed                ATMSS344
                                                                                                                                                                     Successfully
    09/29/2018   15:20:36   537   mSOriginating    Outgoing   8586106881    18003810759      18003810759     11818633180038107   310260253792880   352509010940640   Completed                ATMSS344
                                                                                                                    59                                               Successfully
    09/29/2018   15:31:36   613   mSOriginating    Outgoing   8586106881    18003810759      18003810759     11818633180038107   310260253792880   352509010940640   Completed                 IEMSS341
                                                                                                                    59                                               Successfully
    09/29/2018   15:56:38   86    mSOriginating    Outgoing   8586106881    18003810759      18003810759     11818633180038107   310260253792880   352509010940640   Completed                 IEMSS341
                                                                                                                    59                                               Successfully
    09/29/2018   18:41:15   45    mSOriginating    Outgoing   8586106881    15093300086      15093300086        15093300086      310260253792880   352509010940640   Completed                 IEMSS341
                                                                                                                                                                     Successfully
    09/30/2018   02:20:42   28    mSTerminating    Incoming   5095951801                     18586106881                         310260253792880   352509010940640   Completed       11        IEMSS341
                                                                                                                                                                     Successfully
    10/01/2018   05:23:56             SMSC                       129                         18586106881                                                             Completed               mavsms_pol02
                                                                                                                                                                     Successfully
    10/01/2018   15:30:38   60    mSTerminatingS   Incoming      129                         18586106881                         310260253792880   352509010940640   Completed                HNMSS348
                                    MSinMSC                                                                                                                          Successfully
    10/01/2018   17:28:24   6          moc         Outgoing   18586106882   18056377249      18056377249        13608429999      310260253792880                     Completed       02A      DATAS003
                                                                                                                                                                     Successfully
    10/01/2018   17:28:24         mSTerminating    Incoming   8586106882                     18586106881                         310260253792880   352509010940640    Abnormal       11       HNMSS348
                                                                                                                                                                     Completion
    10/01/2018   17:28:32             SMSC                       128                         18586106881                                                             Completed               mavsms_pol02
                                                                                                                                                                     Successfully
    10/01/2018   17:28:35   60    mSTerminatingS   Incoming      128                         18586106881                         310260253792880   352509010940640   Completed                HNMSS348
                                    MSinMSC                                                                                                                          Successfully
    10/01/2018   17:28:51   29    mSTerminating    Incoming   8586106882                     18586106881                         310260253792880   352509010940640   Completed       11       HNMSS348
                                                                                                                                                                     Successfully
    10/01/2018   17:39:14   25    mSOriginating    Outgoing   8586106881    18056377243      18056377243        13608429999      310260253792880   352509010940640   Completed                HNMSS348
                                                                                                                                                                     Successfully
    10/01/2018   17:39:40             SMSC                       128                         18586106881                                                             Completed               mavsms_pol02
                                                                                                                                                                     Successfully
    10/01/2018   17:39:44   60    mSTerminatingS   Incoming      128                         18586106881                         310260253792880   352509010940640   Completed                HNMSS348
                                     MSinMSC                                                                                                                         Successfully
    10/01/2018   19:46:37   42    callForwarding   Outgoing   2138077407    18056377249      18056377249        18056377249      310260253792880                     Completed      011;2B    HNMSS348
                                                                                                                                                                     Successfully
    10/01/2018   19:47:20             SMSC                       128                         18586106881                                                             Completed               mavsms_pol02
                                                                                                                                                                     Successfully
    10/01/2018   19:47:23   60    mSTerminatingS   Incoming      128                         18586106881                         310260253792880   352509010940640   Completed                HNMSS348
                                    MSinMSC                                                                                                                          Successfully
    10/02/2018   03:48:13   21     mSOriginating   Outgoing   8586106881    18586106882      18586106882        18586106882      310260253792880   352509010940640   Completed                VGMSS342
                                                                                                                                                                     Successfully
    10/02/2018   04:43:56   27         moc         Outgoing   18586106882   18056377249      18056377249        13608429999      310260253792880                     Completed       02B       IETAS001
                                                                                                                                                                     Successfully
    10/02/2018   04:43:56         mSTerminating    Incoming   8586106882                     18586106881                         310260253792880   352509010940640    Abnormal       11       VGMSS342
                                                                                                                                                                     Completion
    10/02/2018   04:44:26             SMSC                       128                         18586106881                                                             Completed               mavsms_pol02
                                                                                                                                                                     Successfully



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                                                                                      [Exhibit G - 162]
    10/02/2018   04:44:29   60    mSTerminatingS   Incoming      128                         18586106881                         310260253792880   352509010940640   Completed                VGMSS342
                                    MSinMSC                                                                                                                          Successfully
    10/02/2018   04:44:42    9    mSTerminating    Incoming   8586106882                     18586106881                         310260253792880   352509010940640   Completed       11       VGMSS342
                                                                                                                                                                     Successfully
    10/02/2018   18:21:30    5    callForwarding   Outgoing   8586102386    18056377249      18056377249        18056377249      310260253792880                     Completed      011;2B    VGMSS342
                                                                                                                                                                     Successfully
    10/02/2018   18:54:54   12    callForwarding   Outgoing   8588778652    18056377249      18056377249        18056377249      310260253792880                     Completed      011;2B    VGMSS342
                                                                                                                                                                     Successfully
    10/02/2018   18:55:07             SMSC                       128                         18586106881                                                             Completed               mavsms_pol02
                                                                                                                                                                     Successfully
    10/02/2018   19:12:34   60    mSTerminatingS   Incoming      128                         18586106881                         310260253792880   352509010940640   Completed                VGMSS342
                                    MSinMSC                                                                                                                          Successfully
    10/02/2018   19:12:55   95     mSOriginating   Outgoing   8586106881    18056377243      18056377243        13608429999      310260253792880   352509010940640   Completed                VGMSS342
                                                                                                                                                                     Successfully
    10/02/2018   19:14:35             SMSC                       128                         18586106881                                                             Completed               mavsms_pol02
                                                                                                                                                                     Successfully
    10/02/2018   19:14:39   60    mSTerminatingS   Incoming      128                         18586106881                         310260253792880   352509010940640   Completed                VGMSS342
                                    MSinMSC                                                                                                                          Successfully
    10/02/2018   21:46:36   25    mSTerminating    Incoming   8004762277                     18586106881                         310260253792880   352509010940640   Completed       11       DAMSS343
                                                                                                                                                                     Successfully
    10/02/2018   21:47:31   102   mSOriginating    Outgoing   8586106881    18004762277      18004762277     11818633180047622   310260253792880   352509010940640   Completed                DAMSS343
                                                                                                                    77                                               Successfully
    10/03/2018   05:20:50   12    mSTerminating    Incoming   8586106882                     18586106881                         310260253792880   352509010940640   Completed       11       HNMSS348
                                                                                                                                                                     Successfully
    10/03/2018   16:37:24   220   mSOriginating    Outgoing   8586106881    18003810759      18003810759     11818633180038107   310260253792880   352509010940640   Completed                VGMSS342
                                                                                                                    59                                               Successfully
    10/04/2018   04:16:07   14    mSTerminating    Incoming   8586106882                     18586106881                         310260253792880   352509010940640   Completed       11       HNMSS348
                                                                                                                                                                     Successfully
    10/05/2018   02:56:58   12    mSTerminating    Incoming   8588770756                     18586106881                         310260253792880   352509010940640   Completed       11       SPMSS346
                                                                                                                                                                     Successfully
    10/05/2018   04:53:27   23    mSTerminating    Incoming   8586106882                     18586106881                         310260253792880   352509010940640   Completed       11       SPMSS346
                                                                                                                                                                     Successfully
    10/05/2018   05:24:49   9     mSTerminating    Incoming   8586106882                     18586106881                         310260253792880   352509010940640   Completed       11       ORMSS349
                                                                                                                                                                     Successfully
    10/05/2018   18:09:53   14         mtc         Incoming   18586106882   18586106881      18586106881        18586106881      310260253792880                     Completed      021;11    AUTAS201
                                                                                                                                                                     Successfully
    10/05/2018   18:09:54   14         moc         Outgoing   18586106882   18056377249      18056377249        13608429999      310260253792880                     Completed       02B      AUTAS201
                                                                                                                                                                     Successfully
    10/05/2018   18:10:10             SMSC                       128                         18586106881                                                             Completed               mavsms_pol02
                                                                                                                                                                     Successfully
    10/05/2018   18:10:13   12         mtc         Incoming   18586106882   18586106881      18586106881        18586106881      310260253792880                     Completed      021;11    AUTAS201
                                                                                                                                                                     Successfully
    10/05/2018   18:10:14   12         moc         Outgoing   18586106882   18056377249      18056377249        13608429999      310260253792880                     Completed       02B      AUTAS201
                                                                                                                                                                     Successfully
    10/05/2018   18:18:04   26    callForwarding   Outgoing   2138076625    18056377249      18056377249        18056377249      310260253792880                     Completed      011;2B    ORMSS349
                                                                                                                                                                     Successfully
    10/05/2018   18:29:07   51    callForwarding   Outgoing   8002905000    18056377249      18056377249        18056377249      310260253792880                     Completed      011;2B    ORMSS349
                                                                                                                                                                     Successfully
    10/06/2018   04:35:54   60    mSTerminatingS   Incoming      128                         18586106881                         310260253792880   352509010940640   Completed                ORMSS349
                                    MSinMSC                                                                                                                          Successfully
    10/06/2018   04:36:11   71     mSOriginating   Outgoing   8586106881    18056377243      18056377243        13608429999      310260253792880   352509010940640   Completed                ORMSS349
                                                                                                                                                                     Successfully
    10/06/2018   04:37:26             SMSC                       128                         18586106881                                                             Completed               mavsms_pol02
                                                                                                                                                                     Successfully



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                                                                                      [Exhibit G - 163]
    10/06/2018   04:37:29   60   mSTerminatingS   Incoming      128                         18586106881                      310260253792880   352509010940640   Completed                ORMSS349
                                   MSinMSC                                                                                                                       Successfully
    10/06/2018   05:04:54   12   mSTerminating    Incoming   8586106882                     18586106881                      310260253792880   352509010940640   Completed       11       ORMSS349
                                                                                                                                                                 Successfully
    10/06/2018   05:51:01   9    mSTerminating    Incoming   8586106882                     18586106881                      310260253792880   352509010940640   Completed       11       ORMSS349
                                                                                                                                                                 Successfully
    10/07/2018   04:00:51   13   mSTerminating    Incoming   8586106882                     18586106881                      310260253792880   352509010940640   Completed       11        IEMSS341
                                                                                                                                                                 Successfully
    10/07/2018   10:33:36            SMSC                       129                         18586106881                                                          Completed               mavsms_pol02
                                                                                                                                                                 Successfully
    10/07/2018   22:13:20   15        mtc         Incoming   18586106882   18586106881      18586106881        18586106881   310260253792880                     Completed      021;11     TTTAS101
                                                                                                                                                                 Successfully
    10/07/2018   22:13:21   15        moc         Outgoing   18586106882   18056377249      18056377249        13608429999   310260253792880                     Completed       02B       TTTAS101
                                                                                                                                                                 Successfully
    10/07/2018   22:13:38            SMSC                       128                         18586106881                                                          Completed               mavsms_pol02
                                                                                                                                                                 Successfully
    10/08/2018   00:54:20   60   mSTerminatingS   Incoming      129                         18586106881                      310260253792880   352509010940640   Completed                SPMSS346
                                   MSinMSC                                                                                                                       Successfully
    10/08/2018   00:54:22   60   mSTerminatingS   Incoming      128                         18586106881                      310260253792880   352509010940640   Completed                SPMSS346
                                   MSinMSC                                                                                                                       Successfully
    10/08/2018   01:24:26   16    mSOriginating   Outgoing   8586106881    18586106882      18586106882        18586106882   310260253792880   352509010940640   Completed                SPMSS346
                                                                                                                                                                 Successfully
    10/08/2018   02:43:10   53   mSOriginating    Outgoing   8586106881    18586106882      18586106882        18586106882   310260253792880   352509010940640   Completed                SPMSS346
                                                                                                                                                                 Successfully
    10/08/2018   03:40:28   67   mSTerminating    Incoming   8586106882                     18586106881                      310260253792880   352509010940640   Completed       11       ORMSS349
                                                                                                                                                                 Successfully
    10/08/2018   10:33:15            SMSC                       129                         18586106881                                                          Completed               mavsms_pol02
                                                                                                                                                                 Successfully
    10/08/2018   10:33:18   60   mSTerminatingS   Incoming      129                         18586106881                      310260253792880   352509010940640   Completed                ORMSS349
                                   MSinMSC                                                                                                                       Successfully
    10/08/2018   17:27:34   72   mSTerminating    Incoming   8586106882                     18586106881                      310260253792880   352509010940640   Completed       11       ORMSS349
                                                                                                                                                                 Successfully
    10/09/2018   05:03:51   19   callForwarding   Outgoing   8586106882    18056377249      18056377249        18056377249   310260253792880                     Completed      011;2B    CRMSS345
                                                                                                                                                                 Successfully
    10/09/2018   05:04:11            SMSC                       128                         18586106881                                                          Completed               mavsms_pol02
                                                                                                                                                                 Successfully
    10/09/2018   05:04:24   13   callForwarding   Outgoing   8586106882    18056377249      18056377249        18056377249   310260253792880                     Completed      011;2B    CRMSS345
                                                                                                                                                                 Successfully
    10/09/2018   07:35:43   60   mSTerminatingS   Incoming      128                         18586106881                      310260253792880   352509010940640   Completed                VGMSS342
                                   MSinMSC                                                                                                                       Successfully
    10/09/2018   10:25:51            SMSC                       129                         18586106881                                                          Completed               mavsms_pol02
                                                                                                                                                                 Successfully
    10/09/2018   14:02:21   5    callForwarding   Outgoing   8586106882    18056377249      18056377249        18056377249   310260253792880                     Completed      011;2B    ORMSS349
                                                                                                                                                                 Successfully
    10/09/2018   14:02:27            SMSC                       128                         18586106881                                                          Completed               mavsms_pol02
                                                                                                                                                                 Successfully
    10/09/2018   14:02:32   20   callForwarding   Outgoing   8586106882    18056377249      18056377249        18056377249   310260253792880                     Completed      011;2B    ORMSS349
                                                                                                                                                                 Successfully
    10/09/2018   14:03:17   7    callForwarding   Outgoing   8586106882    18056377249      18056377249        18056377249   310260253792880                     Completed      011;2B    ORMSS349
                                                                                                                                                                 Successfully
    10/09/2018   15:19:17   33   callForwarding   Outgoing   8586106882    18056377249      18056377249        18056377249   310260253792880                     Completed      011;2B    CRMSS345
                                                                                                                                                                 Successfully
    10/09/2018   15:19:52            SMSC                       128                         18586106881                                                          Completed               mavsms_pol02
                                                                                                                                                                 Successfully



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                                                                                     [Exhibit G - 164]
    10/09/2018   15:48:55   60    mSTerminatingS   Incoming      129                         18586106881                      310260253792880   352509010940640   Completed             VGMSS342
                                    MSinMSC                                                                                                                       Successfully
    10/09/2018   15:48:57   60    mSTerminatingS   Incoming      128                         18586106881                      310260253792880   352509010940640   Completed             VGMSS342
                                    MSinMSC                                                                                                                       Successfully
    10/09/2018   15:48:59   60    mSTerminatingS   Incoming      128                         18586106881                      310260253792880   352509010940640   Completed             VGMSS342
                                    MSinMSC                                                                                                                       Successfully
    10/09/2018   16:13:11   27     mSOriginating   Outgoing   8586106881    18586106882      18586106882        18586106882   310260253792880   352509010940640   Completed             VGMSS342
                                                                                                                                                                  Successfully
    10/09/2018   16:25:19   233   mSTerminating    Incoming   8586106882                     18586106881                      310260253792880   352509010940640   Completed      11     CRMSS345
                                                                                                                                                                  Successfully
    10/09/2018   17:20:59   6     mSTerminating    Incoming   7608287921                     18586106881                      310260253792880   352509010940640   Completed      11     SFMSS347
                                                                                                                                                                  Successfully
    10/09/2018   22:47:13   51    mSTerminating    Incoming   8586106882                     18586106881                      310260253792880   352509010940640   Completed      11     SFMSS347
                                                                                                                                                                  Successfully
    10/10/2018   02:47:20   44    mSTerminating    Incoming   8586106882                     18586106881                      310260253792880   352509010940640   Completed      11     DAMSS343
                                                                                                                                                                  Successfully
    10/10/2018   05:42:23   13    mSTerminating    Incoming   8586106882                     18586106881                      310260253792880   352509010940640   Completed      11     SFMSS347
                                                                                                                                                                  Successfully
    10/10/2018   10:24:29             SMSC                       129                         18586106881                                                          Completed            mavsms_pol02
                                                                                                                                                                  Successfully
    10/10/2018   18:42:59   60    mSTerminatingS   Incoming      129                         18586106881                      310260253792880   352509010940640   Completed             SFMSS347
                                    MSinMSC                                                                                                                       Successfully
    10/10/2018   18:43:24   62     mSOriginating   Outgoing   8586106881    18056377243      18056377243        13608429999   310260253792880   352509010940640   Completed             SFMSS347
                                                                                                                                                                  Successfully
    10/10/2018   18:44:27             SMSC                       128                         18586106881                                                          Completed            mavsms_pol02
                                                                                                                                                                  Successfully
    10/10/2018   18:44:32   60    mSTerminatingS   Incoming      128                         18586106881                      310260253792880   352509010940640   Completed             SFMSS347
                                    MSinMSC                                                                                                                       Successfully
    10/11/2018   04:33:46   5          moc         Outgoing   18586106882   18056377249      18056377249        13608429999   310260253792880                     Completed      02B     TTTAS005
                                                                                                                                                                  Successfully
    10/11/2018   04:34:08   4          moc         Outgoing   18586106882   18056377249      18056377249        13608429999   310260253792880                     Completed      02B     TTTAS005
                                                                                                                                                                  Successfully
    10/11/2018   04:34:25   13    mSOriginating    Outgoing   8586106881    18586106882      18586106882        18586106882   310260253792880   352509010940640   Completed             DAMSS343
                                                                                                                                                                  Successfully
    10/11/2018   10:33:35             SMSC                       129                         18586106881                                                          Completed            mavsms_pol02
                                                                                                                                                                  Successfully
    10/11/2018   17:11:31   60    mSTerminatingS   Incoming      129                         18586106881                      310260253792880   352509010940640   Completed              IEMSS341
                                    MSinMSC                                                                                                                       Successfully
    10/12/2018   05:13:51   21    mSTerminating    Incoming   8586106882                     18586106881                      310260253792880   352509010940640   Completed      11     DAMSS343
                                                                                                                                                                  Successfully
    10/12/2018   05:43:30   10         moc         Outgoing   18586106882   18056377249      18056377249        13608429999   310260253792880                     Completed      02A     IETAS002
                                                                                                                                                                  Successfully
    10/12/2018   05:43:30         mSTerminating    Incoming   8586106882                     18586106881                      310260253792880   352509010940640    Abnormal      11     DAMSS343
                                                                                                                                                                  Completion
    10/12/2018   05:43:43             SMSC                       128                         18586106881                                                          Completed            mavsms_pol02
                                                                                                                                                                  Successfully
    10/12/2018   05:43:46   60    mSTerminatingS   Incoming      128                         18586106881                      310260253792880   352509010940640   Completed             DAMSS343
                                    MSinMSC                                                                                                                       Successfully
    10/12/2018   05:44:20   6          moc         Outgoing   18586106882   18056377249      18056377249        13608429999   310260253792880                     Completed      02A    DATAS004
                                                                                                                                                                  Successfully
    10/12/2018   05:44:20         mSTerminating    Incoming   8586106882                     18586106881                      310260253792880   352509010940640    Abnormal      11     DAMSS343
                                                                                                                                                                  Completion
    10/12/2018   05:44:28             SMSC                       128                         18586106881                                                          Completed            mavsms_pol02
                                                                                                                                                                  Successfully



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                                                                                      [Exhibit G - 165]
    10/12/2018   05:44:31   60   mSTerminatingS   Incoming      128                         18586106881                        310260253792880   352509010940640   Completed             DAMSS343
                                   MSinMSC                                                                                                                         Successfully
    10/12/2018   10:37:39            SMSC                        129                        18586106881                                                            Completed            mavsms_pol02
                                                                                                                                                                   Successfully
    10/12/2018   19:35:08   60   mSTerminatingS   Incoming      129                         18586106881                        310260253792880   352509010940640   Completed             DAMSS343
                                   MSinMSC                                                                                                                         Successfully
    10/12/2018   19:35:13   10    mSOriginating   Outgoing   8586106881    18586106882      18586106882        18586106882     310260253792880   352509010940640   Completed             DAMSS343
                                                                                                                                                                   Successfully
    10/12/2018   21:09:01   11        moc         Outgoing   18586106882   18056377249      18056377249        13608429999     310260253792880                     Completed      02B     TTTAS006
                                                                                                                                                                   Successfully
    10/12/2018   21:09:15            SMSC                        128                        18586106881                                                            Completed            mavsms_pol02
                                                                                                                                                                   Successfully
    10/12/2018   21:09:19   60   mSTerminatingS   Incoming      128                         18586106881                        310260253792880   352509010940640   Completed             DAMSS343
                                   MSinMSC                                                                                                                         Successfully
    10/12/2018   21:09:56   12        moc         Outgoing   18586106882   18056377249      18056377249        13608429999     310260253792880                     Completed      02A     PXTAS002
                                                                                                                                                                   Successfully
    10/12/2018   21:09:56        mSTerminating    Incoming   8586106882                     18586106881                        310260253792880   352509010940640    Abnormal      11     DAMSS343
                                                                                                                                                                   Completion
    10/12/2018   21:10:10            SMSC                       128                         18586106881                                                            Completed            mavsms_pol02
                                                                                                                                                                   Successfully
    10/12/2018   21:10:14   60   mSTerminatingS   Incoming      128                         18586106881                        310260253792880   352509010940640   Completed             DAMSS343
                                   MSinMSC                                                                                                                         Successfully
    10/13/2018   04:27:18   33   mSTerminating    Incoming   8586106882                     18586106881                        310260253792880   352509010940640   Completed      11     CRMSS345
                                                                                                                                                                   Successfully
    10/13/2018   10:32:07            SMSC                       129                         18586106881                                                            Completed            mavsms_pol02
                                                                                                                                                                   Successfully
    10/13/2018   16:03:23   60   mSTerminatingS   Incoming      129                         18586106881                        310260253792880   352509010940640   Completed             CRMSS345
                                   MSinMSC                                                                                                                         Successfully
    10/13/2018   20:52:05   19    mSOriginating   Outgoing   8586106881    8586108863        8586108863        18586108863     310260253792880   352509010940640   Completed             SFMSS347
                                                                                                                                                                   Successfully
    10/13/2018   23:51:36   7    mSTerminating    Incoming   8586108886                     18586106881                        310260253792880   352509010940640   Completed      11     SFMSS347
                                                                                                                                                                   Successfully
    10/14/2018   04:05:13   12   mSTerminating    Incoming   8586106882                     18586106881                        310260253792880   352509010940640   Completed      11     VGMSS342
                                                                                                                                                                   Successfully
    10/14/2018   10:32:27            SMSC                       129                         18586106881                                                            Completed            mavsms_pol02
                                                                                                                                                                   Successfully
    10/14/2018   14:14:32   60   mSTerminatingS   Incoming      129                         18586106881                        310260253792880   352509010940640   Completed             VGMSS342
                                   MSinMSC                                                                                                                         Successfully
    10/14/2018   14:15:09   92    mSOriginating   Outgoing   8586106881    18003810759      18003810759    11818633180038107   310260253792880   352509010940640   Completed             VGMSS342
                                                                                                                   59                                              Successfully
    10/15/2018   04:20:30   4         moc         Outgoing   18586106882   18056377249      18056377249       13608429999      310260253792880                     Completed      02B     PXTAS001
                                                                                                                                                                   Successfully
    10/15/2018   04:20:52   4         moc         Outgoing   18586106882   18056377249      18056377249        13608429999     310260253792880                     Completed      02B     TTTAS101
                                                                                                                                                                   Successfully
    10/15/2018   10:32:54            SMSC                       129                         18586106881                                                            Completed            mavsms_ttn02
                                                                                                                                                                   Successfully
    10/15/2018   10:32:56   60   mSTerminatingS   Incoming      129                         18586106881                        310260253792880   352509010940640   Completed             SFMSS347
                                   MSinMSC                                                                                                                         Successfully
    10/15/2018   17:31:46   40    mSOriginating   Outgoing   8586106881    18586106882      18586106882        18586106882     310260253792880   352509010940640   Completed             SFMSS347
                                                                                                                                                                   Successfully
    10/16/2018   05:24:22   13   mSTerminating    Incoming   8586106882                     18586106881                        310260253792880   352509010940640   Completed      11     SFMSS347
                                                                                                                                                                   Successfully
    10/16/2018   10:30:05            SMSC                        129                        18586106881                                                            Completed            mavsms_ttn02
                                                                                                                                                                   Successfully



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                                                                                        [Exhibit G - 166]
    10/16/2018   14:31:15   60   mSTerminatingS   Incoming       129                        18586106881                      310260253792880   352509010940640   Completed                SFMSS347
                                   MSinMSC                                                                                                                       Successfully
    10/17/2018   10:26:25            SMSC                        129                        18586106881                                                          Completed               mavsms_ttn02
                                                                                                                                                                 Successfully
    10/18/2018   01:01:57   60   mSTerminatingS   Incoming       129                        18586106881                      310260253792880   352509010940640   Completed                SFMSS347
                                   MSinMSC                                                                                                                       Successfully
    10/18/2018   02:28:40   17   mSTerminating    Incoming   8588749802                     18586106881                      310260253792880   352509010940640   Completed       11       SFMSS347
                                                                                                                                                                 Successfully
    10/18/2018   05:24:59   12   mSTerminating    Incoming   8586106882                     18586106881                      310260253792880   352509010940640   Completed       11       VGMSS342
                                                                                                                                                                 Successfully
    10/18/2018   10:33:32            SMSC                        129                        18586106881                                                          Completed               mavsms_ttn02
                                                                                                                                                                 Successfully
    10/18/2018   16:21:48   60   mSTerminatingS   Incoming       129                        18586106881                      310260253792880   352509010940640   Completed                ORMSS349
                                   MSinMSC                                                                                                                       Successfully
    10/19/2018   04:53:49   16   mSTerminating    Incoming   8586106882                     18586106881                      310260253792880   352509010940640   Completed       11       ORMSS349
                                                                                                                                                                 Successfully
    10/19/2018   05:44:41   7    mSTerminating    Incoming   8586106882                     18586106881                      310260253792880   352509010940640   Completed       11       SFMSS347
                                                                                                                                                                 Successfully
    10/19/2018   10:27:30            SMSC                        129                        18586106881                                                          Completed               mavsms_ttn02
                                                                                                                                                                 Successfully
    10/19/2018   19:49:24   60   mSTerminatingS   Incoming       129                        18586106881                      310260253792880   352509010940640   Completed                SFMSS347
                                   MSinMSC                                                                                                                       Successfully
    10/20/2018   03:37:29   4         moc         Outgoing   18586108870   18056377249      18056377249        13608429999   310260253792880                     Completed       02A      DATAS003
                                                                                                                                                                 Successfully
    10/20/2018   03:37:29        mSTerminating    Incoming   8586108870                     18586106881                      310260253792880   352509010940640    Abnormal       11       SFMSS347
                                                                                                                                                                 Completion
    10/20/2018   03:41:05   7         moc         Outgoing   18586106882   18056377249      18056377249        13608429999   310260253792880                     Completed       02A       IETAS001
                                                                                                                                                                 Successfully
    10/20/2018   03:41:05        mSTerminating    Incoming   8586106882                     18586106881                      310260253792880   352509010940640    Abnormal       11       HNMSS348
                                                                                                                                                                 Completion
    10/20/2018   03:41:14            SMSC                        128                        18586106881                                                          Completed               mavsms_ttn02
                                                                                                                                                                 Successfully
    10/20/2018   03:41:16   60   mSTerminatingS   Incoming      128                         18586106881                      310260253792880   352509010940640   Completed                HNMSS348
                                   MSinMSC                                                                                                                       Successfully
    10/20/2018   10:32:27            SMSC                        129                        18586106881                                                          Completed               mavsms_ttn02
                                                                                                                                                                 Successfully
    10/21/2018   04:08:44   6         mtc         Incoming   18586106882   18586106881      18586106881        18586106881   310260253792880                     Completed      021;11     IETAS001
                                                                                                                                                                 Successfully
    10/21/2018   04:08:45   6         moc         Outgoing   18586106882   18056377249      18056377249        13608429999   310260253792880                     Completed       02B       IETAS001
                                                                                                                                                                 Successfully
    10/21/2018   04:08:54            SMSC                        128                        18586106881                                                          Completed               mavsms_ttn02
                                                                                                                                                                 Successfully
    10/21/2018   04:28:24   9         mtc         Incoming   18586106882   18586106881      18586106881        18586106881   310260253792880                     Completed      021;11    PXTAS002
                                                                                                                                                                 Successfully
    10/21/2018   04:28:25   9         moc         Outgoing   18586106882   18056377249      18056377249        13608429999   310260253792880                     Completed       02B      PXTAS002
                                                                                                                                                                 Successfully
    10/21/2018   04:28:39   29        mtc         Incoming   18586106882   18586106881      18586106881        18586106881   310260253792880                     Completed      021;11    PXTAS001
                                                                                                                                                                 Successfully
    10/21/2018   04:28:40   29        moc         Outgoing   18586106882   18056377249      18056377249        13608429999   310260253792880                     Completed       02B      PXTAS001
                                                                                                                                                                 Successfully
    10/21/2018   04:35:27   60   mSTerminatingS   Incoming       129                        18586106881                      310260253792880   352509010940640   Completed                HNMSS348
                                   MSinMSC                                                                                                                       Successfully
    10/21/2018   04:35:28   60   mSTerminatingS   Incoming       128                        18586106881                      310260253792880   352509010940640   Completed                HNMSS348
                                   MSinMSC                                                                                                                       Successfully



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                                                                                     [Exhibit G - 167]
    10/21/2018   10:27:22             SMSC                       129                        18586106881                                                             Completed               mavsms_ttn02
                                                                                                                                                                    Successfully
    10/21/2018   17:34:58   60    mSTerminatingS   Incoming      129                        18586106881                         310260253792880   352509010940640   Completed                HNMSS348
                                    MSinMSC                                                                                                                         Successfully
    10/22/2018   05:10:45   10    mSTerminating    Incoming   8586106882                    18586106881                         310260253792880   352509010940640   Completed       11       HNMSS348
                                                                                                                                                                    Successfully
    10/22/2018   10:27:34             SMSC                       129                        18586106881                                                             Completed               mavsms_pol02
                                                                                                                                                                    Successfully
    10/22/2018   16:21:18   60    mSTerminatingS   Incoming      129                        18586106881                         310260253792880   352509010940640   Completed                HNMSS348
                                    MSinMSC                                                                                                                         Successfully
    10/22/2018   16:21:35   869    mSOriginating   Outgoing   8586106881   16194760030      16194760030        16194760030      310260253792880   352509010940640   Completed                HNMSS348
                                                                                                                                                                    Successfully
    10/22/2018   17:03:51   179   mSOriginating    Outgoing   8586106881   16194760030      16194760030        16194760030      310260253792880   352509010940640   Completed                HNMSS348
                                                                                                                                                                    Successfully
    10/22/2018   17:50:52    1    mSTerminating    Incoming   2159870367                    18586106881                         310260253792880   352509010940640    Abnormal       11       HNMSS348
                                                                                                                                                                    Completion
    10/22/2018   18:09:52   692   mSOriginating    Outgoing   8586106881   14253784000      14253784000        14253784000      310260253792880   352509010940640   Completed                HNMSS348
                                                                                                                                                                    Successfully
    10/22/2018   18:21:56   221   mSOriginating    Outgoing   8586106881   16194760030      16194760030        16194760030      310260253792880   352509010940640   Completed                HNMSS348
                                                                                                                                                                    Successfully
    10/22/2018   20:46:47   546   mSOriginating    Outgoing   8586106881   18008244491      18008244491     11818633180082444   310260253792880   352509010940640   Completed                VGMSS342
                                                                                                                   91                                               Successfully
    10/22/2018   21:13:44         mSTerminating    Incoming   5624015940                    18586106881                         310260253792880   352509010940640    Abnormal       11       VGMSS342
                                                                                                                                                                    Completion
    10/22/2018   21:13:45   95    callForwarding   Outgoing   5624015940   18056377249      18056377249        18056377249      310260253792880                     Completed      011;2A    VGMSS342
                                                                                                                                                                    Successfully
    10/22/2018   21:15:21             SMSC                       128                        18586106881                                                             Completed               mavsms_pol02
                                                                                                                                                                    Successfully
    10/22/2018   21:15:24   60    mSTerminatingS   Incoming      128                        18586106881                         310260253792880   352509010940640   Completed                VGMSS342
                                    MSinMSC                                                                                                                         Successfully
    10/23/2018   05:00:27   10    mSTerminating    Incoming   8586106882                    18586106881                         310260253792880   352509010940640   Completed       11       VGMSS342
                                                                                                                                                                    Successfully
    10/23/2018   10:21:48             SMSC                       129                        18586106881                                                             Completed               mavsms_pol02
                                                                                                                                                                    Successfully
    10/23/2018   14:12:34   36    callForwarding   Outgoing   2159870367   18056377249      18056377249        18056377249      310260253792880                     Completed      011;2B    VGMSS342
                                                                                                                                                                    Successfully
    10/23/2018   14:13:32             SMSC                       128                        18586106881                                                             Completed               mavsms_pol02
                                                                                                                                                                    Successfully
    10/23/2018   15:05:04   11    callForwarding   Outgoing   4152001518   18056377249      18056377249        18056377249      310260253792880                     Completed      011;2B    VGMSS342
                                                                                                                                                                    Successfully
    10/23/2018   17:19:07   60    mSTerminatingS   Incoming      129                        18586106881                         310260253792880   352509010940640   Completed                VGMSS342
                                    MSinMSC                                                                                                                         Successfully
    10/23/2018   17:19:09   60    mSTerminatingS   Incoming      128                        18586106881                         310260253792880   352509010940640   Completed                VGMSS342
                                    MSinMSC                                                                                                                         Successfully
    10/23/2018   17:19:32   111    mSOriginating   Outgoing   8586106881   16194760030      16194760030        16194760030      310260253792880   352509010940640   Completed                VGMSS342
                                                                                                                                                                    Successfully
    10/23/2018   19:09:37         mSTerminating    Incoming   4152001709                    18586106881                         310260253792880   352509010940640    Abnormal       11       VGMSS342
                                                                                                                                                                    Completion
    10/23/2018   19:09:38   11    callForwarding   Outgoing   4152001709   18056377249      18056377249        18056377249      310260253792880                     Completed      011;2A    VGMSS342
                                                                                                                                                                    Successfully
    10/23/2018   19:09:50             SMSC                       128                        18586106881                                                             Completed               mavsms_pol02
                                                                                                                                                                    Successfully
    10/23/2018   19:09:53   60    mSTerminatingS   Incoming      128                        18586106881                         310260253792880   352509010940640   Completed                VGMSS342
                                    MSinMSC                                                                                                                         Successfully



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                                                                                     [Exhibit G - 168]
    10/23/2018   19:40:56   12    mSOriginating    Outgoing   8586106881   16193691445      16193691445        16193691445      310260253792880   352509010940640   Completed                ORMSS349
                                                                                                                                                                    Successfully
    10/23/2018   20:15:32         mSOriginating    Outgoing   8586106881    15476471          15476471             51           310260253792880   352509010940640   Completed                ORMSS349
                                                                                                                                                                    Successfully
    10/23/2018   20:16:45   48    mSOriginating    Outgoing   8586106881   16195476471      16195476471        16195476471      310260253792880   352509010940640   Completed                ORMSS349
                                                                                                                                                                    Successfully
    10/23/2018   20:24:00   342   mSOriginating    Outgoing   8586106881   16194760030      16194760030        16194760030      310260253792880   352509010940640   Completed                ORMSS349
                                                                                                                                                                    Successfully
    10/23/2018   21:07:13   12    mSOriginating    Outgoing   8586106881   18586106882      18586106882        18586106882      310260253792880   352509010940640   Completed                VGMSS342
                                                                                                                                                                    Successfully
    10/23/2018   21:08:12   177   mSOriginating    Outgoing   8586106881   18776264325      18776264325     11818633187762643   310260253792880   352509010940640   Completed                VGMSS342
                                                                                                                   25                                               Successfully
    10/23/2018   23:00:42         mSOriginating    Outgoing   8586106881   16192028012      16192028012        16192028012      310260253792880   352509010940640   Completed                ORMSS349
                                                                                                                                                                    Successfully
    10/24/2018   02:54:43   324   mSOriginating    Outgoing   8586106881   8586108870        8586108870        18586108870      310260253792880   352509010940640   Completed                ORMSS349
                                                                                                                                                                    Successfully
    10/24/2018   05:29:58   10    mSTerminating    Incoming   8586106882                    18586106881                         310260253792880   352509010940640   Completed       11       VGMSS342
                                                                                                                                                                    Successfully
    10/24/2018   10:18:22             SMSC                       129                        18586106881                                                             Completed               mavsms_pol02
                                                                                                                                                                    Successfully
    10/24/2018   16:18:57   60    mSTerminatingS   Incoming      129                        18586106881                         310260253792880   352509010940640   Completed                VGMSS342
                                    MSinMSC                                                                                                                         Successfully
    10/24/2018   16:26:30   39     mSOriginating   Outgoing   8586106881   16194760030      16194760030        16194760030      310260253792880   352509010940640   Completed                VGMSS342
                                                                                                                                                                    Successfully
    10/24/2018   20:33:17   10    callForwarding   Outgoing   6502378820   18056377249      18056377249        18056377249      310260253792880                     Completed      011;2B    HNMSS348
                                                                                                                                                                    Successfully
    10/24/2018   20:33:29             SMSC                       128                        18586106881                                                             Completed               mavsms_pol02
                                                                                                                                                                    Successfully
    10/24/2018   20:34:07   60    mSTerminatingS   Incoming      128                        18586106881                         310260253792880   352509010940640   Completed                HNMSS348
                                    MSinMSC                                                                                                                         Successfully
    10/24/2018   21:50:22   37    mSTerminating    Incoming   8586106882                    18586106881                         310260253792880   352509010940640   Completed       11       HNMSS348
                                                                                                                                                                    Successfully
    10/25/2018   05:26:57   12    mSTerminating    Incoming   8586106882                    18586106881                         310260253792880   352509010940640   Completed       11       SFMSS347
                                                                                                                                                                    Successfully
    10/25/2018   10:25:11             SMSC                       129                        18586106881                                                             Completed               mavsms_pol02
                                                                                                                                                                    Successfully
    10/25/2018   19:34:31   60    mSTerminatingS   Incoming      129                        18586106881                         310260253792880   352509010940640   Completed                SFMSS347
                                    MSinMSC                                                                                                                         Successfully
    10/25/2018   19:57:07         mSTerminating    Incoming   6195430096                    18586106881                         310260253792880   352509010940640    Abnormal       11       SFMSS347
                                                                                                                                                                    Completion
    10/26/2018   05:12:24   17    mSTerminating    Incoming   8586106882                    18586106881                         310260253792880   352509010940640   Completed       11       SPMSS346
                                                                                                                                                                    Successfully
    10/26/2018   10:29:07             SMSC                       129                        18586106881                                                             Completed               mavsms_pol02
                                                                                                                                                                    Successfully
    10/26/2018   17:56:01   18    callForwarding   Outgoing   6194760030   18056377249      18056377249        18056377249      310260253792880                     Completed      011;2B    SPMSS346
                                                                                                                                                                    Successfully
    10/26/2018   17:56:21             SMSC                       128                        18586106881                                                             Completed               mavsms_pol02
                                                                                                                                                                    Successfully
    10/27/2018   00:24:35   60    mSTerminatingS   Incoming      129                        18586106881                         310260253792880   352509010940640   Completed                SPMSS346
                                    MSinMSC                                                                                                                         Successfully
    10/27/2018   00:24:36   60    mSTerminatingS   Incoming      128                        18586106881                         310260253792880   352509010940640   Completed                SPMSS346
                                    MSinMSC                                                                                                                         Successfully
    10/27/2018   00:39:25          mSOriginating   Outgoing   8586106881      73303            73303               51           310260253792880   352509010940640   Completed                SPMSS346
                                                                                                                                                                    Successfully



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                                                                                        [Exhibit G - 169]
    10/27/2018   04:38:50    36    mSTerminating    Incoming   8586106882                     18586106881                         310260253792880   352509010940640   Completed       11       DAMSS343
                                                                                                                                                                      Successfully
    10/27/2018   10:25:37              SMSC                        129                        18586106881                                                             Completed               mavsms_pol02
                                                                                                                                                                      Successfully
    10/27/2018   17:01:13    60    mSTerminatingS   Incoming      129                         18586106881                         310260253792880   352509010940640   Completed                DAMSS343
                                     MSinMSC                                                                                                                          Successfully
    10/27/2018   17:02:53    28     mSOriginating   Outgoing   8586106881    16194760030      16194760030        16194760030      310260253792880   352509010940640   Completed                DAMSS343
                                                                                                                                                                      Successfully
    10/28/2018   04:18:58    8     mSTerminating    Incoming   8586106882                     18586106881                         310260253792880   352509010940640   Completed       11        IEMSS341
                                                                                                                                                                      Successfully
    10/28/2018   10:27:08              SMSC                       129                         18586106881                                                             Completed               mavsms_pol02
                                                                                                                                                                      Successfully
    10/29/2018   00:24:39    60    mSTerminatingS   Incoming      129                         18586106881                         310260253792880   352509010940640   Completed                 IEMSS341
                                     MSinMSC                                                                                                                          Successfully
    10/29/2018   04:53:38    11    mSTerminating    Incoming   8586106882                     18586106881                         310260253792880   352509010940640   Completed       11        IEMSS341
                                                                                                                                                                      Successfully
    10/29/2018   10:25:37              SMSC                       129                         18586106881                                                             Completed               mavsms_pol02
                                                                                                                                                                      Successfully
    10/29/2018   17:18:59    10         mtc         Incoming   18586106882   18586106881      18586106881        18586106881      310260253792880                     Completed      021;11     IETAS002
                                                                                                                                                                      Successfully
    10/29/2018   17:19:00    10         moc         Outgoing   18586106882   18056377249      18056377249        13608429999      310260253792880                     Completed       02B       IETAS002
                                                                                                                                                                      Successfully
    10/29/2018   17:19:12              SMSC                       128                         18586106881                                                             Completed               mavsms_pol02
                                                                                                                                                                      Successfully
    10/29/2018   17:19:15   19          mtc         Incoming   18586106882   18586106881      18586106881        18586106881      310260253792880                     Completed      021;11     TTTAS101
                                                                                                                                                                      Successfully
    10/29/2018   17:19:16   19          moc         Outgoing   18586106882   18056377249      18056377249        13608429999      310260253792880                     Completed       02B       TTTAS101
                                                                                                                                                                      Successfully
    10/29/2018   19:58:06    60    mSTerminatingS   Incoming      129                         18586106881                         310260253792880   352509010940640   Completed                DAMSS343
                                     MSinMSC                                                                                                                          Successfully
    10/29/2018   19:58:07    60    mSTerminatingS   Incoming      128                         18586106881                         310260253792880   352509010940640   Completed                DAMSS343
                                     MSinMSC                                                                                                                          Successfully
    10/29/2018   19:58:30    1      mSOriginating   Outgoing   8586106881    18056377243      18056377243        13608429999      310260253792880   352509010940640   Completed                DAMSS343
                                                                                                                                                                      Successfully
    10/30/2018   05:07:27   10     mSTerminating    Incoming   8586106882                     18586106881                         310260253792880   352509010940640   Completed       11       CRMSS345
                                                                                                                                                                      Successfully
    10/30/2018   18:53:41   55     mSOriginating    Outgoing   8586106881    18586106882      18586106882        18586106882      310260253792880   352509010940640   Completed                HNMSS348
                                                                                                                                                                      Successfully
    10/31/2018   00:38:51   55     mSTerminating    Incoming   8586108863                     18586106881                         310260253792880   352509010940640   Completed       11       DAMSS343
                                                                                                                                                                      Successfully
    10/31/2018   03:15:15   22     mSOriginating    Outgoing   8586106881    18586106882      18586106882        18586106882      310260253792880   352509010940640   Completed                DAMSS343
                                                                                                                                                                      Successfully
    10/31/2018   13:27:10   962    mSOriginating    Outgoing   8586106881    18777223755      18777223755     11818633187772237   310260253792880   352509010940640   Completed                DAMSS343
                                                                                                                      55                                              Successfully
    10/31/2018   13:45:14    2     callForwarding   Outgoing   9497834700    18056377249      18056377249        18056377249      310260253792880                     Completed      011;2B    DAMSS343
                                                                                                                                                                      Successfully
    10/31/2018   13:45:31   1697   mSOriginating    Outgoing   8586106881    18777223755      18777223755    11818633187772237                      352509010940640   Completed       41       DAMSS343
                                                                                                                    55                                                Successfully
    10/31/2018   13:47:09          mSTerminating    Incoming   9497834700                     18586106881                         310260253792880   352509010940640    Abnormal       11       DAMSS343
                                                                                                                                                                      Completion
    10/31/2018   16:20:05    82    mSOriginating    Outgoing   8586106881    16194760030      16194760030        16194760030      310260253792880   352509010940640   Completed                CRMSS345
                                                                                                                                                                      Successfully
    10/31/2018   18:57:05   539    mSOriginating    Outgoing   8586106881    18777223755      18777223755     11818633187772237   310260253792880   352509010940640   Completed                CRMSS345
                                                                                                                     55                                               Successfully



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                                                                                       [Exhibit G - 170]
    11/01/2018   03:38:19   10    mSTerminating    Incoming   8586106882                     18586106881                      310260253792880   352509010940640   Completed       11       CRMSS345
                                                                                                                                                                  Successfully
    11/02/2018   04:55:45   10    mSTerminating    Incoming   8586106882                     18586106881                      310260253792880   352509010940640   Completed       11       CRMSS345
                                                                                                                                                                  Successfully
    11/03/2018   04:32:28   12    mSTerminating    Incoming   8586106882                     18586106881                      310260253792880   352509010940640   Completed       11       VGMSS342
                                                                                                                                                                  Successfully
    11/03/2018   19:05:46    7         mtc         Incoming   17608287921   18586106881      18586106881        18586106881   310260253792880                     Completed      021;11    DATAS003
                                                                                                                                                                  Successfully
    11/03/2018   19:05:47    7         moc         Outgoing   17608287921   18056377249      18056377249        13608429999   310260253792880                     Completed       02B      DATAS003
                                                                                                                                                                  Successfully
    11/03/2018   19:05:57             SMSC                        128                        18586106881                                                          Completed               mavsms_pol02
                                                                                                                                                                  Successfully
    11/03/2018   22:51:09    9    callForwarding   Outgoing   8883212375    18056377249      18056377249        18056377249   310260253792880                     Completed      011;2B    SPMSS346
                                                                                                                                                                  Successfully
    11/04/2018   04:15:01   60    mSTerminatingS   Incoming      128                         18586106881                      310260253792880   352509010940640   Completed                SPMSS346
                                    MSinMSC                                                                                                                       Successfully
    11/04/2018   04:35:02   10    mSTerminating    Incoming   8586106882                     18586106881                      310260253792880   352509010940640   Completed       11       SPMSS346
                                                                                                                                                                  Successfully
    11/05/2018   06:37:00   20    mSTerminating    Incoming   8586106882                     18586106881                      310260253792880   352509010940640   Completed       11       ORMSS349
                                                                                                                                                                  Successfully
    11/06/2018   00:20:51   24    callForwarding   Outgoing   8586168456    18056377249      18056377249        18056377249   310260253792880                     Completed      011;2B    ORMSS349
                                                                                                                                                                  Successfully
    11/06/2018   00:21:16             SMSC                        128                        18586106881                                                          Completed               mavsms_pol02
                                                                                                                                                                  Successfully
    11/06/2018   06:19:56    9         mtc         Incoming   18586106882   18586106881      18586106881        18586106881   310260253792880                     Completed      021;11     IETAS001
                                                                                                                                                                  Successfully
    11/06/2018   06:19:57    9         moc         Outgoing   18586106882   18056377249      18056377249        13608429999   310260253792880                     Completed       02B       IETAS001
                                                                                                                                                                  Successfully
    11/06/2018   06:20:11   11         moc         Outgoing   18586106882   18056377249      18056377249        13608429999   310260253792880                     Completed       02B       TTTAS101
                                                                                                                                                                  Successfully
    11/06/2018   06:20:11   11         mtc         Incoming   18586106882   18586106881      18586106881        18586106881   310260253792880                     Completed      021;11     TTTAS101
                                                                                                                                                                  Successfully
    11/06/2018   06:26:46   60    mSTerminatingS   Incoming      128                         18586106881                      310260253792880   352509010940640   Completed                ORMSS349
                                    MSinMSC                                                                                                                       Successfully
    11/07/2018   01:47:34         mSTerminating    Incoming   8586106882                     18586106881                      310260253792880   352509010940640    Abnormal       11       ORMSS349
                                                                                                                                                                  Completion
    11/07/2018   01:48:17   19    mSOriginating    Outgoing   8586106881    18586106882      18586106882        18586106882   310260253792880   352509010940640   Completed                ORMSS349
                                                                                                                                                                  Successfully
    11/08/2018   06:51:35    4         moc         Outgoing   18586106882   18056377249      18056377249        13608429999   310260253792880                     Completed       02B       IETAS001
                                                                                                                                                                  Successfully
    11/08/2018   21:11:32    9         mtc         Incoming   17608287921   18586106881      18586106881        18586106881   310260253792880                     Completed      021;11     PXTAS001
                                                                                                                                                                  Successfully
    11/08/2018   21:11:33   9          moc         Outgoing   17608287921   18056377249      18056377249        13608429999   310260253792880                     Completed       02B       PXTAS001
                                                                                                                                                                  Successfully
    11/08/2018   21:11:44             SMSC                       128                         18586106881                                                          Completed               mavsms_pol02
                                                                                                                                                                  Successfully
    11/08/2018   22:22:54   60    mSTerminatingS   Incoming      128                         18586106881                      310260253792880   352509010940640   Completed                ATMSS344
                                    MSinMSC                                                                                                                       Successfully
    11/08/2018   22:23:22   265    mSOriginating   Outgoing   8586106881    18056377243      18056377243        13608429999   310260253792880   352509010940640   Completed                ATMSS344
                                                                                                                                                                  Successfully
    11/08/2018   22:27:54             SMSC                        128                        18586106881                                                          Completed               mavsms_pol02
                                                                                                                                                                  Successfully
    11/08/2018   22:28:05   60    mSTerminatingS   Incoming      128                         18586106881                      310260253792880   352509010940640   Completed                ATMSS344
                                    MSinMSC                                                                                                                       Successfully



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                                                                                      [Exhibit G - 171]
    11/09/2018   07:24:38   14    mSOriginating    Outgoing   8586106881    18586106882      18586106882        18586106882     310260253792880   352509010940640   Completed                ORMSS349
                                                                                                                                                                    Successfully
    11/10/2018   02:42:08   25    mSOriginating    Outgoing   8586106881    18586106882      18586106882        18586106882     310260253792880   352509010940640   Completed                 IEMSS341
                                                                                                                                                                    Successfully
    11/10/2018   17:45:45         mSTerminating    Incoming   2136510980                     18586106881                        310260253792880   352509010940640    Abnormal       11       SFMSS347
                                                                                                                                                                    Completion
    11/11/2018   05:01:35    5         moc         Outgoing   18586106882   18056377249      18056377249        13608429999     310260253792880                     Completed       02A       TTTAS201
                                                                                                                                                                    Successfully
    11/11/2018   05:01:36         mSTerminating    Incoming   8586106882                     18586106881                        310260253792880   352509010940640    Abnormal       11       HNMSS348
                                                                                                                                                                    Completion
    11/11/2018   05:01:57    5         moc         Outgoing   18586106882   18056377249      18056377249        13608429999     310260253792880                     Completed       02B       TTTAS201
                                                                                                                                                                    Successfully
    11/12/2018   06:27:51   18    mSTerminating    Incoming   8586106882                     18586106881                        310260253792880   352509010940640   Completed       11       HNMSS348
                                                                                                                                                                    Successfully
    11/12/2018   16:07:33   35    callForwarding   Outgoing   2158211858    18056377249      18056377249        18056377249     310260253792880                     Completed      011;2B    HNMSS348
                                                                                                                                                                    Successfully
    11/12/2018   16:08:10             SMSC                       128                         18586106881                                                            Completed               mavsms_pol02
                                                                                                                                                                    Successfully
    11/12/2018   19:04:00   60    mSTerminatingS   Incoming      128                         18586106881                        310260253792880   352509010940640   Completed                HNMSS348
                                    MSinMSC                                                                                                                         Successfully
    11/12/2018   20:26:30    8    mSTerminating    Incoming   5125510002                     18586106881                        310260253792880   352509010940640   Completed       11       HNMSS348
                                                                                                                                                                    Successfully
    11/13/2018   06:20:46    9    mSTerminating    Incoming   8586106882                     18586106881                        310260253792880   352509010940640   Completed       11       SPMSS346
                                                                                                                                                                    Successfully
    11/13/2018   17:52:24   39    mSOriginating    Outgoing   8586106881    18586106882      18586106882        18586106882     310260253792880   352509010940640   Completed                SPMSS346
                                                                                                                                                                    Successfully
    11/13/2018   19:05:51         mSTerminating    Incoming   5403393563                     18586106881                        310260253792880   352509010940640    Abnormal       11       SPMSS346
                                                                                                                                                                    Completion
    11/13/2018   19:08:04         mSOriginating    Outgoing   8586106881    15403393563      15403393563        15403393563     310260253792880   352509010940640    Abnormal                SPMSS346
                                                                                                                                                                    Completion
    11/14/2018   00:31:17   17         moc         Outgoing   18586106882   18056377249      18056377249        13608429999     310260253792880                     Completed       02A       PXTAS001
                                                                                                                                                                    Successfully
    11/14/2018   00:31:17         mSTerminating    Incoming   8586106882                     18586106881                        310260253792880   352509010940640    Abnormal       11       SPMSS346
                                                                                                                                                                    Completion
    11/14/2018   00:31:37             SMSC                       128                         18586106881                                                            Completed               mavsms_pol02
                                                                                                                                                                    Successfully
    11/14/2018   00:31:39   60    mSTerminatingS   Incoming      128                         18586106881                        310260253792880   352509010940640   Completed                SPMSS346
                                    MSinMSC                                                                                                                         Successfully
    11/14/2018   01:40:13   50     mSOriginating   Outgoing   8586106881    18586106882      18586106882        18586106882     310260253792880   352509010940640   Completed                SPMSS346
                                                                                                                                                                    Successfully
    11/14/2018   05:29:25   15    mSTerminating    Incoming   8586106882                     18586106881                        310260253792880   352509010940640   Completed       11       VGMSS342
                                                                                                                                                                    Successfully
    11/14/2018   20:16:37   360   mSOriginating    Outgoing   8586106881    18003810759      18003810759    11818633180038107   310260253792880   352509010940640   Completed                HNMSS348
                                                                                                                   59                                               Successfully
    11/14/2018   20:27:49   414   mSOriginating    Outgoing   8586106881    18003810759      18003810759    11818633180038107   310260253792880   352509010940640   Completed                HNMSS348
                                                                                                                   59                                               Successfully
    11/15/2018   06:13:16   11    mSTerminating    Incoming   8586106882                     18586106881                        310260253792880   352509010940640   Completed       11       CRMSS345
                                                                                                                                                                    Successfully
    11/16/2018   05:57:37   12    mSTerminating    Incoming   8586106882                     18586106881                        310260253792880   352509010940640   Completed       11       HNMSS348
                                                                                                                                                                    Successfully
    11/17/2018   06:06:47   12    mSTerminating    Incoming   8586106882                     18586106881                        310260253792880   352509010940640   Completed       11       CRMSS345
                                                                                                                                                                    Successfully
    11/18/2018   07:13:59   12    mSTerminating    Incoming   8586106882                     18586106881                        310260253792880   352509010940640   Completed       11       ORMSS349
                                                                                                                                                                    Successfully



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                                                                                      [Exhibit G - 172]
    11/19/2018   06:17:40   11    mSTerminating    Incoming   8586106882                     18586106881                         310260253792880   352509010940640   Completed       11       ORMSS349
                                                                                                                                                                     Successfully
    11/19/2018   20:13:51   112   mSOriginating    Outgoing   8586106881    6195312000        6195312000        16195312000      310260253792880   352509010940640   Completed                SPMSS346
                                                                                                                                                                     Successfully
    11/20/2018   05:58:31   11    mSTerminating    Incoming   8586106882                     18586106881                         310260253792880   352509010940640   Completed       11       VGMSS342
                                                                                                                                                                     Successfully
    11/21/2018   17:11:29   11    callForwarding   Outgoing   8586108237    18056377249      18056377249        18056377249      310260253792880                     Completed      011;2B    SFMSS347
                                                                                                                                                                     Successfully
    11/21/2018   17:11:41             SMSC                       128                         18586106881                                                             Completed               mavsms_pol02
                                                                                                                                                                     Successfully
    11/21/2018   23:04:40   20    callForwarding   Outgoing   8586163456    18056377249      18056377249        18056377249      310260253792880                     Completed      011;2B    SFMSS347
                                                                                                                                                                     Successfully
    11/22/2018   05:05:13   60    mSTerminatingS   Incoming      128                         18586106881                         310260253792880   352509010940640   Completed                SFMSS347
                                    MSinMSC                                                                                                                          Successfully
    11/22/2018   05:05:47   4      mSOriginating   Outgoing   8586106881    18056377243      18056377243        13608429999      310260253792880   352509010940640   Completed                SFMSS347
                                                                                                                                                                     Successfully
    11/22/2018   05:06:13   17    mSOriginating    Outgoing   8586106881    18586106882      18586106882        18586106882      310260253792880   352509010940640   Completed                SFMSS347
                                                                                                                                                                     Successfully
    11/22/2018   06:18:38   16    mSTerminating    Incoming   8586106882                     18586106881                         310260253792880   352509010940640   Completed       11       SFMSS347
                                                                                                                                                                     Successfully
    11/22/2018   06:56:53   12    mSOriginating    Outgoing   8586106881    18586106882      18586106882        18586106882      310260253792880   352509010940640   Completed                SFMSS347
                                                                                                                                                                     Successfully
    11/25/2018   05:45:08   20    mSOriginating    Outgoing   8586106881    18586106882      18586106882        18586106882      310260253792880   352509010940640   Completed                SFMSS347
                                                                                                                                                                     Successfully
    11/25/2018   19:23:19   268   mSOriginating    Outgoing   8586106881    18056377243      18056377243        13608429999      310260253792880   352509010940640   Completed                VGMSS342
                                                                                                                                                                     Successfully
    11/25/2018   19:28:16             SMSC                       128                         18586106881                                                             Completed               mavsms_pol02
                                                                                                                                                                     Successfully
    11/25/2018   19:30:44   60    mSTerminatingS   Incoming      128                         18586106881                         310260253792880   352509010940640   Completed                VGMSS342
                                    MSinMSC                                                                                                                          Successfully
    11/26/2018   21:03:18   133    mSOriginating   Outgoing   8586106881    18009211117      18009211117     11818633180092111   310260253792880   352509010940640   Completed                SPMSS346
                                                                                                                     17                                              Successfully
    11/27/2018   05:30:34   4     mSOriginating    Outgoing   8586106881    18586106882      18586106882        18586106882      310260253792880   352509010940640   Completed                SFMSS347
                                                                                                                                                                     Successfully
    11/27/2018   06:12:52   6     mSOriginating    Outgoing   8586106881    18586106882      18586106882        18586106882      310260253792880   352509010940640   Completed                SFMSS347
                                                                                                                                                                     Successfully
    11/27/2018   06:26:09   10    mSTerminating    Incoming   8586106882                     18586106881                         310260253792880   352509010940640   Completed       11       SFMSS347
                                                                                                                                                                     Successfully
    11/27/2018   19:34:07   43    mSTerminating    Incoming   8586106882                     18586106881                         310260253792880   352509010940640   Completed       11       ATMSS344
                                                                                                                                                                     Successfully
    11/28/2018   02:50:55   13    mSTerminating    Incoming   8586106882                     18586106881                         310260253792880   352509010940640   Completed       11       DAMSS343
                                                                                                                                                                     Successfully
    11/28/2018   19:31:03   15    mSTerminating    Incoming   8586106882                     18586106881                         310260253792880   352509010940640   Completed       11       DAMSS343
                                                                                                                                                                     Successfully
    11/29/2018   02:05:08             SMSC                    18586106881                       83372                                                                Completed               mavsms_pol02
                                                                                                                                                                     Successfully
    11/29/2018   02:05:08             SMSC                      83372                        18586106881                                                             Completed               mavsms_pol02
                                                                                                                                                                     Successfully
    11/29/2018   02:05:14   60    mSTerminatingS   Incoming     83372                        18586106881                         310260253792880   352509010940640   Completed                DAMSS343
                                    MSinMSC                                                                                                                          Successfully
    11/29/2018   04:34:46             SMSC                    18586106881                       37473                                                                Completed               mavsms_pol02
                                                                                                                                                                     Successfully
    11/29/2018   04:34:46             SMSC                      37473                        18586106881                                                             Completed               mavsms_pol02
                                                                                                                                                                     Successfully



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                                                                                         [Exhibit G - 173]
    11/29/2018   04:34:50   60   mSTerminatingS   Incoming     37473                        18586106881                      310260253792880   352509010940640   Completed             DAMSS343
                                   MSinMSC                                                                                                                       Successfully
    11/29/2018   06:17:09   9    mSTerminating    Incoming   8586106882                     18586106881                      310260253792880   352509010940640   Completed      11     DAMSS343
                                                                                                                                                                 Successfully
    11/29/2018   19:08:25            SMSC                    18586106881                       83372                                                             Completed            mavsms_pol02
                                                                                                                                                                 Successfully
    11/29/2018   19:08:25            SMSC                      83372                        18586106881                                                          Completed            mavsms_pol02
                                                                                                                                                                 Successfully
    11/29/2018   20:07:42            SMSC                    18586106881                       83372                                                             Completed            mavsms_pol02
                                                                                                                                                                 Successfully
    11/29/2018   20:07:42            SMSC                      83372                        18586106881                                                          Completed            mavsms_pol02
                                                                                                                                                                 Successfully
    11/29/2018   22:39:44   1    mSOriginating    Outgoing   8586106881    18586106882      18586106882        18586106882   310260253792880   352509010940640   Completed             DAMSS343
                                                                                                                                                                 Successfully
    11/29/2018   22:40:07   60   mSTerminatingS   Incoming     83372                        18586106881                      310260253792880   352509010940640   Completed             DAMSS343
                                   MSinMSC                                                                                                                       Successfully
    11/29/2018   22:40:10   60   mSTerminatingS   Incoming     83372                        18586106881                      310260253792880   352509010940640   Completed             DAMSS343
                                   MSinMSC                                                                                                                       Successfully
    11/29/2018   22:59:13   13        moc         Outgoing   18586106882   18056377249      18056377249        13608429999   310260253792880                     Completed      02A     IETAS002
                                                                                                                                                                 Successfully
    11/29/2018   22:59:13        mSTerminating    Incoming   8586106882                     18586106881                      310260253792880   352509010940640    Abnormal      11     DAMSS343
                                                                                                                                                                 Completion
    11/29/2018   22:59:28            SMSC                       128                         18586106881                                                          Completed            mavsms_pol02
                                                                                                                                                                 Successfully
    11/29/2018   22:59:31   60   mSTerminatingS   Incoming      128                         18586106881                      310260253792880   352509010940640   Completed             DAMSS343
                                   MSinMSC                                                                                                                       Successfully
    11/29/2018   23:00:02   82   mSTerminating    Incoming   8586106882                     18586106881                      310260253792880   352509010940640   Completed      11     DAMSS343
                                                                                                                                                                 Successfully
    11/30/2018   06:10:23   16   mSTerminating    Incoming   8586106882                     18586106881                      310260253792880   352509010940640   Completed      11     HNMSS348
                                                                                                                                                                 Successfully
    11/30/2018   17:40:33   33        moc         Outgoing   14158521197   18056377249      18056377249        13608429999   310260253792880                     Completed      02B    DATAS003
                                                                                                                                                                 Successfully
    11/30/2018   17:41:08            SMSC                       128                         18586106881                                                          Completed            mavsms_pol02
                                                                                                                                                                 Successfully
    11/30/2018   19:42:15   34        moc         Outgoing   14158521626   18056377249      18056377249        13608429999   310260253792880                     Completed      02B    AUTAS201
                                                                                                                                                                 Successfully
    11/30/2018   19:42:51            SMSC                       128                         18586106881                                                          Completed            mavsms_pol02
                                                                                                                                                                 Successfully
    12/01/2018   00:31:30   60   mSTerminatingS   Incoming      128                         18586106881                      310260253792880   352509010940640   Completed             HNMSS348
                                   MSinMSC                                                                                                                       Successfully
    12/01/2018   00:31:32   60   mSTerminatingS   Incoming      128                         18586106881                      310260253792880   352509010940640   Completed             HNMSS348
                                   MSinMSC                                                                                                                       Successfully
    12/01/2018   04:11:43   30    mSOriginating   Outgoing   8586106881    18586106882      18586106882        18586106882   310260253792880   352509010940640   Completed             ATMSS344
                                                                                                                                                                 Successfully
    12/02/2018   02:11:19   7    mSTerminating    Incoming   4243609271                     18586106881                      310260253792880   352509010940640   Completed      11     ATMSS344
                                                                                                                                                                 Successfully
    12/02/2018   05:29:01   8    mSTerminating    Incoming   8586106882                     18586106881                      310260253792880   352509010940640   Completed      11     ATMSS344
                                                                                                                                                                 Successfully
    12/04/2018   05:52:37   10   mSOriginating    Outgoing   8586106881    18586106882      18586106882        18586106882   310260253792880   352509010940640   Completed             ORMSS349
                                                                                                                                                                 Successfully
    12/04/2018   06:28:41   12   mSTerminating    Incoming   8586106882                     18586106881                      310260253792880   352509010940640   Completed      11     ORMSS349
                                                                                                                                                                 Successfully
    12/04/2018   20:21:50   12        moc         Outgoing   18586106882   18056377249      18056377249        13608429999   310260253792880                     Completed      02B     TTTAS101
                                                                                                                                                                 Successfully



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                                                                                     [Exhibit G - 174]
    12/04/2018   20:22:05             SMSC                       128                         18586106881                                                          Completed            mavsms_pol02
                                                                                                                                                                  Successfully
    12/04/2018   20:22:11   8          moc         Outgoing   18586106882   18056377249      18056377249        13608429999   310260253792880                     Completed      02B    DATAS003
                                                                                                                                                                  Successfully
    12/05/2018   02:07:40   60    mSTerminatingS   Incoming      128                         18586106881                      310260253792880   352509010940640   Completed             ORMSS349
                                    MSinMSC                                                                                                                       Successfully
    12/05/2018   02:40:03   19     mSOriginating   Outgoing   8586106881    18586106882      18586106882        18586106882   310260253792880   352509010940640   Completed             ORMSS349
                                                                                                                                                                  Successfully
    12/05/2018   05:48:08   11    mSTerminating    Incoming   8586106882                     18586106881                      310260253792880   352509010940640   Completed      11     ORMSS349
                                                                                                                                                                  Successfully
    12/06/2018   01:14:05   5     mSOriginating    Outgoing   8586106881    18586106882      18586106882        18586106882   310260253792880   352509010940640   Completed             ORMSS349
                                                                                                                                                                  Successfully
    12/06/2018   01:20:42   55    mSOriginating    Outgoing   8586106881    18586503333      18586503333        18586503333   310260253792880   352509010940640   Completed             ORMSS349
                                                                                                                                                                  Successfully
    12/06/2018   01:25:40   22    mSOriginating    Outgoing   8586106881    8586108863        8586108863        18586108863   310260253792880   352509010940640   Completed             ORMSS349
                                                                                                                                                                  Successfully
    12/06/2018   06:05:18   16    mSOriginating    Outgoing   8586106881    18586106882      18586106882        18586106882   310260253792880   352509010940640   Completed             ORMSS349
                                                                                                                                                                  Successfully
    12/07/2018   05:17:41   15    mSOriginating    Outgoing   8586106881    18586106882      18586106882        18586106882   310260253792880   352509010940640   Completed             ATMSS344
                                                                                                                                                                  Successfully
    12/07/2018   05:59:33   13    mSTerminating    Incoming   8586106882                     18586106881                      310260253792880   352509010940640   Completed      11     DAMSS343
                                                                                                                                                                  Successfully
    12/08/2018   04:43:24   28    mSOriginating    Outgoing   8586106881    18586106882      18586106882        18586106882   310260253792880   352509010940640   Completed             DAMSS343
                                                                                                                                                                  Successfully
    12/08/2018   05:36:57   8     mSTerminating    Incoming   8586106882                     18586106881                      310260253792880   352509010940640   Completed      11     VGMSS342
                                                                                                                                                                  Successfully
    12/09/2018   05:36:30   20    mSTerminating    Incoming   8586106882                     18586106881                      310260253792880   352509010940640   Completed      11     ATMSS344
                                                                                                                                                                  Successfully
    12/10/2018   05:57:01   12    mSTerminating    Incoming   8586106882                     18586106881                      310260253792880   352509010940640   Completed      11     ATMSS344
                                                                                                                                                                  Successfully
    12/11/2018   02:57:18   142   mSOriginating    Outgoing   8586106881    18056377243      18056377243        13608429999   310260253792880   352509010940640   Completed             DAMSS343
                                                                                                                                                                  Successfully
    12/11/2018   02:59:44             SMSC                       128                         18586106881                                                          Completed            mavsms_pol02
                                                                                                                                                                  Successfully
    12/11/2018   02:59:48   60    mSTerminatingS   Incoming      128                         18586106881                      310260253792880   352509010940640   Completed             DAMSS343
                                    MSinMSC                                                                                                                       Successfully
    12/11/2018   05:35:59   12         moc         Outgoing   18586106882   18056377249      18056377249        13608429999   310260253792880                     Completed      02B     TTTAS101
                                                                                                                                                                  Successfully
    12/11/2018   05:36:13             SMSC                       128                         18586106881                                                          Completed            mavsms_pol02
                                                                                                                                                                  Successfully
    12/11/2018   05:36:19   60    mSTerminatingS   Incoming      128                         18586106881                      310260253792880   352509010940640   Completed             DAMSS343
                                    MSinMSC                                                                                                                       Successfully
    12/11/2018   05:37:13   17     mSOriginating   Outgoing   8586106881    18586106882      18586106882        18586106882   310260253792880   352509010940640   Completed             DAMSS343
                                                                                                                                                                  Successfully
    12/11/2018   21:06:40   4          moc         Outgoing   18586106882   18056377249      18056377249        13608429999   310260253792880                     Completed      02A     IETAS002
                                                                                                                                                                  Successfully
    12/11/2018   21:06:40         mSTerminating    Incoming   8586106882                     18586106881                      310260253792880   352509010940640    Abnormal      11     DAMSS343
                                                                                                                                                                  Completion
    12/11/2018   21:07:02   30    mSTerminating    Incoming   8586106882                     18586106881                      310260253792880   352509010940640   Completed      11     DAMSS343
                                                                                                                                                                  Successfully
    12/11/2018   23:44:48   38    mSTerminating    Incoming   8586106882                     18586106881                      310260253792880   352509010940640   Completed      11     ORMSS349
                                                                                                                                                                  Successfully
    12/11/2018   23:47:09   25    mSOriginating    Outgoing   8586106881    18586106882      18586106882        18586106882   310260253792880   352509010940640   Completed             ORMSS349
                                                                                                                                                                  Successfully



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                                                                                         [Exhibit G - 175]
    12/12/2018   02:46:38   7     mSOriginating    Outgoing   8586106881    18586106882      18586106882        18586106882      310260253792880   352509010940640   Completed                 IEMSS341
                                                                                                                                                                     Successfully
    12/12/2018   02:47:06   16    callForwarding   Outgoing   8586106882    18056377249      18056377249        18056377249      310260253792880                     Completed      011;29     IEMSS341
                                                                                                                                                                     Successfully
    12/12/2018   02:47:13   8     mSOriginating    Outgoing   8586106881    18586106882      18586106882        18586106882      310260253792880   352509010940640   Completed                 IEMSS341
                                                                                                                                                                     Successfully
    12/12/2018   02:47:32   14    callForwarding   Outgoing   8586106882    18056377249      18056377249        18056377249      310260253792880                     Completed      011;2B     IEMSS341
                                                                                                                                                                     Successfully
    12/12/2018   02:47:33   50    mSOriginating    Outgoing   8586106881    18586106882      18586106882        18586106882                        352509010940640   Completed      042;51     IEMSS341
                                                                                                                                                                     Successfully
    12/12/2018   02:47:47             SMSC                        128                        18586106881                                                             Completed               mavsms_pol02
                                                                                                                                                                     Successfully
    12/12/2018   02:47:52   60    mSTerminatingS   Incoming      128                         18586106881                         310260253792880   352509010940640   Completed                 IEMSS341
                                    MSinMSC                                                                                                                          Successfully
    12/12/2018   02:48:05   19     mSOriginating   Outgoing   8586106881    18056377243      18056377243        13608429999                        352509010940640   Completed       51        IEMSS341
                                                                                                                                                                     Successfully
    12/12/2018   02:48:37   38    mSOriginating    Outgoing   8586106881    18586106882      18586106882        18586106882      310260253792880   352509010940640   Completed                 IEMSS341
                                                                                                                                                                     Successfully
    12/13/2018   06:27:14   20    mSTerminating    Incoming   8586106882                     18586106881                         310260253792880   352509010940640   Completed       11        IEMSS341
                                                                                                                                                                     Successfully
    12/13/2018   06:27:41   34    mSOriginating    Outgoing   8586106881    18586106882      18586106882        18586106882                        352509010940640   Completed      041;42    CRMSS345
                                                                                                                                                                     Successfully
    12/13/2018   06:27:41    5    callForwarding   Outgoing   8586106882    18056377249      18056377249        18056377249      310260253792880                     Completed      011;29    CRMSS345
                                                                                                                                                                     Successfully
    12/13/2018   06:27:59   14    mSTerminating    Incoming   8586106882                     18586106881                                           352509010940640   Completed       41       CRMSS345
                                                                                                                                                                     Successfully
    12/13/2018   20:51:12         mSTerminating    Incoming   2138017206                     18586106881                         310260253792880   352509010940640    Abnormal       11       CRMSS345
                                                                                                                                                                     Completion
    12/14/2018   05:59:17   15    mSOriginating    Outgoing   8586106881    18586106882      18586106882        18586106882      310260253792880   352509010940640   Completed                VGMSS342
                                                                                                                                                                     Successfully
    12/14/2018   06:32:31   10    mSTerminating    Incoming   8586106882                     18586106881                         310260253792880   352509010940640   Completed       11       VGMSS342
                                                                                                                                                                     Successfully
    12/15/2018   05:09:12   30    mSOriginating    Outgoing   8586106881    18586106882      18586106882        18586106882      310260253792880   352509010940640   Completed                VGMSS342
                                                                                                                                                                     Successfully
    12/15/2018   18:31:56   32    mSOriginating    Outgoing   8586106881    18586106882      18586106882        18586106882      310260253792880   352509010940640   Completed                VGMSS342
                                                                                                                                                                     Successfully
    12/15/2018   20:16:00         mSOriginating    Outgoing   8586106881    18586106882      18586106882        18586106882      310260253792880   352509010940640   Completed                ORMSS349
                                                                                                                                                                     Successfully
    12/15/2018   21:38:02   22    mSOriginating    Outgoing   8586106881    18586106882      18586106882        18586106882      310260253792880   352509010940640   Completed                ATMSS344
                                                                                                                                                                     Successfully
    12/15/2018   23:05:29   139   mSTerminating    Incoming   8586106882                     18586106881                         310260253792880   352509010940640   Completed       11       ATMSS344
                                                                                                                                                                     Successfully
    12/16/2018   00:44:44             SMSC                    16264613787                    18586106881                                                             Completed               mavsms_ttn03
                                                                                                                                                                     Successfully
    12/16/2018   00:44:49   60    mSTerminatingS   Incoming   16264613787                    18586106881                         310260253792880   352509010940640   Completed                ATMSS344
                                    MSinMSC                                                                                                                          Successfully
    12/17/2018   06:13:50   9     mSTerminating    Incoming   8586106882                     18586106881                         310260253792880   352509010940640   Completed       11       ATMSS344
                                                                                                                                                                     Successfully
    12/17/2018   16:17:12   475   mSOriginating    Outgoing   8586106881    18008244491      18008244491     11818633180082444   310260253792880   352509010940640   Completed                SPMSS346
                                                                                                                    91                                               Successfully
    12/18/2018   06:44:47    8    mSTerminating    Incoming   8586106882                     18586106881                         310260253792880   352509010940640   Completed       11       SPMSS346
                                                                                                                                                                     Successfully
    12/19/2018   20:57:52   47         moc         Outgoing   12133062622   18056377249      18056377249        13608429999      310260253792880                     Completed       02B      PHTAS002
                                                                                                                                                                     Successfully



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                                                                                      [Exhibit G - 176]
    12/19/2018   20:58:42              SMSC                        128                        18586106881                                                          Completed            mavsms_pol02
                                                                                                                                                                   Successfully
    12/20/2018   02:48:56    60    mSTerminatingS   Incoming      128                         18586106881                      310260253792880   352509010940640   Completed             SPMSS346
                                     MSinMSC                                                                                                                       Successfully
    12/20/2018   06:19:03    24     mSOriginating   Outgoing   8586106881    18586106882      18586106882        18586106882   310260253792880   352509010940640   Completed             SPMSS346
                                                                                                                                                                   Successfully
    12/20/2018   06:28:11    21    mSOriginating    Outgoing   8586106881    18586106882      18586106882        18586106882   310260253792880   352509010940640   Completed             SPMSS346
                                                                                                                                                                   Successfully
    12/20/2018   20:33:28    34         moc         Outgoing   18586108321   18056377249      18056377249        13608429999   310260253792880                     Completed      02B    CHTAS002
                                                                                                                                                                   Successfully
    12/20/2018   20:34:03              SMSC                       128                         18586106881                                                          Completed            mavsms_pol02
                                                                                                                                                                   Successfully
    12/21/2018   04:59:49    60    mSTerminatingS   Incoming      128                         18586106881                      310260253792880   352509010940640   Completed             DAMSS343
                                     MSinMSC                                                                                                                       Successfully
    12/21/2018   06:42:14   14     mSTerminating    Incoming   8586106882                     18586106881                      310260253792880   352509010940640   Completed      11     DAMSS343
                                                                                                                                                                   Successfully
    12/21/2018   18:13:36   70          moc         Outgoing   18667066358   18056377249      18056377249        13608429999   310260253792880                     Completed      02B    AUTAS202
                                                                                                                                                                   Successfully
    12/21/2018   18:14:48              SMSC                       128                         18586106881                                                          Completed            mavsms_pol02
                                                                                                                                                                   Successfully
    12/22/2018   06:19:03    6          moc         Outgoing   18586106882   18056377249      18056377249        13608429999   310260253792880                     Completed      02B     PXTAS001
                                                                                                                                                                   Successfully
    12/22/2018   06:19:16    5          moc         Outgoing   18586106882   18056377249      18056377249        13608429999   310260253792880                     Completed      02B     PXTAS002
                                                                                                                                                                   Successfully
    12/22/2018   18:33:03    60    mSTerminatingS   Incoming      128                         18586106881                      310260253792880   352509010940640   Completed             DAMSS343
                                     MSinMSC                                                                                                                       Successfully
    12/24/2018   06:20:29   12          moc         Outgoing   18586106882   18056377249      18056377249        13608429999   310260253792880                     Completed      02B     PXTAS001
                                                                                                                                                                   Successfully
    12/24/2018   06:20:43              SMSC                       128                         18586106881                                                          Completed            mavsms_pol02
                                                                                                                                                                   Successfully
    12/24/2018   06:20:47    60    mSTerminatingS   Incoming      128                         18586106881                      310260253792880   352509010940640   Completed             HNMSS348
                                     MSinMSC                                                                                                                       Successfully
    12/24/2018   06:20:59   13     mSTerminating    Incoming   8586106882                     18586106881                      310260253792880   352509010940640   Completed      11     HNMSS348
                                                                                                                                                                   Successfully
    12/24/2018   21:25:45   1215   mSOriginating    Outgoing   8586106881    19494623000      19494623000        19494623000   310260253792880   352509010940640   Completed             ATMSS344
                                                                                                                                                                   Successfully
    12/25/2018   06:42:05   15     mSTerminating    Incoming   8586106882                     18586106881                      310260253792880   352509010940640   Completed      11     ATMSS344
                                                                                                                                                                   Successfully
    12/26/2018   06:34:30   10     mSTerminating    Incoming   8586106882                     18586106881                      310260253792880   352509010940640   Completed      11     ATMSS344
                                                                                                                                                                   Successfully
    12/26/2018   18:12:08   49          moc         Outgoing   18002905000   18056377249      18056377249        13608429999   310260253792880                     Completed      02B     NJTAS202
                                                                                                                                                                   Successfully
    12/26/2018   18:13:00              SMSC                       128                         18586106881                                                          Completed            mavsms_pol02
                                                                                                                                                                   Successfully
    12/27/2018   06:14:50    60    mSTerminatingS   Incoming      128                         18586106881                      310260253792880   352509010940640   Completed             ORMSS349
                                     MSinMSC                                                                                                                       Successfully
    12/27/2018   06:15:05   118     mSOriginating   Outgoing   8586106881    18056377243      18056377243        13608429999   310260253792880   352509010940640   Completed             ORMSS349
                                                                                                                                                                   Successfully
    12/27/2018   06:17:12              SMSC                       128                         18586106881                                                          Completed            mavsms_pol02
                                                                                                                                                                   Successfully
    12/27/2018   06:17:14    60    mSTerminatingS   Incoming      128                         18586106881                      310260253792880   352509010940640   Completed             ORMSS349
                                     MSinMSC                                                                                                                       Successfully
    12/27/2018   06:52:05    13    mSTerminating    Incoming   8586106882                     18586106881                      310260253792880   352509010940640   Completed      11     ORMSS349
                                                                                                                                                                   Successfully



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                                                                                       [Exhibit G - 177]
    12/27/2018   21:41:20   44         moc         Outgoing   1858610789    18056377249      18056377249        13608429999   310260253792880                     Completed      02B    CHTAS004
                                                                                                                                                                  Successfully
    12/27/2018   21:42:06             SMSC                       128                         18586106881                                                          Completed            mavsms_pol02
                                                                                                                                                                  Successfully
    12/28/2018   01:45:04   60    mSTerminatingS   Incoming      128                         18586106881                      310260253792880   352509010940640   Completed             ORMSS349
                                    MSinMSC                                                                                                                       Successfully
    12/28/2018   06:17:47   9     mSTerminating    Incoming   8586106882                     18586106881                      310260253792880   352509010940640   Completed      11     SPMSS346
                                                                                                                                                                  Successfully
    12/28/2018   17:27:11   28         moc         Outgoing   12153710934   18056377249      18056377249        13608429999   310260253792880                     Completed      02B    NVTAS009
                                                                                                                                                                  Successfully
    12/28/2018   17:27:41             SMSC                       128                         18586106881                                                          Completed            mavsms_pol02
                                                                                                                                                                  Successfully
    12/28/2018   20:19:40   44         moc         Outgoing   13108184405   18056377249      18056377249        13608429999   310260253792880                     Completed      02B    CHTAS004
                                                                                                                                                                  Successfully
    12/29/2018   03:39:34   60    mSTerminatingS   Incoming      128                         18586106881                      310260253792880   352509010940640   Completed             SPMSS346
                                    MSinMSC                                                                                                                       Successfully
    12/29/2018   04:20:06   35     mSOriginating   Outgoing   8586106881    18586106882      18586106882        18586106882   310260253792880   352509010940640   Completed             SPMSS346
                                                                                                                                                                  Successfully
    12/30/2018   05:50:08   14    mSTerminating    Incoming   8586106882                     18586106881                      310260253792880   352509010940640   Completed      11      IEMSS341
                                                                                                                                                                  Successfully
    12/30/2018   17:57:16   50    mSOriginating    Outgoing   8586106881    15094325329      15094325329        15094325329   310260253792880   352509010940640   Completed              IEMSS341
                                                                                                                                                                  Successfully
    12/30/2018   18:08:47   155   mSOriginating    Outgoing   8586106881    15092609286      15092609286        15092609286   310260253792880   352509010940640   Completed              IEMSS341
                                                                                                                                                                  Successfully
    12/30/2018   19:06:31   36         moc         Outgoing   15094325329   18056377249      18056377249        13608429999   310260253792880                     Completed      02A    CHTAS010
                                                                                                                                                                  Successfully
    12/30/2018   19:06:31         mSTerminating    Incoming   5094325329                     18586106881                      310260253792880   352509010940640    Abnormal      11      IEMSS341
                                                                                                                                                                  Completion
    12/30/2018   19:07:08             SMSC                       128                         18586106881                                                          Completed            mavsms_pol02
                                                                                                                                                                  Successfully
    12/30/2018   19:07:13   60    mSTerminatingS   Incoming      128                         18586106881                      310260253792880   352509010940640   Completed              IEMSS341
                                    MSinMSC                                                                                                                       Successfully
    12/31/2018   06:08:15   5      mSOriginating   Outgoing   8586106881    18586106882      18586106882        18586106882   310260253792880   352509010940640   Completed             VGMSS342
                                                                                                                                                                  Successfully
    12/31/2018   06:31:58   21    mSOriginating    Outgoing   8586106881    18586106882      18586106882        18586106882   310260253792880   352509010940640   Completed             VGMSS342
                                                                                                                                                                  Successfully
    12/31/2018   06:41:27   10    mSTerminating    Incoming   8586106882                     18586106881                      310260253792880   352509010940640   Completed      11     VGMSS342
                                                                                                                                                                  Successfully
    12/31/2018   22:57:18   5     mSOriginating    Outgoing   8586106881    18585505912      18585505912        18585505912   310260253792880   352509010940640   Completed             VGMSS342
                                                                                                                                                                  Successfully
    12/31/2018   22:58:29         mSOriginating    Outgoing   8586106881     185838393        185838393             51        310260253792880   352509010940640    Abnormal             VGMSS342
                                                                                                                                                                  Completion
    12/31/2018   23:03:08   9     mSOriginating    Outgoing   8586106881    16194760030      16194760030        16194760030   310260253792880   352509010940640   Completed             VGMSS342
                                                                                                                                                                  Successfully




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                                                                                         [Exhibit G - 178]
EXHIBIT H




   [Exhibit H - 179]
              UNITED STATE DISTRICT COURT
      FOR THE SOUTHERN DISTRICT OF CALIFORNIA
                3:18-cv-02028-GPC-MSB
________________________________
JOHN STONE,                          )
                                     )
                  Plaintiff,         )
                                     )
               -v-                   )
                                     )
AT&T SERVICES, INC., et al,          )
                                     )
                  Defendants.        )
________________________________)




              DEPOSITION OF: MEGAN QUIGLEY
              DATE: JUNE 19, 2019




                       [Exhibit H - 180]
 1            TRANSCRIPT of the deposition of MEGAN
 2   QUIGLEY, Called for Oral Examination in the
 3   above-entitled matter, said deposition being taken
 4   pursuant to Superior Court Rules of Civil Practice and
 5   Procedure, by and before BETH A. BENSON, a Certified
 6   Court Reporter and Notary Public of the State of New
 7   Jersey, License No. 30X100137300, at the Offices of
 8   T-Mobile US, 4 Sylvan Way, Parsippany, New Jersey on
 9   Wednesday, June 19, 2019, commencing at 1:10 in the
10   afternoon.
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                                                            Page 2
                       ,PDJLQH5HSRUWLQJ

                            [Exhibit H - 181]
 1     A.       Yes.
 2     Q.       And then the next column, Duration, 60,
 3   what does that mean?
 4     A.       Well, with regard to voice call
 5   messages, that would indicate the number of
 6   seconds that the voice call lasted.                 In the
 7   event type of a text message, that is
 8   essentially a place holder.            It's always going
 9   to appear as 60.
10     Q.       The next column over, Call Type,
11   mSTerminatingSMSinMSC, do you see that?
12     A.       I do.
13     Q.       And so what type of communication would
14   that have been?
15     A.       So this is -- it's indicated as a text
16   message.   But this is a special type of text
17   message.
18     Q.       And what do you mean by special type?
19     A.       So if we move to the next column, two
20   columns over, Calling Number, the 129 tells me
21   that this is a voicemail notification.                It is a
22   push message from the system that lets the
23   subscriber know they have a voicemail message,
24   and it may not even produce an actual text
25   message.   In some cases it may produce only the



                                                                     Page 23
                        ,PDJLQH5HSRUWLQJ

                             [Exhibit H - 182]
 1   little voicemail icon that might appear on your
 2   phone.
 3     Q.      So that's under the Calling Number,
 4   where it says 129.     Is that correct?
 5     A.      That's correct.
 6     Q.      And so if it's a 129, what does that
 7   indicate?
 8     A.      That's a voicemail notification, and
 9   indicates that a voicemail has been left for
10   phone number 858-610-6881.
11     Q.      And the voicemail notification, would
12   that have been generated by T-Mobile to send to
13   the customer, or would it have come from outside
14   of T-Mobile from another entity?
15     A.      It would have been generated by the
16   T-Mobile voice messaging platform.
17     Q.      And what would have triggered T-Mobile
18   to send that message to the subscriber?
19     A.      Any type of connection to the T-Mobile
20   voicemail system.
21     Q.      And do you know how a subscriber would
22   have connected to the T-Mobile voice messaging
23   system?
24     A.      Well, this would have been a connection
25   from an outside caller where the call was not



                                                         Page 24
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                          [Exhibit H - 183]
